Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 1 of 318 PageID: 76




                           EXHIBIT A
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 2 of 318 PageID: 77

                                                                                                       US008132712B2


  (12) United States Patent                                                        (10) Patent No.:                     US 8,132,712 B2
         Fenlon                                                                    (45) Date of Patent:                           Mar. 13, 2012
  (54) METERED-DOSE INHALER                                                     (58) Field of Classification Search .................... 235/91.
                                                                                                                                    128/2OO.23
  (75) Inventor: Derek Fenlon, Waterford (IE)                                        See application file for complete search history.
  (73) Assignee: Ivax Pharmaceuticals Ireland,                                  (56)                     References Cited
                 Waterford (IE)
                                                                                                  U.S. PATENT DOCUMENTS
  (*) Notice: Subject to any disclaimer, the term of this                              4,445,404 A        5/1984 Parker ............................... 81/62
                 patent is extended or adjusted under 35                               5.485,971 A *      1/1996 Nakaya et al. .            ... 242,381.1
                 U.S.C. 154(b) by 159 days.                                            5,489,143 A *      2/1996 Adachi et al. ..           ... 297,411.38
                                                                                       5.490,749 A *      2/1996 Arbues ...                     ... 410,103
                                                                                       5,794,978 A *      8/1998 Nishide ...                    ... 280/806
  (21) Appl. No.:             12/532,762                                               6,070,502 A * 6/2000 Chang ............................... 81.63
                                                                                     6,175,994 B1*        1/2001 Nicoletti ............          24/68 SK
  (22) PCT Filed:             Apr. 1, 2008                                           6,267,315 B1*        7/2001 Blackadder et al. .......... 242,384
                                                                                     6,446,627 B1 *       9/2002 Bowman et al. ......... 128.200.23
  (86) PCT NO.:               PCT/EP2008/002590                                      7,252,065 B1*        8/2007 Keeton ...........       ... 123,185.14
                                                                                 2011/0220450 A1*         9/2011 Chiang ........................... 192,64
         S371 (c)(1),                                                                         FOREIGN PATENT DOCUMENTS
         (2), (4) Date:       Sep. 23, 2009
                                                                                WO          WO 98.28O33 A              7, 1998
  (87)   PCT Pub. No.: WO2O08/119552                                            WO        WO 2005,114563 A            12/2005

         PCT Pub. Date: Oct. 9, 2008                                                                OTHER PUBLICATIONS

  (65)                     Prior Publication Data
                                                                                International Search Report dated Jul. 10, 2008, application No.
                                                                                PCT/EP2008/OO2590.
         US 201O/OO7849.0 A1              Apr. 1, 2010                          * cited by examiner
                  Related U.S. Application Data                                 Primary Examiner — Daniel Hess
  (60) Provisional application No. 60/921,320, filed on Apr.                    (74) Attorney, Agent, or Firm — RatnerPrestia
         2, 2007.
                                                                                (57)                       ABSTRACT
  (30)              Foreign Application Priority Data                           A metered dose inhaler dose counter, the counter includes: an
                                                                                actuator, a rotary gear wheel having a plurality of ratchet
     Apr. 11, 2007        (GB) ..................................... O76999.0   teeth; a driver for driving the rotary gearina step-wise fashion
                                                                                in response to displacement of the actuator, a pawl that pre
  (51) Int. Cl.                                                                 vents reverse rotation of the rotary gear, and a display coupled
         G6M I/04                     (2006.01)                                 to the rotary gear.
         A6M II/00                    (2006.01)
  (52) U.S. Cl. ................................. 235/91 R; 128/200.23                            19 Claims, 8 Drawing Sheets
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 3 of 318 PageID: 78


  U.S. Patent         Mar. 13, 2012         Sheet 1 of 8          US 8,132,712 B2




                                              ()                           8



          2)                           E                          Y.
          30
                       ZzZ2
                       Afé
                            2
                           2é                                 W
                                                                  C SO
         22
                Y4.N NS
                     S N4 -/
                  ZNS is N.
                    N Š K2S
                              s
                                  NC  22zz



                  rSSSIs    Nysve    A.
                                                             44
                                      38           40   42




                                  (Prior art)

                                           Fig. 1
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 4 of 318 PageID: 79


  U.S. Patent         Mar. 13, 2012      Sheet 2 of 8      US 8,132,712 B2




                                 (Prior art)

                                      Fig. 2
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 5 of 318 PageID: 80


  U.S. Patent         Mar. 13, 2012      Sheet 3 of 8      US 8,132,712 B2




      50




                                (Prior art)

                                      Fig. 3
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 6 of 318 PageID: 81


  U.S. Patent           Mar. 13, 2012      Sheet 4 of 8    US 8,132,712 B2




                                 t                    30
                   63


                                  2-A                             28




                                            A1
                                                           s

                                        (Prior art)


                                          Fig. 4
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 7 of 318 PageID: 82


  U.S. Patent         Mar. 13, 2012      Sheet 5 of 8      US 8,132,712 B2




                                      Fig. 5
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 8 of 318 PageID: 83


  U.S. Patent         Mar. 13, 2012    Sheet 6 of 8        US 8,132,712 B2

                                                   8

                                               (


                                            68




                                      Fig. 6



                            —l Excess
                                                          stroke
                                            : -T available
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 9 of 318 PageID: 84


  U.S. Patent         Mar. 13, 2012   Sheet 7 of 8         US 8,132,712 B2




                                                                30

        28




                                                                 32a
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 10 of 318 PageID: 85


  U.S. Patent         Mar. 13, 2012   Sheet 8 of 8          US 8,132,712 B2




                                 Fig. 9
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 11 of 318 PageID: 86


                                                        US 8,132,712 B2
                                 1.                                                                2
                METERED-DOSE INHALER                                   piece in response to inhalation by the user. This type of
                                                                       arrangement is particularly convenient in circumstances
             CROSS-REFERENCE TO RELATED                                where the co-ordination between user inhalation and manual
                    APPLICATIONS                                       depression of the aerosol canister is imperfect. For example,
                                                                       children sometimes lack the necessary co-ordination to
     This application is the U.S. national phase application of        achieve effective self-administration and, at times of respira
  PCT International Application No. PCT/EP2008/002590,                 tory distress, adult users may also experience poor co-ordi
  filed Apr. 1, 2008, which claims priority to U.S. Provisional nation.
  Patent Application No. 60/921,320, filed Apr. 2, 2007, and
  GBApplication No. 0706999.0, filed Apr. 11, 2007, the con 10                      SUMMARY OF THE INVENTION
  tents of Such applications being incorporated by reference
  herein.                                                                 One of the drawbacks of self-administration from an
                  FIELD OF THE INVENTION
                                                                     inhaler is that users often experience difficulty in determining
                                                                  15
                                                                     when   the charge in the medicament-containing vessel has
     This invention relates to a metered-dose inhaler and in         nearly run out since the contents of the medicament reservoir
  particular to a dose counter for a metered-dose inhaler, the of the reasoninvisible
                                                                     are typically
                                                                                     for this
                                                                                               to the user. With aerosol canisters, part
                                                                                              difficulty is that a surplus of propellant
  counter comprising: an actuator, a rotary gear; a driver for may remain in the canister even               though the drug Supply is
  driving the rotary gear in a step-wise fashion in response to
  displacement of the actuator, the rotary gear comprising a nearly exhausted. Alternatively, the near-exhausted State may
  wheel mounted on a spindle which wheel having a plurality of result in a Surplus of drug in relation to propellant. Thus, the
  ratchet teeth around its periphery; a pawl to prevent reverse illusion is created that the inhaler is still capable of providing
  rotation of the rotary gear, and a display coupled to the rotary useful doses of medicament simply because the canister con
  gear, the display having a visible array of incrementing inte tains liquid. This is potentially hazardous for the user since
  gers on a Surface thereof indexable by a single integer in 25 dosing becomes unreliable and because few users routinely
  response to each step of the step-wise rotary motion of the carry a back-up device.
  rotary gear, wherein the pawl comprises at least two ratchet          Many users have several different inhalers for the treatment
  teeth which are radially spaced such that one of the teeth of a variety of conditions. Others keep inhalers at a number of
  engages with the ratchet teeth of the wheel following each different locations such as at School, home, work etc. In these
  step of the step-wise rotary motion of the rotary gear.         30 circumstances it is particularly difficult for the user to keep
                                                                     track of the amount of usage extracted from each individual
            BACKGROUND OF THE INVENTION                              inhaler apparatus.
                                                                        Clearly there is a need for a counter mechanism which
     Metered-dose inhalers include pressurised metered-dose enables users to assess how many doses remain in the
  inhalers (of both manually operable and breath-actuated 35 obscured canister. Such a counter would ensure that users are
  types) and dry-powder inhalers. Such metered-dose inhalers warned when the inhaler nears exhaustion so that appropriate
  typically comprise a medicament-containing vessel and an measures can be taken to avoid running out of medication.
  actuator body having a drug delivery outlet.                       Moreover, if a dose counter can provide readability to a reso
     The medicament-containing vessel may be a pressurised lution of one dose, this can be used for compliance monitor
  canister containing a mixture of active drug and propellant. 40 ing, either under hospital Supervision or by parents and teach
  Such canisters are usually formed from a deep-drawn alu ers assessing compliance by children in their care. In
  minium cup having a crimped lid which carries a metering addition, there are regulatory requirements for metered-dose
  valve assembly. The metering valve assembly is provided inhalers to have a dose counter in a number of countries.
  with a protruding valve stem which, in use, is inserted as a          WO 98/28033 discloses a dose counter Suitable for use
  tight push fit into a so-called “stem block” in the actuator 45 with the above-described metered-dose inhalers. FIGS. 1 and
  body.                                                              2 reproduced herein from WO 98/28033 show the lower por
     To actuate the conventional manually operable inhaler, the tion of a metered-dose inhaler. The inhaler comprises an
  user applies a compressive force to the closed end of the actuator body 2 having a drug delivery outlet 4. An aerosol
  canister. The internal components of the metering valve canister 6 extends into the lower portion of the actuator 2. The
  assembly are spring loaded so that a compressive force of 50 aerosol canister 6 is formed from a deep-drawn aluminium
  about 15 to 30 N is required to activate the device.               cup 8 to which a lid 10 is attached by crimping.
     In response to this compressive force, the canister moves          The lid 10 carries a metering-valve assembly having a
  axially with respect to the valve stem by an amount varying protruding valve stem 12, the end of which is received as a
  from about 2 to 4 mm. This degree of axial movement is tight push fit in a stem block 14 of the actuator body 2. Stem
  Sufficient to actuate the metering valve and cause a metered 55 block 14 has a nozzle 16 communicating with the drug deliv
  quantity of the drug and propellant to be expelled through the ery outlet 4 so that, upon actuation of the metering-valve
  valve stem. This is then released into the mouthpiece via a assembly, a charge of the drug is emitted through the nozzle
  noZZle in the stem block. A user inhaling through the drug         16 into the drug delivery outlet 4. Actuation of the metering
  delivery outlet of the device at this point will thus receive a valve assembly is effected by causing downward movement
  dose of the drug.                                               60 of the aerosol canister 6 relative to the actuator body 2. This
     Metered-dose inhalers as described above administer an          may beachieved through manual pressure exerted by the user
  accurate dose of medicament whenever required, which is against the upturned base (not shown) of the aerosol canister
  particularly useful for users whose respiratory difficulties 6 or by automatic depression of the aerosol canister 6 in
  manifest themselves suddenly. Such has been the success of response to user inhalation in inhalers of the breath-actuated
  these devices that they are now used throughout the world. 65 type. The mechanism of breath actuation does not form part of
     A more recent development is the so-called “breath-oper WO 98/28033 or the present invention and will not be
  ated actuator which delivers a dose of drug through a mouth described in further detail. A user inhaling through the drug
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 12 of 318 PageID: 87


                                                        US 8,132,712 B2
                                3                                                                      4
  delivery outlet 4 when the aerosol canister 6 is depressed will     restrain the axle 34 against reverse rotation and hence pre
  receive a metered dose of the drug.                                 vents reverse travel of the counter tape 44.
     A counter mechanism 18 includes an actuator 20 moulded              A control surface 58 is depicted here as a see-through
  from a plastics material, such as nylon, the actuator 20 having element so that the workings of the dose counter may be more
  a boss 22 integrally formed at its base.                            clearly seen. The control surface 58 extends parallel to the
     The underside of boss 22 is formed with a blind hole which       direction of travel of the actuator 20 and is located adjacent
  receives a compression spring 24 mounted on an upstanding the ratchet-toothed wheel 30 at a position which marks a
  spigot 26 formed on a lower element of the counterchassis.          chordal projection across one of the wheel faces. One of the
     A driver 28 for driving a rotary gear in the form of a 10 support arms 56 of the driver 28 is in sliding contact with
  ratchet-toothed wheel 30 is integrally moulded with boss 22 control          surface 58. This sliding contact serves to inhibit the
  of the actuator 20 and comprises a transverse hook element towardstendency
                                                                      natural             of the driver 28 to flex radially inwardly
                                                                                the axis of rotation of the ratchet-toothed wheel 30.
  (not shown) mounted between two arms (only one visible in By preventing such radially inward flexure, the control sur
  FIG. 2), the bases of which are conjoined to the boss 22. The face 58 restricts the engagement and disengagement of the
  transverse hook is dimensioned and oriented to engage with 15 drive 28 with the ratchet-toothed wheel30 so that the distance
  ratchet teeth 32 formed around the periphery of the ratchet by which the ratchet-toothed wheel30 rotates is limited to one
  toothed wheel 30 to rotate it in a forward direction.               tooth pitch. This condition is observed regardless of the extent
     The ratchet-toothed wheel 30 is integrally moulded with a of linear travel, or stroke, of the actuator 20.
  first hollow axle 34 which is rotatably supported on a first           FIG. 4 shows a schematic view of a conventional ratchet
  spindle 36 that projects transversely from a chassis sub-ele gear and drive pawl arrangement which is used in the dose
  ment 38. Chassis sub-element 38 also has a second spindle 40 counter described in WO 98/28033. The arrangement uses a
  projecting transversely therefrom on which a second hollow reciprocating driver 28 acting in a pushing sense to rotate a
  axle 42 is rotatably supported. A flexible tape 44 is wound ratchet-toothed wheel30 in the direction shown by the arrows
  around the second hollow axle 42 which serves as a Supply A. A fixed pawl 60 acts to prevent reverse rotation of the
  spool and passes to the first hollow axle 34 which serves as a 25 ratchet-toothed wheel 30 by engagement against the trailing
  take-up spool (Stockbobbin). A guide plate 46 forming part of edge 62 of a ratchet tooth 32. However, on forward rotation of
  the chassis sub-element 38 helps to guide the tape 44 in a the ratchet-toothed wheel 30 in the sense of arrows A, the
  Smooth passage from the Supply spool to the take-up spool. fixed pawl 60 is capable of radially outward deformation,
  The surface of the tape 44 is marked with a progression of urged by the leading edge 63 of a ratchet-tooth 32.
  descending numbers which denote the number of doses 30 In this arrangement, if the ratchet-toothed wheel 30 is
  remaining in the aerosol canister. Typically, the starting count rotated by more than a single tooth pitch but by less than two
  is 200 and successive markings on the tape decrease by one. tooth pitches for each reciprocating movement of the driver
  The spacing between Successive markings is coincident with 28, there is a degree of reverse rotation until the pawl 60
  the indexing motion of the matching wheel 30 so that a new becomes engaged by the trailing edge 62 (as opposed to the
  number appears in a window 48 provided in the inhaler hous 35 leading edge 63) of a ratchettooth 32. Thus, the rotation of the
  ing 2 for each Successive actuation.                                ratchet-toothed wheel 30 may be said to be “stepped'.
     The ratchet-toothed wheel 30 and integrally formed first            The components of metered-dose inhalers are manufac
  hollow axle 34 are restrained from reverse rotation by a wrap tured to a high technical specification. However, inevitable
  spring clutch 50 surrounding the hollow axle 34 at the end variations in the tolerances of the components can, in some
  thereof remote from ratchet-toothed wheel 30. One end (not 40 circumstances, lead to failure of the dose counter of the type
  shown) of the wrap-spring clutch 50 is braced against the disclosed in WO 98/28033. The failure of the dose counter,
  counter chassis. The windings of the wrap-spring clutch 50 although not common, makes the dose counter of the type
  are oriented such that rotation of the first hollow axle 34 in a    disclosed in WO 98/28033 unsuitable for some applications.
  forward sense is not resisted by the spring coils. However, There is a requirement in the art, therefore, for a dose counter
  reverse rotation of the hollow axle 34 acts so as to tighten the 45 with a reduced failure rate.
  spring coils around it, thereby causing the first hollow axle 34       Accordingly, a first aspect of the present invention provides
  to be gripped by the internal Surface of the wrap-spring clutch a dose counter for a metered-dose inhaler, the counter com
  50 and hence restraint from reverse rotation.                       prising:
     FIG.3 shows a preferred embodiment of the invention set             an actuator,
  out in WO 98/28033. The dose counter 18 comprises an 50 a rotary gear,
  actuator 20 having a boss 22 integrally formed therewith and           a driver for driving the rotary gear in a step-wise fashion in
  driver 28 joined to the boss 22. The underside of boss 22 is              response to displacement of the actuator, the rotary gear
  provided with a blind hole which receives a compression                   comprising a wheel mounted on a spindle which wheel
  spring 24 that serves to return the actuator 20 to its rest               having a plurality of ratchet teeth around its periphery;
  position after depression thereof during actuation of the 55 a pawl to prevent reverse rotation of the rotary gear; and
  inhaler apparatus (not shown).                                         a display coupled to the rotary gear, the display having a
     The driver 28 comprises a transverse hook 52 mounted                   visible array of incrementing integers on a Surface
  between a pair of arms 54.56 which are joined at their bases              thereof indexable by a single integer in response to each
  by a web (not shown). The web is connected to the boss 22 of              step of the step-wise rotary motion of the rotary gear,
  the actuator 20. A combined actuator and driver assembly 60 wherein the pawl comprises at least two ratchetteeth which
  may be integrally formed. Such as from a plastics material,               are radially spaced such that one of the teeth engages
  e.g. as nylon.                                                            with the ratchet teeth of the wheel following each step of
     In use, the transverse hook 52 engages with ratchet teeth 32           the step-wise rotary motion of the rotary gear.
  of a ratchet-toothed wheel 30 which is mounted on a hollow             The counter of the present invention thus provides a pawl
  axle 34 serving as a take-up spool for a flexible tape display 65 having at least two teeth in which one and the same tooth
  44. At the end of the hollow axle 34 remote from the ratchet        engages with Successive ratchet teeth of the wheel during the
  toothed wheel 30 is a friction clutch 50 which serves to            step-wise rotary motion of the wheel to prevent reverse rota
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 13 of 318 PageID: 88


                                                        US 8,132,712 B2
                                   5                                                                 6
  tion of the wheel (and hence the rotary gear). By providing         wheel 30 such that one and the same tooth engages with the
  alternative positions for engaging the ratchet teeth of the         ratchet teeth 32 of the wheel following each step of the step
  wheel, the pawl increases the range of tolerances in the manu       wise rotary motion of the rotary gear. Typically, one, and only
  facture of the various components of the inhaler which can be       one, of the ratchet teeth 64.66 on pawl 60 ever engages with
  accommodated. This in turn significantly reduces the failure        the ratchet wheel.
  rate of the dose counter and, in particular, the likelihood of        FIG. 6 shows an exploded view of the dose counter 18
  undercounting. Clearly, undercounting is particularly unde         showing in addition to the previously described components,
  sirable as it can lead to a patient believing that there are more  the stock bobbin 68 which is held taut by the action of the split
  doses left within the inhaler than there actually are.             hub 70. The split hub 70 avoids the need for a clutch spring as
                                                                  10 set out in WO 98/28033. Although the clutch spring could be
          BRIEF DESCRIPTION OF THE DRAWINGS                          used as an alternative or in addition to the split hub 70, in a
                                                                     preferred embodiment, the dose counter of the present inven
     The present invention will now be described with reference tion does not include a clutch spring. The display is preferably
  to the accompanying drawings, in which:                            an elongate countertape 44 on which the dose count is printed
     FIGS. 1 to 4 show a dose counterforametered-dose inhaler 15 or written, and more preferably the counter tape 44 is located
  according to the prior art document WO 98/28033;                   on an indexing spool and the dose counter further comprises
     FIG. 5 shows elements of a dose counter according to the a stock bobbin to receive the counter tape as the indexing
  present invention;                                                 spool is advanced in a step-wise fashion.
     FIG. 6 shows further detail of the dose counter according to       In use, the operation of the dose counter 18 is as follows.
  the present invention;                                                The user depresses the aerosol canister 6 which causes
     FIG.7 shows a schematic representation of journeys under displacement of the actuator 20. In this embodiment, the
  taken for indexing of the dose counter to occur;                   actuator 20 is adapted to engage with the rim of the medica
     FIG. 8 shows the wheel and pawl of the dose counter of the ment canister 6. The actuator 20 is operable by linear dis
  present invention in which the pawl is (a) operating from the placement from a first position to a second position and back
  first tooth and (b) operating from the second tooth; and        25 to the first position and movement of the rotary gear occurs
     FIG. 9 shows a metered-dose inhaler containing the dose either during the displacement of the actuator from the first
  counter of the present invention.                                  position to the second position or during the displacement of
                                                                     the actuator from the second position to the first position. In
       DETAILED DESCRIPTION OF THE INVENTION                         the embodiment shown in FIG. 5, the movement of the rotary
                                                                  30 gear occurs during the displacement of the actuator from the
     The dose counter of the present invention is based on that first position to the second position. In the embodiment
  set out in FIGS. 3 and 4 described hereinabove except that the shown, the actuator 20 comprises a spring-loaded plunger
  pawl 60 has been modified. Modification of the pawl followed 22.24, the plunger being depressible against the return force
  an in-depth study of all of the components of the inhaler. of the spring loading when the actuator is caused to deliver a
  Thus, as shown in FIG. 5, the dose counter 18 of the present 35 dose of medicament.
  invention comprises an actuator 20, a rotary gear (not shown          During the movement from the first position to the second
  in full in FIG. 5); a driver 28 for driving the rotary gear in a position, the actuator 20 causes the driver 28 to engage the
  step-wise fashion in response to displacement of the actuator trailing edge 62 of the ratchet tooth 32 of the wheel30. As the
  20, the rotary gear comprising a wheel 30 mounted on a actuator 20 and driver 28 move down the ratchet-toothed
  spindle (not shown), the wheel30 having a plurality of ratchet 40 wheel 30 rotates.
  teeth 32 around its periphery; a pawl 60 to prevent reverse           The spindle of the rotary gear moves the counter tape 44
  rotation of the rotary gear; and a display (not shown) coupled revealing the next integer. The counter tape 44 is held taut by
  to the rotary gear, the display having a visible array of incre the action of the split hub 70 on which is mounted the stock
  menting integers on a Surface thereof indexable by a single bobbin 68.
  integer in response to each step of the step-wise rotary motion 45 The pawl 60 radially outwardly deforms to allow the wheel
  of the rotary gear.                                                30 to rotate by one tooth 32. The at least two teeth 64.66 of
     The wheel 30 has a plurality of ratchet teeth 32 and pref pawl 60 may be inherently resilient to allow the required
  erably has 8-14 teeth (i.e. 8, 9, 10, 11, 12, 13 or 14), more radially outward deformation and return. Alternatively or in
  preferably 9, 10, 11 or 12 teeth, and most preferably 11 teeth. addition, the pawl 60 may be mounted on a resilient support
     The radius of the wheel 30 measured from the centre of the 50 capable of radially outward deformation, for example the
  wheel30 to the tip of the teeth.32 will depend on thesize of the resilient Support may be a resilient flange incorporated in to
  components of the inhaler. Preferably the radius is from 1.5 to the chassis of the dose counter 18.
  3.5 mm, more preferably from 2.0 to 3.0 mm and most pref              The driver 28 releases the ratchet-toothed wheel 30 after it
  erably 2.80+0.05 mm.                                               has engaged with the pawl 60. On reset of the inhaler, the
     As in the dose counter 18 of WO 98/28033, the dose 55 canister 6 is allowed to return to its initial (first) position. The
  counter 18 of the present invention preferably further com compression spring 24 pushes the actuator 20 to follow the
  prises a control Surface to regulate the position of engagement canister. The driver 28 on the actuator 20 flexes to pass over
  and disengagement between the driver 28 and the wheel30. In the teeth of the ratchet-toothed wheel 30 as the actuator 20
  addition, the driver 28 comprises a ratchet drive pawl and moves from the first to the second position.
  preferably the ratchet drive pawl is in the form of a straddle 60 The tooth of the at least two teeth 64.66 which has engaged
  drive in which the element that engages the ratchetteeth of the tooth 32 of the wheel30 prevents the rotary gear from rotating
  wheel is Supported between a pair of spaced apart Support backwards.
  aS.                                                                   The counter mechanism of the type described with refer
     The pawl 60 comprises at least two ratchet teeth 64,66. ence to WO 98/28033 and in accordance with the present
  Preferably, as shown in FIG. 5, the pawl 60 comprises two 65 invention must rotate the wheel 30 of the rotary gear by
  ratchetteeth 64,66 and no more. The at least two ratchet teeth     exactly one tooth spacing each time the actuator is depressed.
  64,66 are radially spaced with respect to the ratchet-toothed By tooth spacing is meant one tooth pitch, i.e. the radial
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 14 of 318 PageID: 89


                                                        US 8,132,712 B2
                              7                                                                      8
  distance between the same notional point two adjacent teeth         ratchet tooth 32 of the wheel 30) to be reduced thereby
  32 on the ratchet-toothed wheel 30. The stroke available for        accommodating a greater tolerance in the canister stroke.
  indexing the rotary gear is equal to the full stroke of the            As explained hereinabove, the first and second teeth 64.66
  actuator 2. Where the metered-dose inhaler is a pressurised provide different starting positions for the wheel 30 of the
  inhaler, the stroke available for counting is equal to the full 5 rotary gear to accommodate different tolerance levels in the
  stroke of the medicament canister 6. However, there are three       components of the inhaler. The teeth 64.66 are therefore
  movements (or journeys”) that must be completed within separated radially with respect to the wheel 30. The spacing
  this total distance for indexing of the dose counter to occur. will clearly depend on the precise nature of the components
  The three journeys are shown schematically in FIG. 7.               used in the inhaler and hence it would be inappropriate to
     FIG. 7 shows a graphical representation the amount of 10 provide a precise numerical value. It is clear from the mecha
  canister travel and the excess stroke available before the three    nism, however, that the radial spacing will be less than the
  critical journeys must occur. Firstly, the canister travel must radial distance between adjacent teeth 32 on the wheel 30 of
  close the start gap which is the sum of the tolerances of the the rotary gear.
  manufactured components in the vertical direction. Secondly, 15 In the embodiments shown herein, the dose counter 18 of
  the stroke must take up any lost motion, such as in pivot play, the present invention incorporates a pawl 60 having two teeth
  flexing of the pawl and arc motion of the drive pawl. Thirdly,      64,66 and only two teeth, i.e. the pawl 60 consists essentially
  is the so-called “stroke to count', which is the journey which of two teeth 64,66. However, additional teeth could be incor
  leads to indexing of the rotary gearby one tooth spacing.           porated to provide additional precision to the start position of
     The stroke available for counting will clearly depend on the the wheel30 and thus additional precision in the first distance
  type of metered-dose inhaler used. By way of example, a S. For example, the pawl may have 2-6, preferably two, three
  suitable inhaler is the pressurised metered-dosed inhaler or four teeth, more preferably two or three and most prefer
  EasiBreatheR) which uses a Qvar R canister. The canister ably two teeth.
  stroke in this inhaler was measured as 3.04+0.255 mm. This             In a particularly preferred embodiment of the present
  tolerance represents +3 standard deviations so that 99.7% of 25 invention, the dose counter is adapted for a canister stroke of
  all canister strokes will lie within these limits. The measure      3.041+0.256 mm: the wheel of the rotary gear has a radius of
  ments were taken from force versus displacement profiles for 2.80+0.05 mm defined as the distance from the centre of the
  Qvar(R) canisters. One hundred and fifty canisters were mea wheel to the tip of the teeth and 11 ratchet teeth around its
  sured at the start, middle and end of life giving a total of 450 periphery; and the pawl comprises two ratchet teeth only
  stroke measurements.                                             30 which have a radial spacing of 0.6 mm. In this embodiment,
     The start gap is the tolerance stack in the vertical direction the total stroke to guarantee a count is 2.372+0.115 mm. The
  and includes a first distance between the part of the driver 28 probability of failure to count or resent due to component
  which engages the wheel30 and the appropriate ratchet tooth dimension variations (manufacturing tolerances) is less than
  32 of the wheel 30 of the rotary gear, and a second distance        1 in 10 million.
  between the top of the actuator 20 and the canister 6. The 35 The present invention further provides a metered dose
  tolerance in the vertical direction was found to be +0.47 mm.       inhaler 72 as shown in FIG.9. The inhaler comprises a medi
  The nominal start gap for the EasiBreatheR inhaler is set at cament canister 6, an actuator body 74 for receiving the
  0.85 mm and hence the start gap with tolerances is 0.85+0.47 canister 6 and having a medicament delivery outlet, and the
      .                                                               dose counter as described herein. The inhaler has a window
     Thus, since the start gap is 0.85+0.47 mm the maximum 40 76 for viewing the integers on the tape 44. In a preferred
  start gap (mean plus 3 standard deviations) is 1.32 mm embodiment the actuator body 74 comprises a Sump and
  (0.85+0.47). When such a start gap occurs, a short-stroking preferably a smooth rounded Sump. Typically, a rounded
  canister (for example, 2.79 mm) will not rotate the wheel 30 Sump is understood to have a substantially cylindrical upper
  of the rotary gear by a full tooth spacing. This will lead to portion and a Substantially hemi-spherical lower portion.
  failure of the dose counter. However, the provision of a first 45 Typically, Smooth is understood to mean that the Surface is
  and second ratchet tooth 64.66 in the pawl 60 allows the sufficiently free of surface protrusions to the extent that dur
  ratchettooth 32 of the wheel30 of the rotary gear to rest on the ing normal use medicament will not substantially adhere
  second tooth 66. In the present embodiment, the second tooth thereto.
  66 is 0.60 mm away from the first tooth 64. Thus, for the next       In one embodiment of the invention the vessel contains a
  actuation, the start gap is reduced to 0.72 mm (1.32-0.60). 50 medicament in the form of an aerosol. Alternatively in
  The stroke is therefore sufficient to rotate the wheel 30 a full    another embodiment of the invention the vessel contains a
  index starting from this point. The step-wise rotation of the medicament in the form of a dry powder.
  wheel 30 then continues with all subsequent actuations start          The medicament may be any medicament that is suitable to
  ing and finishing with the ratchet teeth 32 of the wheel 30 of be delivered to a patient via a metered-dose inhaler. In par
  the rotary gear engaged with the second tooth 66 of the pawl 55 ticular medicaments for the treatment of a wide variety of
  60.                                                                respiratory disorders are delivered in this manner including
     FIG. 8 shows a more detailed view of the wheel 30 of the        anti-allergic agents (e.g. cromoglycate, ketotifen and
  rotary gear, the driver 28 and the pawl 60 to prevent reverse nedocromil), anti-inflammatory steroids (e.g. beclometha
  rotation of the rotary gear. In FIG. 8(a) the ratchet tooth 32a Sone dipropionate, fluticaSone, budesonide, flunisolide,
  of the wheel30 is engaged with the first ratchettooth 64 of the 60 ciclesonide, triamcinolone acetonide and mometaSone
  pawl. In FIG. 8(b) the same tooth 32a of the wheel 30 is furoate); bronchodilators such as: B-agonists (e.g. fenoterol,
  engaged with the second ratchet tooth 66 of the pawl 60. It formoterol, pirbuterol, reproterol, salbutamol, salmeterol and
  may be seen that the start gap is reduced in the arrangement terbutaline), non-selective B-stimulants (e.g. isoprenaline),
  shown in FIG. 8(b) in comparison with the same distance in and Xanthine bronchodilators (e.g. theophylline, aminophyl
  FIG. 8(a). The second tooth 66 of the pawl 60 therefore allows 65 line and choline theophyllinate); and anticholinergic agents
  the first distance S of the start gap (the between the part of the (e.g. ipratropium bromide, oxitropium bromide and tiotro
  driver 28 which engages the wheel 30 and the appropriate pium).
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 15 of 318 PageID: 90


                                                        US 8,132,712 B2
                                                                                                      10
     A further aspect of the present invention provides the use of        9. A dose counteras claimed in claim8, wherein the ratchet
  a pawl 60 comprising at least two ratchet teeth 64.66 for            drive pawl is in the form of a straddle drive in which an
  preventing miscounting in a dose counter of a metered dose           element that engages the ratchet teeth of the wheel is Sup
  inhaler 72. A still further aspect of the present invention          ported between a pair of spaced apart Support arms.
  provides the use of a pawl 60 comprising at least two ratchet           10. A dose counter as claimed in claim 1, wherein the
  teeth 64.66 for preventing undercounting in a counter of a           display is an elongate counter tape on which a dose count is
   metered dose inhaler 72.                                            printed or written.
     In a preferred embodiment the counter comprises an actua             11. A dose counter as claimed in claim 10, wherein the
  tor 20; a rotary gear; a driver 28 for driving the rotary gear in counter tape is located on an indexing spool and the dose
  a step-wise fashion in response to displacement of the actua 10 counter tape    further comprises a stock bobbin to receive the
  tor 20, the rotary gear comprising a wheel 30 mounted on a counter                  as the indexing spool is advanced in a step-wise
  spindle 36 which wheel 30 having a plurality of ratchet teeth fashion.
  32 around its periphery; and a display 44 coupled to the rotary         12. A dose counter as claimed in claim 1, wherein the
  gear, the display having a visible array of incrementing inte actuator
                                                                       canister.
                                                                                  is adapted to engage with a rim of a medicament
  gers on a Surface thereof indexable by a single integer in 15
  response to each step of the step-wise rotary motion of the             13. A dose counteras claimed in claim 1, wherein the wheel
  rotary gear. Preferably, the pawl 60 prevents reverse rotation of       the rotary gear has eight to fourteen ratchet teeth around a
                                                                       periphery of the rotary gear.
  of the rotary gear.
     Although the invention herein has been described with wheel          14. A dose counter as claimed in claim 13, wherein the
  reference to particular embodiments, it is to be understood                  of the rotary gear has eleven ratchet teeth around its
  that these embodiments are merely illustrative of the prin periphery.   15. A dose counteras claimed in claim 1, wherein the wheel
  ciples and applications of the present invention. It is therefore
  to be understood that numerous modifications may be made centrerotaryof the         gear has a radius defined as the distance from the
  to the illustrative embodiments and that other arrangements eleven of           the wheel to a tip of the teeth of 2.80+-0.05 mm and
                                                                               ratchet teeth around its periphery, and the pawl com
  may be devised without departing from the spirit and Scope of
  the present invention as defined by the appended claims.          25 prises  two   ratchet teeth and no more which have a radial
     The invention claimed is:
                                                                       spacing of about 0.6 mm.
                                                                          16. A metered dose inhaler comprising a medicament can
     1. A dose counter for a metered-dose inhaler, the counter         ister, an actuator body for receiving the canister and having a
  comprising: an actuator, a rotary gear, a driver for driving the medicament delivery outlet, and the dose counter as claimed
  rotary gearina step-wise fashion in response to displacement in claim 1.
  of the actuator, the rotary gear comprising a wheel mounted 30 17. A metered dose inhaler according to claim 16 wherein
  on a spindle which wheel having a plurality of ratchet teeth the actuator body comprises a Smooth rounded Sump.
  around its periphery; a pawl to prevent reverse rotation of the         18. The use of a dose counterfor preventing miscounting in
  rotary gear, and a display coupled to the rotary gear, the a metered               dose inhaler, the dose counter comprising: an
  display having a visible array of incrementing integers on a actuator, a rotary          gear, a driver for driving the rotary gear in
  Surface thereof indexable by a single integer in response to 35 a step-wise fashion in response to displacement of the actua
  each step of the step-wise rotary motion of the rotary gear; tor, the rotary gear comprising a wheel mounted on a spindle
  wherein the pawl comprises at least two ratchet teeth each for which wheel having a plurality of ratchet teeth around its
  engaging with the ratchetteeth of the wheel to prevent reverse periphery; a pawl to prevent reverse rotation of the rotary
  rotation of the rotary gear, the at least two ratchet teeth being gear, and a display coupled to the rotary gear, the display
  radially spaced such that one of the at least two ratchet teeth 40 having a visible array of incrementing integers on a Surface
  of the pawl engages with the ratchet teeth of the wheel fol thereof indexable by a single integer in response to each step
  lowing each step of the step-wise rotary motion of the rotary of the step-wise rotary motion of the rotary gear; wherein the
  gear.                                                                pawl comprises at least two ratchet teeth each for engaging
     2. A dose counter as claimed in claim 1, wherein the pawl with the ratchet teeth of the wheel to prevent reverse rotation
  comprises two ratchet teeth and no more.                             of the rotary gear, the at least two ratchet teeth being radially
     3. A dose counter as claimed in claim 1, wherein the pawl 45 spaced such that one of the at least two ratchet teeth of the
  is mounted on a resilient Support.                                   pawl engages with the ratchet teeth of the wheel following
     4. A dose counter as claimed in claim 3, wherein the resil        each step of the step-wise rotary motion of the rotary gear.
  ient Support is a resilient flange incorporated into the body of        19. The use of a dose counter for preventing undercounting
  the dose counter.                                                    in a metered dose inhaler, the dose counter comprising: an
     5. A dose counteras claimed in claim 1, further comprising 50 actuator, a rotary gear, a driver for driving the rotary gear in
  a control Surface to regulate the position of engagement and a step-wise fashion in response to displacement of the actua
  disengagement between the driver and the wheel.                      tor, the rotary gear comprising a wheel mounted on a spindle
     6. A dose counteras claimed in claim 1, wherein the actua
  tor is operable by linear displacement from a first position to which         wheel having a plurality of ratchet teeth around its
                                                                       periphery; a pawl to prevent reverse rotation of the rotary
  a second position and back to the first position and wherein 55 gear, and a display coupled to the rotary gear, the display
  movement of the rotary gear occurs either during the dis having a visible array of incrementing integers on a Surface
  placement of the actuator from the first position to the second thereof indexable by a single integer in response to each step
  position or during the displacement of the actuator from the of the step-wise rotary motion of the rotary gear; wherein the
  second position to the first position.                               pawl comprises at least two ratchet teeth each for engaging
     7. A dose counteras claimed in claim 1, wherein the actua 60 with the ratchet teeth of the wheel to prevent reverse rotation
  tor comprises a spring-loaded plunger, the plunger being of the rotary gear, the at least two ratchet teeth being radially
  depressible against a return force of a spring of the spring spaced such that one of the at least two ratchet teeth of the
  loaded plunger when the actuator is caused to deliver a dose pawl engages with the ratchet teeth of the wheel following
  of medicament.                                                       each step of the step-wise rotary motion of the rotary gear.
     8. A dose counter as claimed in claim 1, wherein the driver
  comprises a ratchet drive pawl.                                                               k    k   k   k    k
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 16 of 318 PageID: 91




                            EXHIBIT B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 17 of 318 PageID: 92

                                                                                                USOO893 1476B2


  (12) United States Patent                                                    (10) Patent No.:                 US 8,931,476 B2
         Kaar et al.                                                           (45) Date of Patent:                       Jan. 13, 2015

  (54) INHALER                                                                                               128/203.21, 200.24, 203.12
  (75) Inventors: Simon Kaar, Co. Cork (IE); Declan                               See application file for complete search history.
                  Walsh, Co. Kilkenny (IE): Derek                         (56)                    References Cited
                  Fenlon, Co. Wexford (IE); Dan Buck,
                  Co. Waterford (IE)                                                       U.S. PATENT DOCUMENTS
  (73) Assignee: IVAX Pharmaceuticals Ireland,                                   2.918.408 A      12, 1959 Biel
                  Waterford (IE)                                                 3,948,264 A       4, 1976 Wilke et al.
  (*) Notice: Subject to any disclaimer, the term of this                                            (Continued)
                  patent is extended or adjusted under 35
                  U.S.C. 154(b) by 404 days.                                           FOREIGN PATENT DOCUMENTS
  (21) Appl. No.:      13/377,037                                         CA                 24.94061 A1       2, 2004
                                                                          CA                 2557.168 A1      10/2005
  (22) PCT Filed:      Jun. 8, 2010
  (86). PCT No.:            PCT/EP201 O/OO3426                                                       (Continued)
                                                                                             OTHER PUBLICATIONS
       S371 (c)(1),
       (2), (4) Date: Mar. 22, 2012                                       International Search Report, dated Sep. 27, 2010, International Appl.
  (87) PCT Pub. No.: WO2010/142418                                        No. PCT/EP2010/003426, filed Jun. 8, 2010, IVAX Pharmaceuticals
                                                                          Ireland.
         PCT Pub. Date: Dec. 16, 2010                                                                (Continued)
  (65)                   Prior Publication Data
         US 2012/O1749 18 A1           Jul. 12, 2012                      Primary Examiner — Steven Douglas
                                                                          (74) Attorney, Agent, or Firm — RatnerPrestia
              Related U.S. Application Data                               (57)                      ABSTRACT
  (60) Provisional application No. 61/185.380, filed on Jun.              An inhaler, such as a breath-actuated metered-dose inhaler,
         9, 2009.                                                         for delivering medicament to a patient. The inhaler includes a
  (30)              Foreign Application Priority Data                     housing for holding the medicament and having an air inlet
                                                                          and a medicament delivery port which together define an air
     Jun. 18, 2009 (GB) ................................... O910537.0     flow path into which the medicament is dispensed. The air
  (51) Int. Cl.                                                           inlet includes an array of elongate apertures formed in the
         A6M II/00                 (2006.01)                              housing, the long sides of adjacent apertures facing each
         A6M I5/00                 (2006.01)                              other. Each aperture is provided with a respective different
  (52) U.S. Cl.                                                           opening in an outer Surface of the housing. The opening of
         CPC ......... A61M 15/009 (2013.01); A61M 15/0091                each aperture extends in two different planes such that, if at
                           (2013.01); A61M 15/0026 (2014.02)              least a part of the opening is covered in one of the two
         USPC ............. 128/200.23; 128/200.12; 128/203.12            different planes during inhalation by the patient, a Void space
  (58) Field of Classification Search                                     is created between the cover and the aperture so as to provide
         CPC .......... A61M 15/009; A61M 15/0065; A61M                   an air flow path through the Void space to the at least one
                                                            15/O091
                                                                          aperture.
         USPC ............. 128/200.23, 200.12, 200.14, 203.15,                            18 Claims, 2 Drawing Sheets



                                                                                         Y         110
                                                                    100
                                                              10



                                                                                                                106
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 18 of 318 PageID: 93


                                                           US 8,931476 B2
                                                                    Page 2

  (56)                    References Cited                               EP                2514465         10, 2012
                                                                         EP                2514466         10, 2012
                   U.S. PATENT DOCUMENTS                                 EP                2514467         10, 2012
                                                                         EP                2514468         10, 2012
         5,685,294 A * 1 1/1997 Gupte et al. ............. 128,203.15    EP                2596827          5, 2013
         D395,147 S      6/1998 Vidgrén et al.                           EP                2687253          1, 2014
         5,904,139 A * 5/1999 Hauser ..................... 128/200.23    EP                2705868          3, 2014
         D441,859 S        5, 2001 Pera                                  GB                2264238 A1       8/1993
       6,357.442 B1* 3/2002 Casper et al. ............ 128.200.23        GB              2058630           12/1996
       6,443,146 B1* 9/2002 Voges ...................... 128/200. 14     JP          2006-5O2759            2, 2004
       6,994,083 B2    2/2006 Foley et al.                               JP          2006-511297            T 2004
       7,051,731 B1    5/2006 Rogerson                                   NZ               240573            5, 1995
       8,215,300 B2 * 7/2012 Steiner et al. ............ 128/203.15      WO         WO 01/04118 A2          1/2001
       8,534,281 B2 * 9/2013 Davies et al.               128/203.15      WO         WOO1f93933 A2          12/2001
       8,616,195 B2 * 12/2013 Power et al. ............. 128/200.16      WO         WOO193933 A2           12/2001
   2004/0025867 A1     2/2004 Holroyd                                    WO        WOO3,103563 A2          12/2003
   2005/0005933 A1     1/2005 Seppala et al.                             WO       WO 2004/O12801 A1         2/2004
   2006/007601.0 A1        4/2006 King                                   WO       WO 2004/060260 A2         T 2004
   2006/0185672 A1* 8, 2006 Pinon et al. .............. 128/203.15       WO       WO 2007/107160 Al         9/2007
   2006/0289.005 A1* 12, 2006 Jones et al. .            128/203.15       WO       WO 2007/107160 A1         9/2007
   2008/O142007 A1* 6/2008 Fenlon ..................... 128/203.15       WO       WO 2007/132217 A1        11/2007
   2008/O196718 A1         8/2008 Connell et al.                         WO       WO 2007 132217 A1        11, 2007
   2010/0163042 A* 7/2010 Bhowmicket al. ... 128/203.15                  WO       WO20014248               12/2010
                                                                                           OTHER PUBLICATIONS
               FOREIGN PATENT DOCUMENTS
                                                                         Japanese Office Action dated Jan. 31, 2014 corresponding to Japa
  EP                 O561838          9, 1993                            nese counterpart Patent Application No. 2012-514379.
  EP                 O774986          5, 1997                            European opposition dated Feb. 4, 2014 corresponding to European
  EP                 O966309         12/1999                             counterpart Patent Application 10727674.3.
  EP                 1019 126         T 2000                             European opposition dated Apr. 15, 2014 corresponding to European
  EP                 1294420          3, 2003                            counterpart Patent Application 10727674.3.
  E.                  E8 A1           338                                Orion Corporation 2004 Annual Report (2004).
  EP                 1486227         12, 2004                            Instruction leaflet for Beclomet Easyhaler 200 microgram?dose inha
  EP                 1545634          6, 2005                            lation powder (Feb. 2011).
  EP                 1667627          6, 2006                            Cemada, Adriana Munoz, Revista Cubana de Farmacia (2006).
  EP                 21351.99        12/2009                             Hirst, PH. et al., Respiratory Medicine (2000) Band 95,720-727.
  EP                 2178500          4/2010                             Koskela, T. et al. Respiratory Medicine (2000) 94. 1229-1233.
  EP                 2189176          5, 2010                            Crystyn, Henry, Clin. Drug Invet. (2005), 26(4), 175-183.
  EP                 2314336          4/2011                             Youtube.com/watch?v=uWkbkydzWp.A. uploaded Sep. 24, 2008.
  EP                 243.2530         3, 2012                            British Search Report, dated Oct. 13, 2009, corresponding to coun
  EP                 2436414          4/2012                             terpart British Patent Application No. GB0910537.0.
  EP                 244O271          4/2012                             Canadian Office Action, dated May 7, 2013, corresponding to coun
  E.                 3:               g:                                 terpart Canadian Patent Application No. 2,760,647.
  EP                 2459.260         6, 2012                            Chinese Office Action, dated Jan. 23, 2013, corresponding to coun
  EP                 2496.294         9, 2012                            terpart Chinese Patent Application No. 201080025481.1.
  EP                 2502644         10, 2012                            Mexican Office Action, dated Jun. 14, 2014, corresponding to coun
  EP                 2514462         10, 2012                            terpart Mexican Patent Application No. MX/a/2011/012755.
  EP                 2514463         10, 2012
  EP                 2514464         10, 2012                            * cited by examiner
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 19 of 318 PageID: 94


  U.S. Patent          Jan. 13, 2015   Sheet 1 of 2         US 8,931,476 B2
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 20 of 318 PageID: 95


  U.S. Patent          Jan. 13, 2015       Sheet 2 of 2         US 8,931,476 B2




                                       Y           110
             100




                                                          106




                                                          106




                               FIG. 3
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 21 of 318 PageID: 96


                                                        US 8,931,476 B2
                                 1.                                                                  2
                             NHALER                                     for producing an air flow through the actuator housing into
                                                                        which the medicament is released.
             CROSS-REFERENCE TO RELATED                                Further, for breath-actuated inhalers, the air flow through
                    APPLICATIONS                                    the actuator housing typically operates or at least influences
                                                                    in Some way the breath-actuated mechanism. Consequently,
     This application is the U.S. national phase application of the actuator housing of Such inhalers comprises air inlets
  PCT International Application No. PCT/EP2010/003426, designed to allow airflow through the housing. However, Such
  filed Jun. 8, 2010, which claims priority to U.S. Provisional air inlets exhibit the problem that they can be covered or
  Patent Application No. 61/185.380, filed Jun. 9, 2009, and occluded by the patients hand or finger during use, thereby
  Great Britain Patent Application No. 0910537.0, filed Jun. 18, 10 preventing or influencing the airflow through the actuator
  2009, the contents of such applications being incorporated by housing, with the result that the breath-actuated mechanism
  reference herein.
                                                                    may malfunction. This problem is often exacerbated by the
                  FIELD OF THE INVENTION                            fact that the air inlets are provided on the actuator housing at
                                                                 15 positions which are convenient for handling the inhaler dur
     This invention relates to an inhaler for delivering medica ing use by the patient.
  tion to a patient, and more particularly to a metered-dose           Thus, there is a need in the art to provide improved airflow
  inhaler.                                                          configurations for inhalers that are less Susceptible to being
                                                                    occluded or blocked by the patient during use, while at the
            BACKGROUND TO THE INVENTION                             same time allowing for convenient and comfortable operation
                                                                    by the patient.
     Inhalers for delivering medicament to a patient by inhala
  tion are known. Such devices include metered-dose inhalers                         SUMMARY OF THE INVENTION
  (of both pressurised and dry-powder types). Metered-dose
  inhalers typically comprise a medicament-containing vessel 25 According to the invention, there is provided an inhaler for
  and an actuator housing having a medicament delivery outlet delivering medicament to a patient, the inhaler comprising a
  in the form of a mouthpiece or nosepiece.                            housing for holding the medicament and having an air inlet
     The medicament-containing vessel may be a pressurized means and a medicament delivery port which together define
  canister containing a mixture of active medicament and pro an air flow path into which the medicament is dispensed,
  pellant. Such canisters are usually formed from a deep-drawn 30 wherein the air inlet means comprises an array of elongate
  aluminium cup having a crimped lid which carries a metering               apertures formed in the housing, the long sides of adja
  valve assembly. The metering valve assembly is provided                   centapertures facing each other, and each aperture being
  with a protruding valve stem which, in use, is inserted as a              provided with a respective different opening in an outer
  tight push fit into a so-called stem block in the actuator hous           Surface of the housing,
  ing.                                                              35    and wherein the opening of each aperture extends in two
     Metered-dose inhalers may either be of the manually oper               different planes such that, if at least a part of the opening
  able type or the breath-actuated type. For the manually oper              is covered in one of the two different planes during
  able type, the patient self-administers the medicament by                 inhalation by the patient, avoid space is created between
  manually pressing the closed end of the canister into the                 the cover and the aperture so as to provide an air flow
  actuator housing to cause movement of the canister relative to 40         path through the Void space to the at least one aperture.
  its valve stem (which is fixed in the stem block of the actuator        The inventors have found that the provision of multiple
  housing). This movement is sufficient to actuate the metering elongate apertures having respective different openings, each
  valve assembly of the canister, resulting in the pressurised extending in two different planes, minimises the risk of the air
  contents of a metering chamber being vented through the inlet means becoming blocked. By different openings, it is
  stem, through the stem block and its exit jet and orifice, and 45 meant that the opening of each aperture is defined, at least in
  causing the medicament to exit the mouthpiece or nosepiece part, by Surfaces which are unique to that opening.
  as an aerosol mist. Simultaneously with this action, the                Embodiments of the invention may therefore prevent the
  patient inhales through the nosepiece or mouthpiece, entrain air inlet means from being blocked by the patient during use,
  ing the aerosol mist in the inhaled stream of air. The patient particularly by the patient’s finger or thumb which each com
  then releases the depression force on the canister which, 50 prise soft tissue and can conform to different surface relief.
  under the action of an internal valve spring, moves upward By providing Void spaces between the patient and the aper
  with respect to the valve stem, returning to its resting position. tures when the patient covers the air inlet means, a Substantial
     A more recent development is the so-called breath-actu air flow path can be maintained which enables air to flow
  ated metered-dose inhaler, which serves to automatically dis through the air inlet means despite the air inlet means being
  place the canister relative to its valve stem and release the 55 covered by the patient.
  contents of the canister's metering chamber in response to a            Embodiments may be particularly advantageous for use in
  patients inspiration. The general purpose of Such inhalers is conjunction with metered-dose inhalers, and particularly
  to alleviate difficulties in coordinating actuation of the meter breath-actuated inhalers of this type containing a pressurised
  ing valve assembly with the patients inspiration, and to pro aerosol canister.
  vide for a maximal amount of medication to be drawn into the 60         The invention may be applied to known inhalers with only
  patient’s lungs. A breath-actuated metered-dose inhaler is minimal design changes, thereby reducing the potential for
  disclosed in WOO1/93933 A2.                                          patient confusion, and avoiding large tooling costs that would
     The actuator housing is generally regarded as an integral be associated with more significant design changes.
  part of the medicament delivery system, since the design of             The apertures of the air inlet means may be arranged to be
  the housing can greatly affect the form of the medicament 65 parallel to one another. In this way, it may be possible to
  generated for inhalation by the patient. The actuator housing maximise the air flow through an air inlet means having a
  ofa metered-dose inhaler typically includes an airinlet means predetermined cross-sectional area. Raised, elongate forma
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 22 of 318 PageID: 97


                                                       US 8,931,476 B2
                                3                                                                      4
  tions having the form of ribs may be provided between adja          between the cover and the aperture so as to provide an airflow
  cent apertures to define the different openings of the aper         path through the Void space to the at least one aperture.
  tures.                                                                 Referring to FIG. 1, there is shown a breath-actuated pres
     The apertures may have a length in the range 2 mm to 20 surised metered-dose inhaler 10 having an air inlet means 12
  mm, preferably in the range 4 mm to 12 mm. The apertures 5 according to the prior art document WO 01/93933 A2 (the
  may have a width in the range 0.5 mm to 2 mm, preferably entire disclosure of which is incorporated herein by refer
  about 1 mm. The distance between adjacent apertures may be ence). A detailed explanation of the principle of operation of
  the same as the width of the apertures. The raised surface the          inhaler 10 is not essential for understanding the invention,
  formations provided between adjacent apertures may have a 10 but        a brief explanation will be provided by way ofbackground
                                                                      information.
  height in the range 0.5 mm to 5mm, preferably 1 mm to 3 mm.            The inhaler 10 comprises a main body 14 and an end cap 16
     In embodiments, each aperture is in effect provided in a
  respective different recess in the outer surface of the housing, which      together define an elongate actuator housing. The main
                                                                      body 14, which is generally cylindrical in cross-section, is
  which recess defines the opening of the aperture. The area of provided with a laterally extending mouthpiece 18 at one end
  the opening of each aperture (in the outer Surface of the 15 and at the other end is adapted to receive a portion of a
  housing) may be larger thananarea of the aperture in the inner cylindrical medicament-containing pressurised canister. A
  Surface of the housing, for example the recess may surround stem block (not shown) is provided within the main body 14
  the aperture. In general, however, it is preferred that at least for receiving the valve stem of the canister, and includes an
  one dimension of the recess is the same as, or similar to, the      exit jet and orifice communicating with the mouthpiece 18.
  corresponding dimension of the aperture, in order to mini              The end cap 16, which is also generally cylindrical in
  mise the risk of the air inlet means becoming blocked.              cross-section, is provided with the air inlet means 12 at one
     As mentioned above, it is an essential feature of the inven      end and at the other end is adapted to receive the remaining
  tion that the opening of each aperture extends in two different portion of the canister. The main body 14 and end cap 16 are
  planes, that is to say the opening defines some curvature oran connected together by a threaded coupling. Components of
  edge between angled planes. In preferred embodiments, the 25 the breath-actuated mechanism (not shown) are contained
  opening of each aperture extends in different planes defining within both the main body 14 and the end cap 16.
  an angle of at least 45 degrees, and more preferably at least 60       The breath-actuated mechanism and canister contained
  degrees, and most preferably at least 80 degrees.                   within the housing 14.16 provide one or more air pathways
     The housing may comprise an elongate body, which body Such that air may pass from the air inlet means 12 to the
  may be unitary or multi-part. The air inlet means may conve 30 mouthpiece 18 through the inside of the housing 14.16.
  niently be provided at an end of the elongate body opposite to         The mouthpiece 18 is provided with a dust cap 20 rotatable
  an end at which the medicament delivery port is provided. In about an axis 22 between a first (closed) position (as shown in
  this case, the air inlet means may comprise a pair of the arrays FIG. 1) and a second (open) position. In use, the patient
  of elongate apertures arranged at opposite sides of the end rotates the dust cap 20 to its open position and inserts the
  face of the elongate body, with a raised, elongate Surface 35 exposed mouthpiece 18 into their mouth. On inhalation by the
  formation provided between the arrays.                              patient through the mouthpiece 18, a pressure differential in
     The inhaler may be a metered-dose inhaler, particularly a the housing 14.16 causes the breath-actuated mechanism to
  breath-actuated metered-dose inhaler. The housing may be automatically displace the canister relative to its valve stem.
  adapted for receiving a medicament-containing pressurised Medicament contained within the metering chamber of the
  canister.                                                        40 canister is accordingly released in response to the patients
                                                                      inspiration.
         BRIEF DESCRIPTION OF THE DRAWINGS                               During the patient’s inspiration, airflows from the air inlet
                                                                      means 12, through the housing 14, 16, to the mouthpiece 18,
     An embodiment of the invention will now be described, by and therefore to the patient. The medicament released from
  way of example only, with reference to the accompanying 45 the metering chamber of the canister is entrained in this
  diagrams, in which:                                                 airflow.
     FIG. 1 shows an inhaler having an air inlet means accord            After inhalation of the dose of medicament by the patient,
  ing to the prior art document WO 01/93933 A2;                       the dust cap 22 is returned to its closed position, and this
     FIG. 2 is an enlarged view of an inhaler having an air inlet causes the breath-activated mechanism and the aerosol can
  means according to an embodiment of the invention; and              ister to reset to a rest position ready for Subsequent use.
    FIG. 3 is side view of the inhaler shown in FIG. 2.                  The air inlet means 12 of the inhaler 10 shown in FIG. 1
                                                                      comprises a plurality of elongate apertures 24 formed in the
                   DETAILED DESCRIPTION                               end face of the end cap 16. The apertures 24 are arranged in a
                                                                      pair of arrays provided on opposite sides of the end face.
     The invention provides an inhaler, Such as a breath-actu 55 Although there is a limited amount of three-dimensionality
  ated pressurised metered-dose inhaler, for delivering medica 26 provided between the arrays, the openings of adjacent
  ment to a patient. The inhaler comprises a housing for holding apertures 24 in each of the arrays define a flat surface. Con
  the medicament, and having an air inlet means and a medica sequently, in use of the inhaler, it is a problem that the aper
  ment delivery port which together define an airflow path into tures 24 can become blocked by the finger or thumb of the
  which the medicament is dispensed. The air inlet means com- 60 patient, which may lead to a malfunction of the breath-actu
  prises an array of elongate apertures formed in the housing, ated mechanism and/or incomplete or ineffective delivery of
  the long sides of adjacent apertures facing each other. Each the medicament to the patient.
  aperture is provided with a respective different opening in an        Referring now to FIGS. 2 and 3, there is shown enlarged
  outer Surface of the housing. The opening of each aperture view of an inhaler 100 having an air inlet means 102 accord
  extends in two different planes such that, if at least a part of 65 ing to an embodiment of the invention. With the exception of
  the opening is covered in one of the two different planes its air inlet means 102, the inhaler 100 according to the
  during inhalation by the patient, a Void space is created invention has the same structure and use as the known inhaler
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 23 of 318 PageID: 98


                                                        US 8,931,476 B2
                                 5                                                                  6
  10 shown in FIG.1. A detailed description of the individual          in dry-powder inhalers in which a source of air is required for
  components of the inhaler 100, other than the end cap having         effective atomization of the medicament.
  the air intake means 102, will accordingly be omitted. Simi             In the embodiment described above, the air inlet means is
  larly, a detailed description of the use of the inhaler 100 will     arranged in an end face of the end cap. In alternative embodi
  also be omitted.                                                     ments the air inlet means may be provided elsewhere, such as
     The air inlet means 102 of the inhaler 100 comprises a            in the end face of the main body, adjacent to the mouthpiece.
  plurality of parallel, elongate apertures 104 having an                 Components of an inhaler according to the invention will
  approximately rectangular shape. The apertures 104 are               typically be moulded plastics components. Such components
  formed in the end face of the end cap 106. The apertures 104         can conveniently be provided with the surface features of the
  are arranged in two distinct arrays provided on opposite sides 10 invention.
  of the end face, each array comprising five apertures 104                In embodiments the inhaler comprises a medicament-con
  whose long sides face one another. Short sides of the aper taining pressurised canister containing a medicament and a
  tures 104 in one of the arrays face short sides of the apertures propellant.
  104 in the other of the arrays, and are separated by a pair of           Typically, the medicament is selected from the group con
  elongate surface protrusions 108 which extend in a direction 15 sisting of anti-inflammatory agents, anti-cholinergic agents,
  perpendicular to the length direction of the apertures 104.            B-adrenoreceptor agonists, anti-infective agents, anti-hista
     Each of the apertures 104 is effectively recessed in the mines and combinations thereof.
  Surface of the end cap 106, and the recess defines an opening            Suitable anti-inflammatory agents include corticosteroids
  of the aperture 104. The recesses are defined by raised, elon and NSAIDs. Suitable corticosteroids which may be used
  gate surface protrusions in the form of moulded ribs 110 include those oral and inhaled corticosteroids and their pro
  arranged between the long sides of adjacent apertures 104. drugs which have anti-inflammatory activity. Examples
  Each recess is open at one end, with a corresponding end of include methyl prednisolone, prednisolone, dexamethasone,
  each rib 110 being chamfered. As such, the opening of each fluticasone propionate, 6a,9a-difluoro-17a-(2-furanylcarbo
  aperture 104 extends in two substantially perpendicular nyl)oxy-11-hydroxy-16a-methyl-3-oxo-androsta-1,4-di
  planes: a horizontal plane corresponding to the “top” portion ene-17-carbothioic acid S-fluoromethyl ester, 6a,9a-difluoro
  of the opening and a vertical plane corresponding to the 25 11-hydroxy-16a-methyl-3-oxo-17a-propionyloxy-androsta
  “side' portion of the opening.                                        1,4-diene-17p-carbothioic acid S-(2-oxo-tetrahydro-furan
     The apertures 104 have lengths which vary from 5 mm to 7 3S-yi) ester, beclomethasone esters (e.g. the 17-propionate
  mm, and a width of 1 mm. A spacing between apertures 104 ester or the 17,21-dipropionate ester), budesonide,
  is 1.2 mm, and the elongate ribs 104 filling these spaces have flunisolide, mometasone esters (e.g. the furoate ester), triam
  a height of 2.5 mm.                                                30 cinolone acetonide, rofileponide, ciclesonide, butixocort pro
     In use of the inhaler 100, if the patient covers at least a part pionate, RPR-106541, and ST-126. Preferred corticosteroids
  of the openings of the apertures 104 in one of the two different include fluticasone propionate, 6a,9c-difluoro-1 1-hydroxy
  planes, for example with their finger or thumb, then void             16a-methyl-17a-(4-methyl-1,3-thiazole-5-carbonyl)oxy-3-
  spaces are created between the patient and the apertures 104 oxo-androsta-1,4-diene-17,8-carbothioic acid S-fluorom
  So as to provide an airflow path through the Void spaces to the 35 ethyl ester and 6a,9a-difluoro-17a-(2-furanylcarbonyl)oxy
  apertures 104, thereby preventing the apertures 104 from              11-hydroxy-16a-methyl-3-oxo-androsta-1,4-diene-17
  being occluded or blocked by the patient.                             carbothioic acid S-fluoromethyl ester, more preferably 6a,9a
     In other words, if the air inlet means 102 is covered by a difluoro-17a-(2-furanylcarbonyl)oxy-11-hydroxy-16a
  Surface extending in the horizontal plane which prevents ver methyl-3-oxo-androsta-1,4-diene-17-carbothioic                      acid
  tical air flow (as illustrated by the arrows labelled “V” in 40 S-fluoromethyl ester.
  FIGS. 2 and 3) into the apertures 104, for example, the con              Suitable NSAIDs include sodium chromoglycate,
  figuration of the air inlet means 102 is such that the openings nedocromil sodium, phosphodiesterase (PDE) inhibitors (e.g.
  of the apertures 104 extend at least partially in the vertical theophylline, PDE4 inhibitors or mixed PDE3/PDE4 inhibi
  plane enabling horizontal airflow (as illustrated by the arrows tors), leukotriene antagonists, inhibitors of leukotriene Syn
  labelled “H” in FIGS. 2 and 3) into the apertures 104. Con thesis, iNOS inhibitors, tryptase and elastase inhibitors,
  versely, if the air inlet means 102 is covered by a surface 45 beta-2 integrin antagonists and adenosine receptoragonists or
  extending in the vertical plane which prevents horizontal air antagonists (e.g. adenosine 2a agonists), cytokine antagonists
  flow (as illustrated by the arrows labelled “H”) into the aper (e.g. chemokine antagonists) or inhibitors of cytokine Syn
  tures 104, the configuration of the air inlet means 102 is such thesis.
  the openings of the holes 24 extend in the horizontal to plane           Suitable other B2-adrenoreceptor agonists include Salme
  enabling vertical airflow (as illustrated by the arrows labelled 50 terol (e.g. as the Xinofoate), salbutamol (e.g. as the Sulphate or
  “V”) into the apertures 104.                                          the free base), formoterol (e.g. as the fumarate), fenoterol or
     With specific reference to FIG. 3, it can be seen that the terbutaline and salts thereof.
  elongate ribs 110 which define the openings of the apertures             Suitable anticholinergic agents are those compounds that
  104 stand proud of the surrounding surface 112 of the end cap act as antagonists at the muscarinic receptor, in particular
  106. The elongate ribs 110 thus ensure a void space can be 55 those compounds, which are antagonists of the M1 and M2
  maintained between the patents finger or thumb and the receptors. Compounds include the alkaloid of the belladonna
  apertures 104.                                                        plants as illustrated by the likes of atropine, Scopolamine,
     A specific embodiment has been described herein for pur homatropine, hyoscyamine; these compounds are normally
  pose of illustration. Various modifications will be apparent to administered as a salt, being tertiary amines.
  a person skilled in the art and may be made without departing 60 Particularly Suitable anticholinergics include ipratropium
  from the scope of the invention.                                      (e.g. as the bromide), sold under the name Atrovent,
     For example, although the embodiment described above is oxitropium (e.g. as the bromide) and tiotropium (e.g. as the
  implemented as breath-actuated pressurised metered-dose bromide) (CAS-1394.04-48-1). Also of interest are: meth
  inhaler, it will be understood that alternative embodiments           antheline (CAS-53-46-3), propantheline bromide (CAS-50
  may more generally comprise an inhaler for delivering medi 34-9), anisotropine methyl bromide or Valpin 50 (CAS-80
  cation to a patient by inhalation, wherein restriction or pre 65 50-2), clidinium bromide (Quarzan, CAS-3485-62-9),
  vention of blockage of air inlets by the patient is desirable. copyrrolate (Robinul), isopropamide iodide (CAS-71-81-8),
  Such prevention of blockage may, for example, be desirable mepenzolate bromide (U.S. Pat. No. 2,918.408), tridihex
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 24 of 318 PageID: 99


                                                         US 8,931,476 B2
                                7                                                                        8
  ethyl chloride (Pathilone, CAS-4310-35-4), and hexocyclium                                    Example Formulation 2
  methylsulfate (Tral, CAS-1,5-63-9). See also cyclopentolate
  hydrochloride (CAS-5870-29-1), tropicamide (CAS-1508
  75-4), trihexyphenidyl hydrochloride (CAS-144-11-6),
  pirenzepine (CAS-29868-97-1), telenzepine (CAS-80880                             Ingredient                      Mass/mg
  90-9), AF-DX 116, or methoctramine, and the compounds                            Salbutamol Sulphate              O.1098
  disclosed in WOO1/041 18.
                                                                                   HFA 134a                        27.8
     Suitable antihistamines (also referred to as H1-receptor                      Ethanol                          3.6
  antagonists) include any one or more of the numerous antago
  nists known which inhibit H1-receptors, and are safe for 10
  human use. All are reversible, competitive inhibitors of the
  interaction of histamine with H1-receptors. Examples                 The invention claimed is:
  include ethanolamines, ethylenediamines, and alkylamines.            1. An inhaler for delivering medicament to a patient, the
  In addition, other first generation antihistamines include inhaler comprising a housing for holding the medicament and
  those which can be characterized as based on piperizine and 15 having an air inlet means and a medicament delivery port
  phenothiazines. Second generation antagonists, which are which together define an air flow path into which the medi
  non-sedating, have a similar structure-activity relationship in cament is dispensed,
  that they retain the core ethylene group (the alkylamines) or        wherein the air inlet means comprises an array of elongate
  mimic the tertiary amine group with piperizine or piperidine.            apertures formed in the housing, wherein long sides of
  Exemplary antagonists are as follows:                                    adjacent apertures face each other, and each aperture
     Ethanolamines: carbinoxamine maleat, clemastine fuma                  being provided with a respective different opening in an
  rate, diphenylhydramine hydrochloride, and dimenhydrinate.               outer Surface of the housing,
                                                                       and wherein the opening of each aperture extends in two
     Ethylenediamines: pyrilamine amleate, tripelennamine                  different planes such that, if at least a part of the opening
  HCl, and tripelennamine citrate.                                         is covered in one of two different planes during inhala
     Alkylamines: chlorpheniramine and its salts such as the 25            tion by the patient, a Void space is created between a
  maleate salt, and acrivastine.                                           cover and the aperture so as to provide an air flow path
     Piperazines: hydroxyzine HCl, hydroxyzine pamoate,                    through the Void space to the at least one aperture,
  cyclizine HCl, cyclizine lactate, meclizine HCl, and cetirizine          wherein a raised formation is provided in the outer sur
  HC1.                                                                     face of the housing between adjacent apertures to either
                                                                  30       limit or prevent a covered opening.
     Piperidines: Astemizole, levocabastine HCl, loratadine or         2. An inhaler according to claim 1, wherein the apertures
  its descarboethoxy analogue, and terfenadine and fexofena are arranged to be parallel to one another.
  dine hydrochloride or another pharmaceutical acceptable              3. An inhaler according to claim 1, wherein the raised
  salt.                                                              formations are elongate raised formations.
     Azelastine hydrochloride is yet another H1 receptor 35 4. An inhaler according to claim 1, wherein each aperture is
  antagonist which may be used in combination with a PDE4 provided in a respective different recess in the outer surface of
  inhibitor.                                                         the housing, which recess defines the opening of the aperture.
     Particularly suitable anti-histamines include methapy each        5. An inhaler according to claim 1, wherein the opening of
  rilene and loratadine.                                                   aperture extends in Substantially perpendicular planes.
                                                                        6. An   inhaler according to claim 1, wherein the housing
     Preferably the medicament is presented in a formulation 40 comprises an elongate body.
  comprising a propellant and preferably a solvent; other pre          7. An inhaler according to claim 6, wherein the air inlet
  ferred ingredients include Surfactants, including oleic acid. means is provided in an end face of the elongate body.
  Preferred solvents include ethanol, glycerols and glycols.           8. An inhaler according to claim 7, wherein the air inlet
     Preferred propellants include hydrofluoroalkanes; in par 45 means comprises a pair of the arrays of elongate apertures
  ticular 1,1,1,2-tetrafluoroethane (HFA134a); 1,1,1,2,3,3,3- body.  arranged at opposite sides of the end face of the elongate
  Heptafluoropropane (HFA227); or combinations thereof.
  Preferably, the medicament is suspended in the propellant.           9. An inhaler according to claim 1, wherein the inhaler is a
                                                                     metered-dose inhaler.
  Alternatively the medicament is dissolved in the propellant.          10. An inhaler according to claim 1, wherein the inhaler is
  The medicament may also be part Suspended and part dis 50 a breath-actuated            metered-dose inhaler.
  solved in the propellant.                                            11. An inhaler according to claim 1, wherein the housing is
                                                                     adapted for receiving a medicament-containing pressurised
                            EXAMPLES                                   canister.
                                                                  12. An inhaler according to claim 11, wherein the inhaler
     The following medicament formulations were used in the 55 comprises a medicament-containing pressurised canister
  inhaler:                                                     containing a medicament and a propellant.
                                                                  13. An inhaler according to claim 1, wherein the medica
                                                               ment is selected from the group consisting of anti-inflamma
                    Example Formulation 1                      tory agents, anti-cholinergic agents, f-adrenoreceptor ago
                                                            60
                                                               nists, anti-infective agents, anti-histamines and combinations
                                                                       thereof.
                                                                        14. An inhaler according to claim 12, wherein said medi
        Ingredient                        Quantity/mg per ml          cament is dissolved in said propellant or said medicament is
        Beclomethasone dipropionate               1.OO                Suspended in said propellant.
        Ethanol                                  94.80                  15. An inhaler according to claim 1, wherein the medica
        HFA 134a                               1090.2O             65 ment is selected from the group consisting of salbutamol.
                                                                       formoterol, salmeterol, fluticasone, budesonide, beclometha
                                                                       Sone, tiotropium, ipratropium and combinations thereof.
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 25 of 318 PageID: 100


                                                          US 8,931,476 B2
                                    9                                       10
      16. An inhaler according to claim 7, wherein the medica
   ment delivery port is arranged at an opposite end of the
   elongated body to the end face.
      17. A metered-dose inhaler for delivering medicament to a
   patient, the inhaler comprising a housing for holding the
   medicament and having an air inlet means and a medicament
   delivery port which together define an airflow path into which
   the medicament is dispensed,
      wherein the housing comprises an elongate body and the
        air inlet means is provided in an end face of the elongate 10
        body,
      wherein the air inlet means comprises an array of elongate
        apertures formed in the housing, long sides of adjacent
        apertures facing each other, and each aperture being
        provided with a respective different opening in an outer 15
         Surface of the housing,
      wherein each aperture is provided in a respective different
        recess in the outer Surface of the housing, which recess
        defines the opening of the aperture,
      and wherein the opening of each aperture in the outer
         surface of the housing extends in two different planes
        defining an angle of at least 45 degrees to each other,
         Such that, ifat least apart of the opening is covered in one
        of the two different planes during inhalation by the
        patient, a Void space is created between the patient and 25
        the aperture so as to provide an airflow path through the
        Void space to the at least one aperture.
      18. An inhaler according to claim 17, wherein the medica
   ment delivery port is arranged at an opposite end of the
   elongate body to the end face.                                     30
                           k   k   k   k   k
   Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 26 of 318 PageID: 101

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,931,476 B2                                                                                       Page 1 of 1
APPLICATIONNO.              : 13/377037
DATED                       : January 13, 2015
INVENTOR(S)                 : Simon Kaar et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         In the Specification
         At Column 2, line 50, “relief should read --reliefs--
         At Column 7, line 2, “CAS-1,5-63-9) should read --CAS-115-63-9)--




                                                                                    Signed and Sealed this
                                                                                 Nineteenth Day of May, 2015
                                                                          74-4-04- 2% 4            Michelle K. Lee
                                                                               Director of the United States Patent and Trademark Office
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 27 of 318 PageID: 102




                            EXHIBIT C
                                                                    TOMONIDANTHALIDOTTON
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 28 of 318 PageID: 103

                                                                                              US010022509B2

   (12) United States Patent                                              ( 10) Patent No.: US 10 ,022,509 B2
           Walsh et al.                                                   (45) Date of Patent:     Jul. 17, 2018
   (54 ) BORE
         DOSE COUNTER FOR INHALER HAVING A
              AND SHAFT ARRANGEMENT
                                                                     (52) U .S. CI.
                                                                            CPC ....... A61M 15 / 0078 (2014 .02); A61M 11 /00
   (71) Applicants: IVAX PHARMACEUTICALS                                                   ( 2013 .01 ); A61M 15 / 009 ( 2013 .01 );
                    IRELAND , Waterford (IE ); NORTON                                                 (Continued )
                      (WATERFORD ) LIMITED , Waterford               (58 ) Field of Classification Search
                      ( IE ); TEVA PHARMACEUTICALS                         CPC . A61M 15 /0078 ; A61M 11 /00 ; A61M 15 /009
                      IRELAND , Waterford ( IE )                                            ( Continued )
   (72 ) Inventors : Declan Walsh , County Kilkenny ( IE );          (56 )               References Cited
                     Derek Fenlon , County Wexford (IE );
                     Simon Kaar, County Cork (IE ); Jan                                U .S . PATENT DOCUMENTS
                      Geert Hazenberg , County Kilkenny
                      ( IE ); Daniel Buck , County Waterford               4 ,174 , 890 A       11/ 1979 Johnson
                      ( IE ) ; Paul Clancy , Waterford ( IE ) ;            4 ,669,838 A          6 / 1987 Hibbard
                     Robert Charles Uschold , Leominster,                                            (Continued )
                     MA (US ); Jeffrey A . Karg , Hopkinton ,
                     MA (US )                                                        FOREIGN PATENT DOCUMENTS
   (73 ) Assignees: Ivax Pharmaceuticals Ireland ,                   CA                     2501726           9 /2006
                      Waterford ( IE ) ; Norton (Waterford)          EP                     1330280           7 /2003
                      Limited, Waterford (IE ); Teva                                          (Continued )
                      Pharmaceuticals Ireland , Waterford
                      (IE )                                                           OTHER PUBLICATIONS
   ( * ) Notice :     Subject to any disclaimer, the term of this    Final Office Action dated Oct. 20 , 2016 for U . S. Appl. No .
                      patent is extended or adjusted under 35        14 /699 ,567.
                      U . S . C . 154(b ) by 0 days .                                                 (Continued )
   ( 21 ) Appl. No.: 15 / 269 ,102                                   Primary Examiner - Daniel Hess
                                                                     (74) Attorney, Agent, or Firm — Morgan , Lewis &
   (22) Filed:        Sep. 19, 2016                                  Bockius, LLP
   (65 )                Prior Publication Data                       (57 )                   ABSTRACT
         US 2017 /0000961 A1 Jan . 5, 2017                           A dose counter for an inhaler, the dose counter having a
                Related U .S . Application Data                      display tape arranged to be incrementally driven from a tape
                                                                     stock bobbin onto an incremental tape take -up drive shaft,
   (60 ) Continuation of application No. 14/699 ,578 , filed on      the bobbin having an internal bore supported by and for
         Apr. 29, 2015 , which is a continuation of application      rotation about a support shaft, at least one of the bore and
                            (Continued )                             support shaft having a protrusion which is resiliently biased
                                                                     into frictional engagement with the other of the bore and
   (51) Int. Ci.                                                     support shaft with longitudinally extendingmutual frictional
        GO6M 1/ 06                   ( 2006 .01)                     interaction .
        A61M 11/ 00                  ( 2006 .01)
                            ( Continued )                                             16 Claims, 17 Drawing Sheets



                                                                                                             128
                                                                                                                           124
                    114
                                                                                                                            126


                          198                                                  102                          116
                    112
                                                                                                                     130
                                                   110
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 29 of 318 PageID: 104


                                                               US 10 ,Page
                                                                      022 ,2509 B2

                       Related U .S . Application Data                                        2008094103              4 /2008
                                                                             JP              2008261423              10 /2008
              No . 14 / 103, 353 , filed on Dec . 11 , 2013 , now Pat. No.                   2009233308              10 /2009
              9 ,526 ,850 , which is a division of application No .                          2009257392              11 /2009
              13/ 110 ,532 , filed on May 18 , 2011, now Pat. No .           JP               2010096308              4 /2010
                                                                             WO                   8909078            10 / 1989
              8 , 978 , 966 .                                                wo                   9628205             9 / 1996
                                                                             WO                  9828033              7 / 1998
    (60 ) Provisional application No. 61/417,659, filed on Nov.              WO                  9936115              7 / 1999
              29 , 2010 , provisional application No. 61 /345 ,763 ,         WO                 02/00281 A2           1 / 2002
         filed on May 18 , 2010 .                                            WO                03101514              12 /2003
                                                                             WO              2005102430              11/2005
    (51) Int. Ci.                                                            WO              2006062449               6 / 2006
                                                                             WO               2006062449 Al           6 / 2006
         A61M 15 /00             ( 2006 .01)                                 WO              2007012861               2 / 2007
              GOOM 1 /24                 (2006 .01)                          WO              2007062518               6 /2007
   ( 52 ) U . S . CI.                                                        WO              2008023019               2 /2008
          CPC .. . A61M 15/ 0025 ( 2014.02 ); A61M 15 / 0026                 WO               2008119552              2 /2008
                                                                             WO              2011012325               2 / 2011
                         (2014 .02 ); A61M 15 / 0065 ( 2013 .01); A61M       WO              2011012327               2 /2011
                          15 /0071 (2014 .02) ; GOOM 1/ 246 (2013 .01) ;
                        A61M 2202/ 064 (2013 .01 ); A61M 2205/6063                               OTHER PUBLICATIONS
                         ( 2013 .01) ; A61M 2207/00 ( 2013 .01); A61M
                           2207/ 10 ( 2013 .01) ; Y10T 29/ 49 ( 2015 .01);   Advisory Action dated Mar. 13 , 2017 for U .S. Appl. No.
                            Y1OT 29 /49764 ( 2015 .01); Y10T 29 /49826       14 /699 ,567.
                                                               (2015 .01)    Non -Final Office Action dated Jan . 12 , 2017 for U . S . Appl. No .
   (58 ) Field of Classification Search                                      14 /713 ,620 , 8 pages.
              USPC ............ 235/8 , 103 , 87 R ; 128 /200 .23 , 200 .1   Final Rejection dated Sep . 27 , 2016 for U . S . Appl. No. 14 /699 ,578 .
              See application file for complete search history.              Final Office Action dated Aug . 31 , 2016 for U .S . Appl. No.
                                                                              14 /713,620 , 7 pages .
    ( 56 )                      References Cited                             Advisory action dated Feb . 9 , 2017 for U . S . Appl. No . 14 /699,584 .
                                                                             Non -final rejection dated Jul. 12 , 2016 for U . S . Appl. No.
                         U .S . PATENT DOCUMENTS                              14 /713,643 .
             4 ,687,359 A        8 / 1987 Barrus                             File History for U .S . Appl. No . 15 /271,738 .
             5 ,482, 030 A       1/ 1996 Klein                               File History for U . S . Appl. No . 15 / 269, 102
             5 ,861,911 A        1 / 1999 Oosaka                             File History for U .S . Appl. No. 15 /262,818 .
             6, 446 ,627 B1
                          9 /2002 Bowman                                     File History for U . S . Appl. No . 15 /289 , 553 .
                          4 / 2004 OLeary
             6 , 718, 972 B2                                                 File History for U . S . Appl. No. 15 /269 ,249 .
          8 , 418, 690 B2 4 / 2013 Power                                     Final rejection dated Oct. 20 , 2016 or U . S . Appl. No. 14 /699 ,584 .
          8, 474,448 B2   7 / 2013 Oi                                        Non - Final Office Action dated Jun . 24 , 2016 for U .S . Appl. No.
          8,978, 966 B2   3 / 2015 Walsh et al.                              14 /713,620 , 7 pages.
          9,174, 013 B2 11/ 2015 Walsh et al .                               Final rejection dated Oct. 20 , 2016 or U .S . Appl. No . 14 /713,631.
         9 ,463 ,289 B2 10 / 2016 Walsh et al.
     2002/0047021 A1 4 / 2002 Blacker                                        Advisory Action dated Mar. 16 , 2017 or U . S . Appl. No. 14 / 713 ,633 .
     2002/0078949 Al 6 / 2002 OLeary                                         Entire patent prosecution history of U .S . Appl. No . 13 / 110 ,532 , filed
     2002/0078950 A1 * 6 / 2002 O 'Leary ........... A61M 15 /0045           May 18 , 2011, entitled , “ Dose Counters for Inhalers, Inhalers and
                                                        128 / 200 .22        Methods of Assembly Thereof."
     2002/0084891 A1 7 / 2002 Mankins et al.                                 Entire patentprosecution history of U . S . Appl. No. 14 / 103, 324 , filed
     2003/0209239 AL 11/ 2003 Rand                                           Dec . 11 , 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2004 /0089298 AL 5 / 2004 Haikarainen et al .                           Methods of Assembly Thereof."
     2004 /0095746 Al 5 / 2004 Murphy                                        Entire patent prosecution history of U .S . Appl. No . 14 / 103, 343, filed
     2005 /0028815 Al 2 /2005 Deaton                                         Dec . 11, 2013 , entitled , “ Dose Counters for Inhalers , Inhalers and
     2005 /0087191 A1 4 / 2005 Morton                                        Methods of Assembly Thereof."
     2006 /0096594 A1     5 /2006 Bonney
     2006 /0107949 Al 5 /2006 Davies                                         Entire patent prosecution history of U .S . Appl. No . 14 / 103 , 353 , filed
     2006 /0107979 Al     5 / 2006 Kim                                       Dec . 11, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2007 /0062518 AL            3 / 2007 Geser                              Methods of Assembly Thereof."
     2008 /0242465 AL           10 /2008 Strobel                             Entire patentprosecution history of U . S . Appl. No. 14 / 103 ,363 , filed
     2009/0178678 AL             7 / 2009 OLeary                             Dec . 1, 2013 , entitled , “ Dose Counters for Inhalers , Inhalers and
     2010 /0089395 AL            4 / 2010 Power                              Methods of Assembly Thereof."
     2010 /0218759 Al            9 / 2010 Anderson                           Entire patent prosecution history of U .S . Appl. No . 14 / 103 , 392 , filed
     2011 / 0041845 Al           2 /2011 Solomon                             Dec . 11, 2013 , entitled , “ Dose Counters for Inhalers , Inhalers and
     2012 / 0006322 AL           1/ 2012 Anderson                            Methods of Assembly Thereof."
                                                                             Entire patent prosecution history of U .S . Appl. No . 14 /699 , 567, filed
                    FOREIGN PATENT DOCUMENTS                                 Apr. 29 , 2015, entitled , “ Dose Counter for Inhaler and Method for
                                                                             Counting Doses."
   EP                      1486227        12/ 2004                           Entire patent prosecution history of U .S . Appl. No . 14 /699 ,578 , filed
   GB                    2320489           6 /1998                           Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler Having a Bore
                          201256          11/ 2014
                                                                             !and Shaft Arrangement."
                        02502129           7 / 1990
                                                                             Entire patentprosecution history of U . S . Appl. No. 14 /699,584 , filed
                          450059           8 / 1992
                                                                             Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler Having an
   eE e                 07100205
                        10504220
                      2002528144
                      2004501685
                      2008 - 94103 A
                                           4 / 1995
                                            4 / 1998
                                            9 /2002
                                           1 / 2004
                                           4 / 2008
                                                                             Antireverse Rotation Actuator” .
                                                                             Entire patent prosecution history of U .S . Appl. No. 14 /713,612, filed
                                                                             May 15 , 2015 , entitled , “ Dose Counters for Inhalers , Inhalers and
                                                                             Methods of Assembly Thereof."
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 30 of 318 PageID: 105


                                                                US 10 ,Page
                                                                       022,3509 B2

   ( 56 )                   References Cited
                      OTHER PUBLICATIONS
   Entire patent prosecution history of U .S . Appl. No. 14 /713 ,620 , filed
   May 15 , 2015 , entitled , “ Dose Counters for Inhalers, Inhalers and
   Methods of Assembly Thereof."
   Entire patent prosecution history of U .S . Appl. No. 14 /713 ,643, filed
   May 15 , 2015 , entitled , “ Dose Counters for Inhalers, Inhalers and
   Methods of Assembly Thereof."
   European Patent Office Communication , dated Apr. 24 , 2014 of
   counterpart European Patent Application No. 11 010 211. 8 .
   European Patent Office Communication , dated Apr. 24 , 2014 of
   counterpart European Patent Application No . 11 010 212.6 .
   First Examination Report of counterpart New Zealand Patent Appli
   cation No . 603466 , dated Jul. 1, 2013 .
   Office Action issued by the Israel Patent Office dated Jul. 3 , 2017 in
   reference to Israel Patent Application No . 247396 , 3 pages .
   Office Action issued by the Israel Patent Office dated Jul. 27 , 2017
   in reference to Israel Patent Application No . 247402 , 4 pages.
   * cited by examiner
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 31 of 318 PageID: 106


   U . S . Patent              Jul. 17 , 2018            Sheet 1 of 17              US 10 ,022 ,509 B2



                                        52       1850 ,10
                                                   .




                                                   .




                                                   int
                                                                               14
                                                              46


                                                FIG . 1
                 3A
                                                               .




                                        B                      .
                                                                                          .




                                         54                         40                              36
                                        46
                                                                   42
           FIG .2                               FIG . 3A                             FIG . 3B
                           168
               21170
          178 FR - 176
              TRIKO40                                                               198       194
              174 FIG . 4B                                               36
                                                                                                    196
         186 A
                        - 170
                         176
                      mm 774
                                                                              122
           128 4B                                                       118

            FIG .4C                             FIG .4A                               FIG . 5
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 32 of 318 PageID: 107


    U , S , Patent          Jul. 17, 2018                Sheet 2 0f17            US 10, 022,509 B2




                             ?   106
                                                                          94? 190 106
                    10494
                    704
                                                                     |102

                                                                          ??              188
                                                                                    110
                       / 0116 | 110 100                                  FIG. 6B 112
              _ 108 ?? 124. 126
                          FIG. 6A                                           1120
                                                                         ? 200       ??
                                                                                     fr



                                                 100

               ??
               ??
                                                   138                   FIG .6C
                                                                                        106
               ?



               ?




        106
                                                             ?????
                                                 ??130
                                                                                           136

                                            ??




           110124 _ 126 136
                          FIG.6D                                         FIG. 6E
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 33 of 318 PageID: 108


   U . S . Patent         Jul. 17 , 2018      Sheet 3 of 17                   US 10 ,022,509 B2

                                                               128
                                                                                   124
                                                                               - 124


                                                                     7             126
                                                                                   - 126



                                                               HD
                                                              116
                              102


                                      FIG .6F                            130


                                                                                     _ 138
                    144


                                                                         -           116

                                                                                    130
                 128 -


                    124
                                                                         126 126




                                           FIG .6G
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 34 of 318 PageID: 109


   U . S . Patent            Jul. 17 , 2018        Sheet 4 of 17        US 10 ,022 ,509 B2


               20
          24




                                                      74. Memang
          atta                      HI 32
                                    CL32              74
                                              u



                                              25
                         FIG . ZA                                  FIG . 7B
                    34
                                          96 92          o
                                                         94 90 36



                     58




                                 86 86 FIG .6H 82
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 35 of 318 PageID: 110


          Patent        Jul. 17 , 2018     Sheet 5 of 17         US 10 , 022,509 B2




                                            Lib
                                                    198                 FIG
                                                                        8C
                                                                        .



                                     184                    34

                                                                 80
                                                                 186




          10
                                   ban         64
                                                           166
                                                                 58

                                                                  182
                                                                        FIG
                                                                        8B
                                                                        .




                                                           62
                                              wie
                                                           t            FIG
                                                                        8A
                                                                        .

                                         U
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 36 of 318 PageID: 111


   U . S . Patent              Jul. 17 , 2018    Sheet 6 of 17              US 10 ,022 ,509 B2



                            162 160158                  156      76
                      164
                 50
                                                                                         7C
                                                                                         .
                                                                                         FIG
                                                                      1



                   150                                                144
               148 / 146146
               )




                                       IC
                                                                  152
         154 76           IN

                                                                                         7D
                                                                                         .
                                                                                         FIG
                74 /

                   144
                    144                          150
                                                118                         120
                                                                             120
          10
                                                                                   194
                                                                                         8D
                                                                                         .
                                                                                         FIG


                                                114
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 37 of 318 PageID: 112


           atent        Jul. 17 , 2018         Sheet 7 of 17   US 10, 022,509 B2


                                     +




                                         220

                                         !




                -


                -




              .
              -
              . -                                                   9
                                                                    .
                                                                    FIG




                    !


                            4040
                                               LDaitnuem
                                          +
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 38 of 318 PageID: 113


   U . S . Patent        Jul. 17 , 2018   Sheet 8 of 17                US 10 ,022,509 B2



                                                                            94




           7        .
                                    FIG . 10A '80
                                                  MOH
                                                            Hob        IT
                                                                            138




          á                                                             -- 143
          90                                                              - 94
           *
           -
           .
           -
           11
           -
           E
           .-
            .                                                          H142
          ?
                                            145



                                                          PL
                                                                        wm iao
                                                                            do
                                                                             140
                        149   80                            19
                                                          mensen 144


                                     FIG . 10B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 39 of 318 PageID: 114


   U . S . Patent                Jul. 17 , 2018                            Sheet 9 of 17              US 10 ,022 ,509 B2


                                       94 142                                                   140
                    *       .    .




                                                                                                               10E
                                                                                                               .
                                                                                                               FIG

                        .            wwwwww   w   wwwwwwwwwwwwwwwwwwww w     wwwwwwwww




                                                                                         138
         .




               34
                                w 98
                                                                                                               10C
                                                                                                               .
                                                                                                               FIG
         TIT                                                                               _
                                                                                                          92

                                                                                           80
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 40 of 318 PageID: 115


   U . S . Patent           Jul. 17 , 2018               Sheet 10 of 17              US 10, 022 ,509 B2



                                                                               138
                                                                              1
                                                                               94

                                                                              92

                                                                               144          10F
                                                                                            .
                                                                                            FIG
              .
              J
              LL
              .
              A                                                              1 80
         34
                    .   .   *   - III .

                                                                   138
                                                                                     140
                                                                                     94




                                                                                             10D
                                                                                             .
                                                                                             FIG
                                       wwwwwwwwwwwwwww     w   wwwwwwwwwww
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 41 of 318 PageID: 116


   U . S . Patent                Jul. 17 , 2018       Sheet 11 of 17            US 10, 022 ,509 B2




                                                                              - 240


                                                                               242




                                                                              - 244

                                                                              - 246

                                                                               248


          -2        commande




           .                   2x103          4x108        6x10        8x10           1 x10 *
                                                   FIG . 11
                                 232         234                          238
                                                               236
                       230                         FIG . 14
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 42 of 318 PageID: 117


    U . S. Patent         Jul 17, 2018          Sheet 12 of17           US 10, 022, 509 B2


                                         ,




                                                                             ? 172


                 -


                 -




                 -
                 ,
                 ???


                                                                            176
                    -
                                                        178     170
                       FIG . 12
            114 216210         210




                     L E |
                               – 214                                  112 212
          C
                          L




                 ?? ??
                    217        2 05 ?           ?????



                                             FIG. 13
                                                        206




                                                                 ???
                                                                  500

                                                                      207
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 43 of 318 PageID: 118


   U . S . Patent          Jul. 17 , 2018             Sheet 13 of 17     US 10 ,022,509 B2



                            300



                                    ti       1 filt
                                         1
                                             11
                                  1til   /




                                                   FIG . 15
                      110                    102                 100
               108
                                                                       204 300
                                                                              301
                                                                                    - 302
                                                                                      304




                                                                                 306


                     104
                     FIG . 20                                      FIG . 16
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 44 of 318 PageID: 119




   U.S.s Patent was.am sowel as som
   U . S . Patent            Jul. 17 , 2018          Sheet 14 of 17          US 10 ,022,509 B2




                       102
                       -
                                                              308          316 108

                             19A
                             .
                             FIG                        19B
                                                        .
                                                        FIG                          19C
                                                                                     .
                                                                                     FIG
                                                94
                                                                           124


                       102           102
                                     y                              308
                                                                     312    126
        I



         94   302130304
                    -
                     4
                    128
                             18A
                             .
                             FIG
                                      94
                                                        18B
                                                        .
                                                        FIG
                                                                310        za
                                                                                   (
                                                                                   102
                                                                                     18C
                                                                                     .
                                                                                     FIG


                                   300
                                   300 110
                                                         17
                                                         .
                                                         FIG

                                              330
                                               330
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 45 of 318 PageID: 120


    U . S . Patent         Jul. 17, 2018      Sheet 15 of 17             US 10 ,022 .509 B2


                                      510                           21
                                                                    -
                                                                    -




           526                       518
                                                (    526
                                                     526

                       -
           520 -~



                                                         572 ~~ ~
                                                         ?
           528
                       582
                                                | 5122
                                            5102
                    FIG. 21
                                                         514
                                                         514 <
                                                                           42
                                                                          - 542



                                                         516

                                                         578 --~~~ }
                                                         578
                                                         522 -
                                                         522
                                                         520
                                                       5130
                                                                    ?578
                                                                    ] _
                                                                    _®
                                                                              8




                                                                 5822 528

                                                                 FIG .22
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 46 of 318 PageID: 121


   U . S . Patent       Jul. 17 , 2018         Sheet 16 of 17           US 10, 022 ,509 B2




                        110      5128                    5140
                                                                5136
                                                                       516



                        5134 -
                                 5148

                                         FIG . 23

                                         516
                                               110 51465146                  108
                                                                             108
                    5128                                                 A5140



                                   Sple
                                 5134)
                                 5134  $136 2015     5136
                                                                 5144


                 5127
                                         FIG . 24
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 47 of 318 PageID: 122


   U . S . Patent       Jul. 17 , 2018
                                             Sheet17 of17
                                             Sheet 17 of 17       US 10 ,022 ,509 B2


                                                        522


                             570
                             570 580
                                                          520
                       584                                570
                                                      582 570
                     588                 -                      580
                                             524        (586
                      528



                                         FIG . 25




                      5138

                            578


                                  Laul   FIG . 26
                                                          578

                                                         568
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 48 of 318 PageID: 123


                                                        US 10 ,022 ,509 B2
       DOSE COUNTER FOR INHALER HAVING A                                  is closed . Due to the way in which the mouthpiece is opened
            BORE AND SHAFT ARRANGEMENT                                    and closed , and actuation pawl of the device which is
                                                                         mounted on a yoke , travels a known long stroke of consis
              CROSS -REFERENCE TO RELATED                                tent length as the mouthpiece is opened and closed .
                        APPLICATIONS                           5 WO 2008 / 119552 discloses a metered - dose inhaler which
                                                                 is suitable for breath -operated applications and operates with
      This patent application is a continuation patent applica   a known and constant canister stroke length of 3 .04 mm + /
   tion of U .S . Non - Provisional patent application Ser. No.           0 . 255 mm . A stock bobbin of the counter, from which a tape
    14 /699 ,578 , filed Apr. 29, 2015 , which is a continuation          is unwound , rotates on a shaft having a split pin intended to
   patent application of U .S . Non- Provisional patent applica - 10 hold the stock bobbin taut. However, some dose counters do
   tion Ser. No . 14 / 103, 353 , filed Dec . 11 , 2013 , which is a     not keep a particularly reliable count, such as if they are
   divisionalpatent application of U . S . Non -Provisional patent       dropped onto a hard surface .
   application Ser. No. 13/ 110 ,532 , filed May 18 , 2011 , now            More recently, it has become desirable to improve dose
   U .S . Pat. No . 8 , 978,966 , issued Mar . 17 , 2015 , which claims counters further and , in particular, it is felt that it would be
   priority to U . S . Provisional Patent Application No. 61/ 345 , 15 useful to provide extremely accurate dose counters for
   763, filed May 18 , 2010 , and U .S . Provisional Patent Appli manually -operated canister-type metered dose inhalers .
   cation No . 61/417 ,659 , filed Nov . 29 , 2010, each ofwhich is Unfortunately, in these inhalers , it has been found in the
   incorporated herein by reference in its entirety for all pur           course ofmaking the present invention that the stroke length
   poses .                                                                of the canister is to a very large extent controlled on each
                                                                       20 dose operation by the user, and by hand . Therefore , the
                     FIELD OF THE INVENTION                               stroke length is highly variable and it is found to be
                                                                          extremely difficult to provide a highly reliable dose counter
      The present invention relates to dose counters for inhal -          for these applications. The dose counter must not count a
   ers, inhalers and methods of assembly thereof. The invention           dose when the canister has not fired since this mightwrongly
   is particularly applicable to metered dose inhalers including 25 indicate to the user that a dose has been applied and if done
   dry power medicament inhalers , breath actuated inhalers and     repeatedly the user would throw away the canister or whole
   manually operated metered dose medicament inhalers .             device before it is really time to change the device due to the
                                                                    active drug and propellant reaching a set minimum . Addi
            BACKGROUND OF THE INVENTION                                   tionally, the canister must not fire without the dose counter
                                                                       30 counting because the user may then apply another dose
     Metered dose inhalers can comprise a medicament- con -               thinking that the canister has not fired , and if this is done
   taining pressurised canister containing a mixture of active            repeatedly the active drug and / or propellant may run out
   drug and propellant. Such canisters are usually formed from            while the user thinks the device is still suitable for use
   a deep -dawn aluminium cup having a crimped lid which                  according to the counter. It has also been found to be fairly
   carries a metering valve assembly . The metering valve 35 difficult to assembly some known inhaler devices and the
   assembly is provided with a protruding valve stem which , in   dose counters therefor. Additionally, it is felt desirable to
   use is inserted as a push fit into a stem block in an actuator improve upon inhalers by making them easily usable after
   body of an inhaler having a drug delivery outlet. In order to          they have been washed with water.
   actuate a manually operable inhaler , the user applies by hand            The present invention aimsto alleviate at least to a certain
   a compressive force to a closed end of the canister and the 40 extent one or more of the problems of the prior art.
   internal components of the metering valve assembly are
   spring loaded so that a compressive force of approximately                SUMMARY OF THE INVENTION
   15 to 30 N is required to activate the device in some typical
   circumstances.                                                           According to a first aspect of the present invention there
      In response to this compressive force the canister moves 45 is provided a dose counter for an inhaler, the dose counter
   axially with respect to the valve stem and the axial move -           having a counter display arranged to indicate dosage infor
   ment is sufficient to actuate the metering valve and cause a          mation , a drive system arranged to move the counter display
   metered quantity of the drug and the propellant to be                  incrementally in a first direction from a first station to a
   expelled through the valve stem . This is then released into a         second station in response to actuation input, wherein a
   mouthpiece of the inhaler via a nozzle in the stem block , 50 regulator is provided which is arranged to act upon the
   such that a user inhaling through the outlet of the inhaler will       counter display at the first station to regulate motion of the
   receive a dose of the drug .                                           counter display at the first station to incremental move
      A drawback of self-administration from an inhaler is that          ments .
   it is difficult to determine how much active drug and /or          The regulator is advantageous in that it helps prevent
   propellant are left in the inhaler, if any, especially of the 55 unwanted motion of the counter display if the counter is
   active drug and this is potentially hazardous for the user             dropped .
   since dosing becomes unreliable and backup devices not                    According to a further aspect of the present invention , the
   always available .                                                     regulator provides a resistance force of greater than 0 . 1 N
      Inhalers incorporating dose counters have therefore againstmovement of the counter display. According to still
   become known.                                         60 a further aspect of the present invention , the resistance force
      WO 98 /028033 discloses an inhaler having a ratchet is greater than 0 .3 N . According to yet a further aspect of the
   mechanism for driving a tape drive dose counter. A shaft              present invention , the resistance force is from 0 .3 to 0 . 4 N .
   onto which tape is wound has a friction clutch or spring for             Preferably , the counter comprises a tape .
   restraining the shaft against reverse rotation .                        Preferably , the tape has dose counter indicia displayed
     EP - A - 1486227 discloses an inhaler for dry powered 65 thereon . The first station may comprise a region of the dose
   medicament having a ratchet mechanism for a tape dose      counter where tape is held which is located before a display
   counter which is operated when a mouthpiece of the inhaler location , such as a display window , for the counter indicia .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 49 of 318 PageID: 124


                                                       US 10 ,022 ,509 B2
      The first station may comprise a first shaft, the tape being        According to a further aspect of the present invention
   arranged on the first shaft and to unwind therefrom upon        there is provided a shaft for holding counter tape in a dose
   movement of the counter display .                               counter for an inhaler, the shaft having an engagement
      The first shaft may be mounted for rotation relative to a    surface including incrementally spaced formations located
   substantially rotationally fixed element of the dose counter. 5 around a periphery thereof, the formations comprising a
      The regulator may comprise at least one projection which series of curved concavities and convex portions.
   is arranged on one of the first shaft and the substantially        The shaft may comprise a hollow bobbin .
   rotationally fixed element and to engage incrementally with           The engagement surface may be a generally cylindrical
   one or more formations on the other of the first shaft and the     inwardly   directed surface .
   substantially rotationally fixed element.                       10
                                                                         The engagement surface may include a flat surface wall
      At least two said projections may be provided . Exactly portion          joining each concavity and convex wall portion .
   two said projections maybe provided.                                 Each concavity may comprise a radiused wall portion .
      Each projection may comprise a radiused surface .                 Each convex wall portion may comprise a radiused wall
      The at least one projection may be located on the sub
   stantially fixed element which may comprise a fixed shaft 15 portion      .
                                                                        Said concavities may be regularly spaced around a lon
   which is fixed to a main body of the dose counter, the first
   shaft being rotationally mounted to the fixed shaft.               gitudinal axis of the shaft .
      Preferably , the fixed shaft has at least two resiliently          Said convex wall portions may be regularly spaced
   flexible legs (or forks). Each leg may have at least one said around a longitudinal axis of the shaft.
   projection formed in an outwardly facing direction thereon , 20 In some embodiments there may be from eight to twelve
   said one or more formations being formed on an inwardly said concavities and/or convex wall portions regularly
   facing engagement surface of the first shaft, said at least one    spaced around a longitudinal axis thereof.
   projection being arranged to resiliently engage said one or          One embodiment includes ten said concavities and /or
   more formations. Preferably, a series of said formations are convex wall portions regularly spaced around a longitudinal
   provided . An even number of said formations may be 25 axis of the shaft.
   provided . Eight to twelve of said formations may be pro -       According to a further aspect of the present invention
   vided . In one embodiment, ten said formations are provided . there is provided a shaft and counter tape assembly for use
      Each said formation may comprise a concavity formed on     in a dose counter for an inhaler, the assembly comprising a
   an engagement surface . Each concavity may comprise a
   radiused surface wall portion which preferably merges on at 30 rotatable
                                                                  shaft   and
                                                                             shaft and a counter tape which is wound around the
                                                                               is adapted to unwind therefrom upon inhaler
   least one side thereof into a flat wall portion surface . The actuation , the   shaft having an engagement surface which
   engagement surface may include a series ofsaid concavities , includes incrementally      spaced formations located around a
   and convex wall portions of the engagement surface may be periphery thereof.
   formed between each adjacent two said concavities, each           According to a further aspect of the present invention
   said convex wall portion comprising a convex radiused wall 35
   portion .                                                      there  is provided an inhaler for the inhalation ofmedication
      Each convex radiused wall portion of each convex wall and the like, the inhaler including a dose counter as in the
   portion may be connected by said flat wall portion surfaces firstA aspect    of the present invention .
                                                                        preferred construction consists of a manually operated
   to each adjacent concavity .
      The fixed shaft may comprise a split pin with fork legs 40 metered dose inhaler including a dose counter chamber
   and each projection may be located on a said fork leg .        including a dose display tape driven by a ratchet wheel
       The first shaft may comprise a substantially hollow bob          which is driven in turn by an actuator pawl actuated by
   bin .                                                               movement of a canister, the tape unwinding from a stock
      Said at least one formation may be located on an inner            bobbin during use of the inhaler, a rotation regulator being
   surface of the bobbin . In other embodiments it may be 45 provided for the stock bobbin and comprising a wavelike
   located on an outer surface thereof. Said engagement surface         engagement surface with concavities which engage against
   may extend partially along said bobbin , a remainder of the          control elements in the form of protrusions on resilient forks
   respective inner or outer surface having a generally smooth          of a split pin thereby permitting incremental unwinding of
   journal portion along at least a portion thereof.                    the stock bobbin yet resisting excessive rotation if the
      The drive system may comprise a tooth ratchet wheel 50 inhaler is dropped onto a hard surface .
   arranged to act upon a second shaft which is located at the      According to another aspect of the present invention there
   second station , the second shaft being rotatable to wind the is provided a dose counter for a metered dose inhaler having
   tape onto the second shaft.                                   a body arranged to retain a medicament canister of prede
      The second shaft may be located on a main body of the             termined configuration for movement ofthe canister relative
   dose counter spaced from and parallel to the first shaft.         55 thereto ; the dose counter comprising : an incremental count
      The ratchet wheel may be fixed to the second shaft is    ing system for counting doses, the incremental counting
   arranged to rotate therewith . The ratchet wheel may be     system having a main body, an actuator arranged to be
   secured to an end of the second shaft and aligned coaxially driven in response to canister motion and to drive an
   with the second shaft.                                      incremental output member in response to canister motion ,
      The dose counter may include anti-back drive system 60 the actuator and incremental output member being config
   which is arranged to restrict motion of the second shaft . The       ured to have predetermined canister fire and count configu
   anti-back drive system may include a substantially fixed             rations in a canister fire sequence , the canister fire configu
   tooth arranged to act upon teeth of the ratchet wheel.               ration being determined by a position of the actuator relative
     According to a further aspect of the present invention , a         to a datum at which the canister fires medicament and the
   dose counter includes an anti-back drive system which is 65 count configuration being determined by a position of the
   arranged to restrict motion of the second shaft in a tape   actuator relative to the datum at which the incremental count
   winding direction .                                         system makes an incremental count, wherein the actuator is
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 50 of 318 PageID: 125


                                                          US 10 ,022 ,509 B2
   arranged to reach a position thereof in the count configura             wise generally straight surface against which the actuator
   tion at or after a position thereof in the canister fire con            engages and along which it is arranged to slide during a
   figuration .                                                 canister firing sequence.
      This arrangement has been found to be highly advanta         The dose counter may include a counter pawl, the counter
   geous since it provides an extremely accurate dose counter 5 pawl having a tooth arranged to engage the incremental
   which is suitable for use with manually operated metered     output member, the tooth and incremental output member
   dose inhalers . It has been found that dose counters with these         being arranged to permit one way only incremental relative
   features have a failure rate of less than 50 failed counts per         motion therebetween . When the incremental output member
   million full canister activation depressions . It has been              comprises a ratchet wheel, the tooth can therefore serve as
   found in the course of making the present invention that 10 an anti -back drive tooth for the ratchet wheel, thereby
   highly reliable counting can be achieved with the dose                  permitting only one way motion or rotation thereof.
   counter counting at or soon after the point at which the                   The counter pawl may be substantially fixedly mounted
   canister fires . It has been is covered by the present inventors        on the main body of the incremental count system and the
   that momentum and motion involved in firing the canister,               counter pawl may be arranged to be capable of repeatedly
   and in some embodiments a slight reduction in canister back 15 engaging equi - spaced teeth of the incremental output mem
   pressure on the user at the time of canister firing, can very  ber in anti -back drive interlock configurations as the counter
   reliably result in additional further motion past the count             is operated . The counter pawlmay be positioned so that the
   point.                                                                  incremental output member is halfway, or substantially
      The actuator and incremental counting system may be halfway moved from one anti-back drive interlock configu
   arranged such that the actuator is displaced less than 1 mm , 20 ration to the next when the actuator and incremental output
   typically 0 .25 to 0 . 75 mm , more preferably about 0 . 4 to 0 .6     member are in the end configuration thereof. This is highly
   mm , relative to the body between its location in the count             advantageous in that it minimises the risk of double counting
   and fire configurations, about 0 .48 mm being preferred . The           or non - counting by the dose counter.
   canister, which can move substantially in line with the                    According to a further aspect of the invention there is
   actuator, can reliably move this additional distance so as to 25 provided an inhaler comprising a main body arranged to
   achieve very reliable counting .                                        retain a medicament canister of predetermined configuration
     The incremental count system may comprise a ratchet                   and a dose counter mounted in the main body .
   mechanism and the incremental output member may com                        The inhaler main body may include a canister receiving
   prise a ratchet wheel having a plurality of circumferentially           portion and a separate counter chamber, the dose counter
   spaced teeth arranged to engage the actuator.                        30 being located within the main body thereof, the incremental
      The actuator may comprise an actuator pawl arranged to               output member and actuator thereof inside the counter
   engage on teeth of the ratchet wheel. The actuator pawlmay              chamber, the main body of the inhaler having wall surfaces
   be arranged to be connected to or integral with an actuator             separating the canister -receiving portion and the counter
   pin arranged to engage and be depressed by a medicament                 chamber, the wall surfaces being provided with a commu
   canister bottom flange . The actuator pawlmay be generally 35 nication aperture , an actuation member extending through
   U - shaped having two parallel arms arranged to pull on a               the communication aperture to transmit canister motion to
   central pawl member arranged substantially perpendicular                the actuator.
   thereto . This provides a very reliable actuator pawl which      According to a further aspect of the present invention
   can reliably pull on the teeth of the ratchet wheel.          there is a provided an inhaler for metered dose inhalation ,
      The incremental count system may include a tape counter 40 the inhaler comprising a main body having a canister
   having tape with incremental dose indicia located thereon , housing arranged to retain a medicament canister for motion
   the tape being positioned on a tape stock bobbin and being therein , and a dose counter, the dose counter having an
   arranged to unwind therefrom .                                actuation member having at least a portion thereof located in
      The actuator and incremental output member may be                    the canister housing for operation by movement of a medi
   arranged to provide a start configuration at which the 45 cament canister, wherein the canister housing has an inner
   actuator is spaced from the ratchet output member, a reset              wall , and a first inner wall canister support formation located
   configuration at which the actuator is brought into engage              directly adjacent the actuation member.
   ment with the incremental output member during a canister                  This is highly advantageous in that the first inner wall
   fire sequence , and an end configuration at which the actuator canister support formation can prevent a canister from
   disengages from the ratchet output during a canister fire 50 rocking too much relative to the main body of the inhaler.
   sequence .                                                      Since the canister may operate the actuation member of the
       The actuator may be arranged to be located about 1. 5 to    dose counter, this substantially improves dose counting and
   2 .0 mm , from its location in the fire configuration , when in avoids counter errors.
   the start configuration , about 1.80 mm being preferred .                  The canister housing may have a longitudinal axis which
      The actuator may be arranged to be located about 1 . 0 to 55 passes through a central outlet port thereof, the central outlet
    1 .2 mm , from its location in the fire configuration , when in        port being arranged to mate with an outer canister fire stem
   the reset configuration , about 1 . 11 mm being preferred .             of a medicament canister, the inner wall canister support
        The actuator may be arranged to be located about 1 . 1 to           formation , the actuation member and the outlet port lying in
    1. 3 mm , from its location in the fire configuration , when in        a common plane coincident with the longitudinal axis .
   the end configuration , about 1 . 18 mm being preferred . 60 Accordingly , this construction may prevent the canister from
      These arrangements provide extremely reliable dose        rocking towards the position of the dose counter actuation
   counting, especially with manually operated canister type   member, thereby minimising errors in counting .
   metered dose inhalers .                                        The canister housing may have a further inner canister
      The main body may include a formation for forcing the wall support formation located on the inner wall opposite , or
   actuator to disengage from the incremental output member 65 substantially opposite , the actuation member. Accordingly,
   when the actuator is moved past the end configuration . The             the canister may be supported against rocking motion away
   formation may comprise a bumped up portion of an other                  from the actuator member so as to minimise count errors .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 51 of 318 PageID: 126


                                                         US 10 ,022, 509 B2
      The canister housing may be generally straight and tubu -        a dose counter, the dose counter having a moveable actuator
   lar and may have an arrangement in which each said inner            and a chassis mounted on the body ; the chassis being heat
   wall support formation comprises a rail extending longitu           staked in position on the body . This is be highly advanta
   dinally along the inner wall.                                       geous in that the chassis can be very accurately positioned
     Each said rail may be stepped , in that it may have a first 5 and held firmly in place , thereby further improving counting
   portion located towards a medicine outlet end or stem block         accuracy compared to prior art arrangements in which some
   of the canister housing which extends inwardly a first              movement of the chassis relative to the body may be
   distance from a main surface of the inner wall and a second         tolerated in snap- fit connections.
   portion located toward an opposite end of the canister                 The chassis may have at least one of a pin or aperture heat
   chamber which extends inwardly a second , smaller distance 10 staked to a respective aperture or pin of the body.
   from the main surface of the inner wall . This may therefore           The chassis may have a ratchet counter output member
   enable easy insertion of a canister into the canister housing       mounted thereon .
   such that a canister can be lined up gradually in step wise            The ratchet counter output member may comprise a
   function as it is inserted into the canister housing                ratchet wheel arranged to reel in incrementally a dose meter
      The inhaler may include additional canister support rails 15 tape having a dosage indicia located thereon .
   which are spaced around an inner periphery of the inner wall      According to a further aspect of the present invention
   of the canister housing and which extend longitudinally             there is provided a method of assembling an inhaler includ
   therealong.                                                         ing the step of heat staking the chassis onto the body. The
     At least one of the additional rails may extend a constant        step of heat staking is highly advantageous in fixedly
   distance inwardly from the main surface of the inner wall. 20 positioning the chassis onto the body in order to achieve
      At least one of the additional rails may be formed with a        highly accurate dose counting in the assembled inhaler .
   similar configuration to the first inner wall canister support         The method of assembly may include mounting a spring
   formation .                                                         returned ratchet actuator in the body before heat staking the
      The dose counter may, apart from said at least a portion         chassis in place . The method of assembly may include
   of the actuation member, be located in a counter chamber 25 pre -assembling the chassis with a dose meter tape prior to
   separate from the canister housing, the actuation member            the step of heat staking the chassis in place . The method of
   comprising a pin extending through an aperture in a wall            assembly may include attaching a dosemeter cover onto the
   which separates the counter chamber and the canister hous           body after the heat staking step . The cover may be welded
   ing.                                                                onto the body or may in some embodiments be glued or
     According to a further aspect of the present invention 30 otherwise attached in place .
   there is provided an inhaler for inhaling medicaments hav             According to a further aspect of the present invention
   ing: a body for retaining a medicament store ; the body             there is provided an inhaler for inhaling medicament and
   including a dose counter, the dose counter having a move -          having a body, the body have a main part thereof for
   able actuator and a return spring for the actuator , the return retaining a medicament store; and a dose counter , the dose
   spring having a generally cylindrical and annular end ; the 35 counter being located in a dose counter chamber of the body
   body having a support formation therein for supporting said         which is separated from the main part of the body, the dose
   end of the return spring, the support formation comprising a        counter chamber of the body having a dosage display and
   shelf onto which said end is engageable and a recess below          being perforated so as to permit the evaporation of water or
   the shelf.                                                     aqueous matter in the dose counter chamber into the atmo
      This shelf and recess arrangement is highly advantageous 40 sphere .
   since it allows a tool (such as manual or mechanical twee -            This is high advantageous since it enables the inhaler to
   zers ) to be used to place the return spring of the actuator onto   be thoroughly washed and the dose counting chamber can
   the shelf with the tool then being withdrawn at least partially    thereafter dry out fully .
   via the recess .                                                      The display may comprise a mechanical counter display
      The shelf may be U -shaped .                                 45 inside the dose counter chamber and a window for viewing
      The support formation may include a U -shaped upstand           the mechanical counter display . The mechanical counter
   ing wall extending around the U - shaped shelf, the shelf and display may comprise a tape . The perforated dose counter
   upstanding wall thereby forming a step and riser of a stepped chamber may therefore enable reliable washing of the
   arrangement.                                                       inhaler, if desired by the user , and may therefore dry out
      The recess below the shelf my also be U - shaped .           50 without the display window misting up .
      At least one chamfered surface may be provided at an               The dose counter chamber may be perforated by a drain
   entrance to the shelf. This may assist in inserting the actuator hole formed through an outer hole of the body. The drain
   and return spring into position .                                  hole may be located at a bottom portion of the body of the
      A further aspect of the invention provides a method of inhaler, thereby enabling full draining of the inhaler to be
   assembly of an inhaler which includes the step of locating 55 encouraged after washing when the inhaler is brought into
   said end of said spring on the shelf with an assembly tool and an upright position .
   then withdrawing the assembly tool at least partly via the             According to a further aspect of the present invention
   recess . This assembly method is highly advantageous com -          there is provided a dose counter for an inhaler, the dose
    pared to prior artmethods in which spring insertion has been counter having a display tape arranged to be incrementally
    difficult and in which withdrawal of the tool has sometimes 60 driven from a tape stock bobbin onto an incremental tape
    accidentally withdrawn the spring again .                      take - up drive shaft, the bobbin having an internal bore
       The cylindrical and annular end of the spring may be supported by and for rotation about a support shaft , at least
   movable in a direction transverse to its cylindrical extent one of the bore and support shaft having a protrusion which
   into the shelf while being located thereon .                is resiliently biased into frictional engagement with the other
     According to a further aspect of the present invention 65 of the bore and support shaft with longitudinally extending
   there is provided an inhaler for inhaling medicament, the           mutual frictional interaction . This arrangement may provide
   inhaler having a body for retaining a medicament store; and         good friction for the bobbin , thereby improving tape counter
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 52 of 318 PageID: 127


                                                      US 10 ,022 ,509 B2
                                                                                                   10
   display accuracy and preventing the bobbin from unwinding         dose counter positions for a dose counter actuator of the
   undesirably for example if the inhaler is accidentally            inhaler ; calculating a failure/ success rate for dose counters
   dropped .                                                         built to tolerance levels for counting each fire of inhalers in
      The support shaft may be forked and resilient for resil-       which the dose counter actuators may be applied ; and
   iently biasing the support shaft and bore into frictional 5 selecting a tolerance level to result in said failure / success
   engagement.                                                 rate to be at or below /above a predetermined value . This is
      The support shaft may have two forks, or more in some highly advantageous in that it allows an efficient and accu
   cases, each having a radially extending protrusion having a       rate prediction of the reliability of a series of inhaler
   friction edge extending therealong parallel to a longitudinal     counters made in accordance with the design .
   axis of the support shaft for frictionally engaging the bore of 10 The method of designing may include selecting the fail
   the support shaft with longitudinally extending frictional        ure / success rate as a failure rate of no more than one in 50
   interaction therebetween .                                        million . The method of designing may include setting an
      The bore may be a smooth circularly cylindrical or average count position for dose counters built to the toler
   substantially cylindrical bore .                               ances to be at or after an average fire position thereof during
      Each of the above inhalers in accordance with aspects of 15 canister firingmotion . The method of designing may include
   the present invention may have a medicament canister           setting the average count position to be about 0 . 4 to 0 .6 mm
   mounted thereto .                                                 after the average fire position , such as about 0 .48 mm after.
      The canister may comprise a pressurised metered dose           The method of designing may include setting tolerances for
   canister having a reciprocally movable stem extending             the standard deviation of the fire position in dose counters
   therefrom and movable into a main canister portion thereof 20 built to the tolerances to be about 0 . 12 to 0 . 16 mm , such as
   for releasing a metered dose ofmedicament under pressure ,        about 0 .141 mm . The method of designing may include
   for example by operating a metered dose valve inside the          setting tolerances for the standard deviation of the count
   canister body . The canister may be operable by pressing by       positions in dose counters built to the tolerances to be about
   hand on the main canister body.                                 0 .07 to 0 .09 mm , such as about 0 .08 mm . A further aspect
      In cases in which one or more support rails or inner wall 25 of the invention provides a computer implemented method
   support formations are provided , the canister may at all       of designing an incremental dose counter for an inhaler
   times when within the canister chamber have a clearance of which includes the aforementioned method of designing.
   about 0 . 25 to 0 .35 mm from the first inner wall support          A further aspect of the invention provides a method of
   formation . The clearance may be almost exactly 0 .3 mm . manufacturing in a production run a series of incremental
   This clearance which may apply to the canister body itself 30 dose counters for inhalers which comprises manufacturing
   or to the canister once a label has been applied , is enough to   the series of dose counters in accordance with the afore
   allow smooth motion of the canister in the inhaler while at       mentioned method of designing .
   the same time preventing substantial rocking of the canister            further aspect of the invention provides a method of
   which could result in inaccurate counting by a dose counter manufacturing a series of incremental dose counters for
   of the inhaler, especially when lower face of the canister is 35 inhalers , which comprises manufacturing the dose counters
   arranged to engage an actuator member of the dose counter with nominal canister fire and dose count positions of a dose
   for counting purposes .                                          counter actuator relative to a dose counter chassis (or inhaler
     According to a further aspect of the invention , a method       main body ), and which includes building the dose counters
   of assembling a dose counter for an inhaler comprises the         with the average dose count position in the series being , in
   steps of providing a tape with dosing indicia thereon ; 40 canister fire process , at or after the average canister fire
   providing tape positioning indicia on the tape; and stowing position in the series .
   the tape while monitoring for the tape positioning indicia       According to a further aspect of the invention , the method
   with a sensor. The method advantageously permits efficient provides fitting each dose counter in the series of incremen
   and accurate stowing of the tape, e. g. by winding .          tal dose counters to a corresponding main body of an inhaler.
      The dosing indicia may be provided as numbers , the tape 45 These aspects advantageously provide for the production
   positioning indicia may be provided as one or more lines run of a series of inhalers and dose counters which count
   across the tape. The stowing step comprises winding the tape reliably in operation .
   onto a bobbin or shaft, and , optionally , stopping winding          According to a further aspect of the invention , an incre
   when the positioning indicia are in a predetermined position . mental dose counter for a metered dose inhaler has a body
   The tape may be provided with pixelated indicia at a position 50 arranged to retain a canister for movement of the canister
   spaced along the tape from the positioning indicia . The tape relative thereto , the incremental dose counter having a main
   may also be provided with a priming dot .                         body, an actuator arranged to be driven and to drive an
      According to a further aspect of the invention , a tape        incremental output member in a count direction in response
   system for a dose counter for an inhaler has a main elongate      to canister motion , the actuatorbeing configured to restrict
   tape structure, and dosing indicia and tape positioning 55 motion of the output member in a direction opposite to the
   indicia located on the tape structure . The tape positioning      count direction . This advantageously enables an inhaler dose
   indicia may comprise at least one line extending across the       counter to keep a reliable count of remaining doses even if
   tape structure. The tape system may comprise pixelated            dropped or otherwise jolted .
   indicia located on the tape structure and spaced from the            The output member may comprise a ratchet wheel. The
   positioning indicia . The tape system may comprise a prim - 60 actuator may comprise a pawl and in which the ratchet wheel
   ing dot located on the tape structure . The positioning indicia   and pawl are arranged to permit only one-way ratcheting
   may be located between the timing dot and the pixelated           motion of the wheel relative to the pawl. The dose counter
   indicia . The main elongate tape structure may have at least      may include an anti- back drive member fixed to the main
   one end thereof wound on a bobbin or shaft.                       body. In a rest position of the dose counter, the ratchet wheel
      A further aspect of the invention provides a method of 65 is capable of adopting a configuration in which a back
   designing an incremental dose counter for an inhaler com -        surface of one tooth thereof engages the anti -back drive
   prising the steps of calculating nominal canister fire and        member and the pawl is spaced from an adjacent back
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 53 of 318 PageID: 128


                                                      US 10 ,022 ,509 B2
   surface of another tooth of the ratchet wheel without positive       FIG . 21 is a view of a preferred embodiment of a dry
   drive /blocking engagement between the pawl and wheel.            powder inhaler in accordance with the present invention ;
                                                                        FIG . 22 is an exploded view of the inhaler of FIG . 21 ;
         BRIEF DESCRIPTION OF THE DRAWINGS                         FIG . 23 is a view of a dose counter of the inhaler of FIG .
                                                               5 21;
      The present invention may be carried out in various ways     FIG . 24 is an exploded view of the dose counter shown in
   and preferred embodiment of a dose counter, inhaler and      FIG . 23 ;
   methods of assembly, design and manufacture will now be       F IG . 25 is an exploded view of parts of the inhaler of FIG .
   described with reference to the accompanying drawings in     21 ; and
   which :                                                    10 FIG . 26 is a view of a yoke of the inhaler of FIG . 21 .
      FIG . 1 is an isometric view of a main body of an                    DETAILED DESCRIPTION OF THE
   embodiment of an inhaler related to the invention together                           INVENTION
   with a mouthpiece cap therefor;
     FIG . 2 is a top plan view of the components as shown in 15
                                                          wim           FIG . 1 shows a main body 10 of a manually operated
   FIG . 1 ;                                                         metered dose inhaler 12 in accordance with an embodiment
      FIG . 3A is a section on the plane 3A -3A in FIG . 2 ;         related to the present invention and having a mouthpiece cap
      FIG . 3B is a view corresponding to FIG . 3A but with a        14 securable over a mouthpiece 16 of the main body .
   dose counter fitted to the main body of the inhaler ;          The main body has a canister chamber 18 into which a
     FIG . 4A is an exploded view of the inhaler main body, 20 canister 20 (FIG . 7A ) is slideable . The canister 20 has a
   mouthpiece cap , dose counter and a dose counter window ;         generally cylindrical main side wall 24 , joined by a tapered
     FIG . 4B is a view in the direction 4B in FIG . 4C of a         section 26 to a head portion 28 having a substantially flat
   spring retainer of the dose counter;                              lower face 30 which has an outer annular drive surface 32
     FIG . 4C is a top view of the spring retainer of FIG . 4B ; arranged to engage upon and drive an actuation pin 34 of a
     FIG . 5 is a bottom view of the assembled inhaler main 25 dose counter 36 as will be described . Extending centrally
   body , mouthpiece cap , dose counter and dose counter win         and axially from the lower face 30 is a valve stem 38 which
   dow ;                                                             is arranged to sealingly engage in a valve stem block 40 of
     FIGS. 6A , 6B , 6C , 6D , 6E , 6F, 6G and 6H are variousthe main body 10 of the inhaler 12 . The valve stem block 40
   views of dose counter components of the inhaler ;         has a passageway 42 leading to a nozzle 44 for directing the
     FIGS. 7A and 7B are sectional views showing canister 30 contents of the canister 20 , namely active drug and propel
   clearance inside the main body of the inhaler;                    lant, towards an air outlet 46 of the inhaler main body 12 . It
     FIG . 7C is a further sectional view similar to that of FIG .   will be appreciated that due to gaps 48 between the canister
   7B but with the canister removed ;                                20 and an inner wall 50 of the main body 10 of the inhaler
     FIG . 7D is a top plan view of the inhaler main body ;           12 an open top 52 of the main body 10 forms an air inlet into
      FIGS. 8A , 8B , 8C and 8D show the inhalermain body and 35 the inhaler 12 communicating via air passageway 54 with
   dose counter components during assembly thereof;              the air outlet 46 , such that canister contents exiting nozzle 44
      FIG . 9 shows a sectional side view of a datum line for anmix with air being sucked by the user through the air
   actuator pawl of the dose counter ;                          passageway 54 in order to pass together through the air
      FIGS. 10A , 10B , 10C , 10D , 10E and 10F show various    outlet and into the mouth of the user (not shown ).
   side views of positions and configurations of the actuator 40 The dose counter 36 will now be described . The dose
   pawl, a ratchet wheel, and a count pawl;                     counter 36 includes an actuation pin 34 biased upwardly
      FIG . 11 shows distributions for tolerances of start, reset,   from underneath by a return spring 56 once installed in the
   fire , count and end positions for the actuator of the dose       main body 10 . As best shown in FIGS. 4A , 6H and 8A , the
   counter ;                                                   pin 34 has side surfaces 58 , 60 arranged to slide between
      FIG . 12 is an enlarged version of part of FIG . 4A ; 45 corresponding guide surfaces 62, 64 located in a dose
      FIG . 13 shows an end portion of a tape of the dose counter chamber 66 of the main body 10 , as well as an end
   counter ;                                                         stop surface 68 arranged to engage a corresponding end stop
      FIG . 14 shows a computer system for designing the dose        70 formed in the dose counter chamber 66 to limit upward
   counter;                                                      movement of the pin 34 . The pin 34 has a top part 72 which
     FIG . 15 is an isometric view of a stock bobbin modified 50 is circularly cylindrical and extends through an aperture 74
   in accordance with the present invention for use in the dose      formed through a separator wall 76 which separates the
   counter of the inhaler of FIGS . 1 to 14 ;                        canister chamber 18 from the dose counter chamber 66 . The
     FIG . 16 shows an end view of the stock bobbin of FIG . 15 ;    top part 72 of the pin 34 has a flat top surface 78 which is
      FIG . 17 is a section through a longitudinal axis of the    arranged to engage the outer annular drive surface 32 of the
   stock bobbin of FIGS. 15 and 16 ;                           55 canister 20 .
     FIGS. 18A , 18B and 18C are views of the stock bobbin of           The actuation pin 34 is integrally formed with a drive or
   FIGS. 15 to 17 mounted in the dose counter chassis of FIGS.       actuator pawl 80. The actuator pawl 80 has a generally
   1 to 14 , with the control elements of the forks of the second inverted U - shape configuration , having two mutually spaced
   shaft (or split pin ) having a profile slightly different to that and parallel arms 82 , 84 extending from a base portion of the
   in FIG . 6F, with the forks in a compressed configuration ; 60 actuation pin 34 , each holding at respective distal ends 88
      FIGS . 19A , 19B and 19C are views equivalent to FIGS. thereof opposite ends of a pawl tooth member 90 which
   18A to 18C but with the forks in a more expanded configu -        extends in a direction substantially perpendicular to the arms
   ration due to a different rotational position of the stock        82, 84 , so as to provide what may be considered a “ saddle”
   bobbin ;                                                          drive for pulling on each of the 11 drive teeth 92 of a ratchet
     FIG . 20 is an isometric view of the chassis assembled and 65 wheel 94 of an incremental drive system 96 or ratchet
   including the stock bobbin of FIGS. 15 to 17 but excluding mechanism 96 of the dose counter 36 . As shown for example
   the tape for reasons of clarity ;                                 in FIG . 10B , the pawl tooth member 90 has a sharp lower
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 54 of 318 PageID: 129


                                                          US 10 ,022,509 B2
                                  13                                                                  14
   longitudinal side edge 98 arranged to engage the drive teeth          mm vertically below the axis 145 , and the flat 145 ' being
   92, the edge -to -surface contact provided by this engagement         spaced a distance sideways (i.e . parallel to the datum plane
   providing very accurate positioning of the actuator pawl 80           220 ) 2 .48 mm from the axis 145 . The top surface 78 of the
   and resultant rotational positioning of the ratchet wheel 94 . pin 34 (FIG . 6H ) is 11. 20 mm above the datum plane 220
      The dose counter 36 also has a chassis preassembly 100 5 ( FIG . 9 ) when the actuator pawl 80 and pin 34 are in the start
   which , as shown in FIGS. 4A and 6A , includes a chassis 102          configuration . The length of the valve stem 22 is 11. 39 mm
   having a first shaft 104 receiving the ratchet wheel 94 which         and the drive surface 32 of the canister 20 is 11 . 39 mm above
   is secured to a tape reel shaft 106 , and a second shaft ( or split   the datum plane 220 when the canister is at rest waiting to
   pin ) 108 which is parallel to and spaced from the first shaft        be actuated , such that there is a clearance of 0 . 19 mm
   104 and which slidably and rotationally receives a tape stock 10 between the canister 20 and the pin 34 in this configuration .
   bobbin 110 .                                                       FIGS. 10A and 10B show the actuator pawl80 and ratchet
      As shown in FIG . 6B , when the inhaler has not been used     wheel 94 and count pawl 138 in a start position in which the
   at all , the majority of a tape 112 is wound on the tape stock        flat top 78 of the pin 34 has not yet been engaged by the
   bobbin 110 and the tape 112 has a series of regularly spaced          outer annular drive surface 32 of the canister 20 or at least
   numbers 114 displayed therealong to indicate a number of 15 has not been pushed down during a canister depression .
   remaining doses in the canister 20 . As the inhaler is repeat-          In this " start" position , the count pawl 138 engages on a
   edly used , the ratchet wheel 94 is rotated by the actuator           non -return back surface 140 of one of the teeth 92 of the
   pawl 80 due to operation of the actuation pin 34 by the               ratchet wheel 94 . The lower side edge 98 of the actuator
   canister 20 and the tape 112 is incrementally and gradually  pawl is a distance “ D ” (FIG . 9 ) 1. 33 mm above datum plane
   wound on to the tape reel shaft 106 from the second shaft 20 220 which passes through bottom surface or shoulder 41 of
   108 . The tape 112 passes around a tape guide 116 of the              valve stem block 40 , the datum plane 220 being perpen
   chassis 102 enabling the numbers 114 to be displayed via a            dicular to a main axis “ X ” of the main body 10 of the inhaler
   window 118 in a dose counter chamber cover 120 having a               12 which is coaxial with the centre of the valve stem block
   dose marker 132 formed or otherwise located thereon .                 bore 43 and parallel to a direction of sliding of the canister
     As shown in FIGS. 6A and 6D , the second shaft 108 is 25 20 in the main body 10 of the inhaler 12 when the canister
   forked with two forks 124 , 126 . The forks 124 , 126 are is fired .
   biased away from one another. The forks have located                     As shown in FIG . 10B , an advantageous feature of the
   thereon at diametrically opposed positions on the second              construction is that the pawl tooth /actuator 90 acts as a
   shaft 108 friction or control elements 128 , 130 , one on each        supplementary anti-back drive member when the inhaler 12
   fork . Each control element extends longitudinally along its 30 is not being used for inhalation . In particular, if the inhaler
   respective fork 124 , 126 and has a longitudinally extending     12 is accidentally dropped , resulting in a jolt to the dose
   friction surface 132 , 134 which extends substantially paral-   counter 36 then , if the wheel 94 would try to rotate clock
   lel to a longitudinal axis of the second shaft and is adapted         wise (backwards ) as shown in FIG . 10B , the back surface
   to engage inside a substantially cylindrical bore 136 inside          140 of a tooth will engage and be blocked by the tooth
   the tape stock bobbin 110 . This control arrangement pro - 35 member 90 of the pawl 80 . Therefore, even if the anti-back
   vided between the bore 136 and the control elements 128 ,     drive tooth 138 is temporarily bent or overcome by such a
   130 provides good rotational control for the tape stock               jolt , undesirable backwards rotation of the wheel 94 is
   bobbin 110 such that it does not unwind undesirably such as prevented and , upon the next canister firing sequence , the
   when the inhaler is dropped . The tape force required to       pawl 90 will force the wheel 94 to catch up to its correct
   unwind the tape stock bobbin 110 and overcome this friction 40 position so that the dose counter 36 continues to provide
   force is approximately 0 . 1 N .                               correct dosage indication .
     As can be seen in FIG . 6D , as well as FIGS. 6G and 10A               FIG . 10C shows a configuration in which the actuator
   to 10F , the chassis 102 is provided with an anti- back drive         pawl 80 has been depressed with the pin 34 by the canister
   tooth 138 or count pawl 138 which is resiliently and sub - 20 to a position in which the side edge 98 of the pawltooth
   stantially fixedly mounted thereto . As will be described 45 member 90 is just engaged with one of the teeth 92 and will
   below and as can be seen in FIGS. 10A to 10F , when the therefore upon any further depression of the pin 34 begin to
   actuation pin 34 is depressed fully so as to fire the metered rotate the wheel 94 . This is referred to as a “ Reset" position
   valve (not shown ) inside the canister 20 , the actuator pawl         or configuration . In this configuration , the lower side edge
   80 pulls down on one of the teeth 92 of the ratchet wheel 94          98 of the actuator 80 is 0 .64 mm above the datum plane 220 .
   and rotates the wheel 94 anticlockwise as shown in FIG . 6D 50           FIG . 10D shows a configuration in which the actuator
   so as to jump one tooth 92 past the count pawl 138 , thereby          pawl80 has been moved to a position lower than that shown
   winding the tape 112 a distance incrementally relative to the         in FIG . 10C and in which the metered dose valve (not
   dose marker 122 on the dose counter chamber 120 so as to              shown ) inside the canister has at this very position fired in
   indicate that one dose has been used .                             order to eject active drug and propellant through the nozzle
      With reference to FIG . 10B , the teeth of the ratchet wheel 55 44 . It will be noted that in this configuration the count pawl
   94 have tips 143 which are radiused with a 0 .1 mm radius 138 is very slightly spaced from the back surface 140 of the
   between the flat surfaces 140 , 142 . The ratchet wheel 94 has same tooth 92 that it was engaging in the configuration of
   a central axis 145 which is 0 .11 mm above datum plane 220 FIG . 10D . The configuration shown in FIG . 10D is known
   ( FIG . 9 ). A top /nose surface 147 of the anti-back drive tooth as a “ Fire ” configuration. In this configuration the lower side
   138 is located 0 .36 mm above the datum plane 220 . The 60 edge 98 of the actuator 80 is 0 .47 mm below the datum plane
   distance vertically (i.e . transverse to datum plane 220FIG . 220 .
   9 ) between the top nose surface 147 of the anti- back drive         FIG . 10E shows a further step in the sequence , called a
   tooth is 0 .25 mm from the central axis 145 of the wheel 94 . “ Count” position in which the actuator pawl 80 has rotated
   Bump surface 144 has a lateral extent of 0 .20 mm , with a        the ratchet wheel 94 by the distance circumferentially angu
   vertical length of a flat 145 ' thereof being 1 mm , the width 65 larly between two of the teeth 92 , such that the count pawl
   of the bump surface being 1 .22 mm (in the direction of the       138 has just finished riding along a forward surface 142 of
   axis 145 ), the top 149 of the bump surface 144 being 3 .02 one of the teeth 92 and has resiliently jumped over the tooth
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 55 of 318 PageID: 130


                                                       US 10 ,022 ,509 B2
                                 15
   into engagement with the back surface 140 of the next tooth .      second portion 102 having a lesser radial or inwardly
   Accordingly, in this “ Count" configuration , a sufficiently       extending extent than the first portion 156 , and finally a
   long stroke movement of the pin 34 has occurred that the           second step 164 at which the rail merges into the main inner
   tape 112 of the dose counter 36 will just have counted down        wall 50 main surface .
   one dose . In this configuration , the lower side edge 98 of the 5    A method of assembling the inhaler 12 will now be
   actuator is 0 . 95 mm below the datum plane 220 . Accord -         described .
   ingly , in this position , the actuator 80 generally , including      With reference to FIG . 8A , the main body 10 of the
   edge 98 , is 0 .48 mm lower than in the fire configuration . It    inhaler 12 is formed by two or more plastics mouldings
   has been found that, although the count configuration hap -        which have been joined together to the configuration shown .
   pens further on than the fire configuration , counting is highly 10 As shown in FIG . 8B , the actuator pawl 80 and pin 34 are
   reliable , with less than 50 failed counts per million . This is   translated forward into position into a pin receiving area 166
   at least partially due to momentum effects and to the canister     in the dose counter chamber 66 and the pin 34 and actuator
   releasing some back pressure on the user in some embodi-           80 may then be raised until the pin 34 emerges through the
   ments as its internal metering valve fires .                  aperture 74 .
      In the configuration of FIG . 10F , the pawl 80 has been 15 Next, the return spring 56 may be inserted below the pin
   further depressed with the pin 34 by the canister 20 to a          34 and a generally cylindrical annular lower end 168 of the
   position in which it is just disengaging from one of the teeth     spring 56 may be moved by a tweezer or tweezer- like
   92 and the actuator pawl80 is assisted in this disengagement       assembly tool (not shown ) into engagement with a shelf 170
   by engagement of one of the arms 84 with a bump surface            of a spring retainer 172 in the dose counter chamber 66 . The
   144 on the chassis 102 ( see FIG . 6G ) and it will be seen at 20 spring retainer 172 is U - shaped and the shelf 170 is
   this point of disengagement, which is called an " End "            U - shaped and has a recess 174 formed below it. As shown
   configuration, the count pawl 138 is positioned exactly            in FIGS. 4B , 4C and 12 shelf 170 includes three chamfer
   halfway or substantially halfway between two of the drive          surfaces 176 , 178, 180 arranged to assist in moving the
   teeth 92 . This advantageously means therefore that there is       lower end of the spring 168 into position onto the shelf using
   a minimum chance of any double counting or non - counting , 25 the assembly tool (not shown ). Once the lower end of the
   which would be undesirable . In the end configuration , the         spring 168 is in place , the assembly tool (not shown ) can
   side edge 98 of the actuator is 1.65 mm below the datum          easily be removed at least partly via the recess 174 below the
   plane 220 . It will be appreciated that any further depression   lower end 168 of the spring 56 .
   of the actuator pawl 80 and pin 34 past the " End” configu -        The tape 112 is attached at one end (not shown ) to the tape
   ration shown in FIG . 10F will have no effect on the position 30 stock bobbin 110 and is wound onto the bobbin by a motor
   of the tape 112 displayed by the dose counter 36 since the         200 (FIG . 13) having a hexagonal output shaft 202 which
   actuator pawl 80 is disengaged from the ratchet wheel 94           engages in a hexagonal socket 204 ( FIG . 6B ) of the bobbin .
   when it is below the position shown in FIG . 10F.                  During winding , the tape is monitored by a sensor 206 ,
      As shown in FIGS . 7C and 7D , the inner wall 50 of the         which may be in the form of a camera or laser scanner,
   main body 10 is provided with a two - step support rail 144 35 which feeds data to a computer controller 205 for the motor
   which extends longitudinally along inside themain body and         200 . The controller 205 recognises three positioning mark
   is located directly adjacent the aperture 74 . As shown in FIG .   ers 210 in the form of lines across the tape 112 and stops the
   7B a diametrically opposed two - step support rail 146 is also     motor 202 when the tape 112 is nearly fully wound onto the
   provided and this diametrically opposed in the sense that a        bobbin 110 , such that the distal end 212 of the tape 112 can
   vertical plane (not shown ) can pass substantially directly 40 be secured , e . g . by adhesive , to the tape reel shaft 106 . The
   through the first rail 144 , the aperture 74 , a central aperture controller 205 also recognises a pixelated tape size marker
   148 of the valve stem block 40 ( in which canister stem 25          214 observed by the sensor 206 and logs in a stocking
   is located ) and the second two - step support rail 146 . As       system data store 217 details of the tape 112 such as the
   shown in FIG . 7A and schematically in FIG . 7B , the rails   number of numbers 114 on the tape, such as one hundred and
   144 , 146 provide a maximum clearance between the canister 45 twenty or two hundred numbers 114 . Next, the tape reel shaft
   20 and the rails 144, 146 in a radial direction of almost          is wound until an appropriate position of the lines 210 at
   exactly 0 .3 mm , about 0 .25 to 0 .35 mm being a typical          which a priming dot 216 will , once the bobbin 110 and reel
   range . This clearance in this plane means that the canister 20    shaft 106 are slid onto the second shaft 108 and second shaft
   can only rock backwards and forwards in this plane towards         104 , be in a position to be located in the window 118 when
   away from the actuation pin 34 . A relatively small distance 50 the inhaler 12 is fully assembled . In the embodiments , the
   and this therefore prevents the canister wobbling and chang -      bobbin 110 and reel shaft 106 may be slid onto the shafts
   ing the height of the actuation pin 34 a as to undesirably alter    108 , 104 before the tape 112 is secured to the reel shaft 106
   the accuracy of the dose counter 36 . This is therefore highly     and the reel shaftmay then be wound to position the priming
   advantageous.                                               dot 216 .
      The inner wall 50 of the main body 10 is provided with 55 Next, the assembled dose counter components of the
   two further two - step rails 150 as well as two pairs 152 , 154     chassis preassembly 100 shown in FIG . 6B may as shown in
   of rails extending different constant radial amounts inwardly       FIG . 8C be inserted into the dose counter chamber 66 , with
   from the inner wall 50, so as to generally achieve a maxi- pins 182 , 184 , 186 formed on the main body 10 in the dose
   mum clearance of almost exactly 0 . 3 mm around the canister counter chamber 66 passing through apertures or slots 188 ,
   20 for all of the rails 144, 146 , 150 , 152 , 154 spaced around 60 190 , 192 formed on the chassis 102 , such that the pins 182,
   the periphery of the inner wall 50 , in order to prevent undue      184 , 186 extend through (or at least into ) the apertures or
   rocking while still allowing canister motion freely inside the      slots 188 , 190 , 192 . With the chassis 102 being relatively
   inhaler 12 . It willbe clear from FIG . 7C for example that the     firmly pushed towards the main body 10 , the pins 182 , 184 ,
   two - step rails have a first portion near an outlet end 156 of     186 are then heat staked and the chassis 102 is therefore after
   the canister chamber 18 , the first portion having a substan - 65 this held very firmly in position in the main body and is
   tially constant radial or inwardly - extending width , a first     unable to move , thereby assisting in providing great accu
   step 160 leading to a second portion 162 of the rail, the          racy for the dose counter 36 . Next, as shown in FIG . 8D , the
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 56 of 318 PageID: 131


                                                        US 10, 022 ,509 B2
                                 17                                                                    18
   dose counter chamber cover 120 may be fitted over the dose              First, it can be seen that there is a modification in that the
   counter chamber 66 and may be secured in place such as by             drive teeth 92 of the ratchet wheel 94 have a different profile
   welding, with the priming dot 216 being displayed through            to that in FIGS. 1 to 14 . There are also only nine ratchet teeth
   the window .                                                   94 in this embodiment instead of eleven .
      The user can , when readying the inhaler 12 for first use, 5 Additionally , as shown in FIGS . 18C and 19C , the control
   prime the inhaler by depressing the canister 20 three times    elements 128 . 130 on the forks 124 , 126 of the second shaft
   which willbring the firstnumber 114 on the tape into display   108 have a tapered profile which is different to the profile of
   through the window 118 in place of the priming dot 216 , the the
   number 114 shown in FIG . 8D being “ 200 ” , thereby indi profilecontrol    elements 128 , 130 shown in FIG . 6F . Either
                                                                          can be used in the embodiment of FIGS. 15 to 20
   cating that 200 doses are remaining to be dispensed from the 10
   canister 20 and inhaler 12 .                                    however.
     As shown in FIG . 8D , and in FIG . 5 , an open drain hole            Furthermore, as shown in FIG . 15 , the tape stock bobbin
   194 is provided at the bottom of the dose counter chamber     110 has an inwardly facing generally cylindrical engagement
   66 by a substantially semi- circular cut-out or recess forma  surface  300 with a wavelike form extending partially the
   tion 196 in a lower surface 198 of the main body 10 of the 15 realong . The engagement surface 300 has a cross - section
   inhaler. Accordingly , if the user ( not shown) should decide 301 perpendicular to the longitudinal length of the stock
   to wash the main body 10 of the inhaler, for example after           bobbin 110 which is constant therealong. This cross -section
   encountering an unhygienic situation or simply as a matter       301 can be seen in FIG . 16 and consists of a series of ten
   of choice , the drain hole 194 allows initial draining of water regularly spaced concavities 302 and ten convex wall por
   from inside the dose counter chamber 66 and also thereafter 20 tions 304 . The convex wall portions 304 are equi-spaced
   evaporation of water or any aqueous matter in the dose between the concavities 302 . Each concavity 302 has a
   counter chamber 66 so that the window 118 does not mist up      radius of 0 .2 mm . Each convex wall portion 304 also has a
   undesirably.                                                         radius of 0 . 2 mm . Finally , the cross section 301 also includes
      FIG . 14 shows a computer system 230 for designing the             flat wall portions 306 between all of the radiused wall
   dose counter 36 and in particular for calculating distribu - 25 portions of the concavities 302 and convex wall portions
   tions representative of average positions and standard devia -  304 . The geometry of the cross - section 301 is therefore
   tions in a production series of inhalers of the start, reset, fire , defined by the radii of the concavities 302 and convex wall
   count and end positions of the actuator lower side edge 98           portions 304 , the flat wall portions 306 and the fact that there
   relative to the datum plane 220 (FIG . 9 ) and therefore of the      are ten concavities 302 and convex wall portions 304 .
   actuator pawl 80 generally relative to the ratchet wheel 94 , 30 The minor diameter of the engagement surface 300 , i.e .
   chassis 102 and , when the inhaler 12 is fully assembled , the between the tips of opposite convex wall portions 304 , is
   main body 10 of the inhaler 12 . The computer system 230             2 . 46 mm . The major diameter of the engagement surface
   includes a data store 232, a CPU 234 , an input device 236           300, i.e . between the outermost portions of the concavities
   (such as a keyboard or communication port) and an output             302 , is 2 .70 mm . The undeformed tip to tip maximum
   device 238 ( such as a communications port , display screen 35 diameter of the forks 124 , 126 of the split pin the second
   and/ or printer ). A user may enter data via the input device         shaft ) 108 , i.e . in the region of the maximum radio extent of
   236 which may be used by the CPU 234 in a mathematical               the control elements 128 , 130 , is 3 . 1 millimeters and it will
   calculation to predict count failure rates when the various          therefore be appreciated that the forks 124 , 126 are resil
   dose counters are to be built in a series with dose counter          iently compressed once the stock bobbin 110 has been
   positions set with given averages and standard deviations 40 assembled onto the split pin 108 in all rotational configu
   and taking into account any momentum /inertia effects and            rations of the stock bobbin 110 relative to the split pin 108 .
   metering valve user-back -pressure reduction effect which             the minimum gap between the forks 124 , 126 in the plane
   will occur upon canister firing of a given type of canister          of the cross sections of FIGS. 18C and 19C is 1 mm when
   The computer system 230 is thus mathematically used to               the split pin 108 is in the undeformed , pre - inserted state .
   design the distributions. For the inhaler 12 described herein 45 When the split pin 108 is at maximum compression , as
   with the dose counter 36 and canister 20 , the distributions     shown in FIGS. 18A to 18C when the control elements 128 ,
   are designed as shown in FIG . 11 . The x axis shows distance         130 are shown to be engaged on top of the convex wall
   of the lower side surface 98 of the actuator 80 above the            portions 304 , the gap 308 between the tips 310 , 312 of the
   datum plane 220 and the y axis is representative of the          forks 124 , 126 is 0 . 36 mm . On the other hand , when the split
   distribution . Thus, curve 240 shows that the start configu - 50 pin 108 is at minimum compression (once inserted into the
   ration has an average 1. 33 mm above the datum plane 200             stock bobbin ) as shown in FIGS . 19A to 19C , when the
   ( standard deviation is 0 . 1 mm ), curve 242 shows that the         control elements 128 , 130 rest in the concavities 302 , the gap
   reset configuration has an average of 0 .64 mm above the             between the tips 310 , 312 of the forks 124 , 126 is 0 .6 mm .
   datum plane 220 ( standard deviation is 0 . 082 mm ), curve           The control elements 128 , 130 are outwardly radiused with
   244 shows the fire configuration has an average 0 .47 mm 55 a radius also of 0 . 2 mm such that they can just rest on the
   below the datum plane 220 ( standard deviation is 0 . 141            concavities 302 with full surface contact (at least at an axial
   mm ), curve 246 shows the count configuration has an                 location on the split pin where the tapered control elements
   average 0 . 95 mm below the datum plane 220 ( standard      are at their maximum radial extent ), without rattling in ,
   deviation is 0 . 080 mm ), and curve 248 shows the end      locking onto or failing to fit in the concavities 302 . The radii
   configuration has an average of 1 .65 mm below the datum 60 of the control elements 128 , 130 is therefore preferably
   plane 220 (standard deviation is 0 . 144 mm ).                       substantially the same as the radii of the concavities 302
      FIGS. 15 to 20 show a version of the inhaler modified in             It will be appreciated that whereas FIGS. 18B and 19B are
   accordance with the present invention . In these drawings,           end viewsalong the coaxial axis of the stock bobbin 110 and
   the same reference numerals have been used to those in the     split pin 108 , FIGS. 18A and 19A are cross - sections. FIG .
   earlier drawings to denote the equivalent components . The 65 19A is a section on the plane A - A ' in FIG . 19C and FIG . 18A
   inhaler 12 is the same as that in FIGS. 1 to 14 apart from the is a section at the same plane , but of course with the stock
   following modifications.                                       bobbin 110 rotated relative to the split pin 108 .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 57 of 318 PageID: 132


                                                       US 10 ,022 ,509 B2
                                                                                                    20
      As the inhaler 12 is used and the ratchet wheel 94 rotates         The stock bobbin 110 and the carriage 102 including the
   in order to count used doses, the stock bobbin rotates split pin 108 are both moulded of polypropylene material.
   incrementally through rotational positions in which rotation         It will be seen from FIG . 16 that the cross -sectional shape
   is resisted , i.e . due to increasing compression of the split pin 301 is not symmetrical within the hexagonal socket 204 .
    108 at such rotational positions, and rotational positions in 5 This has enabled the hexagonal socket 204 to be maintained
   which rotation is promoted , i.e. due to decreasing compres - at a useful size while still allowing the desired size and
   sion of the split pin 108 at such rotational positions and this    geometry of the cross section 301 to fit without interfering
   may involve a click forward of the stock bobbin 110 to the with the hexagonal shape of the hexagonal socket 204 and
   next position equivalent to that in FIGS. 19A to 19C in     also permits moulding to work during manufacture .
   which the control elements 128 , 130 of the split pin art 10 As shown in FIG . 17 , the stock bobbin 110 has a series of
   located in the concavities 302 . This functionality firstly        four circumferential ribs 330 inside it and a spaced therea
   allows the stock bobbin to unwind during use as required ,         long. These hold the stock bobbin 110 on the correct side of
   but also prevents the tape 112 from loosening during transit       the mould tool during moulding .
   if the inhaler 12 is dropped, such as onto a hard surface . This   FIGS. 21 and 22 show a preferred embodiment in accor
   is highly advantageous , since the tape 11 is prevented from 15 dance with the invention of an inhaler 510 for dispensing a
   moving to a position in which it will give an incorrect dry - powdered medicament in metered doses for patient
   reading regarding the number of doses in the canister.           inhalation . The inhaler 510 is as disclosed in FIGS. 1 to 16
      During compression and expansion of the forks in the          or EP - A - 1330280 , the contents of which are hereby fully
   radial direction between the two configurations shown in         incorporated herein by reference , but with the stock bobbin
   FIGS. 18C and 19C , the forks 124 , 126 rotate about a point 20 110 and second shaft 108 of the dose counter 516 modified
   316 on the split pin where the forks 124 , 126 come together.      so as to be as in FIGS . 15 to 20 hereof. Thus, the dry powder
    This rotational action means that there is a camming action        inhaler 510 generally includes a housing 518 , and an assem
   between the forks 124 , 126 and the engagement surface 300         bly 512 received in the housing (see FIG . 21). The housing
   without significant friction but, nevertheless , the resilient 518 includes a case 520 having an open end 522 and a
   forces provided by the regulator formed by the engagement 25 mouthpiece 524 (FIG . 25 ) for patient inhalation , a cap 526
   surface 300 and forks 124 , 126 are able to regulate unwind        secured to and closing the open end 522 of the case 520 , and
   ing of the tape such that it does not easily occur during          a cover 528 pivotally mounted to the case 520 for covering
   transit or if the inhaler 12 is dropped . It has been found        the mouthpiece 524 . As shown in FIG . 22 , the inhaler 510
   during testing that a force of 0 .3 to 0 .4 N needs to be applied also includes an actuation spring 569, first yoke 566 with
   to the tape 112 to overcome the regulator at the stock bobbin 30 opening 572 , bellows 540 with crown 574 , a reservoir 514 ,
   110 . 0 .32 N is achieved with the control elements 128 having     second yoke 568 with hopper 542 and dose counter 516
   the profile shown in FIG . 19C and 0 . 38 N is achieved with       mounted thereto , and case 520 has transparent window 5130
   the profile of the control elements 128 altered to be as shown     thereon for viewing dose counter tape indicia 5128 . The
   as described with reference to FIG . 6F. These forces are      dose metering system also includes two cams 570 mounted
   substantially higher than the 0 . 1 N force mentioned above 35 on the mouthpiece cover 528 and movable with the cover
   and undesirable movement of the tape is substantially          528 between open and closed positions . The cams 570 each
   avoided even if the inhaler is dropped onto a hard surface .       include an opening 580 for allowing outwardly extending
   The modified arrangement of FIGS. 15 to 20 does not                hinges 582 of the case 520 to pass therethrough and be
   provide this force “ constantly ” such that there is overall not   received in first recesses 584 of the cover 528 . The cams 570
   an undesirably high friction of the tape 112 as it passes over 40 also include bosses 586 extending outwardly and received in
   the other components of the dose counter because , due to the       second recesses 588 of the cover 528 , such that the cover
   incremental nature of the resilient forces at the regulator, the   528 pivots about the hinges 582 and the cams 570 move with
   tape 112 can incrementally relax as it slides over the      the cover 528 about the hinges 582. As described in EP - A
   stationary chassis components .                             1330280 , cams 570 act upon cam followers 578 to move
      Instead of having ten concavities 302 and convex wall 45 second yoke 568 up and down and thereby operate dose
   portions 304, other numbers may be used, such as 8 or 12 .  counter by engagement of pawl 5138 on the second yoke
   However, it is preferred to have an even number, especially 568 with teeth 5136 . Remaining components of the inhaler
   since two control elements 128 , 130 are provided , so that all are provided as, and operate as described , in EP - A - 1330280 .
   of the control elements 128 , 130 will expand and contract         The dose counting system 516 therefore includes a ribbon
   simultaneously . However, other arrangements are envisaged 50 or tape 5128 (FIGS. 23 & 24 ), having successive numbers or
   with 3 or more forks and the number of concavities / convex        other suitable indicia printed thereon , in alignment with a
   wall portions may be maintained as an integer divisible by         transparent window 5130 provided in the housing 18 (see
   the number of forks to maintain a system with simultaneous         FIG . 22 ). The dose counting system 516 includes the rotat
   expansion /contraction . For example , the use of 9 , 12 or 15   able stock bobbin 110 ( as described above ), an indexing
   concavities/ convex wall portions with 3 forks is envisaged . 55 spool 5134 rotatable in a single direction , and the ribbon
      Instead of having the engagement surface 300 on the 5128 rolled and received on the bobbin 110 and having a first
   inside of the stock bobbin 110 , it could be placed on the         end
   outside of the stock bobbin 110 so as to be engaged by             5127 secured to the spool 5134 , wherein the ribbon 5128
   flexible external legs/pawls or similar.                           unrolls from the bobbin 110 so that the indicia are succes
      It will be noted that the regulator provided by the engage - 60 sively displayed as the spool5134 is rotated or advanced . In
   ment surface 300 and forks 124 , 126 does not only allow           FIGS. 23 and 24 the wavelike engagement surface 300 of the
   rotation of the stock bobbin in one direction as is the case       bobbin 110 is not shown for the purposes of clarity .
   with the ratchet wheel 94 . Rotation in both directions is            The spool 134 is arranged to rotate upon movementof the
   possible , i. e . forwards and backwards. This means that          yokes 566 , 568 to effect delivery of a dose of medicament
   during assembly, the stock bobbin 110 can be wound back - 65 from reservoir 514 , such that the number on the ribbon 5128
   wards during or after fitting the bobbin 100 , shaft 106 and is advanced to indicate that another dose has been dispensed
   tape 112 onto the carriage 102 , if desired .                by the inhaler 510 . The ribbon 5128 can be arranged such
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 58 of 318 PageID: 133


                                                       US 10 ,022 ,509 B2
                                 21                                                                     22
   that the numbers, or other suitable indicia , increase or       mutual frictional interaction and wherein the friction edge
   decrease upon rotation of the spool 5134 . For example , the     extends further in a longitudinal direction than the protru
   ribbon 5128 can be arranged such that the                        sion extends radially.
   numbers
   numbers,, or
             or other
                other suitable indicia,, decrease
                      suitable indicia   decrease upon
                                                  upon rotation of
                                                       rotation of     2 . The dose counter of claim 1 , wherein the support shaft
   the spool 5134 to indicate the number of doses remaining in 5 is forked and configured to resiliently bias the support shaft
   the inhaler 510 . Alternatively , the ribbon 5128 can be              and bore into frictional engagement.
   arranged such that the numbers, or other suitable indicia ,             3 . The dose counter of claim 2 , wherein the support shaft
   increase upon rotation of the spool 5134 to indicate the              includes a plurality of tines, each of the plurality of tines
   number of doses dispensed by the inhaler 10 .                   having the radially extending protrusion .
      The indexing spool 5134 includes radially extending teeth 10 of 4the
                                                                        . The dose counter of claim 1 , wherein at least a portion
                                                                           bore is a smooth substantially cylindrical bore .
   5136 , which are engaged by pawl 5138 extending from a                  5 . The dose counter of claim 1 , wherein the inhaler
   cam follower 578 of the second yoke 568 upon movement                 includes a medicament canister mounted thereto .
   of the yoke to rotate , or advance , the indexing spool 5134 .          6 . The dose counter of claim 5 , wherein the canister
   More particularly , the pawl 5138 is shaped and arranged              comprises a pressurised metered dose canister having a
   such that it engages the teeth 5136 and advances the index - 15 reciprocally movable stem extending therefrom and mov
   ing spool 5134 only upon the mouthpiece cover 528 being         able into a main canister body for releasing a metered dose
   closed and the yokes 566 , 568 moved back towards the cap       ofmedicament under pressure .
   526 of the housing 518.                                                 7 . The dose counter of claim 6 , wherein the canister is
      The dose counting system 516 also includes a chassis               configured to bemanually operable .
   5140 that secures the dose counting system to the hopper 20 8 . The dose counter of claim 1 , wherein the bore includes
   542 and includes shafts 108 , 5144 for receiving the bobbin     a major diameter and a minor diameter, the major diameter
    110 and the indexing spool 5134 . As described above with      being greater than the minor diameter.
   reference to FIGS. 1 to 20 , the bobbin shaft 108 is forked and    9 . The dose counter of claim 8 , wherein the bore includes
   includes radially nubs 5146 for creating a resilient resistance a generally cylindrical polygonal shape with a wavelike
   to rotation of the bobbin 110 on the shaft 108 by engaging 25 surface configured to engage the friction edge .
   with the wavelike engagement surface 300 inside the bobbin              10 . The dose counter of claim 1 , wherein the bobbin
   110 . A clutch spring 5148 is received on the end of the              includes an inner wall having a rib configured to extend from
   indexing spool5134 and locked to the chassis 5140 to allow the inner wall into the internal bore .
   rotation of the spool 5134 in only a single direction .           11 . The dose counter of claim 10 , wherein the rib is one
      Various modifications may be made to the embodiment 30 of a plurality of ribs, each of the plurality of ribs being
   shown without departing from the scope of the invention as spaced from another of the plurality of ribs.
   defined by the accompanying claims as interpreted under           12 . The dose counter of claim 1, wherein each of the
   patent law .                                                   leading portion edge and the trailing portion edge are
                                                                  tapered .
      What is claimed is:                                      35    13 . The dose counter of claim 1 , wherein the leading
                                                                  portion
                                                                  po
      1. A dose counter for an inhaler, the dose counter having longitudinaledge is disposed at a first angle relative to the
   a display tape arranged to be incrementally driven from a                    axis of the support shaft,
   tape stock bobbin onto an incremental tape take -up drive               wherein the trailing portion edge is disposed at a second
   shaft, the bobbin having an internal bore supported by and                 angle relative to the longitudinal axis of the support
   for rotation about a support shaft, at least one of the bore and 40        shaft , and
   the support shaft having a radially extending protrusion        wherein the first angle is different than the second angle.
   having a leading portion edge , a trailing portion edge ,       14 . The dose counter of claim 1, wherein the friction edge
   wherein at least one of the leading portion edge and the isedge longer along the longitudinal axis than the leading portion
                                                                     .
   trailing portion edge are tapered , and a friction edge between
   the leading portion edge and the trailing portion edge , 45 15 . The dose counter of claim 1 , wherein the friction edge
   wherein the friction edge is substantially parallel to a              is longer along the longitudinal axis than the trailing portion
   longitudinal axis of the support shaft and the leading portion        edge.
   edge and trailing portion edge are not parallel to the longi             16 . The dose counter of claim 1 , wherein the friction edge
   tudinal axis of the support shaft, and the friction edge er           is longer along the longitudinal axis than the each of the
                                                              is 50 leading portion edge and the trailing portion edge .
   resiliently biased into frictional engagement with the other 50 led
   of the bore and support shaft with longitudinally extending                                  *   *   *    *   *
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 59 of 318 PageID: 134




                            EXHIBIT D
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 60 of 318 PageID: 135
                                                                     |HAOWAT UIT OTHMAN MIT      US010022510B2

   (12) United States Patent                                               ( 10) Patent No.: US 10 ,022,510 B2
          Walsh et al.                                                     (45) Date of Patent:     Jul. 17, 2018
   (54 ) DOSE COUNTERS FOR INHALERS,                                  (51) G06M
                                                                           Int. Ci.1 /06                          ( 2006 .01 )
         INHALERS AND METHODS OF ASSEMBLY                                      A61M 11 /00
           THEREOF                                                                                                ( 2006 .01)
                                                                                                            (Continued )
   ( 71) Applicants : IVAX PHARMACEUTICALS                            (52) U .S. CI.
                      IRELAND, Waterford (IE ); NORTON                         CPC ........ A61M 15 /0078 ( 2014 .02) ; A61M 11/ 00
                       (WATERFORD ) LIMITED , Waterford                                        ( 2013 .01); A61M 15 / 009 ( 2013 .01) ;
                       ( IE ) ; TEVA PHARMACEUTICALS                                            (Continued )
                      IRELAND , Waterford (IE )                       (58 ) Field of Classification Search
                                                                               CPC ........................ A61M 11/00; A61M 15 /0071
   ( 72 ) Inventors : Declan Walsh , County Kilkenny (IE );                                                 (Continued )
                      Derek Fenlon , County Wexford (IE );
                      Simon Kaar , County Cork (IE ); Jan             (56 )                      References Cited
                      Geert Hazenberg, County Kilkenny
                      ( IE ); Daniel Buck , County Waterford                              U . S. PATENT DOCUMENTS
                      (IE ); Paul Clancy , Waterford (IE );                   4 , 174 ,890 A          11/ 1979 Johnson
                       Robert Charles Uschold , Leominster,                   4 ,669 ,838 A           6 /1987 Hibbard
                       MA (US ); Jeffrey A . Karg , Hopkinton ,                                          (Continued )
                    MA (US)
                                                                                     FOREIGN PATENT DOCUMENTS
   ( 73 ) Assignees: Ivax Pharmaeuticals Ireland ,
                     Waterford (IE ); Norton (Waterford )             CA
                                                                      EP
                                                                                               2501726               9 / 2006
                     Limited , Waterford (IE ); Teva                                           1330280              7 /2003
                     Pharmaceuticals Ireland , Waterford                                                    (Continued )
                       ( IE )
                                                                                               OTHER PUBLICATIONS
   ( * ) Notice : Subject to any disclaimer, the term of this
                   patent is extended or adjusted under 35            Final Office Action dated Oct. 20, 2016 for U .S . Appl. No .
                   U .S .C . 154 (b ) by 0 days .                     14/699,567.
                                                                                               (Continued )
   (21) Appl. No.: 15 /271,738
                                                                      Primary Examiner — Daniel Hess
   (22 ) Filed :       Sep. 21, 2016                                  (74 ) Attorney, Agent, or Firm — Morgan Lewis &
                                                                      Bockius, LLP
   (65)                   Prior Publication Data
          US 2017/0007785 A1 Jan . 12, 2017                           (57)                 ABSTRACT
                                                                      A tape system for a dose counter for an inhaler, the tape
                                                                      system having a main elongate tape structure , dosing indicia
                   Related U .S . Application Data                    located on the main elongate tape structure, tape positioning
                                                                      indicia located on the main elongate tape structure , a tape
   (60 ) Continuation of application No . 14 / 103, 353 , filed on    size marker located on the main elongate tape structure
          Dec. 11, 2013 , now Pat. No. 9,526 ,850, which is a         indicating a number of dosing indicia on the tape, and
                                (Continued )                                               (Continued )

                                        174 216        210                 7214                212             212

                                    T1                                                           W      .




                                               "22        205                            - 200
                                                                                                202
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 61 of 318 PageID: 136


                                                              US 10 ,Page
                                                                     022 ,2510 B2

   priming indicia located on the main elongate tape structure ,                             FOREIGN PATENT DOCUMENTS
   the priming indicia being located between the dosing indicia                                                       12 / 2004
   and one end of the tape.                                                    EP                   1486227
                                                                               GB                   2320489            6 / 1998
                                                                                                  02502129              7 / 1990
                    23 Claims, 17 Drawing Sheets                                                     450059             8 / 1992
                                                                                                  07100205              4 / 1995
                                                                                                 10504220               4 / 1998
                                                                                               2002528144                9 / 2002
                                                                                               2004501685                1 /2004
                     Related U .S . Application Data                                           2008 - 94103 A           4 /2008
                                                                                               2008094103               4 / 2008
            division of application No. 13 / 110 ,532 , filed on May                           2008261423              10 /2008
            18 , 2011 , now Pat. No . 8 , 978 , 966 .                                          2009233308              10 /2009
                                                                                               2009257392             11 / 2009
                                                                                               2010096308               4 /2010
                                                                               WO                   8909078           10 / 1989
   (60 ) Provisional application No. 61/ 417 ,659 , filed on Nov .             wo                   9628205            9 / 1996
            29, 2010 , provisional application No. 61 /345,763,                WO                 9828033               7 / 1998
            filed on May 18 , 2010 .                                           wo                 9936115               7 / 1999
                                                                               WO                02/00281 A2            1 /2002
                                                                               WO                03101514             12 /2003
   (51) Int . Ci.                                                              wo              2005102430             11 /2005
        A61M 15 /00                      ( 2006 .01)                           WO              2006062449              6 / 2006
            G06M 1/24                    ( 2006 .01)                           WO              2006062449 Al           6 /2006
                                                                               WO              2007012861              2 /2007
   (52) CPC
        U .S . CI..... A61M 15/0025 ( 2014 .02 ); A61M 15 /0026                WO
                                                                               WO
                                                                                               2007062518
                                                                                               2008023019
                                                                                                                       6 /2007
                                                                                                                       2 /2008
                      (2014 .02 ); A61M 15 /0065 ( 2013 .01); A61M             WO              2008119552               2 / 2008
                                                                               WO              2011012325               2 / 2011
                       15 / 0071 (2014 .02) ; GOOM 1/246 (2013 .01) ;          WO               2011012327              2 / 2011
                     A61M 2202 /064 ( 2013 .01); A61M 2205 /6063
                       ( 2013.01); A61M 2207/00 (2013 .01) ; A61M                                  OTHER PUBLICATIONS
                          2207/ 10 ( 2013 .01); YIOT 29 /49 ( 2015 .01) ;
                          Y1OT 29/49764 ( 2015 .01) ; Y10T 29/ 49826           Advisory Action dated Mar. 13, 2017 for U .S . Appl. No.
                                                              (2015 .01)       14 /699 , 567.
   (58) Field of Classification Search                                         Non -Final Office Action dated Jan . 12, 2017 for U .S . Appl. No.
        USPC .................... 235 /8 , 103 ; 128 /200 .22, 200 .23         14 /713 ,620 , 8 pages.
        See application file for complete search history .                     Final Rejection dated Sep . 27, 2016 for U .S . Appl. No . 14 /699 ,578 .
                                                                               Final Office Action dated Aug. 31 , 2016 for U .S . Appl. No.
                                                                               14 /713 ,620 , 7 pages .
   (56 )                      References Cited                                 Advisory action dated Feb . 9 , 2017 for U .S . Appl. No. 14 /699 ,584 .
                                                                               Non -final rejection dated Jul. 12 , 2016 for U . S . Appl. No.
                      U . S . PATENT DOCUMENTS                                 14 /713 ,643 .
                                                                               File History for U .S . Appl. No. 15 /271,738 .
           4 ,687 ,359 A *      8/ 1987 Barrus ..            B41J 15 / 16      File History for U . S . Appl. No . 15 / 269, 102
                                                                 400 /218      File History for U . S . Appl. No. 15 / 262,818 .
           5, 482,030 A         1/ 1996 Klein                                  File History for U . S . Appl. No. 15 / 289 ,553 .
           5 ,861,911 A         1/ 1999 Oosaka                                 File History for U . S . Appl. No . 15 / 269,249.
           6,446, 627 B1 * 9 / 2002 Bowman ............. A61M 15 /009          Final rejection dated Oct. 20 , 2016 or U . S . Appl. No . 14 /699 ,584 .
                                                           128/ 200 .23        Non - Final Office Action dated Jun . 24 , 2016 for U .S . Appl. No.
           6 , 718,972 B2 4 /2004 OLeary                                       14 /713 ,620 , 7 pages.
           8 , 418, 690 B2     4 / 2013 Power                                  Final rejection dated Oct . 20 , 2016 or U . S . Appl. No . 14 /713 ,631.
           8, 474, 448 B2       7 / 2013 Oi                                    Advisory Action dated Mar. 16 , 2017 or U .S . Appl. No. 14 /713 ,633.
           8, 978,966 B2        3 / 2015 Walsh et al.                          Entire patentprosecution history of U . S . Appl. No . 13 /110 ,532 , filed
           9 , 174, 013 B2    11/ 2015 Walsh et al.                            May 18 , 2011 , entitled , “ Dose Counters for Inhalers, Inhalers and
           9 ,463,289 B2      10 / 2016 Walsh et al.                           Methods of Assembly Thereof."
    2002 /0047021 AL           4 / 2002 Blacker                                Entire patentprosecution history of U .S . Appl. No. 14 / 103 ,324 , filed
    2002/ 0078949 Al           6 /2002 OLeary
    2002/ 0078950 A1           6 /2002 OLeary                                  Dec . 11, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
    2002 / 0084891 AL           7 / 2002 Mankins et al .                       Methods of Assembly Thereof."
    2003/0209239 AL           11/ 2003 Rand                                    Entire patent prosecution history of U .S . Appl.No. 14 / 103,343, filed
    2004/ 0089298 A1           5 / 2004 Haikarainen et al.                     Dec . 11, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
    2004 /0095746 AL           5/ 2004 Murphy                                  Methods of Assembly Thereof."
    2005 /0028815 Al           2 / 2005 Deaton                                 Entire patentprosecution history of U . S . Appl. No. 14 / 103, 353 , filed
    2005 /0087191 A1           4 /2005 Morton                                  Dec . 11, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
    2006 /0096594 A1           5 / 2006 Bonney                                 Methods of Assembly Thereof."
    2006 /0107949 A1            5 / 2006 Davies                                Entire patent prosecution history of U .S . Appl. No. 14 / 103 , 363 , filed
    2006 /0107979 Al            5 / 2006 Kim                                   Dec. 1, 2013 , entitled , “ Dose Counters For Inhalers, Inhalers and
    2007 /0062518 AL 3/ 2007 Geser                                             Methods of Assembly Thereof."
    2008/ 0242465 A    10 / 2008 Strobel
    2009 /0178678 AL 7 / 2009 OLeary                                           Entire patent prosecution history of U . S . Appl. No. 14 / 103 , 392, filed
    2010 /0089395 AL    4 / 2010 Power                                         Dec . 11, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
    2010 /0218759 AL 9 / 2010 Anderson                                         Methods of Assembly Thereof."
    2011/ 0041845 A1 * 2 / 2011 Solomon ... ..... ..... A61M 15 /009           Entire patent prosecution history of U . S . Appl. No . 14 /699 ,567, filed
                                                              128 / 203 . 12   Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler and Method for
    2012/0006322 AL             1/2012 Anderson                                Counting Doses."
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 62 of 318 PageID: 137


                                                                 US 10 ,Page
                                                                        022 ,3510 B2

   ( 56 )                    References Cited
                       OTHER PUBLICATIONS
   Entire patent prosecution history of U .S . Appl. No. 14 /699 ,578 , filed
   Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler Having a Bore
   !and Shaft Arrangement.”
   Entire patentprosecution history of U .S . Appl. No. 14 /699,584 , filed
   Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler Having an
   Antireverse Rotation Actuator."
   Entire patentprosecution history of U . S . Appl. No. 14 /713,612 , filed
   May 15, 2015, entitled , “ Dose Counters for Inhalers, Inhalers and
   Methods of Assembly Thereof."
   Entire patent prosecution history of U .S . Appl. No. 14 /713 ,620 , filed
   May 15, 2015, entitled , “ Dose Counters for Inhalers, Inhalers and
   Methods of Assembly Thereof."
    Entire patent prosecution history of U .S . Appl. No. 14 /713 ,643 , filed
   May 15 , 2015 , entitled , “ Dose Counters for Inhalers, Inhalers and
   Methods of Assembly Thereof."
   European Patent Office Communication , dated Apr. 24 , 2014 of
   counterpart European Patent Application No. 11 010 211. 8 .
   European Patent Office Communication , dated Apr. 24 , 2014 of
   counterpart European Patent Application No. 11 010 212 .6 .
   First Examination Report of counterpart New Zealand Patent Appli
   cation No. 603466 , dated Jul. 1, 2013 .
   * cited by examiner
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 63 of 318 PageID: 138


   U . S . Patent         Jul. 17 , 2018            Sheet 1 of 17        US 10 ,022 ,510 B2



                                  52             18 50            10
                                           ww
                                           w




                                     16
                                                 FIG . 1
                K - 3A


                                    54 min
                                                                                   36
                     A
           FIG . 2 .                            FIG . 3A                FIG . 3B
            56 3         168
              teh R176170
          178
              174 FIG . 4B                              172             198 194

                1 - 176
                                                             34   tus     Se 196
          180     774
                                                     VITIT                 Us 14
           118 4B                                58 56
                                                    567 118 120
            FIG . 4C                            FIG .4A                  FIG . 5
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 64 of 318 PageID: 139


   U . S . Patent         Jul . 17, 2018                       Sheet 2 of17           US 10.022,510 B2




                              106                                                | -190 106
                 104 94                                              |102 94

                                                                                          ( 188
                          D116 \ ino 100                                                   110
                                                                                G . 6B 12
             108     124 126
                                                                                 112 o
                    FIG . 6A                                                   200
                                                                                198
                                                                                      |

                                                         100

                                                                              FIG .6C
                                                                                             106


        06

                                                | | - - 130
                                                                                                  136



                                     .uyt t w     htername
                                                                   112
         | 110     124 126 136                                                              110
                     FIG. 6D                                                  FIG.6E
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 65 of 318 PageID: 140


   U . S . Patent         Jul. 17 , 2018      Sheet 3 of 17          US 10, 022 ,510 B2

                                                              128
                                                                      - 124

                                                              -             126
                                                                          - 126




                                  102
                                                                    130
                                        FIG .6F



                    144
                                                                           -- 138


                                                                             116


                              w
                                                                           130
                    128 met


                    124
                                                      2             126
                                           FIG .6G
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 66 of 318 PageID: 141


              atent       Jul. 17 , 2018          Sheet 4 of 17        US 10 ,022 ,510 B2

               20




                                       wy
          28 - 7
                                             ñ

                                                                                  - 76
                                             an
         AN                            425
                      FIG . 7A                                    FIG . 7B
                                            06 92
                                                         94 90    36




                                86 8Ó FIG . OH 82
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 67 of 318 PageID: 142


   U . S . Patent            Jul. 17 , 2018     Sheet 5 of 17              US 10, 022,510 B2


                          162 160 158                  156      _
                                                                76
                      164
                                                                           38
                 50
                                                                                       7C
                                                                                       .
                                                                                       FIG
                                                                     1     74
                 150 146                                             144
             148
             )




       154   76               myanmar                            152
                              www



                                                                                       7D
                                                                                       .
                                                                                       FIG
              74 /

                  144
                  144                           150
                                              118
                                                                           120
                                                                                 194
                                                                                       8D
                                                                                       .
                                                                                       FIG


                                              114
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 68 of 318 PageID: 143


   U . S . Patent                                     Jul. 17 , 2018        Sheet 6 of 17                US 10 , 022,510 B2




                                                                 www




                                                                            097 198                           8C
                                                                                                              .
                                                                                                              FIG
                                                                                            Ww
                                                                                                 34
                                etter til grunn   h     e nnar
               wwwwwwww
              wwwwwwwwwwwwww
                                   ww             w wwwwwwwwwwwwwwwwwww
                                                  wwwwww
                                                                                                       186
                                                                                                       0

                                                                                                        8
                                                                                                               8B
                                                                                                               .
                                                                                                               FIG
                                                                                                 /

                          www                     .                wwwwww


                                                                                                 V      58
                                                                                                        182

                                                                              T64   Www
                                                                                                 166
                                                                                                 62
                                                                                                       70      8A
                                                                                                               .
                                                                                                               FIG

                                                                                                        66
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 69 of 318 PageID: 144


   U . S . Patent       Jul. 17 , 2018                Sheet 7 of 17   US 10 ,022 ,510 B2

                                   +



                                    220
                                                             08




                                                                         9
                                                                         .
                                                                         FIG




                         40

                                   +
                                          LDaitnuem
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 70 of 318 PageID: 145


           atent        Jul. 17 , 2018              Sheet 8 of 17   US 10 , 022,510 B2


                                                             2011          94


                                                                           138




                                   FIG . 10A '80
                                         .. .   .   ......




                                                               r      . 94
                                                                      oglanon 142
                                                                            147
                                                                           - 138
                                                                             140
                                                                       -



                                                                                145
                      149     80
                                                              Ahto
                                     FIG . 10B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 71 of 318 PageID: 146


   U . S . Patent                             Jul. 17 , 2018       Sheet 9 of 17                         US 10 , 022,510 B2



                                                             142                               140
                                                   tón
                                          *




                                                                                                                10E
                                                                                                                .
                                                                                                                FIG
                                    www                                                       80


                     L .


                                                                                 138
                                                                                  138
                                                                        .. .. .. ... .


                                                                                                     *




                                                                                                     .




                                                                                                     .
                                                                                                     *




                                                   98
             34
                                                                                                                10C
                                                                                                                .
                                                                                                                FIG
                  littletheth   i    w
                                                                                                           92
                                                                   90                    08

                                                         .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 72 of 318 PageID: 147


           atent        Jul. 17 , 2018                     Sheet 10 of 17                  US 10 ,022 ,510 B2


                                         *   ... - . . .      .   .         .




                                                            Test                       138
                                                                                       94

                                                                                      92
                                                                  w
                                                                                ww.    144          10F
                                                                                                    .
                                                                                                    FIG
                                                                                      80


          34
                                         IT - T

                                                                      138
                                                                                             140
                                                                                             94




                                                                                                   10D
                                                                                                   .
                                                                                                   FIG
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 73 of 318 PageID: 148


    U . S. Patent         Jul 17, 2018             Sheet 11 of17       US 10, 022, 510 B2




                                                                           240


                                                                           242




                                                                       - 244

                                                                           246


                                                                   ?


       ?
       ?                                    .. .



        S            2x10*          4x70*               6x10°      8x10°         1x16?
                                         FIG . 11
                          232234                          =236
                                                                     238


                    230
                    23o
                                         FIG. 14
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 74 of 318 PageID: 149


    U . S . Patent     J ul. 17, 2018   Sheet 12 of 17           US 10,022, 510 B2




                                                                     ? 172




                                                                 ? 176
                                              178        170

            114216           210
                                 FIG. 12
                                              - 214214     112
                                                            112
                                                                212
                                                                      ??


                                              206
                     217       205                         200

                                                               202


                                  FGFIG..139
                                         13  gz
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 75 of 318 PageID: 150


   U . S . Patent          Jul. 17 , 2018          Sheet 13 of 17      US 10 ,022 ,510 B2


                           300


                                            l


                                      fil
                                      11
                                        1
                                        13i 1


                                 in




                     110
                                                FIG . 15       100
                                        102
              108
                                                                     204 300
                                                                      1 x 301 302
                                                                              302
                                                                                 304




                                                                               306


                    104
                    FIG . 20                                    FIG . 16
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 76 of 318 PageID: 151


    U . S . Patent            Jul. 17, 2018         Sheet 14 of 17        US 10 ,022 . 10 B2




                        102



                                                                                  ??
                                                                ,
                                                                S
                                                                     126Lai6    08

                              19A
                              .
                              FIG              >
                                                        19B
                                                        .
                                                        FIG     _
                                                                                     19C
                                                                                     .
                                                                                     FIG
             ~
             -
             94
                                               94                      124
       100        304               04
                                    _
                                    102
                                    ,
                                                               308
                                                               _
                                                               310
        -
                              18A
                              .
                              FIG                       18B
                                                        .
                                                        FIG             '
                                                                        ,
                                                                        126
                                                                                ?opFIG
                                                                               108
                                                                                *  18C
                                                                                   .
                  -
                  128
        94




                                    300 110

                                                    A FIG.17
                                                    %




                                              330
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 77 of 318 PageID: 152


   U . S . Patent                Jul. 17 , 2018         Sheet 15 of 17         US 10 ,022 ,510 B2

                                           510

                    a
         526                             518
                                                             526

                        11
         5200
         520
                             U




                                                                         am
                                                                         -
                                                                         2
                                                                         Deleguo
                                                                         .
                                                                         D
         528 Leo
         528            582
                                                         512
                                                  510
               FIG . 21                                        540

                                                                514           w 542



                                                               516 – DET 568
                                                               578 nye 578
                                                                522
                                                                520
                                                               5130
                                                                130 - 1
                                                                         de
                                                                          Hoe U
                                                                      582 528

                                                                      FIG . 22
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 78 of 318 PageID: 153



   U .S. Patent
           atent         Jul. 17 , 2018    Sheet 16 of 17            US 10 , 022,510 B2



                      110      5128                  - 5140
                                                           5136
                                                                  516




                      513
                      5134. Como
                               5148
                                             por
                                      FIG . 23


                                     516                                108
                                                    5146
                                                    5146
                 5128                 C110357615140
                                                w
                                                                          5140




                FOOD
               5127
                       -- vente
                            5134
                                               5136
                                               5136           5144
                                                              5144



                                      FIG . 24
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 79 of 318 PageID: 154


           atent         Jul. 17 , 2018     Sheet 17 of 17           US 10 ,022 ,510 B2


                                                    522


                           570




                                                             570
                   588                                         580
                                          524       1586
                                                      wo
                   528



                                    FIG . 25

                                                f578
                    5138
                                                     568
                         578




                                    FIG . 26
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 80 of 318 PageID: 155


                                                       US 10 ,022 ,510 B2
            DOSE COUNTERS FOR INHALERS ,                                 and closed , and actuation pawl of the device which is
        INHALERS AND METHODS OF ASSEMBLY                                 mounted on a yoke , travels a known long stroke of consis
                            THEREOF                                      tent length as the mouthpiece is opened and closed .
                                                                           WO 2008/ 119552 discloses a metered -dose inhaler which
               CROSS -REFERENCE TO RELATED                            5 is suitable for breath -operated applications and operates with
                         APPLICATIONS                                   a known and constant canister stroke length of 3 . 04 mm + -
                                                                        0 .255 mm . A stock bobbin of the counter, from which a tape
      This patent application is a continuation patent applica           is unwound , rotates on a shaft having a split pin intended to
   tion of U . S . Non - Provisional patent application Ser. No. hold the stock bobbin taut. However , some dose counters do
   14/ 103 , 353 , filed Dec. 11, 2013, which is a divisional patent 10 not keep a particularly reliable count, such as if they are
   application of U . S . Non- Provisional patent application Ser.       dropped onto a hard surface .
   No. 13 / 110 , 532, filed May 18 , 2011 , now U .S . Pat. No .          More recently , it has become desirable to improve dose
   8 , 978 , 966 , issued Mar. 17 , 2015 , which claims priority to      counters further and , in particular, it is felt that it would be
   U . S . Provisional Patent Application No . 61/345 , 763, filed  useful to provide extremely accurate dose counters for
   May 18 , 2010 , and U . S . Provisional Patent Application No. 154
                                                                    manually - operated canister-type metered dose inhalers .
   61/417 ,659 , filed Nov . 29 , 2010 , each of which is incorpo        Unfortunately , in these inhalers, it has been found in the
   rated herein by reference in its entirety for any and all             course ofmaking the present invention that the stroke length
   purposes.
                                                                         of the canister is to a very large extent controlled on each
                  FIELD OF THE INVENTION                              20 dose operation by the user, and by hand. Therefore, the
                                                                         stroke length is highly variable and it is found to be
      The present invention relates to dose counters for inhal-          extremely difficult to provide a highly reliable dose counter
   ers, inhalers and methods of assembly thereof. The invention          for these applications. The dose counter must not count a
   is particularly applicable to metered dose inhalers including  dose when the canister has not fired since this mightwrongly
   dry power medicament inhalers, breath actuated inhalers and 25 indicate to the user that a dose has been applied and if done
   manually operated metered dose medicament inhalers .           repeatedly the user would throw away the canister or whole
                                                                  device before it is really time to change the device due to the
            BACKGROUND OF THE INVENTION                                  active drug and propellant reaching a set minimum . Addi
                                                               tionally, the canister must not fire without the dose counter
     Metered dose inhalers can comprise a medicament-con - 30 counting because the user may then apply another dose
   taining pressurised canister containing a mixture of active thinking that the canister has not fired , and if this is done
   drug and propellant. Such canisters are usually formed from repeatedly the active drug and/or propellant may run out
   a deep -dawn aluminium cup having a crimped lid which while the user thinks the device is still suitable for use
   carries a metering valve assembly. The metering valve                 according to the counter. It has also been found to be fairly
   assembly is provided with a protruding valve stem which , in 35 difficult to assembly some known inhaler devices and the
   use is inserted as a push fit into a stem block in an actuator dose counters therefor. Additionally, it is felt desirable to
   body of an inhaler having a drug delivery outlet. In order to         improve upon inhalers by making them easily usable after
   actuate a manually operable inhaler, the user applies by hand         they have been washed with water.
   a compressive force to a closed end of the canister and the             The present invention aims to alleviate at least to a certain
   internal components of the metering valve assembly are 40 extent one or more of the problems of the prior art.
   spring loaded so that a compressive force of approximately
    15 to 30 N is required to activate the device in some typical                     SUMMARY OF THE INVENTION
   circumstances .
      In response to this compressive force the canister moves              According to a first aspect of the present invention there
   axially with respect to the valve stem and the axial move - 45 is provided a dose counter for an inhaler , the dose counter
   ment is sufficient to actuate the metering valve and cause a          having a counter display arranged to indicate dosage infor
   metered quantity of the drug and the propellant to be                 mation , a drive system arranged to move the counter display
   expelled through the valve stem . This is then released into a        incrementally in a first direction from a first station to a
   mouthpiece of the inhaler via a nozzle in the stem block ,          second station in response to actuation input, wherein a
   such that a user inhaling through the outlet of the inhaler will 50 regulator is provided which is arranged to act upon the
   receive a dose of the drug .                                        counter display at the first station to regulate motion of the
      A drawback of self-administration from an inhaler is that          counter display at the first station to incremental move
   it is difficult to determine how much active drug and /or             ments .
   propellant are left in the inhaler, if any, especially of the            The regulator is advantageous in that it helps prevent
   active drug and this is potentially hazardous for the user 55 unwanted motion of the counter display if the counter is
   since dosing becomes unreliable and backup devices not                dropped .
   always available .                                                      According to a further aspect of the present invention , the
     Inhalers incorporating dose counters have therefore                 regulator provides a resistance force of greater than 0 . 1 N
   become known.                                                         against movement of the counter display . According to still
      WO 98 /028033 discloses an inhaler having a ratchet 60 a further aspect of the present invention , the resistance force
   mechanism for driving a tape drive dose counter. A shaft              is greater than 0 .3 N . According to yet a further aspect of the
   onto which tape is wound has a friction clutch or spring for          present invention , the resistance force is from 0 .3 to 0 . 4 N .
   restraining the shaft against reverse rotation.                          Preferably, the counter comprises a tape.
      EP - A - 1486227 discloses an inhaler for dry powered      P referably , the tape has dose counter indicia displayed
   medicament having a ratchet mechanism for a tape dose 65 thereon . The first station may comprise a region of the dose
   counter which is operated when a mouthpiece of the inhaler   counter where tape is held which is located before a display
   is closed . Due to the way in which the mouthpiece is opened location , such as a display window , for the counter indicia .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 81 of 318 PageID: 156


                                                       US 10 ,022 ,510 B2
      The first station may comprise a first shaft, the tape being        According to a further aspect of the present invention
   arranged on the first shaft and to unwind therefrom upon        there is provided a shaft for holding counter tape in a dose
   movement of the counter display .                               counter for an inhaler, the shaft having an engagement
      The first shaft may be mounted for rotation relative to a    surface including incrementally spaced formations located
   substantially rotationally fixed element of the dose counter. 5 around a periphery thereof, the formations comprising a
      The regulator may comprise at least one projection which      series of curved concavities and convex portions.
   is arranged on one of the first shaft and the substantially         The shaft may comprise a hollow bobbin .
   rotationally fixed element and to engage incrementally with         The engagement surface may be a generally cylindrical
   one or more formations on the other of the first shaft and the inwardly directed surface .
   substantially rotationally fixed element.                     10
                                                                       The engagement surface may include a flat surface wall
      At least two said projections may be provided . Exactly portion       joining each concavity and convex wall portion .
   two said projections maybe provided.                                   Each concavity may comprise a radiused wall portion .
     Each projection may comprise a radiused surface .             Each convex wall portion may comprise a radiused wall
      The at least one projection may be located on the sub
   stantially fixed element which may comprise a fixed shaft 15 portion
                                                                   Said .concavities may be regularly spaced around a lon
   which is fixed to a main body of the dose counter, the first
   shaft being rotationally mounted to the fixed shaft.           gitudinal axis of the shaft .
      Preferably , the fixed shaft has at least two resiliently      Said convex wall portions may be regularly spaced
   flexible legs (or forks ). Each leg may have at least one said around a longitudinal axis of the shaft .
   projection formed in an outwardly facing direction thereon , 20 In some embodiments there may be from eight to twelve
   said one or more formations being formed on an inwardly              said concavities and/or convex wall portions regularly
   facing engagement surface of the first shaft, said at least one      spaced around a longitudinal axis thereof.
   projection being arranged to resiliently engage said one or            One embodiment includes ten said concavities and /or
   more formations. Preferably, a series of said formations are         convex wall portions regularly spaced around a longitudinal
   provided . An even number of said formations may be 25 axis of the shaft.
   provided . Eight to twelve of said formations may be pro -       According to a further aspect of the present invention
   vided . In one embodiment, ten said formations are provided . there is provided a shaft and counter tape assembly for use
      Each said formation may comprise a concavity formed on     in a dose counter for an inhaler, the assembly comprising a
   an engagement surface . Each concavity may comprise a
   radiused surface wall portion which preferably merges on at 30 rotatable
                                                                  shaft   and
                                                                             shaft and a counter tape which is wound around the
                                                                               is adapted to unwind therefrom upon inhaler
   least one side thereof into a flat wall portion surface . The actuation , the   shaft having an engagement surface which
   engagement surface may include a series ofsaid concavities , includes incrementally      spaced formations located around a
   and convex wall portions of the engagement surface may be periphery thereof.
   formed between each adjacent two said concavities, each           According to a further aspect of the present invention
   said convex wall portion comprising a convex radiused wall 35
   portion .                                                      there  is provided an inhaler for the inhalation ofmedication
      Each convex radiused wall portion of each convex wall and the like, the inhaler including a dose counter as in the
   portion may be connected by said flat wall portion surfaces firstA aspect    of the present invention .
                                                                        preferred construction consists of a manually operated
   to each adjacent concavity .
      The fixed shaft may comprise a split pin with fork legs 40 metered dose inhaler including a dose counter chamber
   and each projection may be located on a said fork leg .        including a dose display tape driven by a ratchet wheel
       The first shaft may comprise a substantially hollow bob          which is driven in turn by an actuator pawl actuated by
   bin .                                                               movement of a canister, the tape unwinding from a stock
      Said at least one formation may be located on an inner            bobbin during use of the inhaler, a rotation regulator being
   surface of the bobbin . In other embodiments it may be 45 provided for the stock bobbin and comprising a wavelike
   located on an outer surface thereof. Said engagement surface         engagement surface with concavities which engage against
   may extend partially along said bobbin , a remainder of the          control elements in the form of protrusions on resilient forks
   respective inner or outer surface having a generally smooth          of a split pin thereby permitting incremental unwinding of
   journal portion along at least a portion thereof.                    the stock bobbin yet resisting excessive rotation if the
      The drive system may comprise a tooth ratchet wheel 50 inhaler is dropped onto a hard surface .
   arranged to act upon a second shaft which is located at the      According to another aspect of the present invention there
   second station , the second shaft being rotatable to wind the is provided a dose counter for a metered dose inhaler having
   tape onto the second shaft.                                   a body arranged to retain a medicament canister of prede
      The second shaft may be located on a main body of the             termined configuration for movement ofthe canister relative
   dose counter spaced from and parallel to the first shaft.         55 thereto ; the dose counter comprising : an incremental count
      The ratchet wheel may be fixed to the second shaft is    ing system for counting doses, the incremental counting
   arranged to rotate therewith . The ratchet wheel may be     system having a main body, an actuator arranged to be
   secured to an end of the second shaft and aligned coaxially driven in response to canister motion and to drive an
   with the second shaft.                                      incremental output member in response to canister motion ,
      The dose counter may include anti-back drive system 60 the actuator and incremental output member being config
   which is arranged to restrict motion of the second shaft . The       ured to have predetermined canister fire and count configu
   anti-back drive system may include a substantially fixed             rations in a canister fire sequence , the canister fire configu
   tooth arranged to act upon teeth of the ratchet wheel.               ration being determined by a position of the actuator relative
     According to a further aspect of the present invention , a         to a datum at which the canister fires medicament and the
   dose counter includes an anti-back drive system which is 65 count configuration being determined by a position of the
   arranged to restrict motion of the second shaft in a tape   actuator relative to the datum at which the incremental count
   winding direction .                                         system makes an incremental count, wherein the actuator is
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 82 of 318 PageID: 157


                                                          US 10 ,022 ,510 B2
   arranged to reach a position thereof in the count configura             wise generally straight surface against which the actuator
   tion at or after a position thereof in the canister fire con            engages and along which it is arranged to slide during a
   figuration .                                                 canister firing sequence.
      This arrangement has been found to be highly advanta         The dose counter may include a counter pawl, the counter
   geous since it provides an extremely accurate dose counter 5 pawl having a tooth arranged to engage the incremental
   which is suitable for use with manually operated metered     output member, the tooth and incremental output member
   dose inhalers . It has been found that dose counters with these         being arranged to permit one way only incremental relative
   features have a failure rate of less than 50 failed counts per         motion therebetween . When the incremental output member
   million full canister activation depressions . It has been              comprises a ratchet wheel, the tooth can therefore serve as
   found in the course of making the present invention that 10 an anti -back drive tooth for the ratchet wheel, thereby
   highly reliable counting can be achieved with the dose                  permitting only one way motion or rotation thereof.
   counter counting at or soon after the point at which the                   The counter pawl may be substantially fixedly mounted
   canister fires . It has been is covered by the present inventors        on the main body of the incremental count system and the
   that momentum and motion involved in firing the canister,               counter pawl may be arranged to be capable of repeatedly
   and in some embodiments a slight reduction in canister back 15 engaging equi - spaced teeth of the incremental output mem
   pressure on the user at the time of canister firing, can very  ber in anti -back drive interlock configurations as the counter
   reliably result in additional further motion past the count             is operated . The counter pawlmay be positioned so that the
   point.                                                                  incremental output member is halfway, or substantially
      The actuator and incremental counting system may be halfway moved from one anti-back drive interlock configu
   arranged such that the actuator is displaced less than 1 mm , 20 ration to the next when the actuator and incremental output
   typically 0 .25 to 0 . 75 mm , more preferably about 0 . 4 to 0 .6     member are in the end configuration thereof. This is highly
   mm , relative to the body between its location in the count             advantageous in that it minimises the risk of double counting
   and fire configurations, about 0 .48 mm being preferred . The           or non - counting by the dose counter.
   canister, which can move substantially in line with the                    According to a further aspect of the invention there is
   actuator, can reliably move this additional distance so as to 25 provided an inhaler comprising a main body arranged to
   achieve very reliable counting .                                        retain a medicament canister of predetermined configuration
     The incremental count system may comprise a ratchet                   and a dose counter mounted in the main body .
   mechanism and the incremental output member may com                        The inhaler main body may include a canister receiving
   prise a ratchet wheel having a plurality of circumferentially           portion and a separate counter chamber, the dose counter
   spaced teeth arranged to engage the actuator.                        30 being located within the main body thereof, the incremental
      The actuator may comprise an actuator pawl arranged to               output member and actuator thereof inside the counter
   engage on teeth of the ratchet wheel. The actuator pawlmay              chamber, the main body of the inhaler having wall surfaces
   be arranged to be connected to or integral with an actuator             separating the canister -receiving portion and the counter
   pin arranged to engage and be depressed by a medicament                 chamber, the wall surfaces being provided with a commu
   canister bottom flange . The actuator pawlmay be generally 35 nication aperture , an actuation member extending through
   U - shaped having two parallel arms arranged to pull on a               the communication aperture to transmit canister motion to
   central pawl member arranged substantially perpendicular                the actuator.
   thereto . This provides a very reliable actuator pawl which      According to a further aspect of the present invention
   can reliably pull on the teeth of the ratchet wheel.          there is a provided an inhaler for metered dose inhalation ,
      The incremental count system may include a tape counter 40 the inhaler comprising a main body having a canister
   having tape with incremental dose indicia located thereon , housing arranged to retain a medicament canister for motion
   the tape being positioned on a tape stock bobbin and being therein , and a dose counter, the dose counter having an
   arranged to unwind therefrom .                                actuation member having at least a portion thereof located in
      The actuator and incremental output member may be                    the canister housing for operation by movement of a medi
   arranged to provide a start configuration at which the 45 cament canister, wherein the canister housing has an inner
   actuator is spaced from the ratchet output member, a reset              wall , and a first inner wall canister support formation located
   configuration at which the actuator is brought into engage              directly adjacent the actuation member.
   ment with the incremental output member during a canister                  This is highly advantageous in that the first inner wall
   fire sequence , and an end configuration at which the actuator canister support formation can prevent a canister from
   disengages from the ratchet output during a canister fire 50 rocking too much relative to the main body of the inhaler.
   sequence .                                                      Since the canister may operate the actuation member of the
       The actuator may be arranged to be located about 1. 5 to    dose counter, this substantially improves dose counting and
   2 .0 mm , from its location in the fire configuration , when in avoids counter errors.
   the start configuration , about 1.80 mm being preferred .                  The canister housing may have a longitudinal axis which
      The actuator may be arranged to be located about 1 . 0 to 55 passes through a central outlet port thereof, the central outlet
    1 .2 mm , from its location in the fire configuration , when in        port being arranged to mate with an outer canister fire stem
   the reset configuration , about 1 . 11 mm being preferred .             of a medicament canister, the inner wall canister support
        The actuator may be arranged to be located about 1 . 1 to           formation , the actuation member and the outlet port lying in
    1. 3 mm , from its location in the fire configuration , when in        a common plane coincident with the longitudinal axis .
   the end configuration , about 1 . 18 mm being preferred . 60 Accordingly , this construction may prevent the canister from
      These arrangements provide extremely reliable dose        rocking towards the position of the dose counter actuation
   counting, especially with manually operated canister type   member, thereby minimising errors in counting .
   metered dose inhalers .                                        The canister housing may have a further inner canister
      The main body may include a formation for forcing the wall support formation located on the inner wall opposite , or
   actuator to disengage from the incremental output member 65 substantially opposite , the actuation member. Accordingly,
   when the actuator is moved past the end configuration . The             the canister may be supported against rocking motion away
   formation may comprise a bumped up portion of an other                  from the actuator member so as to minimise count errors .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 83 of 318 PageID: 158


                                                         US 10 ,022 ,510 B2
      The canister housing may be generally straight and tubu -        a dose counter, the dose counter having a moveable actuator
   lar and may have an arrangement in which each said inner            and a chassis mounted on the body ; the chassis being heat
   wall support formation comprises a rail extending longitu           staked in position on the body . This is be highly advanta
   dinally along the inner wall.                                       geous in that the chassis can be very accurately positioned
     Each said rail may be stepped , in that it may have a first 5 and held firmly in place , thereby further improving counting
   portion located towards a medicine outlet end or stem block         accuracy compared to prior art arrangements in which some
   of the canister housing which extends inwardly a first              movement of the chassis relative to the body may be
   distance from a main surface of the inner wall and a second         tolerated in snap- fit connections.
   portion located toward an opposite end of the canister                 The chassis may have at least one of a pin or aperture heat
   chamber which extends inwardly a second , smaller distance 10 staked to a respective aperture or pin of the body.
   from the main surface of the inner wall . This may therefore           The chassis may have a ratchet counter output member
   enable easy insertion of a canister into the canister housing       mounted thereon .
   such that a canister can be lined up gradually in step wise            The ratchet counter output member may comprise a
   function as it is inserted into the canister housing                ratchet wheel arranged to reel in incrementally a dose meter
      The inhaler may include additional canister support rails 15 tape having a dosage indicia located thereon .
   which are spaced around an inner periphery of the inner wall      According to a further aspect of the present invention
   of the canister housing and which extend longitudinally there is provided a method of assembling an inhaler includ
   therealong.                                                     ing the step of heat staking the chassis onto the body. The
     At least one of the additional rails may extend a constant step of heat staking is highly advantageous in fixedly
   distance inwardly from the main surface of the inner wall. 20 positioning the chassis onto the body in order to achieve
      At least one of the additional rails may be formed with a        highly accurate dose counting in the assembled inhaler .
   similar configuration to the first inner wall canister support         The method of assembly may include mounting a spring
   formation .                                                         returned ratchet actuator in the body before heat staking the
      The dose counter may, apart from said at least a portion         chassis in place . The method of assembly may include
   of the actuation member, be located in a counter chamber 25 pre -assembling the chassis with a dose meter tape prior to
   separate from the canister housing, the actuation member            the step of heat staking the chassis in place . The method of
   comprising a pin extending through an aperture in a wall            assembly may include attaching a dose meter cover onto the
   which separates the counter chamber and the canister hous           body after the heat staking step . The cover may be welded
   ing.                                                                onto the body or may in some embodiments be glued or
     According to a further aspect of the present invention 30 otherwise attached in place .
   there is provided an inhaler for inhaling medicaments hav             According to a further aspect of the present invention
   ing: a body for retaining a medicament store ; the body             there is provided an inhaler for inhaling medicament and
   including a dose counter, the dose counter having a move -          having a body, the body have a main part thereof for
   able actuator and a return spring for the actuator , the return retaining a medicament store; and a dose counter , the dose
   spring having a generally cylindrical and annular end ; the 35 counter being located in a dose counter chamber of the body
   body having a support formation therein for supporting said         which is separated from the main part of the body, the dose
   end of the return spring, the support formation comprising a        counter chamber of the body having a dosage display and
   shelf onto which said end is engageable and a recess below          being perforated so as to permit the evaporation of water or
   the shelf.                                                     aqueous matter in the dose counter chamber into the atmo
      This shelf and recess arrangement is highly advantageous 40 sphere .
   since it allows a tool (such as manual or mechanical twee -            This is high advantageous since it enables the inhaler to
   zers ) to be used to place the return spring of the actuator onto   be thoroughly washed and the dose counting chamber can
   the shelf with the tool then being withdrawn at least partially    thereafter dry out fully .
   via the recess .                                                      The display may comprise a mechanical counter display
      The shelf may be U -shaped .                                 45 inside the dose counter chamber and a window for viewing
      The support formation may include a U -shaped upstand           the mechanical counter display . The mechanical counter
   ing wall extending around the U - shaped shelf, the shelf and display may comprise a tape . The perforated dose counter
   upstanding wall thereby forming a step and riser of a stepped chamber may therefore enable reliable washing of the
   arrangement.                                                       inhaler, if desired by the user , and may therefore dry out
      The recess below the shelf my also be U - shaped .           50 without the display window misting up .
      At least one chamfered surface may be provided at an               The dose counter chamber may be perforated by a drain
   entrance to the shelf. This may assist in inserting the actuator hole formed through an outer hole of the body. The drain
   and return spring into position .                                  hole may be located at a bottom portion of the body of the
      A further aspect of the invention provides a method of inhaler, thereby enabling full draining of the inhaler to be
   assembly of an inhaler which includes the step of locating 55 encouraged after washing when the inhaler is brought into
   said end of said spring on the shelf with an assembly tool and an upright position .
   then withdrawing the assembly tool at least partly via the             According to a further aspect of the present invention
   recess . This assembly method is highly advantageous com -          there is provided a dose counter for an inhaler, the dose
    pared to prior artmethods in which spring insertion has been counter having a display tape arranged to be incrementally
    difficult and in which withdrawal of the tool has sometimes 60 driven from a tape stock bobbin onto an incremental tape
    accidentally withdrawn the spring again .                      take - up drive shaft, the bobbin having an internal bore
       The cylindrical and annular end of the spring may be supported by and for rotation about a support shaft , at least
   movable in a direction transverse to its cylindrical extent one of the bore and support shaft having a protrusion which
   into the shelf while being located thereon .                is resiliently biased into frictional engagement with the other
     According to a further aspect of the present invention 65 of the bore and support shaft with longitudinally extending
   there is provided an inhaler for inhaling medicament, the           mutual frictional interaction . This arrangement may provide
   inhaler having a body for retaining a medicament store; and         good friction for the bobbin , thereby improving tape counter
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 84 of 318 PageID: 159


                                                      US 10 ,022 ,510 B2
                                                                                                   10
   display accuracy and preventing the bobbin from unwinding         dose counter positions for a dose counter actuator of the
   undesirably for example if the inhaler is accidentally            inhaler ; calculating a failure/ success rate for dose counters
   dropped .                                                         built to tolerance levels for counting each fire of inhalers in
      The support shaft may be forked and resilient for resil-       which the dose counter actuators may be applied ; and
   iently biasing the support shaft and bore into frictional 5 selecting a tolerance level to result in said failure / success
   engagement.                                                 rate to be at or below /above a predetermined value . This is
      The support shaft may have two forks, or more in some highly advantageous in that it allows an efficient and accu
   cases, each having a radially extending protrusion having a       rate prediction of the reliability of a series of inhaler
   friction edge extending therealong parallel to a longitudinal     counters made in accordance with the design .
   axis of the support shaft for frictionally engaging the bore of 10 The method of designing may include selecting the fail
   the support shaft with longitudinally extending frictional        ure / success rate as a failure rate of no more than one in 50
   interaction therebetween .                                        million . The method of designing may include setting an
      The bore may be a smooth circularly cylindrical or average count position for dose counters built to the toler
   substantially cylindrical bore .                               ances to be at or after an average fire position thereof during
      Each of the above inhalers in accordance with aspects of 15 canister firingmotion . The method of designing may include
   the present invention may have a medicament canister           setting the average count position to be about 0 . 4 to 0 .6 mm
   mounted thereto .                                                 after the average fire position , such as about 0 .48 mm after.
      The canister may comprise a pressurised metered dose           The method of designing may include setting tolerances for
   canister having a reciprocally movable stem extending             the standard deviation of the fire position in dose counters
   therefrom and movable into a main canister portion thereof 20 built to the tolerances to be about 0 . 12 to 0 . 16 mm , such as
   for releasing a metered dose ofmedicament under pressure ,        about 0 .141 mm . The method of designing may include
   for example by operating a metered dose valve inside the          setting tolerances for the standard deviation of the count
   canister body . The canister may be operable by pressing by       positions in dose counters built to the tolerances to be about
   hand on the main canister body.                                 0 .07 to 0 .09 mm , such as about 0 .08 mm . A further aspect
      In cases in which one or more support rails or inner wall 25 of the invention provides a computer implemented method
   support formations are provided , the canister may at all       of designing an incremental dose counter for an inhaler
   times when within the canister chamber have a clearance of which includes the aforementioned method of designing.
   about 0 . 25 to 0 .35 mm from the first inner wall support          A further aspect of the invention provides a method of
   formation . The clearance may be almost exactly 0 .3 mm . manufacturing in a production run a series of incremental
   This clearance which may apply to the canister body itself 30 dose counters for inhalers which comprises manufacturing
   or to the canister once a label has been applied , is enough to   the series of dose counters in accordance with the afore
   allow smooth motion of the canister in the inhaler while at       mentioned method of designing .
   the same time preventing substantial rocking of the canister            further aspect of the invention provides a method of
   which could result in inaccurate counting by a dose counter manufacturing a series of incremental dose counters for
   of the inhaler, especially when lower face of the canister is 35 inhalers , which comprises manufacturing the dose counters
   arranged to engage an actuator member of the dose counter with nominal canister fire and dose count positions of a dose
   for counting purposes .                                          counter actuator relative to a dose counter chassis (or inhaler
     According to a further aspect of the invention , a method       main body ), and which includes building the dose counters
   of assembling a dose counter for an inhaler comprises the         with the average dose count position in the series being , in
   steps of providing a tape with dosing indicia thereon ; 40 canister fire process , at or after the average canister fire
   providing tape positioning indicia on the tape; and stowing position in the series .
   the tape while monitoring for the tape positioning indicia       According to a further aspect of the invention , the method
   with a sensor. The method advantageously permits efficient provides fitting each dose counter in the series of incremen
   and accurate stowing of the tape, e. g. by winding .          tal dose counters to a corresponding main body of an inhaler.
      The dosing indicia may be provided as numbers , the tape 45 These aspects advantageously provide for the production
   positioning indicia may be provided as one or more lines run of a series of inhalers and dose counters which count
   across the tape. The stowing step comprises winding the tape reliably in operation .
   onto a bobbin or shaft, and , optionally , stopping winding          According to a further aspect of the invention , an incre
   when the positioning indicia are in a predetermined position . mental dose counter for a metered dose inhaler has a body
   The tape may be provided with pixelated indicia at a position 50 arranged to retain a canister for movement of the canister
   spaced along the tape from the positioning indicia . The tape relative thereto , the incremental dose counter having a main
   may also be provided with a priming dot.                          body, an actuator arranged to be driven and to drive an
      According to a further aspect of the invention , a tape        incremental output member in a count direction in response
   system for a dose counter for an inhaler has a main elongate      to canister motion , the actuatorbeing configured to restrict
   tape structure, and dosing indicia and tape positioning 55 motion of the output member in a direction opposite to the
   indicia located on the tape structure . The tape positioning      count direction . This advantageously enables an inhaler dose
   indicia may comprise at least one line extending across the       counter to keep a reliable count of remaining doses even if
   tape structure. The tape system may comprise pixelated            dropped or otherwise jolted .
   indicia located on the tape structure and spaced from the            The output member may comprise a ratchet wheel. The
   positioning indicia . The tape system may comprise a prim - 60 actuator may comprise a pawl and in which the ratchet wheel
   ing dot located on the tape structure . The positioning indicia   and pawl are arranged to permit only one-way ratcheting
   may be located between the timing dot and the pixelated           motion of the wheel relative to the pawl. The dose counter
   indicia . The main elongate tape structure may have at least      may include an anti- back drive member fixed to the main
   one end thereof wound on a bobbin or shaft.                       body. In a rest position of the dose counter, the ratchet wheel
      A further aspect of the invention provides a method of 65 is capable of adopting a configuration in which a back
   designing an incremental dose counter for an inhaler com -        surface of one tooth thereof engages the anti -back drive
   prising the steps of calculating nominal canister fire and        member and the pawl is spaced from an adjacent back
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 85 of 318 PageID: 160


                                                      US 10 ,022 ,510 B2
   surface of another tooth of the ratchet wheel without positive       FIG . 21 is a view of a preferred embodiment of a dry
   drive /blocking engagement between the pawl and wheel.            powder inhaler in accordance with the present invention ;
                                                                        FIG . 22 is an exploded view of the inhaler of FIG . 21 ;
         BRIEF DESCRIPTION OF THE DRAWINGS                         FIG . 23 is a view of a dose counter of the inhaler of FIG .
                                                               5 21;
      The present invention may be carried out in various ways     FIG . 24 is an exploded view of the dose counter shown in
   and preferred embodiment of a dose counter, inhaler and      FIG . 23 ;
   methods of assembly, design and manufacture will now be       F IG . 25 is an exploded view of parts of the inhaler of FIG .
   described with reference to the accompanying drawings in     21 ; and
   which :                                                    10 FIG . 26 is a view of a yoke of the inhaler of FIG . 21 .
      FIG . 1 is an isometric view of a main body of an                    DETAILED DESCRIPTION OF THE
   embodiment of an inhaler related to the invention together                           INVENTION
   with a mouthpiece cap therefor;
     FIG . 2 is a top plan view of the components as shown in 15
                                                          wim           FIG . 1 shows a main body 10 of a manually operated
   FIG . 1 ;                                                         metered dose inhaler 12 in accordance with an embodiment
      FIG . 3A is a section on the plane 3A -3A in FIG . 2 ;         related to the present invention and having a mouthpiece cap
      FIG . 3B is a view corresponding to FIG . 3A but with a        14 securable over a mouthpiece 16 of the main body .
   dose counter fitted to the main body of the inhaler ;          The main body has a canister chamber 18 into which a
     FIG . 4A is an exploded view of the inhaler main body, 20 canister 20 (FIG . 7A ) is slideable . The canister 20 has a
   mouthpiece cap , dose counter and a dose counter window ;         generally cylindrical main side wall 24 , joined by a tapered
     FIG . 4B is a view in the direction 4B in FIG . 4C of a         section 26 to a head portion 28 having a substantially flat
   spring retainer of the dose counter;                              lower face 30 which has an outer annular drive surface 32
     FIG . 4C is a top view of the spring retainer of FIG . 4B ; arranged to engage upon and drive an actuation pin 34 of a
     FIG . 5 is a bottom view of the assembled inhaler main 25 dose counter 36 as will be described . Extending centrally
   body , mouthpiece cap , dose counter and dose counter win         and axially from the lower face 30 is a valve stem 38 which
   dow ;                                                             is arranged to sealingly engage in a valve stem block 40 of
     FIGS. 6A , 6B , 6C , 6D , 6E , 6F, 6G and 6H are variousthe main body 10 of the inhaler 12 . The valve stem block 40
   views of dose counter components of the inhaler ;         has a passageway 42 leading to a nozzle 44 for directing the
     FIGS. 7A and 7B are sectional views showing canister 30 contents of the canister 20 , namely active drug and propel
   clearance inside the main body of the inhaler;                    lant, towards an air outlet 46 of the inhaler main body 12 . It
     FIG . 7C is a further sectional view similar to that of FIG .   will be appreciated that due to gaps 48 between the canister
   7B but with the canister removed ;                                20 and an inner wall 50 of the main body 10 of the inhaler
     FIG . 7D is a top plan view of the inhaler main body ;           12 an open top 52 of the main body 10 forms an air inlet into
      FIGS. 8A , 8B , 8C and 8D show the inhalermain body and 35 the inhaler 12 communicating via air passageway 54 with
   dose counter components during assembly thereof;              the air outlet 46 , such that canister contents exiting nozzle 44
      FIG . 9 shows a sectional side view of a datum line for anmix with air being sucked by the user through the air
   actuator pawl of the dose counter ;                          passageway 54 in order to pass together through the air
      FIGS. 10A , 10B , 10C , 10D , 10E and 10F show various    outlet and into the mouth of the user (not shown ).
   side views of positions and configurations of the actuator 40 The dose counter 36 will now be described . The dose
   pawl, a ratchet wheel, and a count pawl;                     counter 36 includes an actuation pin 34 biased upwardly
      FIG . 11 shows distributions for tolerances of start, reset,   from underneath by a return spring 56 once installed in the
   fire , count and end positions for the actuator of the dose       main body 10 . As best shown in FIGS. 4A , 6H and 8A , the
   counter ;                                                   pin 34 has side surfaces 58 , 60 arranged to slide between
      FIG . 12 is an enlarged version of part of FIG . 4A ; 45 corresponding guide surfaces 62, 64 located in a dose
      FIG . 13 shows an end portion of a tape of the dose counter chamber 66 of the main body 10 , as well as an end
   counter ;                                                         stop surface 68 arranged to engage a corresponding end stop
      FIG . 14 shows a computer system for designing the dose        70 formed in the dose counter chamber 66 to limit upward
   counter;                                                      movement of the pin 34 . The pin 34 has a top part 72 which
     FIG . 15 is an isometric view of a stock bobbin modified 50 is circularly cylindrical and extends through an aperture 74
   in accordance with the present invention for use in the dose      formed through a separator wall 76 which separates the
   counter of the inhaler of FIGS . 1 to 14 ;                        canister chamber 18 from the dose counter chamber 66 . The
     FIG . 16 shows an end view of the stock bobbin of FIG . 15 ;    top part 72 of the pin 34 has a flat top surface 78 which is
      FIG . 17 is a section through a longitudinal axis of the    arranged to engage the outer annular drive surface 32 of the
   stock bobbin of FIGS. 15 and 16 ;                           55 canister 20 .
     FIGS. 18A , 18B and 18C are views of the stock bobbin of           The actuation pin 34 is integrally formed with a drive or
   FIGS. 15 to 17 mounted in the dose counter chassis of FIGS.       actuator pawl 80. The actuator pawl 80 has a generally
   1 to 14 , with the control elements of the forks of the second inverted U - shape configuration , having two mutually spaced
   shaft (or split pin ) having a profile slightly different to that and parallel arms 82 , 84 extending from a base portion of the
   in FIG . 6F, with the forks in a compressed configuration ; 60 actuation pin 34 , each holding at respective distal ends 88
      FIGS . 19A , 19B and 19C are views equivalent to FIGS. thereof opposite ends of a pawl tooth member 90 which
   18A to 18C but with the forks in a more expanded configu -        extends in a direction substantially perpendicular to the arms
   ration due to a different rotational position of the stock        82, 84 , so as to provide what may be considered a “ saddle”
   bobbin ;                                                          drive for pulling on each of the 11 drive teeth 92 of a ratchet
     FIG . 20 is an isometric view of the chassis assembled and 65 wheel 94 of an incremental drive system 96 or ratchet
   including the stock bobbin of FIGS. 15 to 17 but excluding mechanism 96 of the dose counter 36 . As shown for example
   the tape for reasons of clarity ;                                 in FIG . 10B , the pawl tooth member 90 has a sharp lower
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 86 of 318 PageID: 161


                                                          US 10 ,022 ,510 B2
                                  13                                                                  14
   longitudinal side edge 98 arranged to engage the drive teeth          mm vertically below the axis 145 , and the flat 145 ' being
   92, the edge -to -surface contact provided by this engagement         spaced a distance sideways (i.e . parallel to the datum plane
   providing very accurate positioning of the actuator pawl 80           220 ) 2 .48 mm from the axis 145 . The top surface 78 of the
   and resultant rotational positioning of the ratchet wheel 94 . pin 34 (FIG . 6H ) is 11. 20 mm above the datum plane 220
      The dose counter 36 also has a chassis preassembly 100 5 ( FIG . 9 ) when the actuator pawl 80 and pin 34 are in the start
   which , as shown in FIGS. 4A and 6A , includes a chassis 102          configuration . The length of the valve stem 22 is 11. 39 mm
   having a first shaft 104 receiving the ratchet wheel 94 which         and the drive surface 32 of the canister 20 is 11 . 39 mm above
   is secured to a tape reel shaft 106 , and a second shaft ( or split   the datum plane 220 when the canister is at rest waiting to
   pin ) 108 which is parallel to and spaced from the first shaft        be actuated , such that there is a clearance of 0 . 19 mm
   104 and which slidably and rotationally receives a tape stock 10 between the canister 20 and the pin 34 in this configuration .
   bobbin 110 .                                                       FIGS. 10A and 10B show the actuator pawl80 and ratchet
      As shown in FIG . 6B , when the inhaler has not been used     wheel 94 and count pawl 138 in a start position in which the
   at all , the majority of a tape 112 is wound on the tape stock        flat top 78 of the pin 34 has not yet been engaged by the
   bobbin 110 and the tape 112 has a series of regularly spaced          outer annular drive surface 32 of the canister 20 or at least
   numbers 114 displayed therealong to indicate a number of 15 has not been pushed down during a canister depression .
   remaining doses in the canister 20 . As the inhaler is repeat-          In this " start" position , the count pawl 138 engages on a
   edly used , the ratchet wheel 94 is rotated by the actuator           non -return back surface 140 of one of the teeth 92 of the
   pawl 80 due to operation of the actuation pin 34 by the               ratchet wheel 94 . The lower side edge 98 of the actuator
   canister 20 and the tape 112 is incrementally and gradually  pawl is a distance “ D ” (FIG . 9 ) 1. 33 mm above datum plane
   wound on to the tape reel shaft 106 from the second shaft 20 220 which passes through bottom surface or shoulder 41 of
   108 . The tape 112 passes around a tape guide 116 of the              valve stem block 40 , the datum plane 220 being perpen
   chassis 102 enabling the numbers 114 to be displayed via a            dicular to a main axis “ X ” of the main body 10 of the inhaler
   window 118 in a dose counter chamber cover 120 having a               12 which is coaxial with the centre of the valve stem block
   dose marker 132 formed or otherwise located thereon .                 bore 43 and parallel to a direction of sliding of the canister
     As shown in FIGS. 6A and 6D , the second shaft 108 is 25 20 in the main body 10 of the inhaler 12 when the canister
   forked with two forks 124 , 126 . The forks 124 , 126 are is fired .
   biased away from one another. The forks have located                     As shown in FIG . 10B , an advantageous feature of the
   thereon at diametrically opposed positions on the second              construction is that the pawl tooth /actuator 90 acts as a
   shaft 108 friction or control elements 128 , 130 , one on each        supplementary anti-back drive member when the inhaler 12
   fork . Each control element extends longitudinally along its 30 is not being used for inhalation . In particular, if the inhaler
   respective fork 124 , 126 and has a longitudinally extending     12 is accidentally dropped , resulting in a jolt to the dose
   friction surface 132 , 134 which extends substantially paral-   counter 36 then , if the wheel 94 would try to rotate clock
   lel to a longitudinal axis of the second shaft and is adapted         wise (backwards ) as shown in FIG . 10B , the back surface
   to engage inside a substantially cylindrical bore 136 inside          140 of a tooth will engage and be blocked by the tooth
   the tape stock bobbin 110 . This control arrangement pro - 35 member 90 of the pawl 80 . Therefore, even if the anti-back
   vided between the bore 136 and the control elements 128 ,     drive tooth 138 is temporarily bent or overcome by such a
   130 provides good rotational control for the tape stock               jolt , undesirable backwards rotation of the wheel 94 is
   bobbin 110 such that it does not unwind undesirably such as prevented and , upon the next canister firing sequence , the
   when the inhaler is dropped . The tape force required to       pawl 90 will force the wheel 94 to catch up to its correct
   unwind the tape stock bobbin 110 and overcome this friction 40 position so that the dose counter 36 continues to provide
   force is approximately 0 . 1 N .                               correct dosage indication .
     As can be seen in FIG . 6D , as well as FIGS. 6G and 10A               FIG . 10C shows a configuration in which the actuator
   to 10F , the chassis 102 is provided with an anti- back drive         pawl 80 has been depressed with the pin 34 by the canister
   tooth 138 or count pawl 138 which is resiliently and sub - 20 to a position in which the side edge 98 of the pawltooth
   stantially fixedly mounted thereto . As will be described 45 member 90 is just engaged with one of the teeth 92 and will
   below and as can be seen in FIGS. 10A to 10F , when the therefore upon any further depression of the pin 34 begin to
   actuation pin 34 is depressed fully so as to fire the metered rotate the wheel 94 . This is referred to as a “ Reset" position
   valve (not shown ) inside the canister 20 , the actuator pawl         or configuration . In this configuration , the lower side edge
   80 pulls down on one of the teeth 92 of the ratchet wheel 94          98 of the actuator 80 is 0 .64 mm above the datum plane 220 .
   and rotates the wheel 94 anticlockwise as shown in FIG . 6D 50           FIG . 10D shows a configuration in which the actuator
   so as to jump one tooth 92 past the count pawl 138 , thereby          pawl80 has been moved to a position lower than that shown
   winding the tape 112 a distance incrementally relative to the         in FIG . 10C and in which the metered dose valve (not
   dose marker 122 on the dose counter chamber 120 so as to              shown ) inside the canister has at this very position fired in
   indicate that one dose has been used .                             order to eject active drug and propellant through the nozzle
      With reference to FIG . 10B , the teeth of the ratchet wheel 55 44 . It will be noted that in this configuration the count pawl
   94 have tips 143 which are radiused with a 0 .1 mm radius 138 is very slightly spaced from the back surface 140 of the
   between the flat surfaces 140 , 142 . The ratchet wheel 94 has same tooth 92 that it was engaging in the configuration of
   a central axis 145 which is 0 .11 mm above datum plane 220 FIG . 10D . The configuration shown in FIG . 10D is known
   ( FIG . 9 ). A top /nose surface 147 of the anti-back drive tooth as a “ Fire ” configuration. In this configuration the lower side
   138 is located 0 .36 mm above the datum plane 220 . The 60 edge 98 of the actuator 80 is 0 .47 mm below the datum plane
   distance vertically (i.e . transverse to datum plane 220FIG . 220 .
   9 ) between the top nose surface 147 of the anti- back drive         FIG . 10E shows a further step in the sequence , called a
   tooth is 0 .25 mm from the central axis 145 of the wheel 94 . “ Count” position in which the actuator pawl 80 has rotated
   Bump surface 144 has a lateral extent of 0 .20 mm , with a        the ratchet wheel 94 by the distance circumferentially angu
   vertical length of a flat 145 ' thereof being 1 mm , the width 65 larly between two of the teeth 92 , such that the count pawl
   of the bump surface being 1 .22 mm (in the direction of the       138 has just finished riding along a forward surface 142 of
   axis 145 ), the top 149 of the bump surface 144 being 3 .02 one of the teeth 92 and has resiliently jumped over the tooth
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 87 of 318 PageID: 162


                                                       US 10 ,022 ,510 B2
                                 15                                                            16
   into engagement with the back surface 140 of the next tooth .      second portion 102 having a lesser radial or inwardly
   Accordingly, in this “ Count" configuration , a sufficiently       extending extent than the first portion 156 , and finally a
   long stroke movement of the pin 34 has occurred that the           second step 164 at which the rail merges into the main inner
   tape 112 of the dose counter 36 will just have counted down        wall 50 main surface .
   one dose . In this configuration , the lower side edge 98 of the 5    A method of assembling the inhaler 12 will now be
   actuator is 0 . 95 mm below the datum plane 220 . Accord -         described .
   ingly , in this position , the actuator 80 generally , including      With reference to FIG . 8A , the main body 10 of the
   edge 98 , is 0 .48 mm lower than in the fire configuration . It    inhaler 12 is formed by two or more plastics mouldings
   has been found that, although the count configuration hap -        which have been joined together to the configuration shown .
   pens further on than the fire configuration , counting is highly 10 As shown in FIG . 8B , the actuator pawl 80 and pin 34 are
   reliable , with less than 50 failed counts per million . This is   translated forward into position into a pin receiving area 166
   at least partially due to momentum effects and to the canister     in the dose counter chamber 66 and the pin 34 and actuator
   releasing some back pressure on the user in some embodi-           80 may then be raised until the pin 34 emerges through the
   ments as its internal metering valve fires .                  aperture 74 .
      In the configuration of FIG . 10F , the pawl 80 has been 15 Next, the return spring 56 may be inserted below the pin
   further depressed with the pin 34 by the canister 20 to a          34 and a generally cylindrical annular lower end 168 of the
   position in which it is just disengaging from one of the teeth     spring 56 may be moved by a tweezer or tweezer- like
   92 and the actuator pawl80 is assisted in this disengagement       assembly tool (not shown ) into engagement with a shelf 170
   by engagement of one of the arms 84 with a bump surface            of a spring retainer 172 in the dose counter chamber 66 . The
   144 on the chassis 102 ( see FIG . 6G ) and it will be seen at 20 spring retainer 172 is U - shaped and the shelf 170 is
   this point of disengagement, which is called an " End "            U - shaped and has a recess 174 formed below it. As shown
   configuration, the count pawl 138 is positioned exactly            in FIGS. 4B , 4C and 12 shelf 170 includes three chamfer
   halfway or substantially halfway between two of the drive          surfaces 176 , 178, 180 arranged to assist in moving the
   teeth 92 . This advantageously means therefore that there is       lower end of the spring 168 into position onto the shelf using
   a minimum chance of any double counting or non - counting , 25 the assembly tool (not shown ). Once the lower end of the
   which would be undesirable . In the end configuration , the         spring 168 is in place , the assembly tool (not shown ) can
   side edge 98 of the actuator is 1.65 mm below the datum          easily be removed at least partly via the recess 174 below the
   plane 220 . It will be appreciated that any further depression   lower end 168 of the spring 56 .
   of the actuator pawl 80 and pin 34 past the " End” configu -        The tape 112 is attached at one end (not shown ) to the tape
   ration shown in FIG . 10F will have no effect on the position 30 stock bobbin 110 and is wound onto the bobbin by a motor
   of the tape 112 displayed by the dose counter 36 since the         200 (FIG . 13) having a hexagonal output shaft 202 which
   actuator pawl 80 is disengaged from the ratchet wheel 94           engages in a hexagonal socket 204 ( FIG . 6B ) of the bobbin .
   when it is below the position shown in FIG . 10F.                  During winding , the tape is monitored by a sensor 206 ,
      As shown in FIGS . 7C and 7D , the inner wall 50 of the         which may be in the form of a camera or laser scanner,
   main body 10 is provided with a two - step support rail 144 35 which feeds data to a computer controller 205 for the motor
   which extends longitudinally along inside themain body and         200 . The controller 205 recognises three positioning mark
   is located directly adjacent the aperture 74 . As shown in FIG .   ers 210 in the form of lines across the tape 112 and stops the
   7B a diametrically opposed two - step support rail 146 is also     motor 202 when the tape 112 is nearly fully wound onto the
   provided and this diametrically opposed in the sense that a        bobbin 110 , such that the distal end 212 of the tape 112 can
   vertical plane (not shown ) can pass substantially directly 40 be secured , e . g . by adhesive , to the tape reel shaft 106 . The
   through the first rail 144 , the aperture 74 , a central aperture controller 205 also recognises a pixelated tape size marker
   148 of the valve stem block 40 ( in which canister stem 25          214 observed by the sensor 206 and logs in a stocking
   is located ) and the second two - step support rail 146 . As       system data store 217 details of the tape 112 such as the
   shown in FIG . 7A and schematically in FIG . 7B , the rails   number of numbers 114 on the tape, such as one hundred and
   144 , 146 provide a maximum clearance between the canister 45 twenty or two hundred numbers 114 . Next, the tape reel shaft
   20 and the rails 144, 146 in a radial direction of almost          is wound until an appropriate position of the lines 210 at
   exactly 0 .3 mm , about 0 .25 to 0 .35 mm being a typical          which a priming dot 216 will , once the bobbin 110 and reel
   range . This clearance in this plane means that the canister 20    shaft 106 are slid onto the second shaft 108 and second shaft
   can only rock backwards and forwards in this plane towards         104 , be in a position to be located in the window 118 when
   away from the actuation pin 34 . A relatively small distance 50 the inhaler 12 is fully assembled . In the embodiments , the
   and this therefore prevents the canister wobbling and chang -      bobbin 110 and reel shaft 106 may be slid onto the shafts
   ing the height of the actuation pin 34 a as to undesirably alter    108 , 104 before the tape 112 is secured to the reel shaft 106
   the accuracy of the dose counter 36 . This is therefore highly     and the reel shaftmay then be wound to position the priming
   advantageous.                                               dot 216 .
      The inner wall 50 of the main body 10 is provided with 55 Next, the assembled dose counter components of the
   two further two - step rails 150 as well as two pairs 152 , 154     chassis preassembly 100 shown in FIG . 6B may as shown in
   of rails extending different constant radial amounts inwardly       FIG . 8C be inserted into the dose counter chamber 66 , with
   from the inner wall 50, so as to generally achieve a maxi- pins 182 , 184 , 186 formed on the main body 10 in the dose
   mum clearance of almost exactly 0 . 3 mm around the canister counter chamber 66 passing through apertures or slots 188 ,
   20 for all of the rails 144, 146 , 150 , 152 , 154 spaced around 60 190 , 192 formed on the chassis 102 , such that the pins 182,
   the periphery of the inner wall 50 , in order to prevent undue      184 , 186 extend through (or at least into ) the apertures or
   rocking while still allowing canister motion freely inside the      slots 188 , 190 , 192 . With the chassis 102 being relatively
   inhaler 12 . It willbe clear from FIG . 7C for example that the     firmly pushed towards the main body 10 , the pins 182 , 184 ,
   two - step rails have a first portion near an outlet end 156 of     186 are then heat staked and the chassis 102 is therefore after
   the canister chamber 18 , the first portion having a substan - 65 this held very firmly in position in the main body and is
   tially constant radial or inwardly - extending width , a first     unable to move , thereby assisting in providing great accu
   step 160 leading to a second portion 162 of the rail, the          racy for the dose counter 36 . Next, as shown in FIG . 8D , the
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 88 of 318 PageID: 163


                                                        US 10 ,022 ,510 B2
                                 17                                                                    18
   dose counter chamber cover 120 may be fitted over the dose              First, it can be seen that there is a modification in that the
   counter chamber 66 and may be secured in place such as by             drive teeth 92 of the ratchet wheel 94 have a different profile
   welding, with the priming dot 216 being displayed through            to that in FIGS. 1 to 14 . There are also only nine ratchet teeth
   the window .                                                   94 in this embodiment instead of eleven .
      The user can , when readying the inhaler 12 for first use, 5 Additionally , as shown in FIGS . 18C and 19C , the control
   prime the inhaler by depressing the canister 20 three times    elements 128 . 130 on the forks 124 , 126 of the second shaft
   which willbring the firstnumber 114 on the tape into display   108 have a tapered profile which is different to the profile of
   through the window 118 in place of the priming dot 216 , the the
   number 114 shown in FIG . 8D being “ 200 ” , thereby indi profilecontrol    elements 128 , 130 shown in FIG . 6F . Either
                                                                          can be used in the embodiment of FIGS. 15 to 20
   cating that 200 doses are remaining to be dispensed from the 10
   canister 20 and inhaler 12 .                                    however.
     As shown in FIG . 8D , and in FIG . 5 , an open drain hole            Furthermore, as shown in FIG . 15 , the tape stock bobbin
   194 is provided at the bottom of the dose counter chamber            110 has an inwardly facing generally cylindrical engagement
   66 by a substantially semi- circular cut-out or recess forma         surface 300 with a wavelike form extending partially the
   tion 196
   tion 196 inin aa lower
                    lower surface
                          surface 198
                                  198 of
                                      of the  main body
                                          the main body 10
                                                         10 of
                                                            of the
                                                                the 15
                                                                    15 realong . The engagement surface 300 has a cross -section
   inhaler. Accordingly , if the user ( not shown) should decide         301 perpendicular to the longitudinal length of the stock
   to wash the main body 10 of the inhaler, for example after           bobbin  110 which is constant therealong. This cross -section
   encountering an unhygienic situation or simply as a matter           301 can be seen in FIG . 16 and consists of a series of ten
   of choice , the drain hole 194 allows initial draining of water regularly spaced concavities 302 and ten convex wall por
   from inside the dose counter chamber 66 and also thereafter 20 tions 304 . The convex wall portions 304 are equi-spaced
   evaporation of water or any aqueous matter in the dose between the concavities 302 . Each concavity 302 has a
   counter chamber 66 so that the window 118 does not mist up          radius of 0 .2 mm . Each convex wall portion 304 also has a
   undesirably.                                                         radius of 0 . 2 mm . Finally , the cross section 301 also includes
      FIG . 14 shows a computer system 230 for designing the             flat wall portions 306 between all of the radiused wall
   dose counter 36 and in particular for calculating distribu - 25 portions of the concavities 302 and convex wall portions
   tions representative of average positions and standard devia -  304 . The geometry of the cross - section 301 is therefore
   tions in a production series of inhalers of the start, reset, fire , defined by the radii of the concavities 302 and convex wall
   count and end positions of the actuator lower side edge 98           portions 304 , the flat wall portions 306 and the fact that there
   relative to the datum plane 220 (FIG . 9 ) and therefore of the      are ten concavities 302 and convex wall portions 304 .
   actuator pawl 80 generally relative to the ratchet wheel 94 , 30 The minor diameter of the engagement surface 300 , i.e .
   chassis 102 and , when the inhaler 12 is fully assembled , the between the tips of opposite convex wall portions 304 , is
   main body 10 of the inhaler 12 . The computer system 230             2 . 46 mm . The major diameter of the engagement surface
   includes a data store 232, a CPU 234 , an input device 236           300, i.e . between the outermost portions of the concavities
   (such as a keyboard or communication port) and an output             302 , is 2 .70 mm . The undeformed tip to tip maximum
   device 238 ( such as a communications port , display screen 35 diameter of the forks 124 , 126 of the split pin the second
   and/ or printer ). A user may enter data via the input device         shaft ) 108 , i.e . in the region of the maximum radio extent of
   236 which may be used by the CPU 234 in a mathematical               the control elements 128 , 130 , is 3 . 1 millimeters and it will
   calculation to predict count failure rates when the various          therefore be appreciated that the forks 124 , 126 are resil
   dose counters are to be built in a series with dose counter          iently compressed once the stock bobbin 110 has been
   positions set with given averages and standard deviations 40 assembled onto the split pin 108 in all rotational configu
   and taking into account any momentum /inertia effects and            rations of the stock bobbin 110 relative to the split pin 108 .
   metering valve user-back -pressure reduction effect which             the minimum gap between the forks 124 , 126 in the plane
   will occur upon canister firing of a given type of canister          of the cross sections of FIGS. 18C and 19C is 1 mm when
   The computer system 230 is thus mathematically used to               the split pin 108 is in the undeformed , pre - inserted state .
   design the distributions. For the inhaler 12 described herein 45 When the split pin 108 is at maximum compression , as
   with the dose counter 36 and canister 20 , the distributions     shown in FIGS. 18A to 18C when the control elements 128 ,
   are designed as shown in FIG . 11 . The x axis shows distance         130 are shown to be engaged on top of the convex wall
   of the lower side surface 98 of the actuator 80 above the            portions 304 , the gap 308 between the tips 310 , 312 of the
   datum plane 220 and the y axis is representative of the          forks 124 , 126 is 0 . 36 mm . On the other hand , when the split
   distribution . Thus, curve 240 shows that the start configu - 50 pin 108 is at minimum compression (once inserted into the
   ration has an average 1. 33 mm above the datum plane 200             stock bobbin ) as shown in FIGS . 19A to 19C , when the
   ( standard deviation is 0 . 1 mm ), curve 242 shows that the         control elements 128 , 130 rest in the concavities 302 , the gap
   reset configuration has an average of 0 .64 mm above the             between the tips 310 , 312 of the forks 124 , 126 is 0 .6 mm .
   datum plane 220 ( standard deviation is 0 . 082 mm ), curve           The control elements 128 , 130 are outwardly radiused with
   244 shows the fire configuration has an average 0 .47 mm 55 a radius also of 0 . 2 mm such that they can just rest on the
   below the datum plane 220 ( standard deviation is 0 . 141            concavities 302 with full surface contact (at least at an axial
   mm ), curve 246 shows the count configuration has an                 location on the split pin where the tapered control elements
   average 0 . 95 mm below the datum plane 220 ( standard      are at their maximum radial extent ), without rattling in ,
   deviation is 0 . 080 mm ), and curve 248 shows the end      locking onto or failing to fit in the concavities 302 . The radii
   configuration has an average of 1 .65 mm below the datum 60 of the control elements 128 , 130 is therefore preferably
   plane 220 (standard deviation is 0 . 144 mm ).                       substantially the same as the radii of the concavities 302.
      FIGS. 15 to 20 show a version of the inhaler modified in             It will be appreciated that whereas FIGS. 18B and 19B are
   accordance with the present invention . In these drawings,           end viewsalong the coaxial axis of the stock bobbin 110 and
   the same reference numerals have been used to those in the     split pin 108 , FIGS. 18A and 19A are cross - sections. FIG .
   earlier drawings to denote the equivalent components . The 65 19A is a section on the plane A - A ' in FIG . 19C and FIG . 18A
   inhaler 12 is the same as that in FIGS. 1 to 14 apart from the is a section at the same plane , but of course with the stock
   following modifications.                                       bobbin 110 rotated relative to the split pin 108 .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 89 of 318 PageID: 164


                                                       US 10 ,022 ,510 B2
                                                                                                    20
      As the inhaler 12 is used and the ratchet wheel 94 rotates         The stock bobbin 110 and the carriage 102 including the
   in order to count used doses, the stock bobbin rotates split pin 108 are both moulded of polypropylene material.
   incrementally through rotational positions in which rotation         It will be seen from FIG . 16 that the cross -sectional shape
   is resisted , i.e . due to increasing compression of the split pin 301 is not symmetrical within the hexagonal socket 204 .
    108 at such rotational positions, and rotational positions in 5 This has enabled the hexagonal socket 204 to be maintained
   which rotation is promoted , i.e. due to decreasing compres - at a useful size while still allowing the desired size and
   sion of the split pin 108 at such rotational positions and this    geometry of the cross section 301 to fit without interfering
   may involve a click forward of the stock bobbin 110 to the with the hexagonal shape of the hexagonal socket 204 and
   next position equivalent to that in FIGS. 19A to 19C in     also permits moulding to work during manufacture .
   which the control elements 128 , 130 of the split pin art 10 As shown in FIG . 17 , the stock bobbin 110 has a series of
   located in the concavities 302 . This functionality firstly        four circumferential ribs 330 inside it and a spaced therea
   allows the stock bobbin to unwind during use as required ,         long. These hold the stock bobbin 110 on the correct side of
   but also prevents the tape 112 from loosening during transit       the mould tool during moulding .
   if the inhaler 12 is dropped, such as onto a hard surface . This   FIGS. 21 and 22 show a preferred embodiment in accor
   is highly advantageous , since the tape 11 is prevented from 15 dance with the invention of an inhaler 510 for dispensing a
   moving to a position in which it will give an incorrect dry - powdered medicament in metered doses for patient
   reading regarding the number of doses in the canister.           inhalation . The inhaler 510 is as disclosed in FIGS. 1 to 16
      During compression and expansion of the forks in the          or EP - A - 1330280 , the contents of which are hereby fully
   radial direction between the two configurations shown in         incorporated herein by reference , but with the stock bobbin
   FIGS. 18C and 19C , the forks 124 , 126 rotate about a point 20 110 and second shaft 108 of the dose counter 516 modified
   316 on the split pin where the forks 124 , 126 come together.      so as to be as in FIGS . 15 to 20 hereof. Thus, the dry powder
    This rotational action means that there is a camming action        inhaler 510 generally includes a housing 518 , and an assem
   between the forks 124 , 126 and the engagement surface 300         bly 512 received in the housing (see FIG . 21). The housing
   without significant friction but, nevertheless , the resilient 518 includes a case 520 having an open end 522 and a
   forces provided by the regulator formed by the engagement 25 mouthpiece 524 (FIG . 25 ) for patient inhalation , a cap 526
   surface 300 and forks 124 , 126 are able to regulate unwind        secured to and closing the open end 522 of the case 520 , and
   ing of the tape such that it does not easily occur during          a cover 528 pivotally mounted to the case 520 for covering
   transit or if the inhaler 12 is dropped . It has been found        the mouthpiece 524 . As shown in FIG . 22 , the inhaler 510
   during testing that a force of 0 .3 to 0 .4 N needs to be applied also includes an actuation spring 569, first yoke 566 with
   to the tape 112 to overcome the regulator at the stock bobbin 30 opening 572 , bellows 540 with crown 574 , a reservoir 514 ,
   110 . 0 .32 N is achieved with the control elements 128 having     second yoke 568 with hopper 542 and dose counter 516
   the profile shown in FIG . 19C and 0 . 38 N is achieved with       mounted thereto , and case 520 has transparent window 5130
   the profile of the control elements 128 altered to be as shown     thereon for viewing dose counter tape indicia 5128 . The
   as described with reference to FIG . 6F. These forces are      dose metering system also includes two cams 570 mounted
   substantially higher than the 0 . 1 N force mentioned above 35 on the mouthpiece cover 528 and movable with the cover
   and undesirable movement of the tape is substantially          528 between open and closed positions . The cams 570 each
   avoided even if the inhaler is dropped onto a hard surface .       include an opening 580 for allowing outwardly extending
   The modified arrangement of FIGS. 15 to 20 does not                hinges 582 of the case 520 to pass therethrough and be
   provide this force “ constantly ” such that there is overall not   received in first recesses 584 of the cover 528 . The cams 570
   an undesirably high friction of the tape 112 as it passes over 40 also include bosses 586 extending outwardly and received in
   the other components of the dose counter because , due to the       second recesses 588 of the cover 528 , such that the cover
   incremental nature of the resilient forces at the regulator, the   528 pivots about the hinges 582 and the cams 570 move with
   tape 112 can incrementally relax as it slides over the      the cover 528 about the hinges 582. As described in EP - A
   stationary chassis components .                             1330280 , cams 570 act upon cam followers 578 to move
      Instead of having ten concavities 302 and convex wall 45 second yoke 568 up and down and thereby operate dose
   portions 304, other numbers may be used, such as 8 or 12 .  counter by engagement of pawl 5138 on the second yoke
   However, it is preferred to have an even number, especially 568 with teeth 5136 . Remaining components of the inhaler
   since two control elements 128 , 130 are provided , so that all are provided as, and operate as described , in EP - A - 1330280 .
   of the control elements 128 , 130 will expand and contract         The dose counting system 516 therefore includes a ribbon
   simultaneously . However, other arrangements are envisaged 50 or tape 5128 (FIGS. 23 & 24 ), having successive numbers or
   with 3 or more forks and the number of concavities / convex        other suitable indicia printed thereon , in alignment with a
   wall portions may be maintained as an integer divisible by         transparent window 5130 provided in the housing 18 (see
   the number of forks to maintain a system with simultaneous         FIG . 22 ). The dose counting system 516 includes the rotat
   expansion /contraction . For example , the use of 9 , 12 or 15     able stock bobbin 110 ( as described above ), an indexing
   concavities/ convex wall portions with 3 forks is envisaged . 55 spool 5134 rotatable in a single direction , and the ribbon
      Instead of having the engagement surface 300 on the 5128 rolled and received on the bobbin 110 and having a first
   inside of the stock bobbin 110 , it could be placed on the         end 5127 secured to the spool5134, wherein the ribbon 5128
   outside of the stock bobbin 110 so as to be engaged by             unrolls from the bobbin 110 so that the indicia are succes
   flexible external legs/pawls or similar.                           sively displayed as the spool 5134 is rotated or advanced . In
      It will be noted that the regulator provided by the engage - 60 FIGS. 23 and 24 the wavelike engagement surface 300 of the
   ment surface 300 and forks 124 , 126 does not only allow           bobbin 110 is not shown for the purposes of clarity .
   rotation of the stock bobbin in one direction as is the case          The spool 134 is arranged to rotate upon movement of the
   with the ratchet wheel 94 . Rotation in both directions is          yokes 566 , 568 to effect delivery of a dose of medicament
   possible , i. e . forwards and backwards. This means that           from reservoir 514 , such that the number on the ribbon 5128
   during assembly, the stock bobbin 110 can be wound back - 65 is advanced to indicate that another dose has been dispensed
   wards during or after fitting the bobbin 100 , shaft 106 and       by the inhaler 510 . The ribbon 5128 can be arranged such
   tape 112 onto the carriage 102 , if desired .                      that the numbers , or other suitable indicia , increase or
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 90 of 318 PageID: 165


                                                           US 10 , 022,510 B2
                                    21                                                                  22
   decrease upon rotation of the spool 5134 . For example, the             6 . The inhaler of claim 1 , wherein the tape positioning
   ribbon 5128 can be arranged such that the numbers, or other           indicia are positioned between the first end of the main
   suitable indicia , decrease upon rotation of the spool 5134 to        elongate tape structure and the dosing indicia .
   indicate the number of doses remaining in the inhaler 510 .              7 . The inhaler of claim 1 , wherein the first end of the main
   Alternatively , the ribbon 5128 can be arranged such that the 5 elongate tape structure is fixed to the tape reel shaft .
   numbers , or other suitable indicia , increase upon rotation of          8 . The inhaler of claim 1 , wherein the priming indicia is
   the spool 5134 to indicate the number of doses dispensed by           positioned between the dosing indicia and the tape position
   the inhaler 10 .                                                      ing indicia .
      The indexing spool 5134 includes radially extending teeth             9 . The inhaler of claim 1, wherein the tape size marker is
   5136 , which are engaged by pawl 5138 extending from a 10 a pixelated bar code.
   cam follower 578 of the second yoke 568 upon movement                    10 . An inhaler comprising a dose counter and dose
   of the yoke to rotate, or advance , the indexing spool 5134 .         counter viewing window , the inhaler being configured to be
   More particularly , the pawl 5138 is shaped and arranged              readied by priming before first use and the dose counter
   such that it engages the teeth 5136 and advances the index            comprising:
   ing spool 5134 only upon the mouthpiece cover 528 being 15              a tape system having a main elongate tape structure ,
   closed and the yokes 566 , 568 moved back towards the cap                 dosing indicia located on the main elongate tape struc
   526 of the housing 518 .                                                   ture , tape positioning indicia located on the main elon
      The dose counting system 516 also includes a chassis                    gate tape structure , and a tape size marker located on
   5140 that secures the dose counting system to the hopper                   themain elongate tape structure indicating a number of
   542 and includes shafts 108 , 5144 for receiving the bobbin 20             dosing indicia on the main elongate tape structure ,
   110 and the indexing spool 5134 . As described above with                 wherein the tape size marker is positioned between a
   reference to FIGS . 1 to 20 , the bobbin shaft 108 is forked and           first end of themain elongate tape structure and the tape
   includes radially nubs 5146 for creating a resilient resistance           positioning indicia ,
   to rotation of the bobbin 110 on the shaft 108 by engaging              wherein the first end of the main elongate tape structure
   with the wavelike engagement surface 300 inside the bobbin 25              is fixed to a tape reel shaft and a second end of the main
   110 . A clutch spring 5148 is received on the end of the                   elongate tape structure is attached to a stock bobbin ,
   indexing spool5134 and locked to the chassis 5140 to allow                 and wherein the tape is around both the stock bobbin
   rotation of the spool 5134 in only a single direction .                    and tape reel shaft and a portion of the main elongate
      Various modifications may be made to the embodiment                     tape structure between the tape positioning indicia and
   shown without departing from the scope of the invention as 30              the dosing indicia is visible in the dose counter viewing
   defined by the accompanying claims as interpreted under                     window before priming before first use .
   patent law .                                                             11 . The inhaler of claim 10 , wherein the dosing indicia
     What is claimed is :                                                comprise numbers printed on the main elongate tape struc
      1. An inhaler comprising a dose counter and dose counter           ture.
   viewing window , the inhaler being configured to be readied 35 12 . The inhaler of claim 10 , wherein the tape positioning
   by priming before first use and the dose counter comprising: indicia comprise a series of lines that are each formed across
      a tape system having a main elongate tape structure ,              the main elongate tape structure.
            dosing indicia located on the main elongate tape struc -        13 . The inhaler of claim 10 , wherein the tape size marker
            ture , tape positioning indicia located on the main elon -   is positioned between the first end of the main elongate tape
            gate tape structure , a tape size marker located on the 40 structure and the dosing indicia .
            main elongate tape structure indicating a number of             14 . The inhaler of claim 10 , wherein the tape size marker
            dosing indicia on the main elongate tape structure , and     is a pixelated bar code .
            priming indicia located on the main elongate tape               15 . The inhaler of claim 10 , wherein said the first of the
            structure , the priming indicia being located between the    main elongate tape structure is fixed to the tape reel shaft.
            dosing indicia and a first end of the main elongate tape 45 16 . The inhaler of claim 10 further comprising priming
            structure and visible in the dose counter viewing win -      indicia located on the main elongate tape structure , the
            dow before priming before first use , and              priming indicia being located between the dosing indicia and
     wherein the first end of the main elongate tape structure     the first end of the main elongate tape structure .
        is fixed to a tape reel shaft and a second end of themain     17 . The inhaler of claim 16 , wherein the tape positioning
        elongate tape structure is attached to a stock bobbin , 50 indicia are positioned between the first end of the tape and
            and wherein the main elongate tape structure is around       the dosing indicia .
            both the stock bobbin and tape reel shaft when the              18 . The inhaler of claim 16 , wherein the priming indicia
            priming indicia is visible in the dose counter viewing       are positioned between the dosing indicia and the tape
        window before priming before first use .              positioning indicia .
     2 . The inhaler of claim 1, wherein the dosing indicia 55 19 . The inhaler of claim 16 , wherein the priming indicia
   comprise numbers printed on the main elongate tape struc - is a priming dot located on themain elongate tape structure
   ture .                                                                that is to be aligned with the viewing window .
      3. The inhaler of claim 1 , wherein the priming indicia is      20 . An inhaler comprising a dose counter and dose
   a priming dot located on the main elongate tape structure counter viewing window , the inhaler being configured to be
   that is to be aligned with the viewing window on the inhaler 60 readied by priming before first use and the dose counter
   that is visible to a user of the inhaler.                       comprising:
      4 . The inhaler of claim 1 , wherein the tape positioning       a tape system having a main elongate tape structure ,
   indicia comprise a series of lines that are each formed across        dosing indicia located on the main elongate tape struc
   the main elongate tape structure .                                         ture , tape positioning indicia located on the main elon
      5 . The inhaler of claim 1 , wherein the tape size marker is 65         gate tape structure so as to be visible in the dose counter
   positioned between said one the first end of the main                      viewing window before priming before first use , and
   elongate tape structure and the tape positioning indicia .                 priming indicia located on the main elongate tape
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 91 of 318 PageID: 166


                                                          US 10 ,022 ,510 B2
                                     23                                        24
           structure, the priming indicia being located between the
           tape positioning indicia and the dosing indicia ,
     wherein a first end of the main elongate tape structure is
           attached to a stock bobbin and a second end of themain
           elongate tape structure is fixed to a tape reel shaft , and 5
           wherein themain elongate tape structure is around both
           the stock bobbin and tape reel shaft when the priming
          indicia is visible in the dose counter viewing window
         before priming before first use .
      21 . The inhaler of claim 20 , wherein the dosing indicia 10
   comprise numbers printed on the main elongate tape struc
   ture.
      22 . The inhaler of claim 20 , wherein the priming indicia
   is a priming dot located on the main elongate tape structure
   that is to be aligned with the viewing window on the inhaler 15
   that is visible to a user of the inhaler.
      23 . The inhaler of claim 20, wherein the tape positioning
   indicia comprise a series of lines that are each formed across
   the main elongate tape structure .
                             *   *   *    *   *                       20
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 92 of 318 PageID: 167




                            EXHIBIT E
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 93 of 318 PageID: 168
                                                                     |HAOWATUMAUT TIL EN UTANATTMATTUS010086156B2

   (12) United States Patent                                                (10) Patent No.: US 10 ,086 , 156 B2
        Walsh et al.                                                        (45 ) Date of Patent:    Oct. 2 , 2018
   (54 ) DOSE COUNTER FOR INHALER AND
         METHOD FOR COUNTING DOSES
                                                                       (52) CPC
                                                                            U .S. CI......... A61M 15 /0078 ( 2014 .02); A61M 11 / 00
                                                                                              (2013 .01); A61M 15 / 009 (2013. 01 );
   ( 71) Applicants : IVAX PHARMACEUTICALS                                                     (Continued )
                      IRELAND , Waterford ( IE ); NORTON               (58 ) Field of Classification Search
                      (WATERFORD ) LIMITED , Waterford                       CPC ......... A61M 11/00 ; A61M 15 /00 ; G06M 1/ 06
                      ( IE ) ; TEVA PHARMACEUTICALS                                                         (Continued )
                      IRELAND , Waterford (IE )
   (72 ) Inventors: Declan Walsh , Co. Kilkenny ( IE );                (56 )                          References Cited
                      Derek Fenlon , Co. Wexford ( IE ) ;                                        U .S . PATENT DOCUMENTS
                      Simon Kaar , Co . Cork (IE ) ; Jan Geert
                      Hazenberg , Co . Kilkenny (IE ); Daniel                  4 , 174 , 890 A        11/ 1979 Johnson
                      Buck , Co. Waterford (IE ); Paul Clancy,                 4 ,669 , 838 A          6 / 1987 Hibbard
                      Waterford (IE ); Robert Charles                                                      (Continued )
                      Uschold , Leominster, MA (US ); Jeffrey                              FOREIGN PATENT DOCUMENTS
                      A . Karg, Hopkinton , MA (US )
                                                                       ??                     2501726    9 /2006
   (73) Assignees: Ivax Pharmaceuticals Ireland ,                      EP
                                                                       EP                         1330280           7 / 2003
                   Waterford (IE ); Norton (Waterford )                                                     (Continued )
                      Limited, Waterford (IE ); Teva
                      Pharmaceuticals Ireland , Waterford                                         OTHER PUBLICATIONS
                      ( IE )
                                                                       Entire patent prosecution history of U .S . Appl. No . 14 /699 ,578 , filed
                 Subject to any disclaimer, the term of this
   ( * ) Notice: patent                                                Apr. 29 , 2015, entitled , “ Dose Counter for Inhaler Having a Bore
                        is extended or adjusted under 35               and Shaft Arrangement."
                      U . S .C . 154 (b ) by 0 days .                                           (Continued )
   (21) Appl. No.: 14 /699 ,567                                        Primary Examiner — Daniel Hess
   ( 22 ) Filed : Apr. 29 , 2015                                       (74 ) Attorney, Agent, or Firm — Morgan , Lewis &
                                                                       Bockius, LLP
   (65 )                Prior Publication Data                         (57)                    ABSTRACT
          US 2015 /0238714 A1 Aug. 27 , 2015                           A dose counter for a metered dose inhaler includes an
                 Related U .S . Application Data                       incremental counting system for counting doses . The incre
                                                                       mental counting system has a main body, an actuator
   (60 ) Continuation of application No. 14 /103 ,353, filed on        arranged to be driven in response to canister motion and to
         Dec . 11 , 2013 , which is a division of application No .     drive an incremental output member in response to canister
                             (Continued )                              motion . The actuator and incremental output member are
                                                                       configured to have predetermined canister fire and count
   (51) Int. Cl.                                                       configurations in a canister fire sequence . The canister fire
         G06M 1 /06                   ( 2006 . 01)                     configuration is determined by a position of the actuator
         A61M 11 / 00                  (2006 .01 )                     relative to a datum at which the canister fires medicament
                                (Continued )                                                                (Continued )

                                                        w -




                               Datum Line
                                                                                                               220 +
                                                                                                               220




                                                                                 -   - -   - -
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 94 of 318 PageID: 169


                                                           US 10 ,086 , 156 B2
                                                                    Page 2

   and the count configuration is determined by a position of                                02502129
                                                                                               450059
                                                                                                                   7 / 1990
                                                                                                                   8 / 1992
   the actuator relative to the datum at which the incremental
   count system makes an incremental count. The actuator is                                  07100205              4 / 1995
                                                                                             10504220              4 / 1998
   arranged to reach a position in the count configuration at or                          2002528144               9 /2002
   after a position in the canister fire configuration .                                  2004501685               1 /2004
                                                                         =
                                                                                           2008 - 94103 A          4 /2008
                    13 Claims, 17 Drawing Sheets                                          2008094103               4 / 2008
                                                                                          2008261423              10 /2008
                                                                                          2009233308              10 /2009
                                                                                          2009257392             11/2009
                                                                                          2010096308               4 / 2010
                  Related U .S . Application Data                        WO
                                                                         WO
                                                                                             8909078
                                                                                              9628205
                                                                                                                  10 / 1989
                                                                                                                   9 / 1996
          13/ 110 ,532, filed on May 18 , 2011, now Pat. No.             WO
                                                                         wo
                                                                                              9828033
                                                                                              9936115
                                                                                                                   7 / 1998
                                                                                                                   7 / 1999
          8 , 978 , 966 .                                                WO                  02/00281 A2           1/2002
   (60 ) Provisional application No .61/345 ,763, filed on May           WO                  03101514             12 /2003
         18 , 2010 , provisional application No. 61 /417 ,659 ,          WO               2005102430              11 / 2005
         filed on Nov . 29 , 2010 .                                      wo               2006062449               6 / 2006
                                                                         wo               2006062449 A1            6 / 2006
   (51) Int. Ci.                                                         wo               2007012861               2 /2007
                                                                         wo               2007062518               6 /2007
        A61M 15 / 00                  (2006 .01)                         WO               2008023019               2 /2008
          GOOM 1 / 24                 ( 2006 .01)                        WO               2008119552               2 /2008
   (52 ) U .S . CI.                                                      WO               2011012325               2 /2011
          CPC ... A61M 15/ 0025 ( 2014 .02 ); A61M 15 / 0026             WO               2011012327               2 / 2011
                     ( 2014 .02 ); A61M 15 / 0065 ( 2013.01); A61M
                       15 / 0071 ( 2014 .02); G06M 1/ 246 ( 2013.01);                         OTHER PUBLICATIONS
                    A61M 2202 /064 (2013 .01); A61M 2205 /6063           Entire patent prosecution history of U .S . Appl.No. 14 /699 ,584, filed
                      (2013 . 01 ); A61M 2207/00 ( 2013 .01); A61M
                        2207 / 10 (2013 .01); Y10T 29/49 ( 2015 .01) ;   Apr. 29, 2015, entitled , “ Dose Counter for Inhaler Having an
                    YIOT 29 /49764 (2015 .01); Y1OT 29/49826             Anti-Reverse Rotation Actuator.”
                                                         (2015 .01 )     Entire patent prosecution history of U . S . Appl. No. 14 /713 ,612 , filed
   (58 ) Field of Classification Search                                  May 15 , 2015 , entitled , “ Dose Counters for Inhalers, Inhalers and
          USPC ............... ....... ...... 235/ 103; 128 /200.23      Methods of Assembly Thereof."
                                                                          Entire patent prosecution history of U . S . Appl. No . 14 / 713 ,620 , filed
          See application file for complete search history.              May 15 , 2015 , entitled , “ Dose Counters for Inhalers, Inhalers and
                                                                         Methods of Assembly Thereof."
   ( 56 )                References Cited                                 Entire patent prosecution history of U . S . Appl. No. 14 /713,633, filed
                     U . S . PATENT DOCUMENTS                            May 15 , 2015 , entitled , “ Dose Counters for Inhalers , Inhalers and
                                                                         Methods of Assembly Thereof."
        4 ,687 ,359 A        8/ 1987 Barrus                              Entire patentprosecution history of U . S . Appl. No. 14 / 713,643 , filed
        5 ,482,030 A         1/ 1996 Klein                               May 15, 2015 , entitled , “ Dose Counters for Inhalers, Inhalers and
        5 ,861,911 A         1/ 1999 Oosaka                              Methods of Assembly Thereof."
        6 , 446, 627 B1      9 / 2002 Bowman                             Entire patentprosecution history of U . S . Appl. No. 13 / 110 ,532 , filed
         6, 718, 972 B2      4 / 2004 OLeary                             May 18 , 2011 , entitled , “ Dose Counters for Inhalers, Inhalers and
         8 , 418, 690 B2     4 / 2013 Power                              Methods of Assembly Thereof."
         8 , 474, 448 B2     7 /2013 Oi                                  Entire patent prosecution history of U .S . Appl. No. 14 / 103,324 , filed
        8 ,978, 966 B2       3/ 2015 Walsh et al.
        9,174, 013 B2       11/ 2015 Walsh et al .                       Dec. 11 , 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
        9 , 463 ,289 B2     10 / 2016 Walsh et al.                       Methods of Assembly Thereof."
    2002/ 0047021 Al         4/ 2002 Blacker                             Entire patentprosecution history of U .S . Appl. No . 14 / 103, 343, filed
    2002/0078949 A1          6 / 2002 OLeary                             Dec . 11 , 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
    2002/0078950 A1          6 / 2002 OLeary                             Methods of Assembly Thereof."
    2002/0084891 A1          7 /2002 Mankins et al.                      Entire patent prosecution history of U .S . Appl.No. 14 / 103,353, filed
    2003 /0209239 AL        11/ 2003 Rand
    2004 /0089298 AL         5 / 2004 Haikarainen et al.                 Dec . 11, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
    2004 /0095746 Al         5 /2004 Murphy                              Methods of Assembly Thereof."
    2005 / 0028815 Al        2 /2005 Deaton                              Entire patent prosecution history of U .S . Appl.No. 14 / 103,363, filed
    2005 /0087191 Al         4 / 2005 Morton                             Dec. 1, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
    2006 /0096594 Al         5 /2006 Bonney                              Methods of Assembly Thereof."
    2006 /0107949 A1         5 / 2006 Davies                             Entire patentprosecution history of U . S . Appl. No. 14 / 103 , 392 , filed
    2006 /0107979 AL         5 / 2006 Kim                                Dec . 11, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
    2007 /0062518 AL         3/ 2007 Geser                               Methods of Assembly Thereof."
    2008 /0242465 AL        10 / 2008 Strobel
    2009 /0178678 Al         7 / 2009 OLeary                             European Patent Office Communication , dated Apr. 24 , 2014 of
    2010 /0089395 AL         4 /2010 Power                               counterpart European Patent Application No. 11 010 211 .8 .
    2010 /0218759 Al         9 / 2010 Anderson                           European Patent Office Communication , dated Apr. 24 , 2014 of
    2011/0041845 A1          2 /2011 Solomon                             counterpart European Patent Application No. 11 010 212 .6 .
    2012 /0006322 A11 /2012 Anderson                                     First Examination Report of counterpart New Zealand Patent Appli
                                                                         cation No. 603466 , dated Jul. 1 , 2013 .
                FOREIGN PATENT DOCUMENTS                                 Final Office Action for U .S . Appl. No. 14 /713 ,620, dated Aug. 31,
                                                                         2016 , 8 pages .
   EP                  1486227         12 / 2004                         Non - Final Office Action dated Jun . 24 , 2016 for U .S . Appl. No.
   GB                  2320489          6 / 1998                          14 /713,620 , 7 pages .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 95 of 318 PageID: 170


                                                                   US 10 ,Page
                                                                          086 ,3156 B2

   ( 56 )                    References Cited
                        OTHER PUBLICATIONS
   Final Office Action dated Aug. 31, 2016 for U .S. Appl. No.
    14 / 713,620 , 7 pages .
   Non - Final Office Action dated Jan . 12, 2017 for U .S . Appl. No.
   14 / 713 ,620 , 8 pages.
   Final Rejection dated Sep . 27, 2016 for U . S . Appl. No. 14 /699 ,578 .
   Final rejection dated Oct. 20 , 2016 or U . S . Appl. No. 14 /699 , 584 .
   Advisory action dated Feb . 9 , 2017 for U . S. Appl. No . 14 /699 ,584 .
   Final rejection dated Oct. 20 , 2016 for U .S . Appl. No. 14 /713 ,633 .
   Advisory Action dated Mar. 16 , 2017 for U .S . Appl. No. 14 / 713 ,633 .
   Non -final rejection dated Jul. 12 , 2016 for U . S . Appl.No. 14 /713 ,643 .
   File History for U . S . Appl. No . 15/ 271, 738 .
   File History for U . S . Appl. No. 15 / 269, 102 .
   File History for U .S . Appl. No. 15/ 262, 818 .
   File History for U . S . Appl. No. 15 / 289 ,553 .
   File History for U .S . Appl. No. 15 /269 ,249 .
                                                               ?
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 96 of 318 PageID: 171


           atent          0ct. 2 , 2018        Sheet 1 0f17      US10, 086 ,156 B2




                                52
                                                     10



                                  16

               3A
                                          FIG. 1
                                                                       ????


                                                     40
                                46?        ?
               3A

         FIG . 2                       FIG, 3A                  FIG. 38
         567??? / 168170168
       178 , FIG. 48?
              ? > 176
                                          ? 172           36
                                                          36
                                                               198 _194


            218 -176
                                          ? ??go - 100
       180217174                                                              14
        178 48 _                                          8

         FIo, 40                          FIG, 4A                FIG. 5
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 97 of 318 PageID: 172


           atent                     Oct. 2 , 2018           Sheet 2 of 17            US 10.086 , 156 B2




                                                                                   190 106
                             104 4                                   102 9 /
                                                                 192 ???
                                                                     KIRTS - 204
                                                                         ( 188
                                ? ) is \ ino 100                                        110
            77                                                          FIG. 6B 112
           108 162 124 126
                                                                              112 O
                               FIG .6A
                                                                             198
                                                 100
            -




            ?-nfiterha7tiH                             138              FIG . 6C
                                                                                          16
             rs




      C?urnametiw 198
                                                              114




                                                               112
         110 124 126 136                                                                  770
                                FIG . 6D                                 FIG. 6E
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 98 of 318 PageID: 173


           atent          0ct. 2 , 2018      Sheet 3 0f17           US10, 086,156 B2


                                                            128
                                                                         124


                                                             ???          126



                              102
                                                                   130
                                          Elo. 6F




                    244
                                                                           -138

                                                              ?????? 116

                                                                          130
                   128 ??

                                                                   126
                   124



                                          FIG. 6G
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 99 of 318 PageID: 174


           atent         Oct. 2 , 2018          Sheet 4 of 17          US 10,086,156 B2


            20           2
                                         ??




                                                                *




                     a                    3274      74 /


       72 /
        40                               - 25
                 FIG. 7A
                  | 78
                                                                    FIG. 7B
                                72 | 96 97
                                                      9494 9036
                                                           on




                              86 ?6 FIG. 6H 82
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 100 of 318 PageID: 175


    U . S . Patent           Oct. 2, 2018    Sheet 5 of 17                US 10 ,086 , 156 B2



                          162                         156      76
                    164                                                   38
               50
                                              ith
                                              w
                                                                                      7C
                                                                                      .
                                                                                      FIG
                                                                *



                   150 146                                      |
                                                                    144
             148
             148
             )



         154 76
                                                                152
                                                                                      7D
                                                                                      .
                                                                                      FIG
              74 l                           1              me on


                   144
                    144                      150
                                            118                           120
                                                                          120
                    o
                                                                                194
                                                                                      8D
                                                                                      .
                                                                                      FIG

                                                    www .




                                            114
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 101 of 318 PageID: 176


           atent        Oct. 2 , 2018         Sheet 6 of 17         US 10 , 086 , 156 B2




                                                 LOE 200                      8C
                                                                              .
                                                                              FIG



                                        184
                                        -             60
                                                      -        34
                                                                     186
                                                                      80
                                                                               8B
                                                                               .
                                                                               FIG

                                                                       58

                                                                       182
                                                      64
                                                              166

                                               HOFT           62
                                                                     70         8A
                                                                                .
                                                                                FIG

                                                                      66
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 102 of 318 PageID: 177


    U . S . Patent      Oct. 2 , 2018          Sheet 7 of 17   US 10 , 086 , 156 B2


                                   +



                                        220




                                                                     9
                                                                     .
                                                                     FIG
             .
             -
             .
             -
                                                                41




              t
              .
              -




                          40L                 LDaitnuem
                                        +
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 103 of 318 PageID: 178


           atent        Oct. 2 , 2018       Sheet 8 of 17                 US 10 ,086 ,156 B2



                                                                           294

                                                                                   138




                                    FIG . 10A 80
                                        -




                                                                               F




                                                                                   pe
                                                                                   le
                                                                                   ?



                                                                               9
                                                                               -
                                                                               .    ?

              .          149 80                             nararamdaman 144


                                        FIG . 10B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 104 of 318 PageID: 179


           atent          Oct. 2 , 2018    Sheet 9 of 17         US 10 ,086 ,156 B2


                                    142                    140
                      A




                            Coi94
                              #




                                                                        10E
                                                                        .
                                                                        FIG
                                                      08


           34

                                                38




                             hd98
             34
                                                                        10C
                                                                        .
                                                                        FIG
                                                                   92
                                          90
                                          .
                                                 80

                             LL
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 105 of 318 PageID: 180


    U . S . Patent      Oct. 2 , 2018   Sheet 10 of 17          US 10 , 086 , 156 B2




                                                         138
                                                         94

                                                         34

                                                         144          10F
                                                                      .
                                                                      FIG
                                                         80



                                  TIT- Bar

                                              138
                                                               obl
                                                               .
                                                               6




                                                                      10D
                                                                      .
                                                                      FIG
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 106 of 318 PageID: 181


             atent         Oct. 2 , 2018      Sheet 11 of 17     US 10 ,086 , 156 B2




                                                                - 240



                                                                - 242




                                                                 244


                                                                 246
                                                                - 248




         ?


          O           2x108            4x1036x108x10                    1x104
                                            FIG . 11
                           232        234                      238
                                                       236
                                                       236
                     230
                                            FIG . 14
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 107 of 318 PageID: 182


          Patent        Oct . 2 , 2018      Sheet 12 of 17         US 10,086, 156 B2




                   al                                                    - 172

                   M
                   |




                                                                   \ -176
                                                   178       170

            114 216           210
                                         FIG.12- 214 214           112212


                         H?       205
                                                    206
                                                               200

                                          FIG. 13
                                                    -              202
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 108 of 318 PageID: 183



    U.S. Pate
           atent            Oct. 2 , 2018              Sheet 13 of 17      US 10 ,086 , 156 B2




                            300


                                   1
                                               11
                                               I


                               1
                                   til111111




                      110                102
                                                    FIG . 15 > 100
               108
                                                                        204 300
                                                                               301
                                                                                     302
                                                                                     - 304




                                                                                  306


                     104
                     FIG . 20                                      FIG . 16
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 109 of 318 PageID: 184


              atent                Oct. 2 , 2018         Sheet 14 of 17         US 10 ,086, 156 B2




                             102



                                                                                            ??
                                                                   308
                                                                     A
                                                                                      8
                                                                                      118
                                                                                      _



                                    19A
                                    .
                                    FIG                      19B
                                                             .
                                                             FIG     {

                                                                     {              N        19C
                                                                                             .
                                                                                             FIG
               ~
               94
                                                    94               A




                                                                                126
         ??                  102
                                           102
                                           -
                                           94
                                                                                        02

                   0130302
                         304
                         F-
                          28
                          1        18A
                                   .
                                   FIG                       18B 310
                                                             .
                                                             FIG 308
                                                                 =          n / L
                                                                          L/A
                                                                                      S      18C
                                                                                             .
                                                                                             FIG
          94 108                                                                124

                                          300   ]
                                                ]
                                                }




                                                             17
                                                             .
                                                             FIG
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 110 of 318 PageID: 185


    U . S . Patent      Oct. 2 , 2018      Sheet 15 of 17    - US 10,086 ,156 B2


                                    510                         ?




                                                                -




           526
                                                   526 .
                         ?



            520



                                                     572
            528                                      8
                       582

                                          5103
                                                 512 8
                                                     *
                  FIG . 21
                                                      514           542


                                                      516       ?? 568
                                                      578   -        578
                                                      522
                                                      522  | ??
                                                     520 - ?
                                                    5130
                                                             ?? ??
                                                            582528
                                                            FIG , 22
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 111 of 318 PageID: 186



    U.S.Patent
           atent          Oct. 2 , 2018      Sheet 16 of 17             US 10 ,086 , 156 B2




                       110       5128
                                 5128                    5140

                                                                       516



                       5134 -
                                 5148


                                          FIG . 23


                                      516
                                      516
                                                5146
                                                5146  108
                   5128                    -110 S 2017 -_5140
                              .

                5127
                             ww

                                     D
                                 5134 .
                                                  5136
                                                                5144



                                          FIG . 24
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 112 of 318 PageID: 187



    U.S. Patent
           atent        Oct. 2 , 2018   Sheet 17 of 17       US 10, 086,156 B2


                                                  522


                             57 580
                             570

                                                1529
                       -
                     584
                     584                        582570
                                                    570
                    588
                    588                              _ 580
                                        524       586
                     528



                                    FIG. 25


                                                   578

                      5138
                                                 - 568
                           58




                                    FIG . 26
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 113 of 318 PageID: 188


                                                            US 10 ,086 , 156 B2
            DOSE COUNTER FOR INHALER AND                                          WO 2008 / 119552 discloses a metered -dose inhaler which
             METHOD FOR COUNTING DOSES                                          is suitable for breath -operated applications and operates with
                                                                                a known and constant canister stroke length of 3 .04 mm
               CROSS -REFERENCE TO RELATED                         +/ -0 .255 mm . A stock bobbin of the counter, from which a
                            APPLICATIONS                         5 tape is unwound , rotates on a shaft having a split pin
                                                                   intended to hold the stock bobbin taut. However, some dose
       This patent application is a continuation patent applica - counters do not keep a particularly reliable count, such as if
    tion of U . S . Non - Provisional Patent Application No . 14 / 103 ,        they are dropped onto a hard surface .
    353, filed Dec . 11, 2013 , which is a divisional patent             More recently, it has become desirable to improve dose
    application of U . S . Non - Provisional Patent Application No. 10 counters further and , in particular, it is felt that it would be
    13/ 110 ,532 , filed May 18 , 2011 , which claims priority to               useful to provide extremely accurate dose counters for
    U .S . Provisional Patent Application No . 61/345, 763, filed               manually -operated canister- type metered dose inhalers .
    May 18 , 2010 , and U .S . Provisional Patent Application No.    Unfortunately, in these inhalers, it has been found in the
   61/417 ,659 , filed Nov. 29 , 2010 , each of which is incorpo
    rated herein by reference in its entirety for all purposes. 15 course   ofmaking the present invention that the stroke length
                                                                     of the canister is to a very large extent controlled on each
                     FIELD OF THE INVENTION                          dose operation by the user, and by hand . Therefore, the
                                                                      stroke length is highly variable and it is found to be
        The present invention relates to dose counters for inhal     extremely difficult to provide a highly reliable dose counter
    ers , inhalers and methods of assembly thereof. The invention 20 for these applications . The dose counter must not count a
    is particularly applicable to metered dose inhalers including dose when the canister has not fired since this might wrongly
   dry power medicament inhalers, breath actuated inhalers and                  indicate to the user that a dose has been applied and if done
   manually operated metered dose medicament inhalers.                          repeatedly the user would throw away the canister or whole
                                                                                device before it is really time to change the device due to the
              BACKGROUND OF THE INVENTION                                  25 active drug and propellant reaching a set minimum . Addi
                                                                                tionally, the canister must not fire without the dose counter
      Metered dose inhalers can comprise a medicament-con                       counting because the user may then apply another dose
    taining pressurised canister containing a mixture of active                 thinking that the canister has not fired , and if this is done
    drug and propellant. Such canisters are usually formed from repeatedly the active drug and / or propellant may run out
    a deep -dawn aluminium cup having a crimped lid which 30 while the user thinks the device is still suitable for use
    carries a metering valve assembly . The metering valve                      according to the counter. It has also been found to be fairly
    assembly is provided with a protruding valve stem which , in                difficult to assembly some known inhaler devices and the
    use is inserted as a push fit into a stem block in an actuator              dose counters therefor. Additionally , it is felt desirable to
   body of an inhaler having a drug delivery outlet. In order to improve upon inhalers by making them easily usable after
   actuate a manually operable inhaler, the user applies by hand 35 they have been washed with water.
   a compressive force to a closed end of the canister and the         The present invention aims to alleviate at least to a certain
    internal components of the metering valve assembly are                      extent one or more of the problems of the prior art.
    spring loaded so that a compressive force of approximately
    15 to 30N is required to activate the device in some typical                             SUMMARY OF THE INVENTION
    circumstances                                                          40
      In response to this compressive force the canister moves                     According to a first aspect of the present invention there
   axially with respect to the valve stem and the axial move                    is provided a dose counter for an inhaler, the dose counter
   ment is sufficient to actuate the metering valve and cause a                 having a counter display arranged to indicate dosage infor
   metered quantity of the drug and the propellant to be                        mation , a drive system arranged to move the counter display
    expelled through the valve stem . This is then released into a 45 incrementally in a first direction from a first station to a
    mouthpiece of the inhaler via a nozzle in the stem block ,                  second station in response to actuation input, wherein a
    such that a user inhaling through the outlet of the inhaler will            regulator is provided which is arranged to act upon the
    receive a dose of the drug .                                                counter display at the first station to regulate motion of the
       A drawback of self-administration from an inhaler is that                counter display at the first station to incremental move
    it is difficult to determine how much active drug and/or 50 ments.
    propellant are left in the inhaler, if any, especially of the                 The regulator is advantageous in that it helps prevent
    active drug and this is potentially hazardous for the user                  unwanted motion of the counter display if the counter is
    since dosing becomes unreliable and backup devices not                      dropped .
    always available .                                          According to a further aspect of the present invention , the
      Inhalers incorporating dose counters have therefore 55 regulator provides a resistance force of greater than 0 .1 N
    become known.                                            againstmovement of the counter display. According to still
      WO 98 /028033 discloses an inhaler having a ratchet                       a further aspect of the present invention , the resistance force
   mechanism for driving a tape drive dose counter. A shaft                     is greater than 0 .3 N . According to yet a further aspect of the
   onto which tape is wound has a friction clutch or spring for                 present invention, the resistance force is from 0 . 3 to 0 . 4 N .
    restraining the shaft against reverse rotation .                       60      Preferably , the counter comprises a tape.
       EP - A - 1486227 discloses an inhaler for dry powered                      Preferably , the tape has dose counter indicia displayed
   medicament having a ratchet mechanism for a tape dose                        thereon . The first station may comprise a region of the dose
    counter which is operated when a mouthpiece of the inhaler                  counter where tape is held which is located before a display
    is closed . Due to the way in which the mouthpiece is opened                location , such as a display window , for the counter indicia .
    and closed , and actuation pawl of the device which is 65 The first station may comprise a first shaft, the tape being
   mounted on a yoke, travels a known long stroke of consis -arranged on the first shaft and to unwind therefrom upon
    tent length as the mouthpiece is opened and closed .     movement of the counter display .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 114 of 318 PageID: 189


                                                      US 10 ,086 , 156 B2
       The first shaft may be mounted for rotation relative to a       surface including incrementally spaced formations located
    substantially rotationally fixed element of the dose counter.      around a periphery thereof, the formations comprising a
       The regulator may comprise at least one projection which        series of curved concavities and convex portions.
    is arranged on one of the first shaft and the substantially       The shaft may comprise a hollow bobbin .
    rotationally fixed element and to engage incrementally with 5 The engagement surface may be a generally cylindrical
    one or more formations on the other of the first shaft and the inwardly directed surface .
    substantially rotationally fixed element.                            The engagement surface may include a flat surface wall
       At least two said projections may be provided . Exactly         portion joining each concavity and convex wall portion .
    two said projections maybe provided .                          Each concavity may comprise a radiused wall portion .
      Each projection may comprise a radiused surface .       10 Each convex wall portion may comprise a radiused wall
      The at least one projection may be located on the sub -   portion .
    stantially fixed element which may comprise a fixed shaft            Said concavities may be regularly spaced around a lon
    which is fixed to a main body of the dose counter, the first       gitudinal axis of the shaft.
    shaft being rotationally mounted to the fixed shaft.                 Said convex wall portions may be regularly spaced
       Preferably, the fixed shaft has at least two resiliently 15 around a longitudinal axis of the shaft.
    flexible legs (or forks). Each leg may have at least one said    In some embodiments there may be from eight to twelve
    projection formed in an outwardly facing direction thereon ,       said concavities and/or convex wall portions regularly
   said one or more formations being formed on an inwardly         spaced around a longitudinal axis thereof.
   facing engagement surface of the first shaft, said at least one   One embodiment includes ten said concavities and /or
   projection being arranged to resiliently engage said one or 20 convex wall portions regularly spaced around a longitudinal
   more formations . Preferably , a series of said formations are  axis of the shaft.
    provided . An even number of said formations may be                   According to a further aspect of the present invention
    provided . Eight to twelve of said formations may be pro -         there is provided a shaft and counter tape assembly for use
    vided . In one embodiment, ten said formations are provided . in a dose counter for an inhaler, the assembly comprising a
      Each said formation may comprise a concavity formed on 25 rotatable shaft and a counter tape which is wound around the
    an engagement surface . Each concavity may comprise a              shaft and is adapted to unwind therefrom upon inhaler
    radiused surface wall portion which preferably merges on at        actuation , the shaft having an engagement surface which
    least one side thereof into a flat wall portion surface. The       includes incrementally spaced formations located around a
    engagement surfacemay include a series of said concavities , periphery thereof.
    and convex wall portions of the engagement surface may be 30 According to a further aspect of the present invention
    formed between each adjacent two said concavities , each           there is provided an inhaler for the inhalation of medication
    said convex wall portion comprising a convex radiused wall         and the like, the inhaler including a dose counter as in the
    portion .                                                          first aspect of the present invention .
       Each convex radiused wall portion of each convex wall              A preferred construction consists of a manually operated
   portion may be connected by said flat wall portion surfaces 35 metered dose inhaler including a dose counter chamber
   to each adjacent concavity .                                    including a dose display tape driven by a ratchet wheel
       The fixed shaft may comprise a split pin with fork legs         which is driven in turn by an actuator pawl actuated by
    and each projection may be located on a said fork leg .           movement of a canister, the tape unwinding from a stock
       The first shaft may comprise a substantially hollow bob -       bobbin during use of the inhaler, a rotation regulator being
    bin .                                                           40 provided for the stock bobbin and comprising a wavelike
       Said at least one formation may be located on an inner          engagement surface with concavities which engage against
    surface of the bobbin . In other embodiments it may be             control elements in the form of protrusions on resilient forks
    located on an outer surface thereof. Said engagement surface       of a split pin thereby permitting incremental unwinding of
   may extend partially along said bobbin , a remainder of the         the stock bobbin yet resisting excessive rotation if the
    respective inner or outer surface having a generally smooth 45 inhaler is dropped onto a hard surface .
    journal portion along at least a portion thereof.                    According to another aspect of the present invention there
       The drive system may comprise a tooth ratchet wheel             is provided a dose counter for a metered dose inhaler having
    arranged to act upon a second shaft which is located at the        a body arranged to retain a medicament canister of prede
    second station , the second shaft being rotatable to wind the termined configuration for movement of the canister relative
    tape onto the second shaft .                                 50 thereto ; the dose counter comprising : an incremental count
       The second shaft may be located on a main body of the           ing system for counting doses, the incremental counting
    dose counter spaced from and parallel to the first shaft .         system having a main body, an actuator arranged to be
       The ratchet wheel may be fixed to the second shaft is           driven in response to canister motion and to drive an
    arranged to rotate therewith . The ratchet wheel may be            incremental output member in response to canister motion ,
    secured to an end of the second shaft and aligned coaxially 55 the actuator and incremental output member being config
   with the second shaft.                                              ured to have predetermined canister fire and count configu
      The dose counter may include anti-back drive system              rations in a canister fire sequence , the canister fire configu
    which is arranged to restrict motion of the second shaft. The      ration being determined by a position of the actuator relative
    anti-back drive system may include a substantially fixed           to a datum at which the canister fires medicament and the
    tooth arranged to act upon teeth of the ratchet wheel .       60 count configuration being determined by a position of the
       According to a further aspect of the present invention , a    actuator relative to the datum at which the incremental count
    dose counter includes an anti-back drive system which is           system makes an incremental count, wherein the actuator is
    arranged to restrict motion of the second shaft in a tape arranged to reach a position thereof in the count configura
    winding direction .                                         tion at or after a position thereof in the canister fire con
      According to a further aspect of the present invention 65 figuration .
    there is provided a shaft for holding counter tape in a dose          This arrangement has been found to be highly advanta
    counter for an inhaler , the shaft having an engagement            geous since it provides an extremely accurate dose counter
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 115 of 318 PageID: 190


                                                        US 10 , 086 , 156 B2
    which is suitable for use with manually operated metered          output member, the tooth and incremental output member
    dose inhalers . It has been found that dose counters with these   being arranged to permit one way only incremental relative
    features have a failure rate of less than 50 failed counts per    motion therebetween . When the incremental outputmember
   million full canister activation depressions. It has been          comprises a ratchet wheel, the tooth can therefore serve as
   found in the course of making the present invention that 5 an anti-back drive tooth for the ratchet wheel, thereby
   highly reliable counting can be achieved with the dose     permitting only one way motion or rotation thereof.
    counter counting at or soon after the point at which the             The counter pawl may be substantially fixedly mounted
    canister fires . It has been is covered by the present inventors on the main body of the incremental count system and the
    that momentum and motion involved in firing the canister ,       counter pawl may be arranged to be capable of repeatedly
    and in some embodiments a slight reduction in canister back 10 engaging equi-spaced teeth of the incremental output mem
   pressure on the user at the time of canister firing, can very
   reliably result in additional further motion past the count ber      in anti-back drive interlock configurations as the counter
                                                                    is operated . The counter pawlmay be positioned so that the
   point.
      The actuator and incremental counting system maymmbe 15 incremental
                                                                    halfway   moved
                                                                                   output member is halfway, or substantially
                                                                                      from one anti -back drive interlock configu
   arranged such that the actuator is displaced less than 1 mm , 15 ration
                                                                    hallwayto mov
                                                                               the next when the actuator and incremental output
   typically 0 .25 to 0 .75 mm , more preferably about 0 .4 to 0 .6
   mm , relative to the body between its location in the count member are in the end configuration thereof. This is highly
    and fire configurations, about 0 . 48 mm being preferred . The    advantageous in that it minimises the risk of double counting
    canister, which can move substantially in line with the           or non - counting by the dose counter.
   actuator, can reliably move this additional distance so as to 20 According to a further aspect of the invention there is
   achieve very reliable counting.                                 provided an inhaler comprising a main body arranged to
       The incremental count system may comprise a ratchet            retain a medicament canister of predetermined configuration
   mechanism and the incremental outputmember may com -               and a dose counter mounted in the main body.
   prise a ratchet wheel having a plurality of circumferentially       The inhaler main body may include a canister receiving
   spaced teeth arranged to engage the actuator.                 25 portion and a separate counter chamber, the dose counter
      The actuator may comprise an actuator pawl arranged to        being located within the main body thereof, the incremental
   engage on teeth of the ratchet wheel. The actuator pawlmay       output member and actuator thereof inside the counter
   be arranged to be connected to or integral with an actuator chamber, the main body of the inhaler having wall surfaces
   pin arranged to engage and be depressed by a medicament separating the canister- receiving portion and the counter
    canister bottom flange . The actuator pawlmay be generally 30 chamber , the wall surfaces being provided with a commu
   U - shaped having two parallel arms arranged to pull on a          nication aperture , an actuation member extending through
   central pawlmember arranged substantially perpendicular            the communication aperture to transmit canister motion to
   thereto . This provides a very reliable actuator pawl which        the actuator.
   can reliably pull on the teeth of the ratchet wheel.                  According to a further aspect of the present invention
       The incremental count system may include a tape counter 35 there is a provided an inhaler for metered dose inhalation ,
    having tape with incremental dose indicia located thereon ,       the inhaler comprising a main body having a canister
    the tape being positioned on a tape stock bobbin and being        housing arranged to retain a medicament canister for motion
    arranged to unwind therefrom .                                    therein , and a dose counter, the dose counter having an
       The actuator and incremental output member may be              actuation member having at least a portion thereof located in
    arranged to provide a start configuration at which the 40 the canister housing for operation by movement of a medi
    actuator is spaced from the ratchet output member, a reset cament canister, wherein the canister housing has an inner
    configuration at which the actuator is brought into engage        wall , and a first inner wall canister support formation located
   ment with the incremental outputmember during a canister           directly adjacent the actuation member.
    fire sequence, and an end configuration at which the actuator    This is highly advantageous in that the first inner wall
    disengages from the ratchet output during a canister fire 45 canister support formation can prevent a canister from
    sequence.                                                     rocking too much relative to the main body of the inhaler.
        The actuator may be arranged to be located about 1 .5 to      Since the canister may operate the actuation member of the
    2 .0 mm , from its location in the fire configuration , when in   dose counter, this substantially improves dose counting and
    the start configuration , about 1. 80 mm being preferred .        avoids counter errors .
       The actuator may be arranged to be located about 1 . 0 to 50      The canister housing may have a longitudinal axis which
    1 .2 mm , from its location in the fire configuration , when in   passes through a central outlet port thereof, the central outlet
   the reset configuration , about 1 . 11 mm being preferred .        port being arranged to mate with an outer canister fire stem
       The actuator may be arranged to be located about 1 . 1 to      of a medicament canister, the inner wall canister support
    1.3 mm , from its location in the fire configuration, when in     formation , the actuation member and the outlet port lying in
    the end configuration , about 1 . 18 mm being preferred . 55 a common plane coincident with the longitudinal axis .
       These arrangements provide extremely reliable dose        Accordingly , this construction may prevent the canister from
    counting , especially with manually operated canister type        rocking towards the position of the dose counter actuation
   metered dose inhalers .                                            member, thereby minimising errors in counting.
       The main body may include a formation for forcing the             The canister housing may have a further inner canister
   actuator to disengage from the incremental output member 60 wall support formation located on the inner wall opposite , or
   when the actuator is moved past the end configuration . The substantially opposite , the actuation member. Accordingly ,
   formation may comprise a bumped up portion of an other        the canister may be supported against rocking motion away
   wise generally straight surface against which the actuator    from the actuator member so as to minimise count errors .
   engages and along which it is arranged to slide during a         The canister housing may be generally straight and tubu
   canister firing sequence .                                 65 lar and may have an arrangement in which each said inner
      The dose counter may include a counter pawl, the counter wall support formation comprises a rail extending longitu
    pawl having a tooth arranged to engage the incremental            dinally along the inner wall .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 116 of 318 PageID: 191


                                                        US 10 ,086 , 156 B2
      Each said rail may be stepped, in that it may have a first         and held firmly in place, thereby further improving counting
    portion located towards a medicine outlet end or stem block          accuracy compared to prior art arrangements in which some
    of the canister housing which extends inwardly a first               movement of the chassis relative to the body may be
    distance from a main surface of the inner wall and a second          tolerated in snap - fit connections .
    portion located toward an opposite end of the canister 5 The chassis may have at least one of a pin or aperture heat
    chamber which extends inwardly a second, smaller distance staked to a respective aperture or pin of the body.
    from the main surface of the inner wall. This may therefore      The chassis may have a ratchet counter output member
    enable easy insertion of a canister into the canister housing mounted thereon .
    such that a canister can be lined up gradually in step wise      The ratchet counter output member may comprise a
    function as it is inserted into the canister housing .               ratchet wheel arranged to reel in incrementally a dose meter
       The inhaler may include additional canister support rails         tape having a dosage indicia located thereon .
   which are spaced around an inner periphery of the inner wall         According to a further aspect of the present invention
    of the canister housing and which extend longitudinally          there is provided a method of assembling an inhaler includ
    therealong.
       At least one of the additional rails may extend a constant 15 ing the step of heat staking the chassis onto the body. The
    distance inwardly from the main surface of the inner wall.     step of heat staking is highly advantageous in fixedly
       At least one of the additional rails may be formed with a   positioning the chassis onto the body in order to achieve
    similar configuration to the first inner wall canister support highly accurate dose counting in the assembled inhaler.
    formation .                                                       The method of assembly may include mounting a spring
       The dose counter may, apart from said at least a portion 20 returned ratchet actuator in the body before heat staking the
   of the actuation member, be located in a counter chamber      chassis in place . The method of assembly may include
   separate from the canister housing, the actuation member pre -assembling the chassis with a dose meter tape prior to
   comprising a pin extending through an aperture in a wall the step of heat staking the chassis in place . The method of
   which separates the counter chamber and the canister hous - assembly may include attaching a dose meter cover onto the
   ing .                                                      25 body after the heat staking step . The cover may be welded
       According to a further aspect of the present invention            onto the body or may in some embodiments be glued or
    there is provided an inhaler for inhaling medicaments hav
    ing: a body for retaining a medicament store ; the body                 According to a further aspect of the present invention
    including a dose counter, the dose counter having a move             there is provided an inhaler for inhaling medicament and
    able actuator and a return spring for the actuator , the return 30 having a body, the body have a main part thereof for
    spring having a generally cylindrical and annular end ; the          retaining a medicament store ; and a dose counter, the dose
    body having a support formation therein for supporting said          counter being located in a dose counter chamber of the body
    end of the return spring, the support formation comprising a         which is separated from the main part of the body, the dose
    shelf onto which said end is engageable and a recess below           counter chamber of the body having a dosage display and
   the shelf.                                                       35 being perforated so as to permit the evaporation of water or
      This shelf and recess arrangement is highly advantageous aqueous matter in the dose counter chamber into the atmo
   since it allows a tool (such as manual or mechanical twee - sphere .
   zers) to be used to place the return spring of the actuator onto       This is high advantageous since it enables the inhaler to
    the shelf with the tool then being withdrawn at least partially      be thoroughly washed and the dose counting chamber can
    via the recess .                                                  40 thereafter dry out fully .
       The shelf may be U - shaped .                                         The display may comprise a mechanical counter display
       The support formation may include a U - shaped upstand             inside the dose counter chamber and a window for viewing
    ing wall extending around the U - shaped shelf, the shelf and        the mechanical counter display. The mechanical counter
    upstanding wall thereby forming a step and riser of a stepped        display may comprise a tape . The perforated dose counter
    arrangement.
    arrangement.                                                      45 chamber may therefore enable reliable washing of the
       The recess below the shelf my also be U - shaped .            inhaler, if desired by the user , and may therefore dry out
      At least one chamfered surface may be provided at an without the display window misting up.
    entrance to the shelf. This may assist in inserting the actuator    The dose counter chamber may be perforated by a drain
    and return spring into nosition
                             position ..                             hole formed through an outer hole of the body. The drain
       A further aspect of the invention provides a method of 50 hole may be located at a bottom portion of the body of the
    assembly of an inhaler which includes the step of locating           inhaler, thereby enabling full draining of the inhaler to be
    said end of said spring on the shelf with an assembly tool and       encouraged after washing when the inhaler is brought into
    then withdrawing the assembly tool at least partly via the           an upright position .
    recess . This assembly method is highly advantageous com                According to a further aspect of the present invention
    pared to prior artmethods in which spring insertion has been 55 there is provided a dose counter for an inhaler, the dose
    difficult and in which withdrawal of the tool has sometimes          counter having a display tape arranged to be incrementally
    accidentally withdrawn the spring again .                            driven from a tape stock bobbin onto an incremental tape
      The cylindrical and annular end of the spring may be        take- up drive shaft, the bobbin having an internal bore
   movable in a direction transverse to its cylindrical extent    supported by and for rotation about a support shaft, at least
   into the shelf while being located thereon .                60 one of the bore and support shaft having a protrusion which
       According to a further aspect of the present invention             is resiliently biased into frictional engagementwith the other
    there is provided an inhaler for inhaling medicament, the            of the bore and support shaft with longitudinally extending
    inhaler having a body for retaining a medicament store; and          mutual frictional interaction . This arrangement may provide
    a dose counter , the dose counter having a moveable actuator         good friction for the bobbin , thereby improving tape counter
    and a chassis mounted on the body ; the chassis being heat 65 display accuracy and preventing the bobbin from unwinding
    staked in position on the body . This is be highly advanta -         undesirably for example if the inhaler is accidentally
    geous in that the chassis can be very accurately positioned          dropped .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 117 of 318 PageID: 192


                                                        US 10 , 086 , 156 B2
                                                                                               10
       The support shaft may be forked and resilient for resil-        which the dose counter actuators may be applied ; and
    iently biasing the support shaft and bore into frictional          selecting a tolerance level to result in said failure /success
    engagement.                                                   rate to be at or below /above a predetermined value . This is
       The support shaft may have two forks , or more in some highly advantageous in that it allows an efficient and accu
    cases, each having a radially extending protrusion having a 5 rate prediction of the reliability of a series of inhaler
    friction edge extending therealong parallel to a longitudinal
                                                                counters made in accordance with the design .
    axis of the support shaft for frictionally engaging the bore of The method of designing may include selecting the fail
    the support shaft with longitudinally extending frictional  ure /success rate as a failure rate of no more than one in 50
    interaction therebetween .
       The bore may be a smooth circularly cylindrical or 10 average. count
                                                                million    The method of designing may include setting an
                                                                                 position for dose counters built to the toler
    substantially cylindrical bore .                            ances  to be at or after an average fire position thereof during
       Each of the above inhalers in accordance with aspects of
    the present invention may have a medicament canister canister firing motion . Themethod of designing may include
                                                                       setting the average count position to be about 0 . 4 to 0 .6 mm
   mounted thereto .
       The canister may comprise a pressurised metered dose 15 after the average fire position , such as about 0.48 mm after.
                                                                The method of designing may include setting tolerances for
    canister having a reciprocally movable stem extending
    therefrom and movable into a main canister portion thereof the standard deviation of the fire position in dose counters
    for releasing a metered dose ofmedicament under pressure , built to the tolerances to be about 0 . 12 to 0 . 16 mm , such as
    for example by operating a metered dose valve inside the about 0 . 141 mm . The method of designing may include
    canister body . The canister may be operable by pressing by 20 setting tolerances for the standard deviation of the count
    hand on the main canister body .                               positions in dose counters built to the tolerances to be about
       In cases in which one or more support rails or inner wall       0 .07 to 0 .09 mm , such as about 0 .08 mm . A further aspect
    support formations are provided , the canister may at all          of the invention provides a computer implemented method
    times when within the canister chamber have a clearance of         of designing an incremental dose counter for an inhaler
   about 0 . 25 to 0 .35 mm from the first inner wall support 25 which includes the aforementioned method of designing .
   formation . The clearance may be almost exactly 0 .3 mm .         A further aspect of the invention provides a method of
    This clearance which may apply to the canister body itself manufacturing in a production run a series of incremental
   or to the canister once a labelhas been applied , is enough to dose counters for inhalers which comprises manufacturing
    allow smooth motion of the canister in the inhaler while at     the series of dose counters in accordance with the afore
    the same time preventing substantial rocking of the canister 30 mentioned method of designing.
   which could result in inaccurate counting by a dose counter             A further aspect of the invention provides a method of
    of the inhaler , especially when lower face of the canister is
    arranged to engage an actuator member of the dose counter          manufacturing a series of incremental dose counters for
    for counting purposes.                                              inhalers , which comprises manufacturing the dose counters
      According to a further aspect of the invention , a method as35 with nominal canister fire and dose count positions of a dose
   of assembling a dose counter for an inhaler comprises the counter actuator relative to a dose counter chassis ( or inhaler
   steps of providing a tape with dosing indicia thereon : main body ), and which includes building the dose counters
   providing tape positioning indicia on the tape ; and stowing with the average dose count position in the series being , in
   the tape while monitoring for the tape positioning indicia canister fire process, at or after the average canister fire
   with a sensor. The method advantageously permits efficient 40 position in the series .
   and accurate stowing of the tape , e.g. by winding .                 According to a further aspect of the invention , the method
       The dosing indicia may be provided as numbers , the tape        provides fitting each dose counter in the series of incremen
   positioning indicia may be provided as one or more lines            tal dose counters to a corresponding main body of an inhaler.
    across the tape. The stowing step comprises winding the tape           These aspects advantageously provide for the production
    onto a bobbin or shaft, and , optionally , stopping winding 45 run of a series of inhalers and dose counters which count
   when the positioning indicia are in a predetermined position .      reliably in operation .
    The tapemay be provided with pixelated indicia at a position       According to a further aspect of the invention , an incre
    spaced along the tape from the positioning indicia . The tape mental dose counter for a metered dose inhaler has a body
    may also be provided with a priming dot.                        arranged  to retain a canister for movement of the canister
        According to a further aspect of the invention , a tape 50 relative
                                                                     e      thereto , the incremental dose counter having a main
    system for a dose counter for an inhaler has a main elongate body, an actuator        arranged to be driven and to drive an
    tape structure, and dosing indicia and tape positioning incremental output member              in a count direction in response
    indicia located on the tape structure . The tape positioning
     indicia may comprise at least one line extending across the se motion of the output member inbeing
                                                                    to canister motion  , the actuator         configured to restrict
                                                                                                         a direction opposite to the
    tape structure. The tape system may comprise pixelated 55 count direction . This advantageously enables an inhaler dose
    indicia located on the tape structure and spaced from the
    positioning indicia . The tape system may comprise a prim counter to keep a reliable count of remaining doses even if
   ing dot located on the tape structure . The positioning indicia dropped or otherwise jolted .
   may be located between the timing dot and the pixelated            The output member may comprise a ratchet wheel. The
   indicia . The main elongate tape structure may have at least 60 actuator may comprise a pawland in which the ratchetwheel
    one end thereof wound on a bobbin or shaft.                        and pawl are arranged to permit only one -way ratcheting
       A further aspect of the invention provides a method of          motion of the wheel relative to the pawl. The dose counter
    designing an incremental dose counter for an inhaler com -         may include an anti -back drive member fixed to the main
    prising the steps of calculating nominal canister fire and body . In a rest position of the dose counter, the ratchet wheel
    dose counter positions for a dose counter actuator of the 65 is capable of adopting a configuration in which a back
    inhaler ; calculating a failure / success rate for dose counters   surface of one tooth thereof engages the anti-back drive
   built to tolerance levels for counting each fire of inhalers in     member and the pawl is spaced from an adjacent back
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 118 of 318 PageID: 193


                                                       US 10 ,086 , 156 B2
    surface of another tooth of the ratchet wheel without positive       FIG . 21 is a view of a preferred embodiment of a dry
    drive /blocking engagement between the pawl and wheel.            powder inhaler in accordance with the present invention ;
                                                                         FIG . 22 is an exploded view of the inhaler of FIG . 21 ;
          BRIEF DESCRIPTION OF THE DRAWINGS                         FIG . 23 is a view of a dose counter of the inhaler of FIG .
                                                                5 21;
       The present invention may be carried out in various ways     FIG . 24 is an exploded view of the dose counter shown in
   and preferred embodiment of a dose counter, inhaler and       FIG . 23 ;
   methods of assembly, design and manufacture will now be        F IG . 25 is an exploded view of parts of the inhaler of FIG .
    described with reference to the accompanying drawings in     21 ; and
    which :                                                    10 FIG . 26 is a view of a yoke of the inhaler of FIG . 21 .
       FIG . 1 is an isometric view of a main body of an                    DETAILED DESCRIPTION OF THE
    embodiment of an inhaler related to the invention together                           INVENTION
    with a mouthpiece cap therefor;
      FIG . 2 is a top plan view of the components as shown in 15
                                                           wim           FIG . 1 shows a main body 10 of a manually operated
    FIG . 1 ;                                                         metered dose inhaler 12 in accordance with an embodiment
       FIG . 3A is a section on the plane 3A -3A in FIG . 2 ;         related to the present invention and having a mouthpiece cap
       FIG . 3B is a view corresponding to FIG . 3A but with a        14 securable over a mouthpiece 16 of the main body .
    dose counter fitted to the main body of the inhaler ;          The main body has a canister chamber 18 into which a
      FIG . 4A is an exploded view of the inhaler main body, 20 canister 20 (FIG . 7A ) is slideable . The canister 20 has a
   mouthpiece cap , dose counter and a dose counter window ;          generally cylindrical main side wall 24 , joined by a tapered
      FIG . 4B is a view in the direction 4B in FIG . 4C of a         section 26 to a head portion 28 having a substantially flat
    spring retainer of the dose counter;                              lower face 30 which has an outer annular drive surface 32
      FIG . 4C is a top view of the spring retainer of FIG . 4B ; arranged to engage upon and drive an actuation pin 34 of a
      FIG . 5 is a bottom view of the assembled inhaler main 25 dose counter 36 as will be described . Extending centrally
   body , mouthpiece cap , dose counter and dose counter win          and axially from the lower face 30 is a valve stem 38 which
    dow ;                                                             is arranged to sealingly engage in a valve stem block 40 of
      FIGS. 6A , 6B , 6C , 6D , 6E , 6F, 6G and 6H are variousthe main body 10 of the inhaler 12 . The valve stem block 40
    views of dose counter components of the inhaler ;         has a passageway 42 leading to a nozzle 44 for directing the
      FIGS. 7A and 7B are sectional views showing canister 30 contents of the canister 20 , namely active drug and propel
    clearance inside the main body of the inhaler;                    lant, towards an air outlet 46 of the inhaler main body 12 . It
      FIG . 7C is a further sectional view similar to that of FIG .   will be appreciated that due to gaps 48 between the canister
    7B but with the canister removed ;                                20 and an inner wall 50 of the main body 10 of the inhaler
      FIG . 7D is a top plan view of the inhaler main body ;          12 an open top 52 of themain body 10 forms an air inlet into
       FIGS. 8A , 8B , 8C and 8D show the inhalermain body and 35 the inhaler 12 communicating via air passageway 54 with
    dose counter components during assembly thereof;              the air outlet 46 , such that canister contents exiting nozzle 44
       FIG . 9 shows a sectional side view of a datum line for an     mix with air being sucked by the user through the air
    actuator pawl of the dose counter ;                               passageway 54 in order to pass together through the air
      FIGS . 10A , 103 , 10C , 10D , 10E and 10F show various         outlet and into the mouth of the user (not shown ).
    side views of positions and configurations of the actuator 40        The dose counter 36 will now be described . The dose
    pawl, a ratchet wheel, and a count pawl;                          counter 36 includes an actuation pin 34 biased upwardly
       FIG . 11 shows distributions for tolerances of start, reset,   from underneath by a return spring 56 once installed in the
    fire , count and end positions for the actuator of the dose       main body 10 . As best shown in FIGS. 4A , 6H and 8A , the
    counter ;                                                   pin 34 has side surfaces 58 , 60 arranged to slide between
       FIG . 12 is an enlarged version of part of FIG . 4A ; 45 corresponding guide surfaces 62, 64 located in a dose
       FIG . 13 shows an end portion of a tape of the dose      counter chamber 66 of the main body 10 , as well as an end
    counter ;                                                         stop surface 68 arranged to engage a corresponding end stop
       FIG . 14 shows a computer system for designing the dose        70 formed in the dose counter chamber 66 to limit upward
    counter;                                                      movement of the pin 34 . The pin 34 has a top part 72 which
      FIG . 15 is an isometric view of a stock bobbin modified 50 is circularly cylindrical and extends through an aperture 74
    in accordance with the present invention for use in the dose      formed through a separator wall 76 which separates the
    counter of the inhaler of FIGS . 1 to 14 ;                        canister chamber 18 from the dose counter chamber 66 . The
      FIG . 16 shows an end view of the stock bobbin of FIG . 15 ;    top part 72 of the pin 34 has a flat top surface 78 which is
       FIG . 17 is a section through a longitudinal axis of the    arranged to engage the outer annular drive surface 32 of the
    stock bobbin of FIGS. 15 and 16 ;                           55 canister 20 .
      FIGS. 18A , 18B and 18C are views of the stock bobbin of           The actuation pin 34 is integrally formed with a drive or
    FIGS. 15 to 17 mounted in the dose counter chassis of FIGS.       actuator pawl 80. The actuator pawl 80 has a generally
    1 to 14 , with the control elements of the forks of the second inverted U - shape configuration , having two mutually spaced
    shaft (or split pin ) having a profile slightly different to that and parallel arms 82 , 84 extending from a base portion of the
    in FIG . 6F, with the forks in a compressed configuration ; 60 actuation pin 34 , each holding at respective distal ends 88
       FIGS . 19A , 19B and 19C are views equivalent to FIGS. thereof opposite ends of a pawl tooth member 90 which
    18A to 18C but with the forks in a more expanded configu -        extends in a direction substantially perpendicular to the arms
    ration due to a different rotational position of the stock        82, 84 , so as to provide what may be considered a “ saddle”
   bobbin ;                                                           drive for pulling on each of the 11 drive teeth 92 of a ratchet
      FIG . 20 is an isometric view of the chassis assembled and 65 wheel 94 of an incremental drive system 96 or ratchet
    including the stock bobbin of FIGS. 15 to 17 but excluding mechanism 96 of the dose counter 36 . As shown for example
    the tape for reasons of clarity ;                                 in FIG . 10B , the pawl tooth member 90 has a sharp lower
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 119 of 318 PageID: 194


                                                           US 10 ,086 , 156 B2
                                   13                                                                  14
    longitudinal side edge 98 arranged to engage the drive teeth          mm vertically below the axis 145 , and the flat 145 ' being
    92, the edge -to -surface contact provided by this engagement         spaced a distance sideways (i.e . parallel to the datum plane
    providing very accurate positioning of the actuator pawl 80           220 ) 2 .48 mm from the axis 145 . The top surface 78 of the
    and resultant rotational positioning of the ratchet wheel 94 . pin 34 (FIG . 6H ) is 11. 20 mm above the datum plane 220
       The dose counter 36 also has a chassis preassembly 100 5 ( FIG . 9 ) when the actuator pawl 80 and pin 34 are in the start
   which , as shown in FIGS. 4A and 6A , includes a chassis 102           configuration . The length of the valve stem 22 is 11. 39 mm
   having a first shaft 104 receiving the ratchet wheel 94 which          and the drive surface 32 of the canister 20 is 11 . 39 mm above
    is secured to a tape reel shaft 106 , and a second shaft ( or split   the datum plane 220 when the canister is at rest waiting to
    pin ) 108 which is parallel to and spaced from the first shaft        be actuated , such that there is a clearance of 0 . 19 mm
    104 and which slidably and rotationally receives a tape stock 10 between the canister 20 and the pin 34 in this configuration .
   bobbin 110 .                                                        FIGS. 10A and 10B show the actuator pawl80 and ratchet
      As shown in FIG . 6B , when the inhaler has not been used      wheel 94 and count pawl 138 in a start position in which the
    at all , the majority of a tape 112 is wound on the tape stock        flat top 78 of the pin 34 has not yet been engaged by the
   bobbin 110 and the tape 112 has a series of regularly spaced           outer annular drive surface 32 of the canister 20 or at least
   numbers 114 displayed therealong to indicate a number of 15 has not been pushed down during a canister depression .
    remaining doses in the canister 20 . As the inhaler is repeat-          In this " start" position , the count pawl 138 engages on a
    edly used , the ratchet wheel 94 is rotated by the actuator           non -return back surface 140 of one of the teeth 92 of the
    pawl 80 due to operation of the actuation pin 34 by the               ratchet wheel 94 . The lower side edge 98 of the actuator
   canister 20 and the tape 112 is incrementally and gradually  pawl is a distance “ D ” (FIG . 9 ) 1. 33 mm above datum plane
   wound on to the tape reel shaft 106 from the second shaft 20 220 which passes through bottom surface or shoulder 41 of
    108 . The tape 112 passes around a tape guide 116 of the              valve stem block 40 , the datum plane 220 being perpen
   chassis 102 enabling the numbers 114 to be displayed via a             dicular to a main axis “ X ” of the main body 10 of the inhaler
   window 118 in a dose counter chamber cover 120 having a                12 which is coaxial with the centre of the valve stem block
    dose marker 132 formed or otherwise located thereon .                 bore 43 and parallel to a direction of sliding of the canister
      As shown in FIGS. 6A and 6D , the second shaft 108 is 25 20 in the main body 10 of the inhaler 12 when the canister
    forked with two forks 124 , 126 . The forks 124 , 126 are is fired .
   biased away from one another. The forks have located                      As shown in FIG . 10B , an advantageous feature of the
    thereon at diametrically opposed positions on the second              construction is that the pawl tooth /actuator 90 acts as a
    shaft 108 friction or control elements 128 , 130 , one on each        supplementary anti-back drive member when the inhaler 12
    fork . Each control element extends longitudinally along its 30 is not being used for inhalation . In particular, if the inhaler
    respective fork 124 , 126 and has a longitudinally extending     12 is accidentally dropped , resulting in a jolt to the dose
    friction surface 132 , 134 which extends substantially paral          counter 36 then , if the wheel 94 would try to rotate clock
    lel to a longitudinal axis of the second shaft and is adapted         wise (backwards ) as shown in FIG . 10B , the back surface
    to engage inside a substantially cylindrical bore 136 inside          140 of a tooth will engage and be blocked by the tooth
   the tape stock bobbin 110 . This control arrangement pro - 35 member 90 of the pawl 80 . Therefore, even if the anti-back
   vided between the bore 136 and the control elements 128 ,     drive tooth 138 is temporarily bent or overcome by such a
    130 provides good rotational control for the tape stock               jolt , undesirable backwards rotation of the wheel 94 is
   bobbin 110 such that it does not unwind undesirably such as prevented and , upon the next canister firing sequence , the
   when the inhaler is dropped . The tape force required to       pawl 90 will force the wheel 94 to catch up to its correct
   unwind the tape stock bobbin 110 and overcome this friction 40 position so that the dose counter 36 continues to provide
   force is approximately 0 . 1 N .                               correct dosage indication .
      As can be seen in FIG . 6D , as well as FIGS. 6G and 10A               FIG . 10C shows a configuration in which the actuator
    to 10F , the chassis 102 is provided with an anti- back drive         pawl 80 has been depressed with the pin 34 by the canister
   tooth 138 or count pawl 138 which is resiliently and sub - 20 to a position in which the side edge 98 of the pawltooth
   stantially fixedly mounted thereto . As will be described 45 member 90 is just engaged with one of the teeth 92 and will
   below and as can be seen in FIGS. 10A to 10F , when the therefore upon any further depression of the pin 34 begin to
   actuation pin 34 is depressed fully so as to fire the metered rotate the wheel 94 . This is referred to as a “ Reset" position
    valve (not shown ) inside the canister 20 , the actuator pawl         or configuration . In this configuration , the lower side edge
    80 pulls down on one of the teeth 92 of the ratchet wheel 94          98 of the actuator 80 is 0 .64 mm above the datum plane 220 .
    and rotates the wheel 94 anticlockwise as shown in FIG . 6D 50           FIG . 10D shows a configuration in which the actuator
   so as to jump one tooth 92 past the count pawl 138 , thereby           pawl80 has been moved to a position lower than that shown
   winding the tape 112 a distance incrementally relative to the          in FIG . 10C and in which the metered dose valve (not
    dose marker 122 on the dose counter chamber 120 so as to              shown ) inside the canister has at this very position fired in
    indicate that one dose has been used .                             order to eject active drug and propellant through the nozzle
       With reference to FIG . 10B , the teeth of the ratchet wheel 55 44 . It will be noted that in this configuration the count pawl
    94 have tips 143 which are radiused with a 0 . 1 mm radius 138 is very slightly spaced from the back surface 140 of the
    between the flat surfaces 140 , 142 . The ratchet wheel 94 has same tooth 92 that it was engaging in the configuration of
    a central axis 145 which is 0 .11 mm above datum plane 220 FIG . 10D . The configuration shown in FIG . 10D is known
    ( FIG . 9 ). A top /nose surface 147 of the anti-back drive tooth as a “ Fire ” configuration. In this configuration the lower side
    138 is located 0 .36 mm above the datum plane 220 . The 60 edge 98 of the actuator 80 is 0 .47 mm below the datum plane
    distance vertically (i.e . transverse to datum plane 220FIG . 220 .
    9 ) between the top nose surface 147 of the anti-back drive        F IG . 10E shows a further step in the sequence , called a
    tooth is 0 .25 mm from the central axis 145 of the wheel 94 . “ Count” position in which the actuator pawl 80 has rotated
    Bump surface 144 has a lateral extent of 0 .20 mm , with a        the ratchet wheel 94 by the distance circumferentially angu
    vertical length of a flat 145 ' thereof being 1 mm , the width 65 larly between two of the teeth 92 , such that the count pawl
    of the bump surface being 1 .22 mm (in the direction of the       138 has just finished riding along a forward surface 142 of
    axis 145 ), the top 149 of the bump surface 144 being 3 .02 one of the teeth 92 and has resiliently jumped over the tooth
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 120 of 318 PageID: 195


                                                        US 10 ,086 ,156 B2
                                  15                                                            16
    into engagement with the back surface 140 of the next tooth .      second portion 102 having a lesser radial or inwardly
    Accordingly, in this “ Count" configuration , a sufficiently       extending extent than the first portion 156 , and finally a
    long stroke movement of the pin 34 has occurred that the           second step 164 at which the rail merges into the main inner
    tape 112 of the dose counter 36 will just have counted down        wall 50 main surface .
    one dose . In this configuration , the lower side edge 98 of the 5    A method of assembling the inhaler 12 will now be
    actuator is 0 . 95 mm below the datum plane 220 . Accord -         described .
    ingly , in this position , the actuator 80 generally , including      With reference to FIG . 8A , the main body 10 of the
    edge 98 , is 0 .48 mm lower than in the fire configuration . It    inhaler 12 is formed by two or more plastics mouldings
   has been found that, although the count configuration hap -        which have been joined together to the configuration shown .
   pens further on than the fire configuration , counting is highly 10 As shown in FIG . 8B , the actuator pawl 80 and pin 34 are
    reliable , with less than 50 failed counts per million . This is   translated forward into position into a pin receiving area 166
    at least partially due to momentum effects and to the canister     in the dose counter chamber 66 and the pin 34 and actuator
    releasing some back pressure on the user in some embodi            80 may then be raised until the pin 34 emerges through the
   ments as its internal metering valve fires .                  aperture 74 .
      In the configuration of FIG . 10F , the pawl 80 has been 15 Next, the return spring 56 may be inserted below the pin
   further depressed with the pin 34 by the canister 20 to a           34 and a generally cylindrical annular lower end 168 of the
   position in which it is just disengaging from one of the teeth      spring 56 may be moved by a tweezer or tweezer- like
   92 and the actuator pawl80 is assisted in this disengagement        assembly tool (not shown ) into engagement with a shelf 170
   by engagement of one of the arms 84 with a bump surface             of a spring retainer 172 in the dose counter chamber 66 . The
    144 on the chassis 102 ( see FIG . 6G ) and it will be seen at 20 spring retainer 172 is U - shaped and the shelf 170 is
    this point of disengagement, which is called an " End "            U - shaped and has a recess 174 formed below it. As shown
   configuration, the count pawl 138 is positioned exactly             in FIGS. 4B , 4C and 12 shelf 170 includes three chamfer
   halfway or substantially halfway between two of the drive           surfaces 176 , 178, 180 arranged to assist in moving the
    teeth 92 . This advantageously means therefore that there is       lower end of the spring 168 into position onto the shelf using
    a minimum chance of any double counting or non - counting , 25 the assembly tool (not shown ). Once the lower end of the
    which would be undesirable . In the end configuration , the         spring 168 is in place , the assembly tool (not shown ) can
    side edge 98 of the actuator is 1.65 mm below the datum          easily be removed at least partly via the recess 174 below the
    plane 220 . It will be appreciated that any further depression   lower end 168 of the spring 56 .
    of the actuator pawl 80 and pin 34 past the " End” configu -        The tape 112 is attached at one end (not shown ) to the tape
    ration shown in FIG . 10F will have no effect on the position 30 stock bobbin 110 and is wound onto the bobbin by a motor
    of the tape 112 displayed by the dose counter 36 since the         200 (FIG . 13) having a hexagonal output shaft 202 which
    actuator pawl 80 is disengaged from the ratchet wheel 94           engages in a hexagonal socket 204 ( FIG . 6B ) of the bobbin .
   when it is below the position shown in FIG . 10F.                   During winding , the tape is monitored by a sensor 206 ,
       As shown in FIGS . 7C and 7D , the inner wall 50 of the         which may be in the form of a camera or laser scanner,
   main body 10 is provided with a two - step support rail 144 35 which feeds data to a computer controller 205 for the motor
   which extends longitudinally along inside themain body and          200 . The controller 205 recognises three positioning mark
    is located directly adjacent the aperture 74 . As shown in FIG .   ers 210 in the form of lines across the tape 112 and stops the
    7B a diametrically opposed two - step support rail 146 is also     motor 202 when the tape 112 is nearly fully wound onto the
    provided and this diametrically opposed in the sense that a        bobbin 110 , such that the distal end 212 of the tape 112 can
    vertical plane (not shown ) can pass substantially directly 40 be secured , e . g . by adhesive , to the tape reel shaft 106 . The
    through the first rail 144 , the aperture 74 , a central aperture controller 205 also recognises a pixelated tape size marker
    148 of the valve stem block 40 ( in which canister stem 25          214 observed by the sensor 206 and logs in a stocking
    is located ) and the second two - step support rail 146 . As       system data store 217 details of the tape 112 such as the
    shown in FIG . 7A and schematically in FIG . 7B , the rails   number of numbers 114 on the tape, such as one hundred and
    144 , 146 provide a maximum clearance between the canister 45 twenty or two hundred numbers 114 . Next, the tape reel shaft
    20 and the rails 144, 146 in a radial direction of almost          is wound until an appropriate position of the lines 210 at
    exactly 0 .3 mm , about 0 .25 to 0 .35 mm being a typical          which a priming dot 216 will , once the bobbin 110 and reel
    range . This clearance in this plane means that the canister 20    shaft 106 are slid onto the second shaft 108 and second shaft
    can only rock backwards and forwards in this plane towards         104 , be in a position to be located in the window 118 when
   away from the actuation pin 34 . A relatively small distance 50 the inhaler 12 is fully assembled . In the embodiments , the
    and this therefore prevents the canister wobbling and chang -      bobbin 110 and reel shaft 106 may be slid onto the shafts
    ing the height of the actuation pin 34 a as to undesirably alter    108 , 104 before the tape 112 is secured to the reel shaft 106
    the accuracy of the dose counter 36 . This is therefore highly     and the reel shaftmay then be wound to position the priming
    advantageous.                                               dot 216 .
       The inner wall 50 of the main body 10 is provided with 55 Next, the assembled dose counter components of the
    two further two - step rails 150 as well as two pairs 152 , 154     chassis preassembly 100 shown in FIG . 6B may as shown in
   of rails extending different constant radial amounts inwardly       FIG . 8C be inserted into the dose counter chamber 66 , with
   from the inner wall 50, so as to generally achieve a maxi- pins 182 , 184 , 186 formed on the main body 10 in the dose
   mum clearance of almost exactly 0 . 3 mm around the canister counter chamber 66 passing through apertures or slots 188 ,
   20 for all of the rails 144, 146 , 150 , 152 , 154 spaced around 60 190 , 192 formed on the chassis 102 , such that the pins 182,
    the periphery of the inner wall 50 , in order to prevent undue      184 , 186 extend through (or at least into ) the apertures or
   rocking while still allowing canister motion freely inside the       slots 188 , 190 , 192 . With the chassis 102 being relatively
    inhaler 12 . It willbe clear from FIG . 7C for example that the     firmly pushed towards the main body 10 , the pins 182 , 184 ,
    two - step rails have a first portion near an outlet end 156 of     186 are then heat staked and the chassis 102 is therefore after
    the canister chamber 18 , the first portion having a substan - 65 this held very firmly in position in the main body and is
    tially constant radial or inwardly - extending width , a first     unable to move , thereby assisting in providing great accu
    step 160 leading to a second portion 162 of the rail, the          racy for the dose counter 36 . Next, as shown in FIG . 8D , the
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 121 of 318 PageID: 196


                                                        US 10 ,086 ,156 B2
                                 17                                                                    18
    dose counter chamber cover 120 may be fitted over the dose           F irst, it can be seen that there is a modification in that the
    counter chamber 66 and may be secured in place such as by            drive teeth 92 of the ratchet wheel 94 have a different profile
   welding, with the priming dot 216 being displayed through            to that in FIGS. 1 to 14 . There are also only nine ratchet teeth
    the window .                                                        94 in this embodiment instead of eleven .
       The user can , when readying the inhaler 12 for first use, 5       Additionally , as shown in FIGS . 18C and 19C , the control
    prime the inhaler by depressing the canister 20 three times          elements 128 . 130 on the forks 124 , 126 of the second shaft
   which willbring the firstnumber 114 on the tape into display         108 have a tapered profile which is different to the profile of
   through the window 118 in place of the priming dot 216 , the         the control elements 128 , 130 shown in FIG . 6F . Either
   number 114 shown in FIG . 8D being “ 200 ” , thereby indi
    cating that 200 doses are remaining to be dispensed from the 10 profile can be used in the embodiment of FIGS. 15 to 20
    canister 20 and inhaler 12 .                                    however.
      As shown in FIG . 8D , and in FIG . 5 , an open drain hole           Furthermore, as shown in FIG . 15 , the tape stock bobbin
    194 is provided at the bottom of the dose counter chamber           110 has an inwardly facing generally cylindrical engagement
   66 by a substantially semi- circular cut-out or recess forma         surface 300 with a wavelike form extending partially the
   tion 196
   tion 196 inin aa lower
                    lower surface
                          surface 198
                                  198 of
                                      of the  main body
                                          the main body 10
                                                         10 of
                                                            of the
                                                                the 15
                                                                    15 realong . The engagement surface 300 has a cross -section
   inhaler. Accordingly , if the user ( not shown) should decide         301 perpendicular to the longitudinal length of the stock
   to wash the main body 10 of the inhaler, for example after           bobbin  110 which is constant therealong. This cross -section
   encountering an unhygienic situation or simply as a matter           301 can be seen in FIG . 16 and consists of a series of ten
   of choice , the drain hole 194 allows initial draining of water regularly spaced concavities 302 and ten convex wall por
   from inside the dose counter chamber 66 and also thereafter 20 tions 304 . The convex wall portions 304 are equi-spaced
   evaporation of water or any aqueous matter in the dose between the concavities 302 . Each concavity 302 has a
   counter chamber 66 so that the window 118 does not mist up          radius of 0 .2 mm . Each convex wall portion 304 also has a
    undesirably.                                                        radius of 0 . 2 mm . Finally , the cross section 301 also includes
      FIG . 14 shows a computer system 230 for designing the             flat wall portions 306 between all of the radiused wall
    dose counter 36 and in particular for calculating distribu - 25 portions of the concavities 302 and convex wall portions
    tions representative of average positions and standard devia -  304 . The geometry of the cross - section 301 is therefore
   tions in a production series of inhalers of the start, reset, fire , defined by the radii of the concavities 302 and convex wall
   count and end positions of the actuator lower side edge 98           portions 304 , the flat wall portions 306 and the fact that there
   relative to the datum plane 220 (FIG . 9 ) and therefore of the      are ten concavities 302 and convex wall portions 304 .
   actuator pawl 80 generally relative to the ratchet wheel 94 , 30 The minor diameter of the engagement surface 300 , i.e .
   chassis 102 and , when the inhaler 12 is fully assembled , the between the tips of opposite convex wall portions 304 , is
   main body 10 of the inhaler 12 . The computer system 230             2 . 46 mm . The major diameter of the engagement surface
   includes a data store 232, a CPU 234 , an input device 236           300, i.e . between the outermost portions of the concavities
    (such as a keyboard or communication port) and an output            302 , is 2 .70 mm . The undeformed tip to tip maximum
   device 238 ( such as a communications port , display screen 35 diameter of the forks 124 , 126 of the split pin the second
    and/ or printer ). A user may enter data via the input device        shaft ) 108 , i.e . in the region of the maximum radio extent of
    236 which may be used by the CPU 234 in a mathematical              the control elements 128 , 130 , is 3 . 1 millimeters and it will
    calculation to predict count failure rates when the various         therefore be appreciated that the forks 124 , 126 are resil
    dose counters are to be built in a series with dose counter         iently compressed once the stock bobbin 110 has been
    positions set with given averages and standard deviations 40 assembled onto the split pin 108 in all rotational configu
    and taking into account any momentum /inertia effects and           rations of the stock bobbin 110 relative to the split pin 108 .
   metering valve user-back -pressure reduction effect which             the minimum gap between the forks 124 , 126 in the plane
    will occur upon canister firing of a given type of canister         of the cross sections of FIGS. 18C and 19C is 1 mm when
    The computer system 230 is thus mathematically used to              the split pin 108 is in the undeformed , pre - inserted state .
   design the distributions. For the inhaler 12 described herein 45 When the split pin 108 is at maximum compression , as
   with the dose counter 36 and canister 20 , the distributions     shown in FIGS. 18A to 18C when the control elements 128 ,
    are designed as shown in FIG . 11 . The x axis shows distance        130 are shown to be engaged on top of the convex wall
    of the lower side surface 98 of the actuator 80 above the           portions 304 , the gap 308 between the tips 310 , 312 of the
    datum plane 220 and the y axis is representative of the          forks 124 , 126 is 0 . 36 mm . On the other hand , when the split
    distribution . Thus, curve 240 shows that the start configu - 50 pin 108 is at minimum compression (once inserted into the
   ration has an average 1. 33 mm above the datum plane 200             stock bobbin ) as shown in FIGS . 19A to 19C , when the
   ( standard deviation is 0 . 1 mm ), curve 242 shows that the         control elements 128 , 130 rest in the concavities 302 , the gap
   reset configuration has an average of 0 .64 mm above the             between the tips 310 , 312 of the forks 124 , 126 is 0 .6 mm .
   datum plane 220 ( standard deviation is 0 . 082 mm ), curve           The control elements 128 , 130 are outwardly radiused with
    244 shows the fire configuration has an average 0 .47 mm 55 a radius also of 0 . 2 mm such that they can just rest on the
   below the datum plane 220 ( standard deviation is 0 . 141            concavities 302 with full surface contact (at least at an axial
   mm ), curve 246 shows the count configuration has an                 location on the split pin where the tapered control elements
    average 0 . 95 mm below the datum plane 220 ( standard      are at their maximum radial extent ), without rattling in ,
    deviation is 0 . 080 mm ), and curve 248 shows the end      locking onto or failing to fit in the concavities 302 . The radii
    configuration has an average of 1 .65 mm below the datum 60 of the control elements 128 , 130 is therefore preferably
    plane 220 (standard deviation is 0 . 144 mm ).                      substantially the same as the radii of the concavities 302
       FIGS. 15 to 20 show a version of the inhaler modified in            It will be appreciated that whereas FIGS. 18B and 19B are
    accordance with the present invention . In these drawings,          end viewsalong the coaxial axis of the stock bobbin 110 and
    the same reference numerals have been used to those in the     split pin 108 , FIGS. 18A and 19A are cross - sections. FIG .
    earlier drawings to denote the equivalent components . The 65 19A is a section on the plane A - A ' in FIG . 19C and FIG . 18A
    inhaler 12 is the same as that in FIGS. 1 to 14 apart from the is a section at the same plane , but of course with the stock
    following modifications.                                       bobbin 110 rotated relative to the split pin 108 .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 122 of 318 PageID: 197


                                                        US 10 ,086 , 156 B2
                                                                                                    20
      As the inhaler 12 is used and the ratchet wheel 94 rotates         The stock bobbin 110 and the carriage 102 including the
   in order to count used doses, the stock bobbin rotates split pin 108 are both moulded of polypropylene material.
   incrementally through rotational positions in which rotation         It will be seen from FIG . 16 that the cross -sectional shape
   is resisted , i.e . due to increasing compression of the split pin 301 is not symmetrical within the hexagonal socket 204 .
    108 at such rotational positions, and rotational positions in 5 This has enabled the hexagonal socket 204 to be maintained
   which rotation is promoted , i.e. due to decreasing compres - at a useful size while still allowing the desired size and
   sion of the split pin 108 at such rotational positions and this    geometry of the cross section 301 to fit without interfering
   may involve a click forward of the stock bobbin 110 to the with the hexagonal shape of the hexagonal socket 204 and
   next position equivalent to that in FIGS. 19A to 19C in     also permits moulding to work during manufacture .
   which the control elements 128 , 130 of the split pin art 10 As shown in FIG . 17 , the stock bobbin 110 has a series of
    located in the concavities 302 . This functionality firstly        four circumferential ribs 330 inside it and a spaced therea
    allows the stock bobbin to unwind during use as required ,         long. These hold the stock bobbin 110 on the correct side of
   but also prevents the tape 112 from loosening during transit        the mould tool during moulding .
   if the inhaler 12 is dropped, such as onto a hard surface . This   FIGS. 21 and 22 show a preferred embodiment in accor
   is highly advantageous , since the tape 11 is prevented from 15 dance with the invention of an inhaler 510 for dispensing a
   moving to a position in which it will give an incorrect dry - powdered medicament in metered doses for patient
   reading regarding the number of doses in the canister.           inhalation . The inhaler 510 is as disclosed in FIGS. 1 to 16
      During compression and expansion of the forks in the          or EP - A - 1330280 , the contents of which are hereby fully
   radial direction between the two configurations shown in         incorporated herein by reference , but with the stock bobbin
   FIGS. 18C and 19C , the forks 124 , 126 rotate about a point 20 110 and second shaft 108 of the dose counter 516 modified
    316 on the split pin where the forks 124 , 126 come together.      so as to be as in FIGS . 15 to 20 hereof. Thus, the dry powder
    This rotational action means that there is a camming action         inhaler 510 generally includes a housing 518 , and an assem
   between the forks 124 , 126 and the engagement surface 300          bly 512 received in the housing (see FIG . 21). The housing
    without significant friction but, nevertheless , the resilient 518 includes a case 520 having an open end 522 and a
    forces provided by the regulator formed by the engagement 25 mouthpiece 524 (FIG . 25 ) for patient inhalation , a cap 526
    surface 300 and forks 124 , 126 are able to regulate unwind        secured to and closing the open end 522 of the case 520 , and
    ing of the tape such that it does not easily occur during          a cover 528 pivotally mounted to the case 520 for covering
    transit or if the inhaler 12 is dropped . It has been found        the mouthpiece 524 . As shown in FIG . 22 , the inhaler 510
   during testing that a force of 0 .3 to 0 .4 N needs to be applied also includes an actuation spring 569, first yoke 566 with
   to the tape 112 to overcome the regulator at the stock bobbin 30 opening 572 , bellows 540 with crown 574 , a reservoir 514 ,
    110 . 0 .32 N is achieved with the control elements 128 having     second yoke 568 with hopper 542 and dose counter 516
   the profile shown in FIG . 19C and 0 . 38 N is achieved with        mounted thereto , and case 520 has transparent window 5130
    the profile of the control elements 128 altered to be as shown     thereon for viewing dose counter tape indicia 5128 . The
    as described with reference to FIG . 6F. These forces are      dose metering system also includes two cams 570 mounted
    substantially higher than the 0 . 1 N force mentioned above 35 on the mouthpiece cover 528 and movable with the cover
    and undesirable movement of the tape is substantially          528 between open and closed positions . The cams 570 each
    avoided even if the inhaler is dropped onto a hard surface .       include an opening 580 for allowing outwardly extending
    The modified arrangement of FIGS. 15 to 20 does not                hinges 582 of the case 520 to pass therethrough and be
    provide this force “ constantly ” such that there is overall not   received in first recesses 584 of the cover 528 . The cams 570
    an undesirably high friction of the tape 112 as it passes over 40 also include bosses 586 extending outwardly and received in
    the other components of the dose counter because , due to the      second recesses 588 of the cover 528 , such that the cover
    incremental nature of the resilient forces at the regulator, the   528 pivots about the hinges 582 and the cams 570 move with
    tape 112 can incrementally relax as it slides over the     the cover 528 about the hinges 582. As described in EP - A
    stationary chassis components .                            1330280 , cams 570 act upon cam followers 578 to move
      Instead of having ten concavities 302 and convex wall 45 second yoke 568 up and down and thereby operate dose
   portions 304, other numbers may be used, such as 8 or 12 .  counter by engagement of pawl 5138 on the second yoke
   However, it is preferred to have an even number, especially 568 with teeth 5136 . Remaining components of the inhaler
    since two control elements 128 , 130 are provided , so that all are provided as, and operate as described , in EP - A - 1330280 .
    of the control elements 128 , 130 will expand and contract         The dose counting system 516 therefore includes a ribbon
    simultaneously . However, other arrangements are envisaged 50 or tape 5128 (FIGS. 23 & 24 ), having successive numbers or
   with 3 or more forks and the number of concavities / convex         other suitable indicia printed thereon , in alignment with a
   wall portions may be maintained as an integer divisible by          transparent window 5130 provided in the housing 18 (see
    the number of forks to maintain a system with simultaneous         FIG . 22 ). The dose counting system 516 includes the rotat
   expansion /contraction . For example , the use of 9 , 12 or 15     able stock bobbin 110 ( as described above ), an indexing
   concavities/ convex wall portions with 3 forks is envisaged . 55 spool 5134 rotatable in a single direction , and the ribbon
      Instead of having the engagement surface 300 on the 5128 rolled and received on the bobbin 110 and having a first
   inside of the stock bobbin 110 , it could be placed on the         end 5127 secured to the spool5134, wherein the ribbon 5128
   outside of the stock bobbin 110 so as to be engaged by             unrolls from the bobbin 110 so that the indicia are succes
   flexible external legs/pawls or similar.                           sively displayed as the spool 5134 is rotated or advanced . In
      It will be noted that the regulator provided by the engage - 60 FIGS. 23 and 24 the wavelike engagement surface 300 of the
   ment surface 300 and forks 124 , 126 does not only allow           bobbin 110 is not shown for the purposes of clarity .
   rotation of the stock bobbin in one direction as is the case          The spool 134 is arranged to rotate upon movement of the
   with the ratchet wheel 94 . Rotation in both directions is          yokes 566 , 568 to effect delivery of a dose of medicament
    possible , i. e . forwards and backwards. This means that          from reservoir 514 , such that the number on the ribbon 5128
    during assembly, the stock bobbin 110 can be wound back - 65 is advanced to indicate that another dose has been dispensed
   wards during or after fitting the bobbin 100 , shaft 106 and        by the inhaler 510 . The ribbon 5128 can be arranged such
    tape 112 onto the carriage 102 , if desired .                      that the numbers , or other suitable indicia , increase or
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 123 of 318 PageID: 198


                                                        US 10 ,086 , 156 B2
                                 21                                                                       22
    decrease upon rotation of the spool 5134 . For example , the             2 . A dose counter as claimed in claim 1 in which the
    ribbon 5128 can be arranged such that the numbers, or other            actuator is displaced less than 1 mm relative to the body
    suitable indicia , decrease upon rotation of the spool 5134 to        between its locations in the canister fire and count configu
    indicate the number of doses remaining in the inhaler 510 . rations.
    Alternatively, the ribbon 5128 can be arranged such that the 5 3 . A dose counter as claimed in claim 1 wherein the
    numbers , or other suitable indicia , increase upon rotation of dosage indicator includes a tape with incremental dose
    the spool 5134 to indicate the number of doses dispensed by           indicia located thereon , the tape being positioned on a tape
    the inhaler 10 .                                                       stock bobbin and arranged to unwind therefrom .
       The indexing spool5134 includes radially extending teeth              4 . The dose counter as claimed in claim 3 , wherein the
    5136 , which are engaged by pawl 5138 extending from a 10 incremental dose indicia on the tape is in the form of even
    cam follower 578 of the second yoke 568 upon movement numbers and the body includes a dose marker thatpoints to
    of the yoke to rotate , or advance , the indexing spool 5134 . a location either at one of the even numbers or between two
    More particularly , the pawl 5138 is shaped and arranged              adjacent even numbers.
    such that it engages the teeth 5136 and advances the index -  5 . A dose counter as claimed in claim 1 in which the
    ing spool 5134 only upon the mouthpiece cover 528 being 15 actuator and ratchet wheel are arranged to provide a start
    closed and the yokes 566 , 568 moved back towards the cap              configuration at which the actuator is spaced from the
   526 of the housing 518 .                                         ratchet wheel, and an end configuration at which the actuator
       The dose counting system 516 also includes a chassis         disengages from the ratchet wheel during the canister fire
   5140 that secures the dose counting system to the hopper sequence .
   542 and includes shafts 108 , 5144 for receiving the bobbin 20 6 . A dose counter as claimed in claim 5 in which :
    110 and the indexing spool 5134 . As described above with          (a ) the actuator is arranged to be located about 1. 5 to 2 .0
   reference to FIGS . 1 to 20 , the bobbin shaft 108 is forked and       mm from its location in the fire configuration when in
   includes radially nubs 5146 for creating a resilient resistance         the start configuration ;
   to rotation of the bobbin 110 on the shaft 108 by engaging          (b ) the actuator is arranged to be located about 1 .0 to 1 .2
   with the wavelike engagement surface 300 inside the bobbin 25               mm from its location in the fire configuration when in
    110 . A clutch spring 5148 is received on the end of the                   the reset configuration ; or
    indexing spool5134 and locked to the chassis 5140 to allow               ( c ) the actuator is arranged to be located about 1 . 1 to 1 .3
    rotation of the spool 5134 in only a single direction .                      mm from its location in the fire configuration when in
       Various modifications may be made to the embodiment                      the end configuration .
    shown without departing from the scope of the invention as 30            7 . A dose counter as claimed in claim 5 in which the body
    defined by the accompanying claims as interpreted under               includes a formation for forcing the actuator to disengage
    patent law .                                                   from the ratchet wheel when the actuator is moved past the
       What is claimed is:                                         end configuration .
       1 . A dose counter for a metered dose inhaler having a body    8 . A dose counter as claimed in claim 5 in which :
    arranged to retain a medicament canister of predetermined 35 (a ) the actuator is arranged to be located about1 .5 to 2 .0
    configuration for movement of the medicament canister                mm from its location in the fire configuration when in
    relative thereto , the medicament canister containing an                   the start configuration ;
    active drug ; the dose counter comprising :                              (b ) the actuator is arranged to be located about 1 .0 to 1 .2
       a ratchet wheel having a plurality of circumferentially                 mm from its location in the fire configuration when in
         spaced teeth ,                                              40         the reset configuration , and
      an actuator comprising an actuator pawl arranged to                    (c ) the actuator is arranged to be located about 1.1 to 1.3
         engage with a first tooth of the ratchet wheel, wherein               mm from its location in the fire configuration when in
         the actuator can be driven in response to canister                    the end configuration .
        motion to drive the ratchet wheel to rotate ,                        9 . A dose counter as claimed in claim 1 , wherein the count
      a count pawl arranged to engage with a second tooth of 45 pawl and the ratchet wheel are arranged to permit one way
         the ratchet wheel,wherein as the ratchet wheel is driven          incremental relative motion therebetween .
         by the actuator to rotate, the count pawl rides along a             10 . A dose counter as claimed in claim 9 in which the
         forward surface of the second tooth and resiliently               actuator and ratchet wheel are arranged to provide a start
         jumps over the second tooth , and                              configuration at which the actuator is spaced from the
      a dosage indicator associated with the count pawl,             50 ratchet wheel, and an end configuration atwhich the actuator
      wherein the actuator is arranged to define a first reset             disengages from the ratchet wheel during the canister fire
         position in which the actuator pawl is brought into               sequence and in which the count pawl is substantially
         engagement with the first tooth ,                                 fixedly mounted on the body and in which the count pawl is
      wherein the actuator is further arranged such that, during          arranged to be capable of repeatedly engaging the teeth of
         a canister fire sequence , when the actuator is in a 55 the ratchet wheel in anti-back drive interlock configurations
         second position , which is after the first reset position        as the dose counter is operated , the count pawl being
         and at a canister fire configuration , the medicament             positioned so that the ratchet wheel is halfway, or substan
         canister fires medicament before the dose counter                t ially halfway , moved from one anti -back interlock configu
         reaches a count configuration , and when the actuator is ration to the next when the actuator and ratchet wheel are in
         in a third position after the second position , the count 60 the end configuration thereof.
         pawl resiliently jumps over the second tooth and the            11 . An inhaler comprising the body arranged to retain the
         dose counter reaches the count configuration , whereby           medicament canister of predetermined configuration and the
         the dosage indicator has indicated a count,                      dose counter as claimed in claim 1 .
      wherein , in the canister fire configuration , the actuator 12 . An inhaler as claimed in claim 11 in which the body
        pawl is below a datum plane which passes through a 65 includes a canister- receiving portion and a separate counter
         shoulder of a valve stem block configured to receive the          chamber ; the body, ratchet wheel and actuator being located
        medicament canister.                                               inside the counter chamber, the body of the inhaler having
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 124 of 318 PageID: 199


                                                      US 10 ,086 ,156 B2
                                   23                                      24
    wall surfaces separating the canister - receiving portion and
    the counter chamber, the wall surfaces being provided with
    a communication aperture , an actuation member extending
    through the communication aperture to transmit canister
   motion to the actuator.
       13 . The dose counter of claim 1 , wherein the shoulder is
   a bottom surface within the value stem block and the datum
   plane is perpendicular to a direction of the movement of the
   medicament canister .
                           *   *   *    *   *                       10
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 125 of 318 PageID: 200




                             EXHIBIT F
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 126 of 318 PageID: 201

                                                                                           US010561808B2

            United States Patent                                          ( 10 ) Patent No.: US 10,561,808 B2
            Walsh et al.                                                  (45 ) Date of Patent:   Feb. 18 , 2020
    (54 ) DOSE COUNTER FOR INHALER HAVING                            (51) Int. Ci.
            AN ANTI-REVERSE ROTATION ACTUATOR                                 A61M 15/00                 (2006.01)
                                                                              GO6M 1/24                  (2006.01)
    (71 ) Applicants : IVAX PHARMACEUTICALS                                   A61M 11/00                 (2006.01)
                       IRELAND, Waterford (IE ) ; NORTON             (52) U.S. CI.
                       (WATERFORD ) LIMITED , Waterford                       CPC           A61M 15/0078 (2014.02 ); A61M 11/00
                       (IE ); TEVA PHARMACEUTICALS                                             ( 2013.01) ; A61M 15/007 (2014.02 ) ;
                       IRELAND , Waterford (IE )                                            (Continued )
                                                                     (58 ) Field of Classification Search
    (72 ) Inventors : Declan Walsh , County Kilkenny (IE );                CPC          A61M 15/0078 ; A61M 15/0025 ; A61M
                       Derek Fenlon , County Wexford (IE );                            15/0026 ; A61M 15/007 ; A61M 15/0071;
                       Simon Kaar , County Cork (IE ) ; Jan                                 (Continued )
                       Geert Hazenberg , County Kilkenny
                       (IE ); Daniel Buck , County Waterford         (56 )                   References Cited
                       (IE ); Paul Clancy , Waterford ( IE );
                       Robert Charles Uschold , Leominster,                             U.S. PATENT DOCUMENTS
                       MA (US); Jeffrey A. Karg , Hopkinton ,
                       MA (US)                                               4,174,890 A     11/1979 Johnson
                                                                             4,669,838 A      6/1987 Hibbard
    (73 ) Assignees: IVAX PHARMACEUTICALS                                                          (Continued )
                     IRELAND, Waterford (IE ) ; NORTON                              FOREIGN PATENT DOCUMENTS
                     (WATERFORD ) LIMITED , Waterford
                       (IE ); TEVA PHARMACEUTICALS                   CA                  2501726           9/2006
                       IRELAND , Waterford (IE )                     EP                  1330280           7/2003
                                                                                                   (Continued )
    ( * ) Notice :     Subject to any disclaimer, the term of this
                       patent is extended or adjusted under 35                           OTHER PUBLICATIONS
                       U.S.C. 154 (b ) by 228 days .
                                                                     Final Office Action dated Oct. 20 , 2016 for U.S. Appl.No. 14 /699,567.
    ( 21) Appl. No.: 15 /262,818                                                             (Continued )
    (22) Filed :       Sep. 12, 2016                                 Primary Examiner Daniel A Hess
                                                                     (74 ) Attorney, Agent, or Firm - Morgan, Lewis &
                                                                     Bockius LLP
    (65 )               Prior Publication Data
            US 2016/0375208 A1 Dec. 29 , 2016                        (57)                       ABSTRACT
                                                                     A dose counter for an inhaler includes a counter display
                   Related U.S. Application Data                     arranged to indicate dosage information , and a drive system
                                                                     arranged to move the counter display incrementally in a first
    (60 ) Continuation of application No. 14 /699,584 , filed on     direction from a first station to a second station in response
            Apr. 29, 2015, which is a continuation of application    to actuation input. A regulator is provided which is arranged
                             (Continued )                                                          (Continued )
                                               300



                                                                                „ 110
                                                     ---
                                                     *****
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 127 of 318 PageID: 202


                                                         US 10,561,808 B2
                                                                   Page 2

   to act upon the counter display at the first station to regulate     JP
                                                                        JP
                                                                                           02502129
                                                                                            450059
                                                                                                               7/1990
                                                                                                               8/1992
   motion of the counter display at the first station to incre          JP                07100205             4/1995
   mental movements .                                                   JP                10504220             4/1998
                                                                        JP              2002528144             9/2002
                  29 Claims, 17 Drawing Sheets                          JP              2004501685             1/2004
                                                                        JP              2008-94103 A           4/2008
                                                                        JP              2008094103             4/2008
                                                                        JP              2008261423            10/2008
                                                                        JP              2009233308            10/2009
                 Related U.S. Application Data                         JP               2009257392            11/2009
                                                                       JP               2010096308             4/2010
          No. 14 / 103,353 , filed on Dec. 11, 2013 , now Pat. No.     WO                  8909078            10/1989
          9,526,850 , which is a division of application No.            WO                 9628205              9/1996
          13 / 110,532 , filed on May 8, 2011, now Pat. No.            WO
                                                                       WO
                                                                                           9828033
                                                                                            9936115
                                                                                                                7/1998
                                                                                                               7/1999
          8,978,966 .                                                  WO                  02/00281 A2          1/2002
    (60 ) Provisional application No.61/345,763 , filed on May         WO                 03101514            12/2003
          18 , 2010, provisional application No. 61/417,659,           WO
                                                                       WO
                                                                                        2005102430
                                                                                        2006062449
                                                                                                              11/2005
                                                                                                               6/2006
          filed on Nov. 29 , 2010 .                                    WO               2006062449 Al          6/2006
                                                                       WO               2007012861             2/2007
    (52) U.S. Cl.                                                      WO               2007062518             6/2007
         CPC        A61M 15/009 (2013.01) ; A61M 15/0025               WO               2008023019             2/2008
                 (2014.02 ); A61M 15/0026 (2014.02 ); A61M             WO               2008119552             2/2008
               15/0065 (2013.01); A61M 15/0071 ( 2014.02);             WO               2011012325              2/2011
                                                                        WO              2011012327              2/2011
                    GO6M 1/246 (2013.01); A61M 2202/064
               (2013.01); A61M 2205/6063 ( 2013.01) ; A61M                                  OTHER PUBLICATIONS
                 2207/00 (2013.01 ); A61M 2207/10 (2013.01);
                         Y10T 29/49 (2015.01 ); Y10T 29/49764           Advisory Action dated Mar. 13 , 2017 for U.S. Appl. No. 14 /699,567.
                           (2015.01); Y10T 29/49826 ( 2015.01 )         Non - Final Office Action dated Jan. 12 , 2017 for U.S. Appl. No.
    (58 ) Field of Classification Search                                14 /713,620 , 8 pages .
           CPC ......     A61M 11/00 ; A61M 15/0065; A61M               Final Rejection dated Sep. 27 , 2016 for U.S. Appl. No. 14 /699,578 .
                                           15/009 ; GO6M 1/246          Final Office Action dated Aug. 31, 2016 for U.S. Appl. No.
           USPC                                            235/8        14 /713,620 , 7 pages.
           See application file for complete search history.            Advisory action dated Feb. 9, 2017 for U.S. Appl. No. 14 /699,584.
                                                                        Non - final rejection dated Jul. 12 , 2016 for U.S. Appl. No. 14 /713,643 .
    ( 56 )               References Cited                               File History for U.S. Appl. No. 15/271,738 .
                                                                        File History for U.S. Appl. No. 15 /269,102 .
                  U.S. PATENT DOCUMENTS                                 File History for U.S. Appl. No. 15 /262,818 .
                                                                        File History for U.S. Appl. No. 15 /289,553.
         4,687,359 A      8/1987 Barrus                                 File History for U.S. Appl. No. 15 /269,249 .
         5,482,030 A      1/1996 Klein                                  Final rejection dated Oct. 20 , 2016 or U.S. Appl. No. 14 /699,584 .
         5,861,911 A       1/1999 Oosaka                                Non - Final Office Action dated Jun . 24 , 2016 for U.S. Appl. No.
        6,446,627 B1 9/2002 Bowman                                      14 /713,620 , 7 pages.
        6,718,972 B2 4/2004 OLeary                                      Final rejection dated Oct. 20 , 2016 or U.S. Appl. No. 14 /713,631.
        8,418,690 B2 4/2013 Power                                       Advisory Action dated Mar. 16 , 2017 or U.S. Appl. No. 14 /713,633.
        8,474,448 B2 7/2013 Oi                                          Entire patent prosecution history ofU.S. Appl. No. 13 /110,532 , filed
        8,978,966 B2 3/2015 Walsh et al.                                May 18 , 2011, entitled ,“ Dose Counters for Inhalers , Inhalers and
        9,174,013 B2 11/2015 Walsh et al.                               Methods of Assembly Thereof."
         9,463,289 B2    10/2016 Walsh et al .                          Entire patent prosecution history ofU.S. Appl. No. 14 / 103,324 , filed
     2002/0047021 A1      4/2002 Blacker                                Dec. 11 , 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2002/0078949 Al      6/2002 OLeary                                 Methods ofAssembly Thereof."
     2002/0078950 A1 *    6/2002 O'Leary              A61M 15/0045
                                                                        Entire patent prosecution history ofU.S. Appl. No. 14 / 103,343 , filed
                                                         128 /200.22
     2002/0084891 Al      7/2002 Mankins et al .                        Dec. 11 , 2013 , entitled , “ Dose Counters for Inhalers , Inhalers and
     2003/0209239 Al     11/2003 Rand                                   Methods of Assembly Thereof."
     2004/0089298 A1      5/2004 Haikarainen et al.                     Entire patent prosecution history ofU.S. Appl. No. 14 / 103,353, filed
     2004/0095746 A1      5/2004 Murphy                                 Dec. 11 , 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2005/0028815 A1       2/2005 Deaton                                Methods of Assembly Thereof."
     2005/0087191 A1
     2006/0096594 Al
                          4/2005 Morton
                          5/2006 Bonney                                 Entire patent prosecution history of U.S.Appl. No. 14 / 103,363, filed
                                                                        Dec. 1, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2006/0107949 A1      5/2006 Davies                                 Methods of Assembly Thereof."
     2006/0107979 A1      5/2006 Kim                                    Entire patent prosecution history of U.S.Appl. No. 14 / 103,392, filed
     2007/0062518 Al      3/2007 Geser                                  Dec. 11 , 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2008/0242465 Al     10/2008 Strobel
     2009/0178678 A1       7/2009 OLeary                               Methods of Assembly Thereof."
     2010/0089395 A1      4/2010 Power                                  Entire patent prosecution history of U.S.Appl. No. 14 /699,567, filed
     2010/0218759 Al      9/2010 Anderson                               Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler and Method for
     2011/0041845 Al      2/2011 Solomon                                Counting Doses."
     2012/0006322 A1      1/2012 Anderson                               Entire patent prosecution history ofU.S. Appl. No. 14 /699,578 , filed
                                                                        Apr. 29 , 2015, entitled , “ Dose Counter for Inhaler Having a Bore
               FOREIGN PATENT DOCUMENTS                                 and Shaft Arrangement."
                                                                        Entire patent prosecution history of U.S. Appl. No. 14 /699,584 , filed
   EP               1486227           12/2004                           Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler Having an
   GB               2320489            6/1998                           Antireverse Rotation Actuator" .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 128 of 318 PageID: 203


                                                              US 10,561,808 B2
                                                                         Page 3

    ( 56 )                  References Cited
                       OTHER PUBLICATIONS
    Entire patent prosecution history of U.S. Appl. No. 14 /713,612 , filed
   May 15, 2015 , entitled , “ Dose Counters for Inhalers, Inhalers and
   Methods of Assembly Thereof."
   Entire patent prosecution history of U.S.Appl. No. 14 /713,620 , filed
   May 15, 2015 , entitled , “ Dose Counters for Inhalers, Inhalers and
   Methods of Assembly Thereof."
   Entire patentprosecution history of U.S. Appl. No. 14 /713,643, filed
   May 15, 2015, entitled , “ Dose Counters for Inhalers, Inhalers and
   Methods of Assembly Thereof."
   European Patent Office Communication , dated Apr. 24 , 2014 of
   counterpart European Patent Application No. 11 010 211.8 .
   European Patent Office Communication , dated Apr. 24 , 2014 of
   counterpart European Patent Application No. 11 010 212.6 .
    First Examination Report of counterpart New Zealand Patent Appli
    cation No. 603466 , dated Jul. 1 , 2013 .
    * cited by examiner
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 129 of 318 PageID: 204


    U.S. Patent               Feb. 18 , 2020
                                      9               Sheet 1 of 17                        US 10,561,808 B2


                                    52          18
                                                     -50             10
                                                                            12

                                                                                      14
                                                                46


                                          16
                                               FIG . 1
              -3A

                                     44
                                     54                              40
                                                                                                           36
                                    46
              -3A
                                                                 42
      FIG . 2                                  FIG . 3A                                      FIG . 3B
       56               168
                        170
                      -176                                                                  198    194
     178
            174     FIG . 4B                           172                  36
                                                                                                          196
                                                           34
                                                                                100
                      170                                   80
                                                                                 122
                      176
    180                                                                                                  -14
                     174
                                                58                               120
      148 48                                               56
                                                                          118

      FIG . 40                                 FIG . 4A                                       FIG.5
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 130 of 318 PageID: 205


    U.S. Patent                    Feb. 18 , 2020
                                             9            Sheet 2 of 17           US 10,561,808 B2



                                     106                                               190   106
                104     94                                                  94
                                                                     102

                                                                                                   204
                                                                 192
                                                                                                     188
                                                                                             -110
                                           110 100
                        124
                               116
                                                                           FIG . 6B 112
          108                           126
                  102
                                                                                 112
                       FIG .6A
                                                                             200
                  94
                                                                             198
                                                    100

                                                      138                  FIG .6C
                                                                                                   106



    106
                                                              114
                                                      130
                                                                       200                               136

                                                                          198                Q

                                                               112
       110        124        126       136                                                         110
                        FIG .6D                                            FIG .6E
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 131 of 318 PageID: 206


    U.S. Patent         Feb. 18. 2020   Sheet 3 of 17           US 10,561,808 B2


                                                         128
                                                                     124


                                                                      126

                              O

                           102                          116
                                                               130
                                   FIG . 6F




                                                                           138
                  144



                                                                       116



                  128


                  124
                                 ? ?FIG . OG
                                                               126
                                                                     130
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 132 of 318 PageID: 207


    U.S. Patent               Feb. 18 , 2020
                                      9                  Sheet 4 of 17                US 10,561,808 B2

            20
                                               48
       24




      26

       28                                                   74
                                                    32
           34
                                                                                                  76
     72                                             30

      40                                        25

                      FIG . 7A                                                  FIG . ZB
                         78
                 34
                                           96 92                 94
                                   72                                 90
                                                                                36
                                          84
                  60                                                             88




                  58



                        68
                                                                           82
                                86 86 FIG.6H
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 133 of 318 PageID: 208


   U.S. Patent                   Feb. 18 , 2020    Sheet 5 of 17             US 10,561,808 B2


                             162 160 158                   156     -76
                         164
                                                                                 38
                  50


                                                                                             7C
                                                                                             FIG
                                                                                             .
                                                                                 74
                    150 146                                                144
                148

                76                                                   152
     154
                                                                                             FIG
                                                                                             7D
                                                                                             .
                 74                                                16


                       144                          150
                                                  118                            120
           10
                                                                                       194
                                                            200                              8D
                                                                                             .
                                                                                             FIG


                                                  114
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 134 of 318 PageID: 209


    U.S. Patent         Feb. 18 , 2020     Sheet 6 of 17            US 10,561,808 B2




                                                   200 198                     8C
                                                                               .
                                                                               FIG


                                    -184      60               34
                                                                     186
                                                                    80
                                                                               8B
                                                                               .
                                                                               FIG

                                                                         58

                                                                         182
       10                                     64
                                                             166
                                                              62
                                                                    70         8A
                                                                               .
                                                                               FIG

                                                                    66
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 135 of 318 PageID: 210


    U.S. Patent         Feb. 18 , 2020
                                9                      Sheet 7 of 17   US 10,561,808 B2



                                    +
                                         220
                                                               80


                                    86




                                                                       41   FIG.9


                                    +
                                               LDaitnuem
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 136 of 318 PageID: 211


    U.S. Patent         Feb. 18 , 2020   Sheet 8 of 17          US 10,561,808 B2




                                                                     94


                                                                     138




                                   FIG . 10A             80


            18!         JU
           341
                                           98
                                                                    -143
                                                                     94
           90-1                                                      142
                                                                     147
           92                               145
                                                                      138
                                             f
                                                                      140
                                                                      1457
                       149 80                                 144

                                    FIG . 10B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 137 of 318 PageID: 212


    U.S. Patent         Feb. 18 , 2020         Sheet 9 of 17               US 10,561,808 B2




                           94    142               Eh
                                                                     140


                                                                                   10E
                                                                                   .
                                                                                   FIG
                                                                08

         34


                                         96
                                                        -138


                          86
          34
                                                                                   10C
                                                                                   .
                                                                                   FIG
                                                                              92
                                              90
                                              .
                                                           80
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 138 of 318 PageID: 213


    U.S. Patent         Feb. 18 , 2020   Sheet 10 of 17              US 10,561,808 B2




                                                           138
                                                           94

                                                          76


                                                               144          1OF
                                                                            .
                                                                            FIG
                                                          80


        34
                                           D

                                               138                   140
                      ir                                             94




                                                                             10D
                                                                             FIG
                                                                             .
                                                                      80
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 139 of 318 PageID: 214


    U.S. Patent          Feb. 18 , 2020
                                 9            Sheet 11 of 17       US 10,561,808 B2


        2

                                                                    240


        1                                                               242



        0
                                                                        244


                                                                        246
       -1

                                                                        248


       -2



       -3
            0       2x10 '           4x109         6x103       8x10 '         1x104
                                           FIG . 11
                        232          234                         238
                                                       236
                  230
                                           FIG . 14
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 140 of 318 PageID: 215


    U.S. Patent           Feb. 18 , 2020
                                  9            Sheet 12 of 17          US 10,561,808 B2




                                                                               172




                                                                        -176
                                                        178     170


                                            FIG . 12
            114   216          210                       214                    212
                                                                      112


                  !                                 B

                                                        206
                    217               205                         200

                                                                      202

                                            FIG . 13
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 141 of 318 PageID: 216


    U.S. Patent           Feb. 18 , 2020
                                  9            Sheet 13 of 17          US 10,561,808 B2


                         300



                                                                110




                                            FIG . 15
                   110                102                       100
                                                                      204   300
            108                                                                301
                                                         94                          302
                                                    92
                                                                                      304




                                                                                 306


                  104

                  FIG . 20                                       FIG . 16
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 142 of 318 PageID: 217


    U.S. Patent                   Feb. 18 , 2020          Sheet 14 of 17                   US 10,561,808 B2




                           102
                                                                     -308   '
                                                                            A
                                                                                    126 316             108

    HO                           FIG
                                 19A
                                 .        OC                   19B
                                                               .
                                                               FIG
                                                                                            124
                                                                                                                190
                                                                                                                .
                                                                                                                FIG
           94                                        94                     A




                                         102                                308 312 -130          126
    100         -130 304 -102                                                                             102
                                 .
                                 FIG
                                 18A ?                         18B
                                                               .
                                                               FIG                                              FIG
                                                                                                                18C
                                                                                                                .
      94 108     302 128                 94
                                                                            310            128 124 108


                                       300 110
                                                               FIG
                                                               17
                                                               .

                                                   330
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 143 of 318 PageID: 218


    U.S. Patent         Feb. 18 , 2020
                                9           Sheet 15 of 17             US 10,561,808 B2


                                     510
                                                                   A

            526                     518
                                                    526


            520
                                                       569     all
                                                      572
                                                       566
            528         582

                                           510
                                                 512574
                  FIG . 21                             540

                                                       514               542



                                                       516                 568

                                                       578                -578
                                                       522
                                                       520
                                                      5130

                                                             582         528


                                                             FIG . 22
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 144 of 318 PageID: 219


    U.S. Patent           Feb. 18 , 2020
                                  9           Sheet 16 of 17          US 10,561,808 B2




                       110       5128                   5140
                                                           5136
                                                                  516



                       5134
                                  5148


                                       FIG . 23


                                       516                              108
                                                     5146
                                             110
                   5128                                                   -5140

                          A




                                                   5136
                                  5134                         5144
            a


                5127
                                        FIG . 24
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 145 of 318 PageID: 220


    U.S. Patent         Feb. 18 , 2020
                                   9          Sheet 17 of 17              US 10,561,808 B2



                                                        522


                             570
                                       580
                                                            520


                      584                             582         570
                     588                                            580

                                             524        586

                     528



                                        FIG . 25



                                                         578

                      5138
                                                         568
                            578




                                         FIG . 26
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 146 of 318 PageID: 221


                                                      US 10,561,808 B2
                                                                                                    2
         DOSE COUNTER FOR INHALER HAVING                              is closed . Due to the way in which the mouthpiece is opened
        AN ANTI-REVERSE ROTATION ACTUATOR                             and closed , and actuation pawl of the device which is
                                                                    mounted on a yoke, travels a known long stroke of consis
              CROSS -REFERENCE TO RELATED                            tent length as the mouthpiece is opened and closed .
                      APPLICATIONS                                5     WO 2008/119552 discloses a metered -dose inhaler which
                                                                     is suitable for breath -operated applications and operates with
        This patent application is a continuation patent applica    a known and constant canister stroke length of 3.04 mm +/
   tion of U.S. Non -Provisional patent application Ser. No. 0.255 mm . A stock bobbin of the counter, from which a tape
    14 /699,584 , filed Apr. 29 , 2015 , which is a continuation is unwound , rotates on a shaft having a split pin intended to
   patent application of U.S. Non - Provisional patent applica- 10 hold the stock bobbin taut. However, some dose counters do
   tion Ser. No. 14 / 103,353, filed Dec. 11 , 2013 , which is a not keep a particularly reliable count, such as if they are
   divisional patent application ofU.S. Non -Provisional patent dropped onto a hard surface .
   application Ser. No. 13 / 110,532 , filed May 18 , 2011 , now        More recently , it has become desirable to improve dose
   U.S. Pat. No. 8,978,966 , issued Mar. 17 , 2015 , which claims counters further and, in particular , it is felt that it would be
    priority to U.S. Provisional Patent Application No. 61/345, 15 useful to provide extremely accurate dose counters for
   763, filed May 18 , 2010 , and U.S. Provisional PatentAppli manually -operated canister -type metered dose inhalers .
   cation No. 61/417,659, filed Nov. 29, 2010 , each of which is Unfortunately, in these inhalers , it has been found in the
   incorporated herein by reference in its entirety for any and course of making the present invention that the stroke length
   all purposes.                                                    of the canister is to a very large extent controlled on each
                                                                 20 dose operation by the user, and by hand . Therefore, the
                    FIELD OF THE INVENTION                          stroke length is highly variable and it is found to be
                                                                    extremely difficult to provide a highly reliable dose counter
        The present invention relates to dose counters for inhal     for these applications . The dose counter mu not count a
   ers , inhalers and methods of assembly thereof. The invention dose when the canister has not fired since this mightwrongly
   is particularly applicable to metered dose inhalers including 25 indicate to the user that a dose has been applied and if done
   dry powermedicament inhalers ,breath actuated inhalers and repeatedly the user would throw away the canister or whole
   manually operated metered dose medicament inhalers.              device before it is really time to change the device due to the
                                                                    active drug and propellant reaching a set minimum . Addi
              BACKGROUND OF THE INVENTION                           tionally, the canister must not fire without the dose counter
                                                                 30 counting because the user may then apply another dose
      Metered dose inhalers can comprise a medicament-con           thinking that the canister has not fired , and if this is done
    taining pressurised canister containing a mixture of active repeatedly the active drug and /or propellant may run out
    drug and propellant. Such canisters are usually formed from while the user thinks the device is still suitable for use
    a deep -dawn aluminium cup having a crimped lid which according to the counter. It has also been found to be fairly
    carries a metering valve assembly . The metering valve 35 difficult to assembly some known inhaler devices and the
    assembly is provided with a protruding valve stem which , in dose counters therefor. Additionally , it is felt desirable to
    use is inserted as a push fit into a stem block in an actuator improve upon inhalers by making them easily usable after
    body of an inhaler having a drug delivery outlet. In order to they have been washed with water.
    actuate a manually operable inhaler, the user applies by hand     The present invention aims to alleviate at least to a certain
    a compressive force to a closed end of the canister and the 40 extent one or more of the problems of the prior art.
    internal components of the metering valve assembly are
   spring loaded so that a compressive force of approximately                   SUMMARY OF THE INVENTION
    15 to 30N is required to activate the device in some typical
   circumstances.                                                      According to a first aspect of the present invention there
       In response to this compressive force the canister moves 45 is provided a dose counter for an inhaler, the dose counter
   axially with respect to the valve stem and the axial move having a counter display arranged to indicate dosage infor
   ment is sufficient to actuate the metering valve and cause a mation , a drive system arranged to move the counter display
   metered quantity of the drug and the propellant to be incrementally in a first direction from a first station to a
   expelled through the valve stem . This is then released into a second station in response to actuation input, wherein a
   mouthpiece of the inhaler via a nozzle in the stem block , 50 regulator is provided which is arranged to act upon the
    such that a user inhaling through the outlet of the inhaler will counter display at the first station to regulate motion of the
    receive a dose of the drug .                                      counter display at the first station to incremental move
       A drawback of self-administration from an inhaler is that     ments .
    it is difficult to determine how much active drug and /or            The regulator is advantageous in that it helps prevent
   propellant are left in the inhaler, if any, especially of the 55 unwanted motion of the counter display if the counter is
   active drug and this is potentially hazardous for the user dropped .
   since dosing becomes unreliable and backup devices not              According to a further aspect of the present invention , the
    always available .                                              regulator provides a resistance force of greater than 0.1 N
       Inhalers incorporating dose counters have therefore against movement of the counter display. According to still
   become known.                                                 60 a further aspect of the present invention, the resistance force
      WO 98/028033 discloses an inhaler having a ratchet is greater than 0.3 N.According to yet a further aspect of the
   mechanism for driving a tape drive dose counter. A shaft present invention , the resistance force is from 0.3 to 0.4 N.
   onto which tape is wound has a friction clutch or spring for       Preferably, the counter comprises a tape.
    restraining the shaft against reverse rotation .                  Preferably , the tape has dose counter indicia displayed
      EP - A -1486227 discloses an inhaler for dry powered 65 thereon . The first station may comprise a region of the dose
   medicament having a ratchet mechanism for a tape dose              counter where tape is held which is located before a display
   counter which is operated when a mouthpiece of the inhaler         location , such as a display window , for the counter indicia .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 147 of 318 PageID: 222


                                                       US 10,561,808 B2
                                   3                                                               4
       The first station may comprise a first shaft, the tape being     According to a further aspect of the present invention
   arranged on the first shaft and to unwind therefrom upon there is provided a shaft for holding counter tape in a dose
   movement of the counter display .                                 counter for an inhaler, the shaft having an engagement
       The first shaft may be mounted for rotation relative to a surface including incrementally spaced formations located
    substantially rotationally fixed element of the dose counter. 5 around a periphery thereof, the formations comprising a
       The regulator may comprise at least one projection which series of curved concavities and convex portions .
    is arranged on one of the first shaft and the substantially         The shaft may comprise a hollow bobbin .
   rotationally fixed element and to engage incrementally with          The engagement surface may be a generally cylindrical
   one ormore formations on the other of the first shaft and the     inwardly  directed surface .
   substantially rotationally fixed element.                      10
                                                                        The engagement surface may include a flat surface wall
       At least two said projections may be provided . Exactly portion       joining each concavity and convex wall portion .
   two said projections maybe provided .                               Each  concavity may comprise a radiused wall portion .
       Each projection may comprise a radiused surface .
       The at least one projection may be located on the sub portion . convex wall portion may comprise a radiused wall
                                                                       Each
   stantially fixed element which may comprise a fixed shaft 15 Said concavities may be regularly spaced around a lon
    which is fixed to a main body of the dose counter, the first gitudinal axis of the shaft .
    shaft being rotationally mounted to the fixed shaft .            Said convex wall portions may be regularly spaced
       Preferably, the fixed shaft has least two resiliently
    flexible legs (or forks ). Each leg may have at least one said around a longitudinal axis of the shaft.
    projection formed in an outwardly facing direction thereon , 20 In some embodiments there may be from eight to twelve
   said one or more formations being formed on an inwardly said concavities and /or convex wall portions regularly
   facing engagement surface of the first shaft , said at least one spaced around a longitudinal axis thereof.
   projection being arranged to resiliently engage said one or          One embodiment includes ten said concavities and/ or
   more formations. Preferably , a series of said formations are convex wall portions regularly spaced around a longitudinal
   provided . An even number of said formations may be 25 axis of the shaft.
   provided . Eight to twelve of said formations may be pro             According to a further aspect of the present invention
    vided . In one embodiment,ten said formations are provided . there is provided a shaft and counter tape assembly for use
      Each said formation may comprise a concavity formed on in a dose counter for an inhaler, the assembly comprising a
   an engagement surface. Each concavity may comprise a rotatable shaft and a counter tape which is wound around the
   radiused    surface wall portion which preferably merges on at 30 shaft and is adapted to unwind therefrom upon inhaler
   least one side thereof into a flat wall portion surface . The actuation , the shaft having an engagement surface which
   engagement surface may include a series ofsaid concavities , includes incrementally spaced formations located around a
   and convex wall portions of the engagement surface may be periphery thereof.
   formed between each adjacent two said concavities, each              According to a further aspect of the present invention
    said convex wall portion comprising a convex radiused wall 35 there    is provided an inhaler for the inhalation of medication
   portion .
       Each convex radiused wall portion of each convex wall         and  the like , the inhaler including a dose counter as in the
   portion may be connected by said flat wall portion surfaces first aspect of the present invention .
   to each adjacent concavity.                                          A preferred construction consists of a manually operated
       The fixed shaft may comprise a split pin with fork legs 40 metered dose inhaler including a dose counter chamber
   and each projection may be located on a said fork leg .           including a dose display tape driven by a ratchet wheel
       The first shaft may comprise a substantially hollow bob which is driven in turn by an actuator pawl actuated by
   bin .                                                             movement of a canister, the tape unwinding from a stock
       Said at least one formation may be located on an inner bobbin during use of the inhaler, a rotation regulator being
   surface of the bobbin . In other embodiments it may be 45 provided for the stock bobbin and comprising a wavelike
    located on an outer surface thereof. Said engagement surface engagement surface with concavities which engage against
   may extend partially along said bobbin , a remainder of the control elements in the form of protrusions on resilient forks
   respective inner or outer surface having a generally smooth of a split pin thereby permitting incremental unwinding of
    journal portion along at least a portion thereof.                the stock bobbin yet resisting excessive rotation if the
       The drive system may comprise a tooth ratchet wheel 50 inhaler is dropped onto a hard surface.
   arranged to act upon a second shaft which is located at the          According to another aspect of the present invention there
   second station , the second shaft being rotatable to wind the is provided a dose counter for a metered dose inhaler having
    tape onto the second shaft.                                      a body arranged to retain a medicament canister of prede
        The second shaft may be located on a main body of the termined configuration formovement of the canister relative
   dose counter spaced from and parallel to the first shaft . 55 thereto ; the dose counter comprising : an incremental count
       The ratchet wheel may be fixed to the second shaft is ing system for counting doses, the incremental counting
   arranged to rotate therewith . The ratchet wheel may be system having a main body, an actuator arranged to be
   secured to an end of the second shaft and aligned coaxially driven in response to canister motion and to drive an
   with the second shaft.                                            incremental output member in response to canister motion ,
        The dose counter may include anti -back drive system 60 the actuator and incremental output member being config
   which is arranged to restrictmotion of the second shaft. The ured to have predetermined canister fire and count configu
   anti -back drive system may include a substantially fixed rations in a canister fire sequence , the canister fire configu
   tooth arranged to act upon teeth of the ratchet wheel.            ration being determined by a position of the actuator relative
       According to a further aspect of the present invention , a to a datum at which the canister fires medicament and the
   dose counter includes an anti-back drive system which is 65 count configuration being determined by a position of the
    arranged to restrict motion of the second shaft in a tape         actuator relative to the datum at which the incremental count
   winding direction .                                                system makes an incremental count, wherein the actuator is
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 148 of 318 PageID: 223


                                                       US 10,561,808 B2
                                  5                                                               6
   arranged to reach a position thereof in the count configura wise generally straight surface against which the actuator
   tion at or after a position thereof in the canister fire con      engages and along which it is arranged to slide during a
   figuration .                                                      canister firing sequence .
       This arrangement has been found to be highly advanta             The dose counter may include a counter pawl, the counter
   geous since it provides an extremely accurate dose counter 5 pawl having a tooth arranged to engage the incremental
   which is suitable for use with manually operated metered output member, the tooth and incremental output member
   dose inhalers . It has been found that dose counters with these being arranged to permit one way only incremental relative
    features have a failure rate of less than 50 failed counts per motion therebetween . When the incremental outputmember
   million full canister activation depressions. It has been comprises a ratchet wheel, the tooth can therefore serve as
   found in the course of making the present invention that 10 an anti -back drive tooth for the ratchet wheel, thereby
   highly reliable counting can be achieved with the dose permitting only one way motion or rotation thereof.
   counter counting at or soon after the point at which the             The counter pawl may be substantially fixedly mounted
   canister fires. It has been is covered by the present inventors on the main body of the incremental count system and the
   that momentum and motion involved in firing the canister, counter pawlmay be arranged to be capable of repeatedly
   and in some embodiments a slight reduction in canister back 15 engaging equi-spaced teeth of the incremental output mem
   pressure on the user at the time of canister firing, can very ber in anti-back drive interlock configurations as the counter
   reliably result in additional further motion past the count is operated . The counter pawlmay be positioned so that the
   point.                                                            incremental output member is halfway, or substantially
       The actuator and incremental counting system may be halfway moved from one anti -back drive interlock configu
   arranged such that the actuator is displaced less than 1 mm , 20 ration to the next when the actuator and incremental output
   typically 0.25 to 0.75 mm , more preferably about 0.4 to 0.6 member are in the end configuration thereof. This is highly
   mm , relative to the body between its location in the count advantageous in that itminimises the risk ofdouble counting
   and fire configurations, about 0.48 mm being preferred . The or non -counting by the dose counter.
   canister, which can move substantially in line with the              According to a further aspect of the invention there is
   actuator, can reliably move this additional distance so as to 25 provided an inhaler comprising a main body arranged to
   achieve very reliable counting.                                   retain a medicament canister of predetermined configuration
       The incremental count system may comprise a ratchet and a dose counter mounted in the main body.
   mechanism and the incremental output member may com                  The inhaler main body may include a canister receiving
   prise a ratchet wheel having a plurality of circumferentially portion and a separate counter chamber, the dose counter
   spaced teeth arranged to engage the actuator.                  30 being located within the main body thereof, the incremental
       The actuator may comprise an actuator pawl arranged to output member and actuator thereof inside the counter
   engage on teeth ofthe ratchet wheel. The actuator pawlmay chamber, the main body of the inhaler having wall surfaces
   be arranged to be connected to or integral with an ac             separating the canister-receiving portion and the counter
   pin arranged to engage and be depressed by a medicament chamber, the wall surfaces being provided with a commu
   canister bottom flange. The actuator pawlmay be generally 35 nication aperture , an actuation member extending through
   U - shaped having two parallel arms arranged to pull on a the communication aperture to transmit canister motion to
   central pawlmember arranged substantially perpendicular the actuator.
   thereto . This provides a very reliable actuator pawl which        According to a further aspect of the present invention
   can reliably pull on the teeth of the ratchet wheel.            there is a provided an inhaler for metered dose inhalation ,
        The incremental count system may include a tape counter 40 the inhaler comprising a main body having a canister
   having tape with incremental dose indicia located thereon , housing arranged to retain a medicament canister for motion
   the tape being positioned on a tape stock bobbin and being therein , and a dose counter, the dose counter having an
   arranged to unwind therefrom .                                  actuation member having at least a portion thereof located in
        The actuator and incremental output member may be the canister housing for operation by movement of a medi
   arranged to provide a start configuration at which the 45 cament canister, wherein the canister housing has an inner
   actuator is spaced from the ratchet output member, a reset wall, and a first inner wall canister support formation located
   configuration at which the actuator is brought into engage      directly adjacent the actuation member.
   ment with the incremental outputmember during a canister           This is highly advantageous in that the first inner wall
    fire sequence , and an end configuration at which the actuator canister support formation can prevent a canister from
   disengages from the ratchet output during a canister fire 50 rocking too much relative to the main body of the inhaler.
   sequence .                                                      Since the canister may operate the actuation member of the
       The actuator may be arranged to be located about 1.5 to       dose counter, this substantially improves dose counting and
    2.0 mm , from its location in the fire configuration , when in   avoids counter errors .
   the start configuration , about 1.80 mm being preferred .          The canister housing may have a longitudinal axis which
       The actuator may be arranged to be located about 1.0 to 55 passes through a central outlet port thereof, the central outlet
    1.2 mm , from its location in the fire configuration , when in port being arranged to mate with an outer canister fire stem
   the reset configuration , about 1.11 mm being preferred .       of a medicament canister , the inner wall canister support
        The actuator may be arranged to be located about 1.1 to formation , the actuation member and the outlet port lying in
    1.3 mm , from its location in the fire configuration , when in a common plane coincident with the longitudinal axis.
   the end configuration , about 1.18 mm being preferred . 60 Accordingly , this construction may prevent the canister from
       These arrangements provide extremely reliable dose rocking towards the position of the dose counter actuation
   counting , especially with manually operated canister type member, thereby minimising errors in counting .
   metered dose inhalers .                                            The canister housing may have a further inner canister
       The main body may include a formation for forcing the wall support formation located on the innerwall opposite, or
   actuator to disengage from the incremental output member 65 substantially opposite, the actuation member. Accordingly,
   when the actuator is moved past the end configuration . The the canister may be supported against rocking motion away
    formation may comprise a bumped up portion of an other           from the actuator member so as to minimise count errors .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 149 of 318 PageID: 224


                                                      US 10,561,808 B2
                                  7                                                                  8
       The canister housing may be generally straight and tubu      a dose counter , the dose counter having a moveable actuator
    lar and may have an arrangement in which each said inner        and a chassis mounted on the body ; the chassis being heat
   wall support formation comprises a rail extending longitu        staked in position on the body. This is be highly advanta
   dinally along the inner wall.                                    geous in that the chassis can be very accurately positioned
      Each said rail may be stepped , in that it may have a first 5 and held firmly in place , thereby further improving counting
   portion located towards a medicine outlet end or stem block accuracy compared to prior art arrangements in which some
   of the canister housing which extends inwardly a first movement of the chassis relative to the body may be
   distance from a main surface of the inner wall and a second      tolerated in snap -fit connections.
   portion located toward an opposite end of the canister              The chassis may have at least one of a pin or aperture heat
   chamber which extends inwardly a second , smaller distance 10 staked to a respective aperture or pin of the body.
   from the main surface of the inner wall. This may therefore         The chassis may have a ratchet counter output member
   enable easy insertion of a canister into the canister housing mounted thereon .
   such that a canister can be lined up gradually in step wise         The ratchet counter output member may comprise a
   function as it is inserted into the canister housing .           ratchet wheel arranged to reel in incrementally a dosemeter
      The inhaler may include additional canister support rails 15 tape having a dosage indicia located thereon.
    which are spaced around an inner periphery of the inner wall         According to a further aspect of the present invention
    of the canister housing and which extend longitudinally           there is provided a method of assembling an inhaler includ
    therealong .                                                       ing the step of heat staking the chassis onto the body . The
       At least one of the additional rails may extend a constant step of heat staking is highly advantageous in fixedly
   distance inwardly from the main surface of the inner wall. 20 positioning the chassis onto the body in order to achieve
       At least one of the additional rails may be formed with a highly accurate dose counting in the assembled inhaler.
   similar configuration to the first inner wall canister support          The method of assembly may include mounting a spring
   formation .                                                         returned ratchet actuator in the body before heat staking the
       The dose counter may, apart from said at least a portion chassis in place. The method of assembly may include
   of the actuation member, be located in a counter chamber 25 pre -assembling the chassis with a dose meter tape prior to
   separate from the canister housing , the actuation member the step of heat staking the chassis in place . The method of
   comprising a pin extending through an aperture in a wall assembly may include attaching a dose meter cover onto the
   which separates the counter chamber and the canister hous body after the heat staking step . The cover may be welded
    ing .                                                              onto the body or may in some embodiments be glued or
       According to a further aspect of the present invention 30 otherwise attached in place.
   there is provided an inhaler for inhaling medicaments hav              According to a further aspect of the present invention
    ing : a body for retaining a medicament store; the body there is provided an inhaler for inhaling medicament and
   including a dose counter, the dose counter having a move having a body, the body have a main part thereof for
   able actuator and a return spring for the actuator, the return retaining a medicament store; and a dose counter , the dose
   spring having a generally cylindrical and annular end ; the 35 counter being located in a dose counter chamberof the body
   body having a support formation therein for supporting said which is separated from the main part of the body, the dose
   end of the return spring , the support formation comprising a counter chamber of the body having a dosage display and
   shelf onto which said end is engageable and a recess below being perforated so as to permit the evaporation of water or
   the shelf.                                                          aqueous matter in the dose counter chamber into the atmo
       This shelf and recess arrangement is highly advantageous 40 sphere.
   since it allows a tool (such as manual or mechanical twee               This is high advantageous since it enables the inhaler to
   zers ) to be used to place the return spring of the actuator onto be thoroughly washed and the dose counting chamber can
   the shelf with the tool then being withdrawn at least partially thereafter dry out fully .
   via the recess .                                                        The display may comprise a mechanical counter display
       The shelf may be U -shaped .                                 45 inside the dose counter chamber and a window for viewing
       The support formation may include a U -shaped upstand           the mechanical counter display. The mechanical counter
   ing wall extending around the U -shaped shelf, the shelf and display may comprise a tape . The perforated dose counter
   upstanding wall thereby forming a step and riser of a stepped chamber may therefore enable reliable washing of the
   arrangement.                                                        inhaler, if desired by the user , and may therefore dry out
       The recess below the shelf my also be U - shaped .           50 without the display window misting up.
       At least one chamfered surface may be provided at an                The dose counter chamber may be perforated by a drain
   entrance to the shelf. This may assist in inserting the actuator hole formed through an outer hole of the body . The drain
   and return spring into position .                                   hole may be located at a bottom portion of the body of the
       A further aspect of the invention provides a method of inhaler, thereby enabling full draining of the inhaler to be
   assembly of an inhaler which includes the step of locating 55 encouraged after washing when the inhaler is brought into
   said end ofsaid spring on the shelf with an assembly tool and an upright position .
   then withdrawing the assembly tool at least partly via the              According to a further aspect of the present invention
   recess. This assembly method is highly advantageous com             there is provided a dose counter for an inhaler, the dose
   pared to prior artmethods in which spring insertion has been counter having a display tape arranged to be incrementally
   difficult and in which withdrawal of the tool has sometimes 60 driven from a tape stock bobbin onto an incremental tape
   accidentally withdrawn the spring again .                           take-up drive shaft, the bobbin having an internal bore
       The cylindrical and annular end of the spring may be supported by and for rotation about a support shaft, at least
   movable in a direction transverse to its cylindrical extent one of the bore and support shaft having a protrusion which
   into the shelf while being located thereon .                        is resiliently biased into frictional engagementwith the other
       According to a further aspect of the present invention 65 of the bore and support shaft with longitudinally extending
    there is provided an inhaler for inhaling medicament, the mutual frictional interaction . This arrangement may provide
   inhaler having a body for retaining a medicament store; and good friction for the bobbin , thereby improving tape counter
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 150 of 318 PageID: 225


                                                       US 10,561,808 B2
                                  9                                                                10
    display accuracy and preventing the bobbin from unwinding        dose counter positions for a dose counter actuator of the
    undesirably for example if the inhaler is accidentally           inhaler ; calculating a failure/success rate for dose counters
    dropped .                                                        built to tolerance levels for counting each fire of inhalers in
       The support shaft may be forked and resilient for resil       which the dose counter actuators may be applied ; and
    iently biasing the support shaft and bore into frictional 5 selecting a tolerance level to result in said failure/success
    engagement.                                                  rate to be at or below /above a predetermined value. This is
       The support shaft may have two forks, or more in some highly advantageous in that it allows an efficient and accu
    cases , each having a radially extending protrusion having a rate prediction of the reliability of a series of inhaler
   friction edge extending therealong parallel to a longitudinal counters made in accordance with the design .
   axis of the support shaft for frictionally engaging the bore of 10 The method of designing may include selecting the fail
   the support shaft with longitudinally extending frictional ure /success rate as a failure rate of no more than one in 50
   interaction therebetween .                                        million . The method of designing may include setting an
      The bore may be a smooth circularly cylindrical or average count position for dose counters built to the toler
   substantially cylindrical bore .                                  ances to be at or after an average fire position thereof during
      Each of the above inhalers in accordance with aspects of 15 canister firingmotion . Themethod of designingmay include
   the present invention may have a medicament canister setting the average count position to be about 0.4 to 0.6 mm
   mounted thereto .                                                 after the average fire position , such as about 0.48 mm after.
      The canister may comprise a pressurised metered dose The method of designing may include setting tolerances for
   canister having a reciprocally movable stem extending the standard deviation of the fire position in dose counters
   therefrom and movable into a main canister portion thereof 20 built to the tolerances to be about 0.12 to 0.16 mm , such as
   for releasing a metered dose of medicament under pressure , about 0.141 mm . The method of designing may include
   for example by operating a metered dose valve inside the setting tolerances for the standard deviation of the count
   canister body. The canister may be operable by pressing by positions in dose counters built to the tolerances to be about
   hand on the main canister body.                                   0.07 to 0.09 mm , such as about 0.08 mm . A further aspect
      In cases in which one or more support rails or inner wall 25 of the invention provides a computer implemented method
   support formations are provided , the canister may at all of designing an incremental dose counter for an inhaler
   times when within the canister chamber have a clearance of which includes the aforementioned method of designing.
   about 0.25 to 0.35 mm from the first inner wall support              A further aspect of the invention provides a method of
   formation . The clearance may be almost exactly 0.3 mm . manufacturing in a production run a series of incremental
    This clearance which may apply to the canister body itself 30 dose counters for inhalers which comprises manufacturing
    or to the canister once a labelhas been applied , is enough to    the series of dose counters in accordance with the afore
    allow smooth motion of the canister in the inhaler while at      mentioned method of designing.
    the same time preventing substantial rocking of the canister       A further aspect of the invention provides a method of
   which could result in inaccurate counting by a dose counter manufacturing a series of incremental dose counters for
   of the inhaler, especially when lower face of the canister is 35 inhalers, which comprises manufacturing the dose counters
   arranged to engage an actuatormember of the dose counter with nominal canister fire and dose count positions of a dose
   for counting purposes .                                          counter actuator relative to a dose counter chassis (or inhaler
      According to a further aspect of the invention , a method main body ), and which includes building the dose counters
   of assembling a dose counter for an inhaler comprises the with the average dose count position in the series being , in
    steps of providing a tape with dosing indicia thereon ; 40 canister fire process, at or after the average canister fire
   providing tape positioning indicia on the tape; and stowing position in the series .
   the tape while monitoring for the tape positioning indicia          According to a further aspect of the invention , the method
   with a sensor. The method advantageously permits efficient provides fitting each dose counter in the series of incremen
   and accurate stowing of the tape , e.g. by winding .             tal dose counters to a correspondingmain body of an inhaler.
       The dosing indicia may be provided as numbers, the tape 45 These aspects advantageously provide for the production
   positioning indicia may be provided as one or more lines run of a series of inhalers and dose counters which count
   across the tape . The stowing step comprises winding the tape reliably in operation .
   onto a bobbin or shaft, and , optionally , stopping winding         According to a further aspect of the invention , an incre
   when the positioning indicia are in a predetermined position . mental dose counter for a metered dose inhaler has a body
    The tapemay be provided with pixelated indicia at a position 50 arranged to retain a canister for movement of the canister
   spaced along the tape from the positioning indicia . The tape relative thereto , the incremental dose counter having a main
   may also be provided with a priming dot.                         body, an actuator arranged to be driven and to drive an
      According to a further aspect of the invention , a tape incremental output member in a count direction in response
   system for a dose counter for an inhaler has a main elongate to canister motion , the actuator being configured to restrict
   tape structure , and dosing indicia and tape positioning 55 motion of the output member in a direction opposite to the
    indicia located on the tape structure. The tape positioning countdirection . This advantageously enables an inhaler dose
   indicia may comprise at least one line extending across the counter to keep a reliable count of remaining doses even if
   tape structure. The tape system may comprise pixelated dropped or otherwise jolted .
   indicia located on the tape structure and spaced from the           The output member may comprise a ratchet wheel. The
   positioning indicia . The tape system may comprise a prim- 60 actuatormay comprise a pawland in which the ratchet wheel
   ing dot located on the tape structure. The positioning indicia and pawl are arranged to permit only one-way ratcheting
   may be located between the timing dot and the pixelated motion of the wheel relative to the pawl. The dose counter
   indicia . The main elongate tape structure may have at least may include an anti -back drive member fixed to the main
   one end thereof wound on a bobbin or shaft.                      body. In a rest position of the dose counter, the ratchet wheel
       A further aspect of the invention provides a method of 65 is capable of adopting a configuration in which a back
   designing an incremental dose counter for an inhaler com         surface of one tooth thereof engages the anti-back drive
   prising the steps of calculating nominal canister fire and member and the pawl is spaced from an adjacent back
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 151 of 318 PageID: 226


                                                       US 10,561,808 B2
                                  11                                                                   12
    surface of another tooth of the ratchet wheel without positive         FIG . 21 is a view of a preferred embodiment of a dry
    drive/blocking engagement between the pawl and wheel.                powder inhaler in accordance with the present invention ;
           BRIEF DESCRIPTION OF THE DRAWINGS
                                                                           FIG . 22 is an exploded view of the inhaler of FIG . 21;
                                                                            FIG . 23 is a view of a dose counter of the inhaler of FIG .
                                                                      5 21;
       The present invention may be carried out in various ways    FIG . 24 is an exploded view of the dose counter shown in
    and preferred embodiment of a dose counter, inhaler and      FIG . 23 ;
   methods of assembly, design and manufacture will now be         FIG . 25 is an exploded view of parts of the inhaler of FIG .
   described with reference to the accompanying drawings in 10 21 ; and
   which :                                                          FIG . 26 is a view of a yoke of the inhaler of FIG . 21 .
      FIG . 1 is an isometric view of a main body of an                     DETAILED DESCRIPTION OF THE
   embodiment of an inhaler related to the invention together                            INVENTION
   with a mouthpiece cap therefor ;
      FIG . 2 is a top plan view of the components as shown in 15 FIG . 1 shows a main body 10 of a manually operated
    FIG . 1 ;                                                            metered dose inhaler 12 in accordance with an embodiment
      FIG . 3A is a section on the plane 3A -3A in FIG . 2 ;
     FIG . 3B is a view corresponding to FIG . 3A but with a related     to the present invention and having a mouthpiece cap
                                                                 14 securable over a mouthpiece 16 of the main body .
   dose counter fitted to the main body of the inhaler;             The main body has a canister chamber 18 into which a
      FIG . 4A is an exploded view of the inhaler main body, 20 canister 20 (FIG . 7A ) is slideable. The canister 20 has a
   mouthpiece cap , dose counter and a dose counter window ; generally cylindrical main side wall 24 , joined by a tapered
      FIG . 4B is a view in the direction 4B in FIG . 4C of a    section 26 to a head portion 28 having a substantially flat
   spring retainer of the dose counter ;                         lower face 30 which has an outer annular drive surface 32
     FIG . 4C is a top view of the spring retainer of FIG . 4B ; arranged to engage upon and drive an actuation pin 34 of a
     FIG . 5 is a bottom view of the assembled inhaler main 25 dose counter 36 as will be described . Extending centrally
   body , mouthpiece cap , dose counter and dose counter win     and axially from the lower face 30 is a valve stem 38 which
   dow ;                                                         is arranged to sealingly engage in a valve stem block 40 of
      FIGS. 6A , 6B , 6C , 6D , 6E , 6F, 6G and 6H are various the main body 10 of the inhaler 12. The valve stem block 40
   views of dose counter components of the inhaler;              has a passageway 42 leading to a nozzle 44 for directing the
     FIGS. 7A and 7B are sectional views showing canister 30 contents of the canister 20 , namely active drug and propel
    clearance inside the main body of the inhaler;                       lant, towards an air outlet 46 of the inhaler main body 12. It
      FIG . 7C is a further sectional view similar to that of FIG .      will be appreciated that due to gaps 48 between the canister
    7B but with the canister removed ;                                   20 and an inner wall 50 of the main body 10 of the inhaler
      FIG . 7D is a top plan view of the inhaler main body;           12 an open top 52 of the main body 10 forms an air inlet into
      FIGS   . 8A , 8B , 8C and 8D show the inhaler
   dose counter components during assembly thereof;
                                                    main body  and 35 the inhaler 12 communicating via air passageway 54 with
                                                                      the air outlet 46 , such that canister contents exiting nozzle 44
      FIG . 9 shows a sectional side view of a datum line for an mix with air being sucked by the user through the air
   actuator pawl of the dose counter ;                                passageway 54 in order to pass together through the air
       FIGS. 10A , 10B , 10C , 10D , 10E and 10F show various outlet and into the mouth of the user (not shown ).
   side views of positions and configurations of the actuator 40 The dose counter 36 will now be described . The dose
   pawl, a ratchet wheel, and a count pawl;                           counter 36 includes an actuation pin 34 biased upwardly
       FIG . 11 shows distributions for tolerances of start, reset, from underneath by a return spring 56 once installed in the
   fire, count and end positions for the actuator of the dose main body 10. As best shown in FIGS. 4A , 6H and 8A , the
   counter;                                                           pin 34 has side surfaces 58 , 60 arranged to slide between
      FIG . 12 is an enlarged version of part of FIG . 4A ;        45 corresponding guide surfaces 62, 64 located in a dose
      FIG . 13 shows an end portion of a tape of the dose counter chamber 66 of the main body 10 , as well as an end
   counter;                                                           stop surface 68 arranged to engage a corresponding end stop
      FIG . 14 shows a computer system for designing the dose 70 formed in the dose counter chamber 66 to limit upward
   counter;                                                           movement of the pin 34. The pin 34 has a top part 72 which
       FIG . 15 is an isometric view of a stock bobbin modified 50 is circularly cylindrical and extends through an aperture 74
    in accordance with the present invention for use in the dose formed through a separator wall 76 which separates the
    counter of the inhaler of FIGS. 1 to 14 ;                             canister chamber 18 from the dose counter chamber 66. The
       FIG . 16 shows an end view of the stock bobbin of FIG . 15 ;      top part 72 of the pin 34 has a flat top surface 78 which is
       FIG . 17 is a section through a longitudinal axis of the          arranged to engage the outer annular drive surface 32 of the
    stock bobbin of FIGS . 15 and 16 ;                                55 canister 20 .
       FIGS. 18A , 18B and 18C are views of the stock bobbin of             The actuation pin 34 is integrally formed with a drive or
    FIGS. 15 to 17 mounted in the dose counter chassis of FIGS .         actuator pawl 80. The actuator pawl 80 has a generally
    1 to 14 , with the control elements of the forks of the second       inverted U - shape configuration ,having twomutually spaced
   shaft (or split pin ) having a profile slightly different to that and parallel arms82, 84 extending from a base portion of the
    in FIG . 6F , with the forks in a compressed configuration ; 60 actuation pin 34 , each holding at respective distal ends 88
       FIGS. 19A , 19B and 19C are views equivalent to FIGS. thereof opposite ends of a pawl tooth member 90 which
    18A to 18C but with the forks in a more expanded configu         extends in a direction substantially perpendicular to the arms
   ration due to a different rotational position of the stock 82 , 84 , so as to provide what may be considered a “ saddle ”
   bobbin ;                                                          drive for pulling on each of the 11 drive teeth 92 of a ratchet
       FIG . 20 is an isometric view of the chassis assembled and 65 wheel 94 of an incremental drive system 96 or ratchet
   including the stock bobbin of FIGS . 15 to 17 but excluding mechanism 96 of the dose counter 36. As shown for example
    the tape for reasons of clarity ;                                    in FIG . 10B , the pawl tooth member 90 has a sharp lower
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 152 of 318 PageID: 227


                                                       US 10,561,808 B2
                                 13                                                                 14
   longitudinal side edge 98 arranged to engage the drive teeth mm vertically below the axis 145 , and the flat 145 ' being
   92 , the edge - to -surface contact provided by this engagement spaced a distance sideways (i.e. parallel to the datum plane
   providing very accurate positioning of the actuator pawl 80 220 ) 2.48 mm from the axis 145. The top surface 78 of the
   and resultant rotational positioning of the ratchet wheel 94 . pin 34 (FIG . 6H ) is 11.20 mm above the datum plane 220
       The dose counter 36 also has a chassis preassembly 100 5 (FIG.9 ) when the actuator pawl 80 and pin 34 are in the start
   which , as shown in FIGS .4A and 6A , includes a chassis 102 configuration . The length of the valve stem 22 is 11.39 mm
   having a first shaft 104 receiving the ratchet wheel 94 which and the drive surface 32 of the canister 20 is 11.39 mm above
   is secured to a tape reel shaft 106 , and a second shaft (or split the datum plane 220 when the canister is at rest waiting to
   pin ) 108 which is parallel to and spaced from the first shaft be actuated , such that there is a clearance of 0.19 mm
   104 and which slidably and rotationally receives a tape stock 10 between the canister 20 and the pin 34 in this configuration .
   bobbin 110 .                                                           FIGS. 10A and 10B show the actuator pawl80 and ratchet
       As shown in FIG . 6B , when the inhaler has not been used      wheel 94 and count pawl 138 in a start position in which the
    at all , the majority of a tape 112 is wound on the tape stock     flat top 78 of the pin 34 has not yet been engaged by the
    bobbin 110 and the tape 112 has a series of regularly spaced      outer annular drive surface 32 of the canister 20 or at least
    numbers 114 displayed therealong to indicate a number of 15 has not been pushed down during a canister depression .
   remaining doses in the canister 20. As the inhaler is repeat    In this " start" position , the count pawl 138 engages on a
   edly used , the ratchet wheel 94 is rotated by the actuator non - return back surface 140 of one of the teeth 92 of the
   pawl 80 due to operation of the actuation pin 34 by the ratchet wheel 94. The lower side edge 98 of the actuator
   canister 20 and the tape 112 is incrementally and gradually pawl is a distance “ D ” (FIG . 9 ) 1.33 mm above datum plane
   wound on to the tape reel shaft 106 from the second shaft 20 220 which passes through bottom surface or shoulder 41 of
    108. The tape 112 passes around a tape guide 116 of the valve stem block 40, the datum plane 220 being perpen
   chassis 102 enabling the numbers 114 to be displayed via a dicular to a main axis “ X ” of the main body 10 of the inhaler
   window 118 in a dose counter chamber cover 120 having a 12 which is coaxial with the centre of the valve stem block
   dose marker 132 formed or otherwise located thereon .        bore 43 and parallel to a direction of sliding of the canister
       As shown in FIGS. 6A and 6D , the second shaft 108 is 25 20 in the main body 10 of the inhaler 12 when the canister
    forked with two forks 124, 126. The forks 124 , 126 are       is fired .
    biased away from one another. The forks have located             As shown in FIG . 10B , an advantageous feature of the
    thereon at diametrically opposed positions on the second construction is that the pawl tooth /actuator 90 acts as a
    shaft 108 friction or control elements 128, 130 , one on each supplementary anti -back drive member when the inhaler 12
    fork . Each control element extends longitudinally along its 30 is not being used for inhalation . In particular , if the inhaler
    respective fork 124, 126 and has a longitudinally extending 12 is accidentally dropped, resulting in a jolt to the dose
    friction surface 132, 134 which extends substantially paral counter 36 then , if the wheel 94 would try to rotate clock
    lel to a longitudinal axis of the second shaft and is adapted wise (backwards ) as shown in FIG . 10B , the back surface
    to engage inside a substantially cylindrical bore 136 inside 140 of a tooth will engage and be blocked by the tooth
    the tape stock bobbin 110. This control arrangement pro- 35 member 90 of the pawl 80. Therefore, even if the anti -back
   vided between the bore 136 and the control elements 128 , drive tooth 138 is temporarily bent or overcome by such a
   130 provides good rotational control for the tape stock jolt , undesirable backwards rotation of the wheel 94 is
   bobbin 110 such that it does not unwind undesirably such as prevented and , upon the next canister firing sequence, the
   when the inhaler is dropped . The tape force required to pawl 90 will force the wheel 94 to catch up to its correct
   unwind the tape stock bobbin 110 and overcome this friction 40 position so that the dose counter 36 continues to provide
   force is approximately 0.1 N.                                      correct dosage indication .
       As can be seen in FIG . 6D , as well as FIGS . 66 and 10A        FIG . 10C shows a configuration in which the actuator
   to 10F, the chassis 102 is provided with an anti- back drive pawl 80 has been depressed with the pin 34 by the canister
   tooth 138 or count pawl 138 which is resiliently and sub           20 to a position in which the side edge 98 of the pawltooth
   stantially fixedly mounted thereto . As will be described 45 member 90 is just engaged with one of the teeth 92 and will
   below and as can be seen in FIGS. 10A to 10F, when the therefore upon any further depression of the pin 34 begin to
   actuation pin 34 is depressed fully so as to fire the metered rotate the wheel 94. This is referred to as a “ Reset " position
   valve (not shown) inside the canister 20 , the actuator pawl or configuration . In this configuration , the lower side edge
   80 pulls down on one of the teeth 92 of the ratchet wheel 94 98 of the actuator 80 is 0.64 mm above the datum plane 220 .
   and rotates the wheel 94 anticlockwise as shown in FIG . 6D 50 FIG . 10D shows a configuration in which the actuator
   so as to jump one tooth 92 past the count pawl 138 , thereby pawl 80 has been moved to a position lower than that shown
   winding the tape 112 a distance incrementally relative to the in FIG . 10C and in which the metered dose valve (not
   dose marker 122 on the dose counter chamber 120 so as to shown) inside the canister has at this very position fired in
   indicate that one dose has been used .                             order to eject active drug and propellant through the nozzle
      With reference to FIG . 10B , the teeth of the ratchet wheel 55 44. It will be noted that in this configuration the count pawl
   94 have tips 143 which are radiused with a 0.1 mm radius 138 is very slightly spaced from the back surface 140 of the
   between the flat surfaces 140, 142. The ratchet wheel 94 has same tooth 92 that it was engaging in the configuration of
   a central axis 145 which is 0.11 mm above datum plane 220 FIG . 10D . The configuration shown in FIG . 10D is known
   (FIG.9 ). A top /nose surface 147 of the anti -back drive tooth as a “ Fire” configuration . In this configuration the lower side
   138 is located 0.36 mm above the datum plane 220. The 60 edge 98 of the actuator 80 is 0.47 mm below the datum plane
   distance vertically ( i.e. transverse to datum plane 220 — FIG . 220 .
   9 ) between the top nose surface 147 of the anti -back drive         FIG . 10E shows a further step in the sequence , called a
    tooth is 0.25 mm from the central axis 145 of the wheel 94 .      “ Count” position in which the actuator pawl 80 has rotated
   Bump surface 144 has a lateral extent of 0.20 mm , with a the ratchet wheel 94 by the distance circumferentially angu
   vertical length of a flat 145 ' thereof being 1 mm , the width 65 larly between two of the teeth 92 , such that the count pawl
   of the bump surface being 1.22 mm ( in the direction of the 138 has just finished riding along a forward surface 142 of
   axis 145 ), the top 149 of the bump surface 144 being 3.02 one of the teeth 92 and has resiliently jumped over the tooth
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 153 of 318 PageID: 228


                                                       US 10,561,808 B2
                                 15                                                                 16
   into engagementwith the back surface 140 of the next tooth . second portion 102 having a lesser radial or inwardly
   Accordingly , in this " Count" configuration, a sufficiently extending extent than the first portion 156 , and finally a
   long stroke movement of the pin 34 has occurred that the second step 164 at which the rail merges into the main inner
   tape 112 of the dose counter 36 will just have counted down wall 50 main surface .
   one dose . In this configuration , the lower side edge 98 of the 5 A method of assembling the inhaler 12 will now be
   actuator is 0.95 mm below the datum plane 220. Accord              described .
   ingly , in this position , the actuator 80 generally , including     With reference to FIG . 8A , the main body 10 of the
   edge 98 , is 0.48 mm lower than in the fire configuration . It inhaler 12 is formed by two or more plastics mouldings
   has been found that , although the count configuration hap which have been joined together to the configuration shown.
   pens further on than the fire configuration , counting is highly 10 As shown in FIG . 8B , the actuator pawl 80 and pin 34 are
   reliable, with less than 50 failed counts per million. This is translated forward into position into a pin receiving area 166
   at leastpartially due to momentum effects and to the canister in the dose counter chamber 66 and the pin 34 and actuator
   releasing some back pressure on the user in some embodi 80 may then be raised until the pin 34 emerges through the
   ments as its internal metering valve fires.                        aperture 74.
      In the configuration of FIG . 10F , the pawl 80 has been 15 Next, the return spring 56 may be inserted below the pin
   further depressed with the pin 34 by the canister 20 to a 34 and a generally cylindrical annular lower end 168 of the
    position in which it is just disengaging from one of the teeth   spring 56 may be moved by a tweezer or tweezer- like
    92 and the actuator pawl 80 is assisted in this disengagement    assembly tool (not shown) into engagement with a shelf 170
    by engagement of one of the arms 84 with a bump surface          of a spring retainer 172 in the dose counter chamber 66. The
   144 on the chassis 102 (see FIG . 6G ) and it will be seen at 20 spring retainer 172 is U -shaped and the shelf 170 is
   this point of disengagement, which is called an “ End” U -shaped and has a recess 174 formed below it. As shown
   configuration , the count pawl 138 is positioned exactly in FIGS . 4B , 4C and 12 shelf 170 includes three chamfer
   halfway or substantially halfway between two of the drive surfaces 176 , 178 , 180 arranged to assist in moving the
   teeth 92. This advantageously means therefore that there is lower end of the spring 168 into position onto the shelf using
   a minimum chance of any double counting or non -counting, 25 the assembly tool (not shown ). Once the lower end of the
   which would be undesirable. In the end configuration , the spring 168 is in place , the assembly tool (not shown ) can
   side edge 98 of the actuator is 1.65 mm below the datum          easily be removed at least partly via the recess 174 below the
   plane 220. It will be appreciated that any further depression lower end 168 of the spring 56 .
   of the actuator pawl 80 and pin 34 past the “ End” configu          The tape 112 is attached at one end (not shown) to the tape
   ration shown in FIG . 10F will have no effect on the position 30 stock bobbin 110 and is wound onto the bobbin by a motor
   of the tape 112 displayed by the dose counter 36 since the 200 (FIG . 13 ) having a hexagonal output shaft 202 which
   actuator pawl 80 is disengaged from the ratchet wheel 94 engages in a hexagonal socket 204 (FIG . 6B ) of the bobbin .
   when it is below the position shown in FIG . 10F .               During winding , the tape is monitored by a sensor 206 ,
      As shown in FIGS . 7C and 7D , the inner wall 50 of the        which may be in the form of a camera or laser scanner,
   main body 10 is provided with a two -step support rail 144 35 which feeds data to a computer controller 205 for the motor
   which extends longitudinally along inside the main body and 200. The controller 205 recognises three positioning mark
   is located directly adjacent the aperture 74. As shown in FIG . ers 210 in the form of lines across the tape 112 and stops the
   7B a diametrically opposed two-step support rail 146 is also motor 202 when the tape 112 is nearly fully wound onto the
   provided and this diametrically opposed in the sense that a bobbin 110 , such that the distal end 212 of the tape 112 can
   vertical plane (not shown) can pass substantially directly 40 be secured, e.g. by adhesive, to the tape reel shaft 106. The
   through the first rail 144 , the aperture 74 , a central aperture controller 205 also recognises a pixelated tape size marker
   148 of the valve stem block 40 ( in which canister stem 25 214 observed by the sensor 206 and logs in a stocking
   is located ) and the second two -step support rail 146. As system data store 217 details of the tape 112 such as the
   shown in FIG . 7A and schematically in FIG . 7B , the rails number of numbers 114 on the tape, such as one hundred and
   144 , 146 provide a maximum clearance between the canister 45 twenty or two hundred numbers 114. Next, the tape reel shaft
   20 and the rails 144, 146 in a radial direction of almost is wound until an appropriate position of the lines 210 at
   exactly 0.3 mm , about 0.25 to 0.35 mm being a typical which a priming dot 216 will , once the bobbin 110 and reel
   range. This clearance in this planemeans that the canister 20 shaft 106 are slid onto the second shaft 108 and second shaft
   can only rock backwards and forwards in this plane towards 104 , be in a position to be located in the window 118 when
   away from the actuation pin 34. A relatively small distance 50 the inhaler 12 is fully assembled . In the embodiments, the
   and this therefore prevents the canister wobbling and chang bobbin 110 and reel shaft 106 may be slid onto the shafts
   ing the height of the actuation pin 34 a as to undesirably alter 108 , 104 before the tape 112 is secured to the reel shaft 106
   the accuracy of the dose counter 36. This is therefore highly and the reel shaft may then be wound to position the priming
   advantageous.                                                      dot 216 .
       The inner wall 50 of the main body 10 is provided with 55 Next, the assembled dose counter components of the
   two further two - step rails 150 as well as two pairs 152, 154 chassis preassembly 100 shown in FIG . 6B may as shown in
   of rails extending different constant radial amounts inwardly FIG . 8C be inserted into the dose counter chamber 66 , with
   from the inner wall 50 , so as to generally achieve a maxi pins 182 , 184 , 186 formed on the main body 10 in the dose
   mum clearance of almost exactly 0.3 mm around the canister counter chamber 66 passing through apertures or slots 188 ,
   20 for all of the rails 144 , 146 , 150, 152, 154 spaced around 60 190 , 192 formed on the chassis 102 , such that the pins 182 ,
   the periphery of the inner wall 50 , in order to prevent undue 184, 186 extend through (or at least into ) the apertures or
   rocking while still allowing canister motion freely inside the slots 188 , 190 , 192. With the chassis 102 being relatively
   inhaler 12. It will be clear from FIG . 7C for example that the firmly pushed towards the main body 10 , the pins 182 , 184 ,
   two -step rails have a first portion near an outlet end 156 of     186 are then heat staked and the chassis 102 is therefore after
    the canister chamber 18 , the first portion having a substan- 65 this held very firmly in position in the main body and is
    tially constant radial or inwardly - extending width , a first    unable to move, thereby assisting in providing great accu
    step 160 leading to a second portion 162 of the rail, the         racy for the dose counter 36.Next, as shown in FIG . 8D , the
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 154 of 318 PageID: 229


                                                       US 10,561,808 B2
                              17                                                                      18
    dose counter chamber cover 120 may be fitted over the dose            First, it can be seen that there is a modification in that the
   counter chamber 66 and may be secured in place such as by drive teeth 92 of the ratchetwheel 94 have a different profile
   welding, with the priming dot 216 being displayed through to that in FIGS. 1 to 14. There are also only nine ratchet teeth
   the window .                                                    94 in this embodiment instead of eleven .
      The user can , when readying the inhaler 12 for first use, 5 Additionally, as shown in FIGS. 18C and 19C , the control
   prime the inhaler by depressing the canister 20 three times elements 128 , 130 on the forks 124, 126 of the second shaft
   which will bring the first number 114 on the tape into display 108 have a tapered profile which is different to the profile of
   through the window 118 in place of the priming dot 216 , the the control elements 128 , 130 shown in FIG . 6F. Either
   number 114 shown in FIG . 8D being “ 200 ” , thereby indi profile can be used in the embodiment of FIGS. 15 to 20
   cating that 200 doses are remaining to be dispensed from the 10 however.
   canister 20 and inhaler 12 .
      As shown in FIG . 8D , and in FIG . 5 , an open drain hole 110Furthermore
                                                                       has an
                                                                                  , as shown in FIG . 15 , the tape stock bobbin
                                                                              inwardly  facing generally cylindrical engagement
   194 is provided at the bottom of the dose counter chamber surface 300 with a wavelike           form extending partially the
   66 by a substantially semi-circular cut- out or recess forma realong . The engagement surface        300 has a cross -section
   tion 196 in a lower surface 198 of the main body 10 of the 15 301 perpendicular to the longitudinal       length of the stock
   inhaler. Accordingly , if the user (not shown ) should decide
    to wash the main body 10 of the inhaler, for example after         bobbin 110 which is constant therealong . This cross -section
   encountering an unhygienic situation or simply as a matter 301 can be seen in FIG . 16 and consists of a series of ten
   of choice , the drain hole 194 allows initial draining of water regularly spaced concavities 302 and ten convex wall por
   from inside the dose counter chamber 66 and also thereafter 20 tions 304. The convex wall portions 304 are equi-spaced
   evaporation of water or any aqueous matter in the dose between the concavities 302. Each concavity 302 has a
   counter chamber 66 so that the window 118 does notmist up radius of 0.2 mm . Each convex wall portion 304 also has a
   undesirably .                                                        radius of 0.2 mm . Finally, the cross section 301 also includes
       FIG . 14 shows a computer system 230 for designing the flat wall portions 306 between all of the radiused wall
   dose counter 36 and in particular for calculating distribu- 25 portions of the concavities 302 and convex wall portions
   tions representative of average positions and standard devia         304. The geometry of the cross - section 301 is therefore
   tions in a production series of inhalers of the start, reset, fire , defined by the radii of the concavities 302 and convex wall
   count and end positions of the actuator lower side edge 98 portions 304 , the flat wall portions 306 and the fact that there
   relative to the datum plane 220 ( FIG.9 ) and therefore of the are ten concavities 302 and convex wall portions 304 .
   actuator pawl 80 generally relative to the ratchet wheel 94 , 30 The minor diameter of the engagement surface 300, i.e.
    chassis 102 and , when the inhaler 12 is fully assembled , the between the tips of opposite convex wall portions 304 , is
   main body 10 of the inhaler 12. The computer system 230 2.46 mm . The major diameter of the engagement surface
   includes a data store 232 , a CPU 23 an input device 236             300 , i.e. between the outermost portions of the concavities
   ( such as a keyboard or communication port ) and an output 302, is 2.70 mm . The undeformed tip to tip maximum
   device 238 (such as a communications port, display screen 35 diameter of the forks 124 , 126 of the split pin ( the second
   and / or printer ). A user may enter data via the input device shaft ) 108 , i.e. in the region of the maximum radio extent of
   236 which may be used by the CPU 234 in a mathematical the control elements 128 , 130 , is 3.1 millimetres and it will
   calculation to predict count failure rates when the various therefore be appreciated that the forks 124 , 126 are resil
    dose counters are to be built in a series with dose counter        iently compressed once the stock bobbin 110 has been
    positions set with given averages and standard deviations 40 assembled onto the split pin 108 in all rotational configu
   and taking into account any momentum / inertia effects and          rations of the stock bobbin 110 relative to the split pin 108 .
   metering valve user-back -pressure reduction effect which           The minimum gap between the forks 124 , 126 in the plane
    will occur upon canister firing of a given type of canister.       of the cross sections of FIGS . 18C and 19C is 1 mm when
    The computer system 230 is thus mathematically used to the split pin 108 is in the undeformed , pre -inserted state .
    design the distributions. For the inhaler 12 described herein 45 When the split pin 108 is at maximum compression , as
   with the dose counter 36 and canister 20 , the distributions        shown in FIGS . 18A to 18C when the control elements 128,
   are designed as shown in FIG . 11. The x axis shows distance        130 are shown to be engaged on top of the convex wall
   of the lower side surface 98 of the actuator 80 above the           portions 304, the gap 308 between the tips 310, 312 of the
   datum plane 220 and the y axis is representative of the forks 124, 126 is 0.36 mm . On the other hand , when the split
   distribution . Thus, curve 240 shows that the start configu- 50 pin 108 is at minimum compression (once inserted into the
   ration has an average 1.33 mm above the datum plane 200 stock bobbin ) as shown in FIGS. 19A to 19C , when the
   (standard deviation is 0.1 mm ), curve 242 shows that the control elements 128 , 130 rest in the concavities 302 , the gap
   reset configuration has an average of 0.64 mm above the between the tips 310 , 312 of the forks 124 , 126 is 0.6 mm .
   datum plane 220 (standard deviation is 0.082 mm ), curve The control elements 128 , 130 are outwardly radiused with
   244 shows the fire configuration has an average 0.47 mm 55 a radius also of 0.2 mm such that they can just rest on the
   below the datum plane 220 (standard deviation is 0.141 concavities 302 with full surface contact ( at least at an axial
   mm ), curve 246 shows the count configuration has an location on the split pin where the tapered control elements
   average 0.95 mm below the datum plane 220 (standard are at their maximum radial extent ), without rattling in ,
   deviation is 0.080 mm ), and curve 248 shows the end locking onto or failing to fit in the concavities 302. The radii
   configuration has an average of 1.65 mm below the datum 60 of the control elements 128 , 130 is therefore preferably
   plane 220 (standard deviation is 0.144 mm ).                    substantially the same as the radii of the concavities 302
      FIGS. 15 to 20 show a version of the inhaler modified in        Itwill be appreciated that whereas FIGS. 18B and 19B are
   accordance with the present invention . In these drawings , end views along the coaxial axis of the stock bobbin 110 and
   the same reference numerals have been used to those in the split pin 108 , FIGS. 18A and 19A are cross - sections. FIG .
    earlier drawings to denote the equivalent components. The 65 19A is a section on the plane A - A ' in FIG . 19C and FIG . 18A
    inhaler 12 is the same as that in FIGS. 1 to 14 apart from the is a section at the same plane , but of course with the stock
    following modifications .                                      bobbin 110 rotated relative to the split pin 108.
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 155 of 318 PageID: 230


                                                         US 10,561,808 B2
                                 19                                                               20
      As the inhaler 12 is used and the ratchet wheel 94 rotates          The stock bobbin 110 and the carriage 102 including the
    in order to count used doses, the stock bobbin rotates             split pin 108 are both moulded of polypropylene material .
    incrementally through rotational positions in which rotation          It will be seen from FIG . 16 that the cross -sectional shape
    is resisted, i.e. due to increasing compression of the split pin   301 is not symmetrical within the hexagonal socket 204 .
   108 at such rotational positions, and rotational positions in 5 This has enabled the hexagonal socket 204 to be maintained
   which rotation is promoted , i.e. due to decreasing compres     at a useful size while still allowing the desired size and
   sion of the split pin 108 at such rotational positions and this geometry of the cross section 301 to fit without interfering
   may involve a click forward of the stock bobbin 110 to the with the hexagonal shape of the hexagonal socket 204 and
   next position equivalent to that in FIGS. 19A to 19C in also permits moulding to work during manufacture.
   which the control elements 128 , 130 of the split pin art 10          As shown in FIG . 17 , the stock bobbin 110 has a series of
   located in the concavities 302. This functionality firstly          four circumferential ribs 330 inside it and a spaced therea
   allows the stock bobbin to unwind during use as required ,          long . These hold the stock bobbin 110 on the correct side of
   but also prevents the tape 112 from loosening during transit        the mould tool during moulding.
   if the inhaler 12 is dropped , such as onto a hard surface. This       FIGS. 21 and 22 show a preferred embodiment in accor
    is highly advantageous, since the tape 11 is prevented from 15 dance with the invention of an inhaler 510 for dispensing a
    moving to a position in which it will give an incorrect            dry -powdered medicament in metered doses for patient
    reading regarding the number of doses in the canister.             inhalation . The inhaler 510 is as disclosed in FIGS. 1 to 16
      During compression and expansion of the forks in the or EP - A - 1330280 , the contents of which are hereby fully
   radial direction between the two configurations shown in incorporated herein by reference , but with the stock bobbin
   FIGS. 18C and 19C , the forks 124, 126 rotate about a point 20 110 and second shaft 108 of the dose counter 516 modified
   316 on the split pin where the forks 124 , 126 come together. so as to be as in FIGS. 15 to 20 hereof. Thus, the dry powder
    This rotational action means that there is a camming action inhaler 510 generally includes a housing 518 , and an assem
   between the forks 124 , 126 and the engagement surface 300 bly 512 received in the housing ( see FIG . 21 ). The housing
   without significant friction but, nevertheless, the resilient 518 includes a case 520 having an open end 522 and a
   forces provided by the regulator formed by the engagement 25 mouthpiece 524 (FIG . 25 ) for patient inhalation , a cap 526
   surface 300 and forks 124 , 126 are able to regulate unwind      secured to and closing the open end 522 of the case 520 , and
   ing of the tape such that it does not easily occur during a cover 528 pivotally mounted to the case 520 for covering
   transit or if the inhaler 12 is dropped . It has been found the mouthpiece 524. As shown in FIG . 22, the inhaler 510
   during testing that a force of 0.3 to 0.4 N needs to be applied also includes an actuation spring 569 , first yoke 566 with
   to the tape 112 to overcome the regulator at the stock bobbin 30 opening 572, bellows 540 with crown 574 , a reservoir 514 ,
    110.0.32 N is achieved with the control elements 128 having second yoke 568 with hopper 542 and dose counter 516
   the profile shown in FIG . 19C and 0.38 N is achieved with mounted thereto , and case 520 has transparent window 5130
   the profile of the control elements 128 altered to be as shown thereon for viewing dose counter tape indicia 5128. The
    as described with reference to FIG . 6F . These forces are         dose metering system also includes two cams 570 mounted
    substantially higher than the 0.1 N force mentioned above 35 on the mouthpiece cover 528 and movable with the cover
    and undesirable movement of the tape is substantially 528 between open and closed positions. The cams 570 each
   avoided even if the inhaler is dropped onto a hard surface . include an opening 580 for allowing outwardly extending
    The modified arrangement of FIGS. 15 to 20 does not hinges 582 of the case 520 to pass therethrough and be
   provide this force “ constantly ” such that there is overall not received in first recesses 584 of the cover 528. The cams570
   an undesirably high friction of the tape 112 as it passes over 40 also include bosses 586 extending outwardly and received in
   the other components ofthe dose counter because, due to the second recesses 588 of the cover 528 , such that the cover
   incremental nature of the resilient forces at the regulator, the 528 pivots about the hinges 582 and the cams 570 move with
   tape 112 can incrementally relax as it slides over the the cover 528 about the hinges 582. As described in EP - A
   stationary chassis components .                                   1330280 , cams 570 act upon cam followers 578 to move
      Instead of having ten concavities 302 and convex wall 45 second yoke 568 up and down and thereby operate dose
   portions 304 , other numbers may be used , such as 8 or 12 . counter by engagement of pawl 5138 on the second yoke
   However, it is preferred to have an even number, especially 568 with teeth 5136. Remaining components of the inhaler
   since two control elements 128 , 130 are provided , so that all are provided as, and operate as described , in EP- A - 1330280 .
   of the control elements 128 , 130 will expand and contract           The dose counting system 516 therefore includes a ribbon
   simultaneously. However , other arrangements are envisaged 50 or tape 5128 (FIGS. 23 & 24 ), having successive numbers or
   with 3 or more forks and the number of concavities /convex other suitable indicia printed thereon , in alignment with a
   wall portions may be maintained as an integer divisible by transparent window 5130 provided in the housing 18 ( see
   the number of forks to maintain a system with simultaneous FIG . 22 ). The dose counting system 516 includes the rotat
   expansion/contraction . For example , the use of 9 , 12 or 15 able stock bobbin 110 (as described above), an indexing
   concavities/convex wall portions with 3 forks is envisaged . 55 spool 5134 rotatable in a single direction , and the ribbon
      Instead of having the engagement surface 300 on the 5128 rolled and received on the bobbin 110 and having a first
   inside of the stock bobbin 110, it could be placed on the end 5127 secured to the spool5134 , wherein the ribbon 5128
   outside of the stock bobbin 110 so as to be engaged by unrolls from the bobbin 110 so that the indicia are succes
   flexible external legs/pawls or similar.                          sively displayed as the spool 5134 is rotated or advanced . In
      It will be noted that the regulator provided by the engage- 60 FIGS . 23 and 24 the wavelike engagement surface 300 of the
   ment surface 300 and forks 124 , 126 does not only allow          bobbin 110 is not shown for the purposes of clarity.
   rotation of the stock bobbin in one direction as is the case          The spool 134 is arranged to rotate upon movement of the
   with the ratchet wheel 94. Rotation in both directions is           yokes 566 , 568 to effect delivery of a dose ofmedicament
   possible , i.e. forwards and backwards. This means that from reservoir 514 , such that the number on the ribbon 5128
   during assembly, the stock bobbin 110 can be wound back- 65 is advanced to indicate that another dose has been dispensed
   wards during or after fitting the bobbin 100 , shaft 106 and by the inhaler 510. The ribbon 5128 can be arranged such
    tape 112 onto the carriage 102 , if desired .                      that the numbers, or other suitable indicia , increase or
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 156 of 318 PageID: 231


                                                        US 10,561,808 B2
                                 21                                                            22
   decrease upon rotation of the spool 5134. For example , the tionally fixed element which comprises a fixed shaft which
   ribbon 5128 can be arranged such that the numbers , or other is fixed to the main body of the dose counter, the first shaft
   suitable indicia , decrease upon rotation of the spool 5134 to being rotationally mounted to the fixed shaft.
   indicate the number of doses remaining in the inhaler 510.         11. The dose counter as claimed in claim 10 in which the
   Alternatively, the ribbon 5128 can be arranged such that the 5 fixed shaft has at least two flexible legs , and each leg has at
   numbers , or other suitable indicia , increase upon rotation of least one said projection formed in an outwardly facing
   the spool 5134 to indicate the number ofdoses dispensed by direction thereon , said one or more formations being formed
   the inhaler 10 .                                                on an inwardly facing engagement surface of the first shaft ,
      The indexing spool 5134 includes radially extending teeth said at least one projection being arranged to resiliently
    5136 , which are engaged by pawl 5138 extending from a 10 engage said one or more formations.
                                                                12. The dose counter as claimed in claim 10 in which the
   cam follower 578 of the second yoke 568 upon movement
   of the yoke to rotate , or advance , the indexing spool 5134 . fixed shaft comprises a split pin with fork legs and in which
   More particularly , the pawl 5138 is shaped and arranged each13.projection      is located on a said fork leg .
                                                                         The dose counter as claimed in claim 6 in which a
   such that it engages the teeth 5136 and advances the index
   ing spool 5134 only upon themouthpiece cover 528 being 15 series      of said formations are provided .
                                                                     14. The dose counter as claimed in claim 6 in which an
   closed and the yokes 566 , 568 moved back towards the cap
   526 of the housing 518 .                                       even number of said formations is provided .
      The dose counting system 516 also includes a chassis           15. The dose counter as claimed in claim 6 in which from
   5140 that secures the dose counting system to the hopper       eight to twelve of said formations are provided .
                                                                     16. The dose counter as claimed in claim 15 in which ten
    542 and includes shafts 108 , 5144 for receiving the bobbin 20 of said formations are provided .
    110 and the indexing spool 5134. As described above with             17. The dose counter as claimed in claim 6 in which each
    reference to FIGS. 1 to 20 , the bobbin shaft 108 is forked and
   includes radially nubs 5146 for creating a resilient resistance said formation comprises a concavity formed on an engage
   to rotation of the bobbin 110 on the shaft 108 by engaging ment surface .
   with the wavelike engagement surface 300 inside the bobbin 25 18. The dose counter as claimed in claim 17 in which each
   110. A clutch spring 5148 is received on the end of the concavity comprises a radiused surface wall portion which
   indexing spool 5134 and locked to the chassis 5140 to allow merges on at least one side thereof into a flat wall portion
   rotation of the spool 5134 in only a single direction .         surface.
      Various modifications may be made to the embodiment             19. The dose counter as claimed in claim 18 in which the
   shown without departing from the scope of the invention as 30 engagement surface includes a series of said concavities and
   defined by the accompanying claims as interpreted under in which convex wall portions of the engagement surface are
   patent law .                                                    formed between each adjacent two said concavities , each
      What is claimed is :                                         said convex wall portion comprising a convex radiused wall
      1. A dose counter for an inhaler, the dose counter having 35 portion
                                                                      20.
                                                                           .
                                                                          The dose counter as claimed in claim 19 in which each
   a counter display arranged to indicate dosage information , a convex radiused
   drive system arranged to move the counter display incre connected by saidwall          portion of each convex wall portion is
                                                                                      flat wall portion surfaces to each concav
   mentally in a first direction from a first station to a second ity which is adjacent   thereto .
   station in response to actuation input, wherein a regulator is        21. The dose counter as claimed in claim 4 in which the
    provided which is arranged to act upon the counter display
    at the first station to regulate motion of the counter display 40 first22.shaft
    at the first station to incremental movements .
                                                                                    comprises
                                                                                The dose      a substantially
                                                                                         counter as claimed inhollow
                                                                                                               claim 21bobbin . said
                                                                                                                         in which
       2. The dose counter as claimed in claim 1 in which the         one or more formations are located on an inner surface of the
    counter display comprises a tape.                                 bobbin .
      3. The dose counter as claimed in claim 2 in which the             23. The dose counter as claimed in claim 4 wherein the
                                                                  45 drive system comprises a tooth ratchet wheel arranged to act
   tape has dose counter indicia displayed thereon .                 upon a second shaft which is located at the second station ,
      4. The dose counter as claimed in claim 2 wherein the first
                                                                     the second shaft being rotatable to wind the tape onto the
   station comprises a first shaft, the tape being arranged on the second    shaft .
   first shaft and to unwind therefrom upon movement of the             24. The  dose counter as claimed in claim 23 in which the
   counter display .
      5. The dose counter as claimed in claim 4 in which the 50 second shaft is located on themain body of the dose counter
   first shaft is mounted for rotation relative to a substantially spaced
                                                                        25.
                                                                             from and parallel to the first shaft.
                                                                            The  dose counter as claimed in claim 23 in which the
   rotationally fixed element of the dose counter.                   tooth  ratchet  wheel is fixed to the second shaft and is
      6. The dose counter as claimed in claim 5 in which the
   regulator comprises at least one projection on one of the first arranged    to rotate therewith .
                                                                        26. The dose counter as claimed in claim 23 which
   shaft and the substantially rotationally fixed element, which 55 includes   an anti -back drive system which is arranged to
   is arranged to engage incrementally with one or more restrict motion               of the second shaft in a tape winding direc
   formations on the other of the substantially rotationally fixed tion .
    element and the first shaft.
      7. The dose counter as claimed in claim 6 in which at least        27. The dose counter as claimed in claim 1 in which the
    two said projections are provided .                          60 regulator provides a resistance force of greater than 0.1 N
       8. The dose counter as claimed in claim 6 in which exactly against   movement of the counter display .
                                                                       28. The dose counter as claimed in claim 27 in which the
    two said projections are provided .                             resistance force is greater than 0.3 N.
       9. The dose counter as claimed in claim 6 in which each
    projection comprises a radiused surface .                          29. The dose counter as claimed in claim 27 in which the
       10. The dose counter as claimed in claim 6 in which the 65 resistance force is from 0.3 to 0.4 N.
    at least one projection is located on the substantially rota
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 157 of 318 PageID: 232




                            EXHIBIT G
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 158 of 318 PageID: 233

                                                                                                    US010695512B2


    (12) Walsh
         United     States Patent
               et al.
                                                                                ( 10 ) Patent No.: US 10,695,512 B2
                                                                                (45 ) Date of Patent:   * Jun . 30 , 2020

    (54 ) DOSE COUNTER FOR INHALER HAVING                                  (51) Int. Ci.
          AN ANTI -REVERSE ROTATION ACTUATOR                                         A61M 15/00                   (2006.01 )
                                                                                     GO6M 1/24                    (2006.01)
    (71) Applicants : Ivax Pharmaceuticals Ireland,                                  A61M 11/00         ( 2006.01 )
                      Waterford (IE ); Norton (Waterford )                 (52) U.S. CI.
                      Limited , Waterford (IE ); Teva                           CPC           A61M 15/0078 (2014.02 ); A61M 11/00
                      Pharmaceuticals Ireland , Waterford                                        ( 2013.01); A61M 15/007 ( 2014.02 );
                      ( IE )                                                                      (Continued )
                                                                           (58 ) Field of Classification Search
    ( 72 ) Inventors: Declan Walsh , Co. Kilkenny (IE );                         CPC          A61M 15/0078 ; A61M 15/0025 ; A61M
                      Derek Fenlon , Co. Wexford (IE );                                             15/0026 ; A61M 15/007; A61M 15/0071
                      Simon Kaar , Co. Cork ( IE ); Jan Geert                                               (Continued )
                     Hazenberg , Co. Kilkenny (IE ); Daniel                (56 )                      References Cited
                      Buck , Co. Waterford ( IE ); Paul Clancy ,
                     Waterford (IE ); Robert Charles                                          U.S. PATENT DOCUMENTS
                      Uschold , Leominster, MA (US ); Jeffrey
                      A. Karg , Hopkinton , MA (US )                                4,174,890 A       11/1979 Johnson
                                                                                    4,669,838 A        6/1987 Hibbard
    (73 ) Assignees: Ivax Pharmaceuticals Ir                                                                (Continued )
                     Waterford (IE ) ; Norton (Waterford )                                FOREIGN PATENT DOCUMENTS
                     Limited , Waterford (IE ) ; Teva
                      Pharmaceuticals Ireland, Waterford                   CA                   2501726             9/2006
                      (IE )                                                EP                     1330280           7/2003
                                                                                                            (Continued )
    ( * ) Notice:     Subject to any disclaimer , the term of this
                      patent is extended or adjusted under 35                                   OTHER PUBLICATIONS
                      U.S.C. 154 (b ) by 302 days .
                      This patent is subject to a terminal dis             Final Office Action dated Oct. 20 , 2016 for U.S. Appl. No. 14 /699,567.
                      claimer .                                                                        (Continued )
    (21) Appl. No.: 15 /804,735                                            Primary Examiner Daniel A Hess
                                                                           (74 ) Attorney, Agent, or Firm — Morgan , Lewis &
    (22) Filed : Nov. 6 , 2017                                             Bockius LLP

    (65)               Prior Publication Data                              ( 57 )                       ABSTRACT
          US 2018/0056014 A1         Mar. 1 , 2018                         An inhaler includes a main body having a canister housing,
                                                                           a medicament canister retained in a central outlet port of the
                                                                           canister housing , and a dose counter having an actuation
                 Related U.S. Application Data                             member for operation by movement of the medicament
                                                                           canister. The canister housing has an inner wall , and a first
    (60 ) Continuation of application No. 15 /269,249 , filed on           inner wall canister support formation extending inwardly
          Sep. 19 , 2016 , now Pat. No. 9,808,587, which is a              from a main surface of the inner wall . The canister housing
                            (Continued )                                                           (Continued )
                                                            94
                                                                                        100

                                                                                          138



                                                  106
                                                                                          130




                                                     110    124      126     136
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 159 of 318 PageID: 234


                                                      US 10,695,512 B2
                                                                Page 2

   has a longitudinal axis X which passes through the center of                    FOREIGN PATENT DOCUMENTS
   the central outlet port. The first inner wall canister support    EP                 1486227            12/2004
   formation , the actuation member, and the central outlet port     GB                 2320489             6/1998
    lie in a common plane coincident with the longitudinal axis      IL                  201256            11/2014
    X such that the first inner wall canister support formation      JP                02502129             7/1990
   protects against unwanted actuation of the dose counter by        JP                  450059             8/1992
   reducing rocking of the medicament canister relative to the       JP
                                                                     JP
                                                                                       07100205
                                                                                       10504220
                                                                                                            4/1995
                                                                                                            4/1998
   main body of the inhaler.                                         JP              2002528144             9/2002
                                                                     JP              2004501685             1/2004
                  6 Claims, 17 Drawing Sheets                        JP              2008-94103 A           4/2008
                                                                     JP              2008094103             4/2008
                                                                     JP              2008261423            10/2008
                                                                     JP              2009233308            10/2009
                                                                     JP              2009257392            11/2009
                 Related U.S. Application Data                       JP              2010096308             4/2010
                                                                     WO                  8909078           10/1989
          continuation of application No. 14 / 103,324 , filed on    WO                  9628205            9/1996
          Dec. 11 , 2013 , now Pat. No. 9,463,289, which is a        WO                  9828033            7/1998
          division of application No. 13/ 110,532 , filed on May     WO                  9936115
                                                                                       02/00281 A2
                                                                                                            7/1999
                                                                                                             1/2002
          18 , 2011 , now Pat. No. 8,978,966 .                       WO
                                                                     WO                03101514            12/2003
                                                                     WO              2005102430            11/2005
    (60 ) Provisional application No.61/417,659, filed on Nov.       WO              2006062449             6/2006
          29, 2010 , provisional application No. 61/345,763,         WO              2006062449 Al          6/2006
          filed on May 18 , 2010 .                                   WO              2007012861             2/2007
                                                                     WO              2007062518             6/2007
                                                                     WO              2008023019             2/2008
    (52 ) U.S. Cl.                                                   WO              2008119552             2/2008
          CPC         A61M 15/009 ( 2013.01) ; A61M 15/0025          WO              2011012325             2/2011
                  ( 2014.02); A61M 15/0026 ( 2014.02 ); A61M         WO              2011012327             2/2011
                15/0065 ( 2013.01 ); A61M 15/0071 (2014.02 );
                      GO6M 1/246 (2013.01); A61M 2202/064                               OTHER PUBLICATIONS
                (2013.01 ); A61M 2205/6063 ( 2013.01) ; ACIM
                2207/00 (2013.01); A61M 2207/10 ( 2013.01);          Advisory Action dated Mar. 13 , 2017 for U.S. Appl.No. 14 /699,567.
                        Y10T 29/49 (2015.01 ); Y10T 29/49764         Non- Final Office Action dated Jan. 12 , 2017 for U.S. Appl. No.
                          ( 2015.01 ); Y10T 29/49826 (2015.01 )      14 /713,620 , 8 pages .
    (58 ) Field of Classification Search                             Final Rejection dated Sep. 27, 2016 for U.S. Appl. No. 14 /699,578.
          USPC                                      128 /203.12      Final Office Action dated Aug. 31 , 2016 for U.S. Appl. No.
          See application file for complete search history .         14 /713,620 , 7 pages .
                                                                     Advisory action dated Feb. 9 , 2017 for U.S. Appl. No. 14 /699,584 .
    (56 )               References Cited                             Non - final rejection dated Jul. 12, 2016 for U.S. Appl. No. 14 /713,643 .
                                                                     File History for U.S. Appl. No. 15 /271,738 .
                  U.S. PATENT DOCUMENTS                              File History for U.S. Appl. No. 15 / 269,102.
                                                                     File History for U.S. Appl. No. 15 /262,818 .
        4,687,359 A       8/1987 Barrus                              File History for U.S. Appl. No. 15 / 289,553 .
        5,482,030 A       1/1996 Klein                               File History for U.S. Appl. No. 15 /269,249.
        5,861,911 A       1/1999 Oosaka
                                                                     Final rejection dated Oct. 20 , 2016 or U.S. Appl. No. 14 /699,584.
        6,446,627 B1      9/2002 Bowman                              Non- Final Office Action dated Jun. 24 , 2016 for U.S. Appl. No.
        6,718,972 B2      4/2004 OLeary
        8,418,690 B2    4/2013 Power                                  14 /713,620 , 7 pages .
        8,474,448 B2    7/2013 Oi                                    Final rejection dated Oct. 20 , 2016 or U.S. Appl. No. 14 / 713,633.
         8,978,966 B2 3/2015 Walsh et al.                            Advisory Action dated Mar. 16 , 2017 or U.S. Appl. No. 14 /713,633 .
         9,174,013 B2 11/2015 Walsh et al .                          Entire patent prosecution history ofU.S. Appl. No. 13/ 110,532 , filed
         9,463,289 B2 10/2016 Walsh et al .                          May 18, 2011, entitled , “ Dose Counters for Inhalers, Inhalers and
         9,533,111 B2   1/2017 Walsh             GO6M 1/246          Methods of Assembly Thereof."
         9,737,674 B2 * 8/2017 Walsh            A61M 15/0078         Entire patent prosecution history ofU.S.Appl. No. 14 / 103,324 , filed
     2002/0047021 Al    4/2002 Blacker
     2002/0078949 A1 6/2002 OLeary                                   Dec. 11 , 2013 , entitled , “ Dose Counters for Inhalers , Inhalers and
     2002/0078950 A1 6/2002 OLeary                                   Methods of Assembly Thereof."
     2002/0084891 A1 7/2002 Mankins et al .                          Entire patent prosecution history of U.S. Appl. No. 14 / 103,343 , filed
     2003/0209239 Al 11/2003 Rand                                    Dec. 11 , 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2004/0089298 Al 5/2004 Haikarainen et al .                      Methods of Assembly Thereof."
     2004/0095746 A1 5/2004 Murphy                                   Entire patent prosecution history of U.S. Appl. No. 14 / 103,353 , filed
     2005/0028815 Al    2/2005 Deaton                                Dec. 11 , 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2005/0087191 Al 4/2005 Morton                                   Methods of Ass Embly Thereof."
     2006/0096594 Al 5/2006 Bonney                                   Entire patent prosecution history of U.S. Appl. No. 14 / 103,363, filed
     2006/0107949 Al 5/2006 Davies                                   Dec. 1, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2006/0107979 Al 5/2006 Kim                                      Methods of Assembly Thereof."
     2007/0062518 A1 3/2007 Geser
     2008/0242465 A1 10/2008 Strobel                                 Entire patent prosecution history ofU.S.Appl.No. 14 /103,392 , filed
     2009/0178678 A1      7/2009 OLeary                              Dec. 11, 2013 , entitled , “ Dose Counters for Inhalers, Inhalers and
     2010/0089395 A1      4/2010 Power                               Methods of Assembly Thereof."
     2010/0218759 Al      9/2010 Anderson                            Entire patent prosecution history of U.S. Appl. No. 14 /699,567, filed
     2011/0041845 A1      2/2011 Solomon                             Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler and Method for
     2012/0006322 Al      1/2012 Anderson                            Counting Doses."
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 160 of 318 PageID: 235


                                                              US 10,695,512 B2
                                                                         Page 3

    ( 56 )                  References Cited                                  European Patent Office Communication , dated Apr. 24 , 2014 of
                                                                              counterpart European Patent Application No. 11 010 212.6 .
                       OTHER PUBLICATIONS                                     First Examination Report of counterpart New Zealand Patent Appli
                                                                              cation No. 603466 , dated Jul. 1 , 2013 .
    Entire patent prosecution history of U.S.Appl. No. 14 /699,578 , filed    File history for U.S. Appl. No. 13 /387,508 .
   Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler Having a Bore       File history for U.S. Appl. No. 13 /387,532 .
   !and Shaft Arrangement."                                                   File history for U.S. Appl. No. 13 /388,535 .
   Entire patent prosecution history of U.S. Appl. No. 14 /699,584, filed     File history for U.S. Appl. No. 14 / 132,918 .
   Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler Having an           File history for U.S. Appl. No. 14 /876,190 .
   Antireverse Rotation Actuator."                                            File history for U.S. Appl. No. 14 /967,905 .
   Entire patent prosecution history of U.S. Appl. No. 14 /713,612 , filed    Office Action issued by the Israel Patent Office dated Jul. 3, 2017 in
   May 15, 2015, entitled , “ Dose Counters for Inhalers, Inhalers and        reference to Israel Patent Application No. 247396 , 3 pages .
   Methods of Assembly Thereof."                                              Office Action issued by the Israel Patent Office dated Jul. 27 , 2017
   Entire patent prosecution history ofU.S.Appl. No. 14 /713,620 , filed      in reference to Israel Patent Application No. 247402 , 4 pages .
   May 15 , 2015 , entitled , “ Dose Counters for Inhalers, Inhalers and       Entire patent prosecution history ofU.S.Appl. No. 15 /269,249 , filed
   Methods of Assembly Thereof."
   Entire patentprosecution history of U.S. Appl. No. 14 /713,643, filed      Sep. 19 , 2016 , entitled , “ Dose Counter for Inhaler Having an
   May 15 , 2015, entitled , “ Dose Counters for Inhalers, Inhalers and       Anti -Reverse Rotation Actuator."
   Methods of Assembly Thereof."
   European Patent Office Communication , dated Apr. 24 , 2014 of
   counterpart European Patent Application No. 11 010 211.8 .                 * cited by examiner
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 161 of 318 PageID: 236


    U.S. Patent                Jun . 30 , 2020        Sheet 1 of 17                      US 10,695,512 B2


                                     52          18 50             10
                                                                          12

                                                                                    14
                                                              46


                                          16

                                                 FIG . 1
              3A

                                       44
                                      54                           40
                                                                                                         36
                                     46
              3A
                                                               42
      FIG . 2                                  FIG . 3A                                    FIG . 3B
       56                168
                       170
                    -176                                                                  198    194
     178
            174 FIG . 48                               172
                                                         34
                                                                          36
                                                                                                        196
                                                          80                  100
                    170
                                                                               122
                   -176                                                                                -14
    180            174
                                                 58                            120
      118 48                                             56
                                                                        118

       FIG . 4C                                FIG . 4A                                     FIG.5
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 162 of 318 PageID: 237


    U.S. Patent                    Jun . 30 , 2020         Sheet 2 of 17           US 10,695,512 B2



                                     106                                                190   106
                104     94                                                   94
                                                                      102

                                                                                                    204
                                                                  192
                                                                                                      188
                                                                                              -110
                                           110 100
                        124
                               116
                                                                            FIG .6B 112
          108                           126
                  102
                                                                                  112
                       FIG .6A
                                                                              200
                  94
                                                                              198
                                                     100

                                                       138                  FIG .6C
                                                                                                    106



    106
                                                               114
                                                       130
                                                                        200                               136

                                                                           198                Q

                                                                112
       110        124        126       136                                                          110
                        FIG .6D                                             FIG .6E
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 163 of 318 PageID: 238


    U.S. Patent          Jun . 30 , 2020   Sheet 3 of 17           US 10,695,512 B2


                                                            128
                                                                        124


                                                                         126


                                   o                       116
                             102
                                                                  130
                                       FIG . 6F




                                                                           138
                   144



                                                                          116


                                                                        130
                  128

                                                                  126
                  124


                                       FIG . OG
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 164 of 318 PageID: 239


    U.S. Patent               Jun . 30 , 2020           Sheet 4 of 17                US 10,695,512 B2

            20
                                              48
       24




      26

       28                                                  74
                                                   32
           34
                                                                                                 76
     72                                            30

      40                                        25

                      FIG . 7A                                                 FIG . ZB
                         78
                 34
                                          96 92                 94
                                    72                               90
                                                                               36
                                         84
                  60                                                            88




                  58



                        68
                                                                          82
                                86 86 FIG.6H
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 165 of 318 PageID: 240


   U.S. Patent                   Jun . 30 , 2020    Sheet 5 of 17             US 10,695,512 B2


                             162 160 158                    156     -76
                         164
                                                                                  38
                  50


                                                                                              7C
                                                                                              FIG
                                                                                              .
                                                                                  74
                    150 146                                                 144
                148

                76                                                    152
     154
                                                                                              FIG
                                                                                              7D
                                                                                              .
                 74                                                 16


                       144                           150
                                                   118                            120
           10
                                                                                        194
                                                             200                              8D
                                                                                              .
                                                                                              FIG


                                                   114
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 166 of 318 PageID: 241


    U.S. Patent         Jun . 30 , 2020    Sheet 6 of 17            US 10,695,512 B2




                                                   200 198                     8C
                                                                               .
                                                                               FIG


                                    -184      60               34
                                                                     186
                                                                    80
                                                                               8B
                                                                               .
                                                                               FIG

                                                                         58

                                                                         182
       10                                     64
                                                             166
                                                              62
                                                                    70         8A
                                                                               .
                                                                               FIG

                                                                    66
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 167 of 318 PageID: 242


    U.S. Patent         Jun . 30 , 2020         Sheet 7 of 17       US 10,695,512 B2



                                  +




                                          220
                                                        80

                                                                -




                                    98




                                                                    41   FIG.9

                           40


                                      +
                                        D
                                        Laitnuem
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 168 of 318 PageID: 243


    U.S. Patent         Jun . 30 , 2020   Sheet 8 of 17          US 10,695,512 B2




                                                                      94


                                                                      138




                                   FIG . 10A              80


            18!         JU
           341
                                            98
                                                                     -143
                                                                      94
           90-1                                                       142
                                                                      147
           92                                145
                                                                       138
                                              f
                                                                       140
                                                                       1457
                       149 80                                  144

                                     FIG . 10B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 169 of 318 PageID: 244


    U.S. Patent         Jun . 30 , 2020         Sheet 9 of 17               US 10,695,512 B2




                           94    142                Eh
                                                                      140


                                                                                    10E
                                                                                    .
                                                                                    FIG
                                                                 08

         34


                                          96
                                                         -138


                          86
          34
                                                                                    10C
                                                                                    .
                                                                                    FIG
                                                                               92
                                               90
                                               .
                                                            80
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 170 of 318 PageID: 245


    U.S. Patent          Jun . 30 , 2020   Sheet 10 of 17              US 10,695,512 B2




                                                             138
                                                             94

                                                            92

                                                                 144          10F
                                                                              .
                                                                              FIG
                                                             08


        34




                                                 138
                     1
                                                                       140
                         B                                             94



                                                                               10D
                                                                               .
                                                                               FIG
                                                                       80
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 171 of 318 PageID: 246


    U.S. Patent          Jun . 30 , 2020      Sheet 11 of 17      US 10,695,512 B2


        2

                                                                       240


         1
                                                                   242



        0
                                                                   244


                                                                   .246
       -7

                                                                       248


       -2




       -3
             0      2x103           4x100          6x103       8x103         1x109
                                           FIG . 11
                        232        234                          238
                                                       236
                  230
                                           FIG . 14
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 172 of 318 PageID: 247


    U.S. Patent           Jun . 30 , 2020      Sheet 12 of 17           US 10,695,512 B2




                                                                                172




                                                                         -176
                                                      178       170


                                            FIG . 12
            114   216           210                    214            112        212

                                                  1




                                                      206
                    217            205                            200

                                                                      202

                                         FIG . 13
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 173 of 318 PageID: 248


    U.S. Patent           Jun . 30 , 2020      Sheet 13 of 17          US 10,695,512 B2


                         300



                                                                110




                                            FIG . 15
                   110              102                         100
                                                                      204   300
            108                                                                301
                                                         94                          302
                                                    92
                                                                                      304




                                                                                 306


                  104

                  FIG . 20                                       FIG . 16
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 174 of 318 PageID: 249


    U.S. Patent                   Jun . 30 , 2020          Sheet 14 of 17                   US 10,695,512 B2




                           102
                                                                      -308   '
                                                                             A
                                                                                     126 316             108

    HO                           FIG
                                 19A
                                 .         OC                   19B
                                                                .
                                                                FIG
                                                                                             124
                                                                                                                 190
                                                                                                                 .
                                                                                                                 FIG
           94                                         94                     A




                                         102                                 308 312 -130          126
    100         -130 304 -102                                                                              102
                                 .
                                 FIG
                                 18A ?                          18B
                                                                .
                                                                FIG                                              FIG
                                                                                                                 18C
                                                                                                                 .
      94 108     302 128                  94
                                                                             310            128 124 108


                                       300 110
                                                                FIG
                                                                17
                                                                .

                                                    330
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 175 of 318 PageID: 250


    U.S. Patent         Jun . 30 , 2020      Sheet 15 of 17             US 10,695,512 B2



                                      510
                                                                    A

            526                     518
                                                     526


            520
                                                        569     all
                                                       572
                                                        566
            528         582

                                            510
                                                  512574
                  FIG . 21                              540

                                                        514               542



                                                        516                 568

                                                        578                -578
                                                        522
                                                        520
                                                       5130

                                                              582         528


                                                              FIG . 22
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 176 of 318 PageID: 251


    U.S. Patent           Jun . 30 , 2020     Sheet 16 of 17          US 10,695,512 B2




                       110       5128                   5140
                                                           5136
                                                                  516



                       5134
                                  5148


                                       FIG . 23


                                       516                              108
                                                     5146
                                             110
                   5128                                                   -5140

                          A




                                                   5136
                                  5134                         5144
            a


                5127
                                        FIG . 24
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 177 of 318 PageID: 252


    U.S. Patent            Jun . 30 , 2020    Sheet 17 of 17              US 10,695,512 B2


                                                        522


                              570
                                     580
                                                            520


                      584                             582         570
                     588                                            580

                                             524        586

                     528



                                        FIG . 25



                                                         578

                      5138
                                                         568
                             578




                                        FIG . 26
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 178 of 318 PageID: 253


                                                         US 10,695,512 B2
                                                                                                            2
         DOSE COUNTER FOR INHALER HAVING                                   and closed , and actuation pawl of the device which is
        AN ANTI-REVERSE ROTATION ACTUATOR                                 mounted on a yoke , travels a known long stroke of consis
                                                                           tent length as the mouthpiece is opened and closed .
               CROSS -REFERENCE TO RELATED                                   WO 2008/119552 discloses a metered - dose inhaler which
                          APPLICATIONS                            5 is suitable for breath - operated applications and operates with
                                                                     a known and constant canister stroke length of 3.04 mm +/
       This patent application is a continuation patent applica      0.255 mm . A stock bobbin of the counter, from which a tape
   tion of U.S. patent application Ser. No. 15 /269,249 , filed is unwound , rotates on a shaft having a split pin intended to
   Sep. 19 , 2016 , now U.S. Pat. No. 9,808,587 , which is a 10 hold the stock bobbin taut. However, some dose counters do
   continuation ofU.S. patent application Ser. No. 14 /103,324 , not keep a particularly reliable count, such as if they are
    filed Dec. 11 , 2013 , now U.S. Pat. No. 9,463,289, which is dropped onto a hard surface .
   a divisionalpatent application ofU.S. patentapplication Ser.        More recently , it has become desirable to improve dose
   No. 13/ 110,532 , filed May 18 , 2011, now U.S. Pat. No. counters            further and , in particular , it is felt that it would be
   8,978,966 , which claims priority to U.S. patent application
   No. 61/345,763, filed May 18, 2010 , and U.S. patent appli- 15 manually
                                                                     useful to -operated
                                                                                 provide extremely       accurate
                                                                                             canister -type  metered dosedosecounters
                                                                                                                                  inhalersfor.
   cation No. 61/417,659 , filed Nov. 29 , 2010 , each of which is Unfortunately     , in these inhalers, it has been found in the
   incorporated herein by reference in its entirety for any and course of making          the present invention that the stroke length
   all purposes.                                                     of the canister is to a very large extent controlled on each
                    FIELD OF THE INVENTION                        20 dose operation by the user, and by hand . Therefore, the
                                                                     stroke length is highly variable and it is found to be
        The present invention relates to dose counters for inhal extremely difficult to provide a highly reliable dose counter
   ers , inhalers and methods of assembly thereof. The invention     for these applications . The dose counter must not count a
    is particularly applicable to metered dose inhalers including dose when the canister has not fired since thismight wrongly
   dry powermedicament inhalers,breath actuated inhalers and 25 indicate to the user that a dose has been applied and if done
   manually operated metered dose medicament inhalers.               repeatedly the user would throw away the canister or whole
                                                                     device before it is really time to change the device due to the
              BACKGROUND OF THE INVENTION                            active drug and propellant reaching a set minimum . Addi
                                                                     tionally, the canister must not fire without the dose counter
       Metered dose inhalers can comprise a medicament-con- 30 counting because the user may then apply another dose
   taining pressurised canister containing a mixture of active thinking that the canister has not fired , and if this is done
    drug and propellant. Such canisters are usually formed from            repeatedly the active drug and /or propellant may run out
    a deep -dawn aluminium cup having a crimped lid which                  while the user thinks the device is still suitable for use
    carries a metering valve assembly . The metering valve                 according to the counter. It has also been found to be fairly
    assembly is provided with a protruding valve stem which , in 35 difficult to assembly some known inhaler devices and the
    use is inserted as a push fit into a stem block in an actuator dose counters therefor. Additionally , it is felt desirable to
   body of an inhaler having a drug delivery outlet. In order to improve upon inhalers by making them easily usable after
    actuate a manually operable inhaler, the user applies by hand they have been washed with water.
    a compressive force to a closed end of the canister and the            The present invention aims to alleviate at least to a certain
   internal components of the metering valve assembly are 40 extent one or more of the problems of the prior art.
   spring loaded so that a compressive force of approximately
    15 to 30N is required to activate the device in some typical                    SUMMARY OF THE INVENTION
   circumstances .
       In response to this compressive force the canister moves            According to a first aspect of the present invention there
   axially with respect to the valve stem and the axial move- 45 is provided a dose counter for an inhaler, the dose counter
   ment is sufficient to actuate themetering valve and cause a having a counter display arranged to indicate dosage infor
   metered quantity of the drug and the propellant to be mation , a drive system arranged to move the counter display
   expelled through the valve stem . This is then released into a incrementally in a first direction from a first station to a
   mouthpiece of the inhaler via a nozzle in the stem block , second station in response to actuation input, wherein a
    such that a user inhaling through the outlet of the inhaler will 50 regulator is provided which is arranged to act upon the
   receive a dose of the drug .                                         counter display at the first station to regulate motion of the
       A drawback of self -administration from an inhaler is that         counter display at the first station to incremental move
    it is difficult to determine how much active drug and /or             ments .
   propellant are left in the inhaler, if any, especially of the    The regulator is advantageous in that it helps prevent
   active drug and this is potentially hazardous for the user 55 unwanted motion of the counter display if the counter is
    since dosing becomes unreliable and backup devices not dropped .
   always available.                                                According to a further aspect of the present invention , the
       Inhalers incorporating dose counters have therefore regulator provides a resistance force of greater than 0.1 N
   become known .                                                against movement of the counter display. According to still
      WO 98/028033 discloses an inhaler having a ratchet 60 a further aspect of the present invention , the resistance force
   mechanism for driving a tape drive dose counter. A shaft is greater than 0.3 N.According to yet a further aspect of the
   onto which tape is wound has a friction clutch or spring for            present invention , the resistance force is from 0.3 to 0.4 N.
   restraining the shaft against reverse rotation .           Preferably, the counter comprises a tape.
      EP - A -1486227 discloses an inhaler for dry powered    Preferably , the tape has dose counter indicia displayed
   medicament having a ratchet mechanism for a tape dose 65 thereon . The first station may comprise a region of the dose
    counter which is operated when a mouthpiece of the inhaler             counter where tape is held which is located before a display
    is closed . Due to the way in which the mouthpiece is opened           location , such as a display window , for the counter indicia .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 179 of 318 PageID: 254


                                                       US 10,695,512 B2
                                   3                                                               4
       The first station may comprise a first shaft, the tape being     According to a further aspect of the present invention
   arranged on the first shaft and to unwind therefrom upon there is provided a shaft for holding counter tape in a dose
   movement of the counter display .                                 counter for an inhaler, the shaft having an engagement
       The first shaft may be mounted for rotation relative to a surface including incrementally spaced formations located
    substantially rotationally fixed element of the dose counter. 5 around a periphery thereof, the formations comprising a
       The regulator may comprise at least one projection which series of curved concavities and convex portions .
    is arranged on one of the first shaft and the substantially         The shaft may comprise a hollow bobbin .
   rotationally fixed element and to engage incrementally with          The engagement surface may be a generally cylindrical
   one ormore formations on the other of the first shaft and the     inwardly  directed surface .
   substantially rotationally fixed element.                      10
                                                                        The engagement surface may include a flat surface wall
       At least two said projections may be provided . Exactly portion       joining each concavity and convex wall portion .
   two said projections maybe provided .                               Each  concavity may comprise a radiused wall portion .
       Each projection may comprise a radiused surface .
       The at least one projection may be located on the sub portion . convex wall portion may comprise a radiused wall
                                                                       Each
   stantially fixed element which may comprise a fixed shaft 15 Said concavities may be regularly spaced around a lon
    which is fixed to a main body of the dose counter, the first gitudinal axis of the shaft .
    shaft being rotationally mounted to the fixed shaft .            Said convex wall portions may be regularly spaced
       Preferably, the fixed shaft has least two resiliently
    flexible legs (or forks ). Each leg may have at least one said around a longitudinal axis of the shaft.
    projection formed in an outwardly facing direction thereon , 20 In some embodiments there may be from eight to twelve
   said one or more formations being formed on an inwardly said concavities and /or convex wall portions regularly
   facing engagement surface of the first shaft , said at least one spaced around a longitudinal axis thereof.
   projection being arranged to resiliently engage said one or          One embodiment includes ten said concavities and/ or
   more formations. Preferably , a series of said formations are convex wall portions regularly spaced around a longitudinal
   provided . An even number of said formations may be 25 axis of the shaft.
   provided . Eight to twelve of said formations may be pro             According to a further aspect of the present invention
    vided . In one embodiment,ten said formations are provided . there is provided a shaft and counter tape assembly for use
      Each said formation may comprise a concavity formed on in a dose counter for an inhaler, the assembly comprising a
   an engagement surface. Each concavity may comprise a rotatable shaft and a counter tape which is wound around the
   radiused    surface wall portion which preferably merges on at 30 shaft and is adapted to unwind therefrom upon inhaler
   least one side thereof into a flat wall portion surface . The actuation , the shaft having an engagement surface which
   engagement surface may include a series ofsaid concavities , includes incrementally spaced formations located around a
   and convex wall portions of the engagement surface may be periphery thereof.
   formed between each adjacent two said concavities, each              According to a further aspect of the present invention
    said convex wall portion comprising a convex radiused wall 35 there    is provided an inhaler for the inhalation of medication
   portion .
       Each convex radiused wall portion of each convex wall         and  the like , the inhaler including a dose counter as in the
   portion may be connected by said flat wall portion surfaces first aspect of the present invention .
   to each adjacent concavity.                                          A preferred construction consists of a manually operated
       The fixed shaft may comprise a split pin with fork legs 40 metered dose inhaler including a dose counter chamber
   and each projection may be located on a said fork leg .           including a dose display tape driven by a ratchet wheel
       The first shaft may comprise a substantially hollow bob which is driven in turn by an actuator pawl actuated by
   bin .                                                             movement of a canister, the tape unwinding from a stock
       Said at least one formation may be located on an inner bobbin during use of the inhaler, a rotation regulator being
   surface of the bobbin . In other embodiments it may be 45 provided for the stock bobbin and comprising a wavelike
    located on an outer surface thereof. Said engagement surface engagement surface with concavities which engage against
   may extend partially along said bobbin , a remainder of the control elements in the form of protrusions on resilient forks
   respective inner or outer surface having a generally smooth of a split pin thereby permitting incremental unwinding of
    journal portion along at least a portion thereof.                the stock bobbin yet resisting excessive rotation if the
       The drive system may comprise a tooth ratchet wheel 50 inhaler is dropped onto a hard surface.
   arranged to act upon a second shaft which is located at the          According to another aspect of the present invention there
   second station , the second shaft being rotatable to wind the is provided a dose counter for a metered dose inhaler having
    tape onto the second shaft.                                      a body arranged to retain a medicament canister of prede
        The second shaft may be located on a main body of the termined configuration formovement of the canister relative
   dose counter spaced from and parallel to the first shaft . 55 thereto ; the dose counter comprising : an incremental count
       The ratchet wheel may be fixed to the second shaft is ing system for counting doses, the incremental counting
   arranged to rotate therewith . The ratchet wheel may be system having a main body, an actuator arranged to be
   secured to an end of the second shaft and aligned coaxially driven in response to canister motion and to drive an
   with the second shaft.                                            incremental output member in response to canister motion ,
        The dose counter may include anti -back drive system 60 the actuator and incremental output member being config
   which is arranged to restrictmotion of the second shaft. The ured to have predetermined canister fire and count configu
   anti -back drive system may include a substantially fixed rations in a canister fire sequence , the canister fire configu
   tooth arranged to act upon teeth of the ratchet wheel.            ration being determined by a position of the actuator relative
       According to a further aspect of the present invention , a to a datum at which the canister fires medicament and the
   dose counter includes an anti-back drive system which is 65 count configuration being determined by a position of the
    arranged to restrict motion of the second shaft in a tape         actuator relative to the datum at which the incremental count
   winding direction .                                                system makes an incremental count, wherein the actuator is
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 180 of 318 PageID: 255


                                                       US 10,695,512 B2
                                  5                                                               6
   arranged to reach a position thereof in the count configura wise generally straight surface against which the actuator
   tion at or after a position thereof in the canister fire con      engages and along which it is arranged to slide during a
   figuration .                                                      canister firing sequence .
       This arrangement has been found to be highly advanta             The dose counter may include a counter pawl, the counter
   geous since it provides an extremely accurate dose counter 5 pawl having a tooth arranged to engage the incremental
   which is suitable for use with manually operated metered output member, the tooth and incremental output member
   dose inhalers . It has been found that dose counters with these being arranged to permit one way only incremental relative
    features have a failure rate of less than 50 failed counts per motion therebetween . When the incremental outputmember
   million full canister activation depressions. It has been comprises a ratchet wheel, the tooth can therefore serve as
   found in the course of making the present invention that 10 an anti -back drive tooth for the ratchet wheel, thereby
   highly reliable counting can be achieved with the dose permitting only one way motion or rotation thereof.
   counter counting at or soon after the point at which the             The counter pawl may be substantially fixedly mounted
   canister fires. It has been is covered by the present inventors on the main body of the incremental count system and the
   that momentum and motion involved in firing the canister, counter pawlmay be arranged to be capable of repeatedly
   and in some embodiments a slight reduction in canister back 15 engaging equi-spaced teeth of the incremental output mem
   pressure on the user at the time of canister firing, can very ber in anti-back drive interlock configurations as the counter
   reliably result in additional further motion past the count is operated . The counter pawlmay be positioned so that the
   point.                                                            incremental output member is halfway, or substantially
       The actuator and incremental counting system may be halfway moved from one anti -back drive interlock configu
   arranged such that the actuator is displaced less than 1 mm , 20 ration to the next when the actuator and incremental output
   typically 0.25 to 0.75 mm , more preferably about 0.4 to 0.6 member are in the end configuration thereof. This is highly
   mm , relative to the body between its location in the count advantageous in that itminimises the risk ofdouble counting
   and fire configurations, about 0.48 mm being preferred . The or non -counting by the dose counter.
   canister, which can move substantially in line with the              According to a further aspect of the invention there is
   actuator, can reliably move this additional distance so as to 25 provided an inhaler comprising a main body arranged to
   achieve very reliable counting.                                   retain a medicament canister of predetermined configuration
       The incremental count system may comprise a ratchet and a dose counter mounted in the main body.
   mechanism and the incremental output member may com                  The inhaler main body may include a canister receiving
   prise a ratchet wheel having a plurality of circumferentially portion and a separate counter chamber, the dose counter
   spaced teeth arranged to engage the actuator.                  30 being located within the main body thereof, the incremental
       The actuator may comprise an actuator pawl arranged to output member and actuator thereof inside the counter
   engage on teeth ofthe ratchet wheel. The actuator pawlmay chamber, the main body of the inhaler having wall surfaces
   be arranged to be connected to or integral with an ac             separating the canister-receiving portion and the counter
   pin arranged to engage and be depressed by a medicament chamber, the wall surfaces being provided with a commu
   canister bottom flange. The actuator pawlmay be generally 35 nication aperture , an actuation member extending through
   U - shaped having two parallel arms arranged to pull on a the communication aperture to transmit canister motion to
   central pawlmember arranged substantially perpendicular the actuator.
   thereto . This provides a very reliable actuator pawl which        According to a further aspect of the present invention
   can reliably pull on the teeth of the ratchet wheel.            there is a provided an inhaler for metered dose inhalation ,
        The incremental count system may include a tape counter 40 the inhaler comprising a main body having a canister
   having tape with incremental dose indicia located thereon , housing arranged to retain a medicament canister for motion
   the tape being positioned on a tape stock bobbin and being therein , and a dose counter, the dose counter having an
   arranged to unwind therefrom .                                  actuation member having at least a portion thereof located in
        The actuator and incremental output member may be the canister housing for operation by movement of a medi
   arranged to provide a start configuration at which the 45 cament canister, wherein the canister housing has an inner
   actuator is spaced from the ratchet output member, a reset wall, and a first inner wall canister support formation located
   configuration at which the actuator is brought into engage      directly adjacent the actuation member.
   ment with the incremental outputmember during a canister           This is highly advantageous in that the first inner wall
    fire sequence , and an end configuration at which the actuator canister support formation can prevent a canister from
   disengages from the ratchet output during a canister fire 50 rocking too much relative to the main body of the inhaler.
   sequence .                                                      Since the canister may operate the actuation member of the
       The actuator may be arranged to be located about 1.5 to       dose counter, this substantially improves dose counting and
    2.0 mm , from its location in the fire configuration , when in   avoids counter errors .
   the start configuration , about 1.80 mm being preferred .          The canister housing may have a longitudinal axis which
       The actuator may be arranged to be located about 1.0 to 55 passes through a central outlet port thereof, the central outlet
    1.2 mm , from its location in the fire configuration , when in port being arranged to mate with an outer canister fire stem
   the reset configuration , about 1.11 mm being preferred .       of a medicament canister , the inner wall canister support
        The actuator may be arranged to be located about 1.1 to formation , the actuation member and the outlet port lying in
    1.3 mm , from its location in the fire configuration , when in a common plane coincident with the longitudinal axis.
   the end configuration , about 1.18 mm being preferred . 60 Accordingly , this construction may prevent the canister from
       These arrangements provide extremely reliable dose rocking towards the position of the dose counter actuation
   counting , especially with manually operated canister type member, thereby minimising errors in counting .
   metered dose inhalers .                                            The canister housing may have a further inner canister
       The main body may include a formation for forcing the wall support formation located on the innerwall opposite, or
   actuator to disengage from the incremental output member 65 substantially opposite, the actuation member. Accordingly,
   when the actuator is moved past the end configuration . The the canister may be supported against rocking motion away
    formation may comprise a bumped up portion of an other           from the actuator member so as to minimise count errors .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 181 of 318 PageID: 256


                                                      US 10,695,512 B2
                                  7                                                                  8
       The canister housing may be generally straight and tubu      a dose counter , the dose counter having a moveable actuator
    lar and may have an arrangement in which each said inner        and a chassis mounted on the body ; the chassis being heat
   wall support formation comprises a rail extending longitu        staked in position on the body. This is be highly advanta
   dinally along the inner wall.                                    geous in that the chassis can be very accurately positioned
      Each said rail may be stepped , in that it may have a first 5 and held firmly in place , thereby further improving counting
   portion located towards a medicine outlet end or stem block accuracy compared to prior art arrangements in which some
   of the canister housing which extends inwardly a first movement of the chassis relative to the body may be
   distance from a main surface of the inner wall and a second      tolerated in snap -fit connections.
   portion located toward an opposite end of the canister              The chassis may have at least one of a pin or aperture heat
   chamber which extends inwardly a second , smaller distance 10 staked to a respective aperture or pin of the body.
   from the main surface of the inner wall. This may therefore         The chassis may have a ratchet counter output member
   enable easy insertion of a canister into the canister housing mounted thereon .
   such that a canister can be lined up gradually in step wise         The ratchet counter output member may comprise a
   function as it is inserted into the canister housing .           ratchet wheel arranged to reel in incrementally a dosemeter
      The inhaler may include additional canister support rails 15 tape having a dosage indicia located thereon.
    which are spaced around an inner periphery of the inner wall         According to a further aspect of the present invention
    of the canister housing and which extend longitudinally           there is provided a method of assembling an inhaler includ
    therealong .                                                       ing the step of heat staking the chassis onto the body . The
       At least one of the additional rails may extend a constant step of heat staking is highly advantageous in fixedly
   distance inwardly from the main surface of the inner wall. 20 positioning the chassis onto the body in order to achieve
       At least one of the additional rails may be formed with a highly accurate dose counting in the assembled inhaler.
   similar configuration to the first inner wall canister support          The method of assembly may include mounting a spring
   formation .                                                         returned ratchet actuator in the body before heat staking the
       The dose counter may, apart from said at least a portion chassis in place. The method of assembly may include
   of the actuation member, be located in a counter chamber 25 pre -assembling the chassis with a dose meter tape prior to
   separate from the canister housing , the actuation member the step of heat staking the chassis in place . The method of
   comprising a pin extending through an aperture in a wall assembly may include attaching a dose meter cover onto the
   which separates the counter chamber and the canister hous body after the heat staking step . The cover may be welded
    ing .                                                              onto the body or may in some embodiments be glued or
       According to a further aspect of the present invention 30 otherwise attached in place.
   there is provided an inhaler for inhaling medicaments hav              According to a further aspect of the present invention
    ing : a body for retaining a medicament store; the body there is provided an inhaler for inhaling medicament and
   including a dose counter, the dose counter having a move having a body, the body have a main part thereof for
   able actuator and a return spring for the actuator, the return retaining a medicament store; and a dose counter , the dose
   spring having a generally cylindrical and annular end ; the 35 counter being located in a dose counter chamberof the body
   body having a support formation therein for supporting said which is separated from the main part of the body, the dose
   end of the return spring , the support formation comprising a counter chamber of the body having a dosage display and
   shelf onto which said end is engageable and a recess below being perforated so as to permit the evaporation of water or
   the shelf.                                                          aqueous matter in the dose counter chamber into the atmo
       This shelf and recess arrangement is highly advantageous 40 sphere.
   since it allows a tool (such as manual or mechanical twee               This is high advantageous since it enables the inhaler to
   zers ) to be used to place the return spring of the actuator onto be thoroughly washed and the dose counting chamber can
   the shelf with the tool then being withdrawn at least partially thereafter dry out fully .
   via the recess .                                                        The display may comprise a mechanical counter display
       The shelf may be U -shaped .                                 45 inside the dose counter chamber and a window for viewing
       The support formation may include a U -shaped upstand           the mechanical counter display. The mechanical counter
   ing wall extending around the U -shaped shelf, the shelf and display may comprise a tape . The perforated dose counter
   upstanding wall thereby forming a step and riser of a stepped chamber may therefore enable reliable washing of the
   arrangement.                                                        inhaler, if desired by the user , and may therefore dry out
       The recess below the shelf my also be U - shaped .           50 without the display window misting up.
       At least one chamfered surface may be provided at an                The dose counter chamber may be perforated by a drain
   entrance to the shelf. This may assist in inserting the actuator hole formed through an outer hole of the body . The drain
   and return spring into position .                                   hole may be located at a bottom portion of the body of the
       A further aspect of the invention provides a method of inhaler, thereby enabling full draining of the inhaler to be
   assembly of an inhaler which includes the step of locating 55 encouraged after washing when the inhaler is brought into
   said end ofsaid spring on the shelf with an assembly tool and an upright position .
   then withdrawing the assembly tool at least partly via the              According to a further aspect of the present invention
   recess. This assembly method is highly advantageous com             there is provided a dose counter for an inhaler, the dose
   pared to prior artmethods in which spring insertion has been counter having a display tape arranged to be incrementally
   difficult and in which withdrawal of the tool has sometimes 60 driven from a tape stock bobbin onto an incremental tape
   accidentally withdrawn the spring again .                           take-up drive shaft, the bobbin having an internal bore
       The cylindrical and annular end of the spring may be supported by and for rotation about a support shaft, at least
   movable in a direction transverse to its cylindrical extent one of the bore and support shaft having a protrusion which
   into the shelf while being located thereon .                        is resiliently biased into frictional engagementwith the other
       According to a further aspect of the present invention 65 of the bore and support shaft with longitudinally extending
    there is provided an inhaler for inhaling medicament, the mutual frictional interaction . This arrangement may provide
   inhaler having a body for retaining a medicament store; and good friction for the bobbin , thereby improving tape counter
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 182 of 318 PageID: 257


                                                       US 10,695,512 B2
                                  9                                                                10
    display accuracy and preventing the bobbin from unwinding        dose counter positions for a dose counter actuator of the
    undesirably for example if the inhaler is accidentally           inhaler ; calculating a failure/success rate for dose counters
    dropped .                                                        built to tolerance levels for counting each fire of inhalers in
       The support shaft may be forked and resilient for resil       which the dose counter actuators may be applied ; and
    iently biasing the support shaft and bore into frictional 5 selecting a tolerance level to result in said failure/success
    engagement.                                                  rate to be at or below /above a predetermined value. This is
       The support shaft may have two forks, or more in some highly advantageous in that it allows an efficient and accu
    cases , each having a radially extending protrusion having a rate prediction of the reliability of a series of inhaler
   friction edge extending therealong parallel to a longitudinal counters made in accordance with the design .
   axis of the support shaft for frictionally engaging the bore of 10 The method of designing may include selecting the fail
   the support shaft with longitudinally extending frictional ure /success rate as a failure rate of no more than one in 50
   interaction therebetween .                                        million . The method of designing may include setting an
      The bore may be a smooth circularly cylindrical or average count position for dose counters built to the toler
   substantially cylindrical bore .                                  ances to be at or after an average fire position thereof during
      Each of the above inhalers in accordance with aspects of 15 canister firingmotion . Themethod of designingmay include
   the present invention may have a medicament canister setting the average count position to be about 0.4 to 0.6 mm
   mounted thereto .                                                 after the average fire position , such as about 0.48 mm after.
      The canister may comprise a pressurised metered dose The method of designing may include setting tolerances for
   canister having a reciprocally movable stem extending the standard deviation of the fire position in dose counters
   therefrom and movable into a main canister portion thereof 20 built to the tolerances to be about 0.12 to 0.16 mm , such as
   for releasing a metered dose of medicament under pressure , about 0.141 mm . The method of designing may include
   for example by operating a metered dose valve inside the setting tolerances for the standard deviation of the count
   canister body. The canister may be operable by pressing by positions in dose counters built to the tolerances to be about
   hand on the main canister body.                                   0.07 to 0.09 mm , such as about 0.08 mm . A further aspect
      In cases in which one or more support rails or inner wall 25 of the invention provides a computer implemented method
   support formations are provided , the canister may at all of designing an incremental dose counter for an inhaler
   times when within the canister chamber have a clearance of which includes the aforementioned method of designing.
   about 0.25 to 0.35 mm from the first inner wall support              A further aspect of the invention provides a method of
   formation . The clearance may be almost exactly 0.3 mm . manufacturing in a production run a series of incremental
    This clearance which may apply to the canister body itself 30 dose counters for inhalers which comprises manufacturing
    or to the canister once a labelhas been applied , is enough to    the series of dose counters in accordance with the afore
    allow smooth motion of the canister in the inhaler while at      mentioned method of designing.
    the same time preventing substantial rocking of the canister       A further aspect of the invention provides a method of
   which could result in inaccurate counting by a dose counter manufacturing a series of incremental dose counters for
   of the inhaler, especially when lower face of the canister is 35 inhalers, which comprises manufacturing the dose counters
   arranged to engage an actuatormember of the dose counter with nominal canister fire and dose count positions of a dose
   for counting purposes .                                          counter actuator relative to a dose counter chassis (or inhaler
      According to a further aspect of the invention , a method main body ), and which includes building the dose counters
   of assembling a dose counter for an inhaler comprises the with the average dose count position in the series being , in
    steps of providing a tape with dosing indicia thereon ; 40 canister fire process, at or after the average canister fire
   providing tape positioning indicia on the tape; and stowing position in the series .
   the tape while monitoring for the tape positioning indicia          According to a further aspect of the invention , the method
   with a sensor. The method advantageously permits efficient provides fitting each dose counter in the series of incremen
   and accurate stowing of the tape , e.g. by winding .             tal dose counters to a correspondingmain body of an inhaler.
       The dosing indicia may be provided as numbers, the tape 45 These aspects advantageously provide for the production
   positioning indicia may be provided as one or more lines run of a series of inhalers and dose counters which count
   across the tape . The stowing step comprises winding the tape reliably in operation .
   onto a bobbin or shaft, and , optionally , stopping winding         According to a further aspect of the invention , an incre
   when the positioning indicia are in a predetermined position . mental dose counter for a metered dose inhaler has a body
    The tapemay be provided with pixelated indicia at a position 50 arranged to retain a canister for movement of the canister
   spaced along the tape from the positioning indicia . The tape relative thereto , the incremental dose counter having a main
   may also be provided with a priming dot.                         body, an actuator arranged to be driven and to drive an
      According to a further aspect of the invention , a tape incremental output member in a count direction in response
   system for a dose counter for an inhaler has a main elongate to canister motion , the actuator being configured to restrict
   tape structure , and dosing indicia and tape positioning 55 motion of the output member in a direction opposite to the
    indicia located on the tape structure. The tape positioning countdirection . This advantageously enables an inhaler dose
   indicia may comprise at least one line extending across the counter to keep a reliable count of remaining doses even if
   tape structure. The tape system may comprise pixelated dropped or otherwise jolted .
   indicia located on the tape structure and spaced from the           The output member may comprise a ratchet wheel. The
   positioning indicia . The tape system may comprise a prim- 60 actuatormay comprise a pawland in which the ratchet wheel
   ing dot located on the tape structure. The positioning indicia and pawl are arranged to permit only one-way ratcheting
   may be located between the timing dot and the pixelated motion of the wheel relative to the pawl. The dose counter
   indicia . The main elongate tape structure may have at least may include an anti -back drive member fixed to the main
   one end thereof wound on a bobbin or shaft.                      body. In a rest position of the dose counter, the ratchet wheel
       A further aspect of the invention provides a method of 65 is capable of adopting a configuration in which a back
   designing an incremental dose counter for an inhaler com         surface of one tooth thereof engages the anti-back drive
   prising the steps of calculating nominal canister fire and member and the pawl is spaced from an adjacent back
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 183 of 318 PageID: 258


                                                       US 10,695,512 B2
                                  11                                                                   12
    surface of another tooth of the ratchet wheel without positive         FIG . 21 is a view of a preferred embodiment of a dry
    drive/blocking engagement between the pawl and wheel.                powder inhaler in accordance with the present invention ;
           BRIEF DESCRIPTION OF THE DRAWINGS
                                                                           FIG . 22 is an exploded view of the inhaler of FIG . 21;
                                                                            FIG . 23 is a view of a dose counter of the inhaler of FIG .
                                                                      5 21;
       The present invention may be carried out in various ways    FIG . 24 is an exploded view of the dose counter shown in
    and preferred embodiment of a dose counter, inhaler and      FIG . 23 ;
   methods of assembly, design and manufacture will now be         FIG . 25 is an exploded view of parts of the inhaler of FIG .
   described with reference to the accompanying drawings in 10 21 ; and
   which :                                                          FIG . 26 is a view of a yoke of the inhaler of FIG . 21 .
      FIG . 1 is an isometric view of a main body of an                     DETAILED DESCRIPTION OF THE
   embodiment of an inhaler related to the invention together                            INVENTION
   with a mouthpiece cap therefor ;
      FIG . 2 is a top plan view of the components as shown in 15 FIG . 1 shows a main body 10 of a manually operated
    FIG . 1 ;                                                            metered dose inhaler 12 in accordance with an embodiment
      FIG . 3A is a section on the plane 3A -3A in FIG . 2 ;
     FIG . 3B is a view corresponding to FIG . 3A but with a related     to the present invention and having a mouthpiece cap
                                                                 14 securable over a mouthpiece 16 of the main body .
   dose counter fitted to the main body of the inhaler;             The main body has a canister chamber 18 into which a
      FIG . 4A is an exploded view of the inhaler main body, 20 canister 20 (FIG . 7A ) is slideable. The canister 20 has a
   mouthpiece cap , dose counter and a dose counter window ; generally cylindrical main side wall 24 , joined by a tapered
      FIG . 4B is a view in the direction 4B in FIG . 4C of a    section 26 to a head portion 28 having a substantially flat
   spring retainer of the dose counter ;                         lower face 30 which has an outer annular drive surface 32
     FIG . 4C is a top view of the spring retainer of FIG . 4B ; arranged to engage upon and drive an actuation pin 34 of a
     FIG . 5 is a bottom view of the assembled inhaler main 25 dose counter 36 as will be described . Extending centrally
   body , mouthpiece cap , dose counter and dose counter win     and axially from the lower face 30 is a valve stem 38 which
   dow ;                                                         is arranged to sealingly engage in a valve stem block 40 of
      FIGS. 6A , 6B , 6C , 6D , 6E , 6F, 6G and 6H are various the main body 10 of the inhaler 12. The valve stem block 40
   views of dose counter components of the inhaler;              has a passageway 42 leading to a nozzle 44 for directing the
     FIGS. 7A and 7B are sectional views showing canister 30 contents of the canister 20 , namely active drug and propel
    clearance inside the main body of the inhaler;                       lant, towards an air outlet 46 of the inhaler main body 12. It
      FIG . 7C is a further sectional view similar to that of FIG .      will be appreciated that due to gaps 48 between the canister
    7B but with the canister removed ;                                   20 and an inner wall 50 of the main body 10 of the inhaler
      FIG . 7D is a top plan view of the inhaler main body;           12 an open top 52 of the main body 10 forms an air inlet into
      FIGS   . 8A , 8B , 8C and 8D show the inhaler
   dose counter components during assembly thereof;
                                                    main body  and 35 the inhaler 12 communicating via air passageway 54 with
                                                                      the air outlet 46 , such that canister contents exiting nozzle 44
      FIG . 9 shows a sectional side view of a datum line for an mix with air being sucked by the user through the air
   actuator pawl of the dose counter ;                                passageway 54 in order to pass together through the air
       FIGS. 10A , 10B , 10C , 10D , 10E and 10F show various outlet and into the mouth of the user (not shown ).
   side views of positions and configurations of the actuator 40 The dose counter 36 will now be described . The dose
   pawl, a ratchet wheel, and a count pawl;                           counter 36 includes an actuation pin 34 biased upwardly
       FIG . 11 shows distributions for tolerances of start, reset, from underneath by a return spring 56 once installed in the
   fire, count and end positions for the actuator of the dose main body 10. As best shown in FIGS. 4A , 6H and 8A , the
   counter;                                                           pin 34 has side surfaces 58 , 60 arranged to slide between
      FIG . 12 is an enlarged version of part of FIG . 4A ;        45 corresponding guide surfaces 62, 64 located in a dose
      FIG . 13 shows an end portion of a tape of the dose counter chamber 66 of the main body 10 , as well as an end
   counter;                                                           stop surface 68 arranged to engage a corresponding end stop
      FIG . 14 shows a computer system for designing the dose 70 formed in the dose counter chamber 66 to limit upward
   counter;                                                           movement of the pin 34. The pin 34 has a top part 72 which
       FIG . 15 is an isometric view of a stock bobbin modified 50 is circularly cylindrical and extends through an aperture 74
    in accordance with the present invention for use in the dose formed through a separator wall 76 which separates the
    counter of the inhaler of FIGS. 1 to 14 ;                             canister chamber 18 from the dose counter chamber 66. The
       FIG . 16 shows an end view of the stock bobbin of FIG . 15 ;      top part 72 of the pin 34 has a flat top surface 78 which is
       FIG . 17 is a section through a longitudinal axis of the          arranged to engage the outer annular drive surface 32 of the
    stock bobbin of FIGS . 15 and 16 ;                                55 canister 20 .
       FIGS. 18A , 18B and 18C are views of the stock bobbin of             The actuation pin 34 is integrally formed with a drive or
    FIGS. 15 to 17 mounted in the dose counter chassis of FIGS .         actuator pawl 80. The actuator pawl 80 has a generally
    1 to 14 , with the control elements of the forks of the second       inverted U - shape configuration ,having twomutually spaced
   shaft (or split pin ) having a profile slightly different to that and parallel arms82, 84 extending from a base portion of the
    in FIG . 6F , with the forks in a compressed configuration ; 60 actuation pin 34 , each holding at respective distal ends 88
       FIGS. 19A , 19B and 19C are views equivalent to FIGS. thereof opposite ends of a pawl tooth member 90 which
    18A to 18C but with the forks in a more expanded configu         extends in a direction substantially perpendicular to the arms
   ration due to a different rotational position of the stock 82 , 84 , so as to provide what may be considered a “ saddle ”
   bobbin ;                                                          drive for pulling on each of the 11 drive teeth 92 of a ratchet
       FIG . 20 is an isometric view of the chassis assembled and 65 wheel 94 of an incremental drive system 96 or ratchet
   including the stock bobbin of FIGS . 15 to 17 but excluding mechanism 96 of the dose counter 36. As shown for example
    the tape for reasons of clarity ;                                    in FIG . 10B , the pawl tooth member 90 has a sharp lower
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 184 of 318 PageID: 259


                                                       US 10,695,512 B2
                                 13                                                                 14
   longitudinal side edge 98 arranged to engage the drive teeth mm vertically below the axis 145 , and the flat 145 ' being
   92 , the edge - to -surface contact provided by this engagement spaced a distance sideways (i.e. parallel to the datum plane
   providing very accurate positioning of the actuator pawl 80 220 ) 2.48 mm from the axis 145. The top surface 78 of the
   and resultant rotational positioning of the ratchet wheel 94 . pin 34 (FIG . 6H ) is 11.20 mm above the datum plane 220
       The dose counter 36 also has a chassis preassembly 100 5 (FIG.9 ) when the actuator pawl 80 and pin 34 are in the start
   which , as shown in FIGS .4A and 6A , includes a chassis 102 configuration . The length of the valve stem 22 is 11.39 mm
   having a first shaft 104 receiving the ratchet wheel 94 which and the drive surface 32 of the canister 20 is 11.39 mm above
   is secured to a tape reel shaft 106 , and a second shaft (or split the datum plane 220 when the canister is at rest waiting to
   pin ) 108 which is parallel to and spaced from the first shaft be actuated , such that there is a clearance of 0.19 mm
   104 and which slidably and rotationally receives a tape stock 10 between the canister 20 and the pin 34 in this configuration .
   bobbin 110 .                                                           FIGS. 10A and 10B show the actuator pawl80 and ratchet
       As shown in FIG . 6B , when the inhaler has not been used      wheel 94 and count pawl 138 in a start position in which the
    at all , the majority of a tape 112 is wound on the tape stock     flat top 78 of the pin 34 has not yet been engaged by the
    bobbin 110 and the tape 112 has a series of regularly spaced      outer annular drive surface 32 of the canister 20 or at least
    numbers 114 displayed therealong to indicate a number of 15 has not been pushed down during a canister depression .
   remaining doses in the canister 20. As the inhaler is repeat    In this " start" position , the count pawl 138 engages on a
   edly used , the ratchet wheel 94 is rotated by the actuator non - return back surface 140 of one of the teeth 92 of the
   pawl 80 due to operation of the actuation pin 34 by the ratchet wheel 94. The lower side edge 98 of the actuator
   canister 20 and the tape 112 is incrementally and gradually pawl is a distance “ D ” (FIG . 9 ) 1.33 mm above datum plane
   wound on to the tape reel shaft 106 from the second shaft 20 220 which passes through bottom surface or shoulder 41 of
    108. The tape 112 passes around a tape guide 116 of the valve stem block 40, the datum plane 220 being perpen
   chassis 102 enabling the numbers 114 to be displayed via a dicular to a main axis “ X ” of the main body 10 of the inhaler
   window 118 in a dose counter chamber cover 120 having a 12 which is coaxial with the centre of the valve stem block
   dose marker 132 formed or otherwise located thereon .        bore 43 and parallel to a direction of sliding of the canister
       As shown in FIGS. 6A and 6D , the second shaft 108 is 25 20 in the main body 10 of the inhaler 12 when the canister
    forked with two forks 124, 126. The forks 124 , 126 are       is fired .
    biased away from one another. The forks have located             As shown in FIG . 10B , an advantageous feature of the
    thereon at diametrically opposed positions on the second construction is that the pawl tooth /actuator 90 acts as a
    shaft 108 friction or control elements 128, 130 , one on each supplementary anti -back drive member when the inhaler 12
    fork . Each control element extends longitudinally along its 30 is not being used for inhalation . In particular , if the inhaler
    respective fork 124, 126 and has a longitudinally extending 12 is accidentally dropped, resulting in a jolt to the dose
    friction surface 132, 134 which extends substantially paral counter 36 then , if the wheel 94 would try to rotate clock
    lel to a longitudinal axis of the second shaft and is adapted wise (backwards ) as shown in FIG . 10B , the back surface
    to engage inside a substantially cylindrical bore 136 inside 140 of a tooth will engage and be blocked by the tooth
    the tape stock bobbin 110. This control arrangement pro- 35 member 90 of the pawl 80. Therefore, even if the anti -back
   vided between the bore 136 and the control elements 128 , drive tooth 138 is temporarily bent or overcome by such a
   130 provides good rotational control for the tape stock jolt , undesirable backwards rotation of the wheel 94 is
   bobbin 110 such that it does not unwind undesirably such as prevented and , upon the next canister firing sequence, the
   when the inhaler is dropped . The tape force required to pawl 90 will force the wheel 94 to catch up to its correct
   unwind the tape stock bobbin 110 and overcome this friction 40 position so that the dose counter 36 continues to provide
   force is approximately 0.1 N.                                      correct dosage indication .
       As can be seen in FIG . 6D , as well as FIGS . 66 and 10A        FIG . 10C shows a configuration in which the actuator
   to 10F, the chassis 102 is provided with an anti- back drive pawl 80 has been depressed with the pin 34 by the canister
   tooth 138 or count pawl 138 which is resiliently and sub           20 to a position in which the side edge 98 of the pawltooth
   stantially fixedly mounted thereto . As will be described 45 member 90 is just engaged with one of the teeth 92 and will
   below and as can be seen in FIGS. 10A to 10F, when the therefore upon any further depression of the pin 34 begin to
   actuation pin 34 is depressed fully so as to fire the metered rotate the wheel 94. This is referred to as a “ Reset " position
   valve (not shown) inside the canister 20 , the actuator pawl or configuration . In this configuration , the lower side edge
   80 pulls down on one of the teeth 92 of the ratchet wheel 94 98 of the actuator 80 is 0.64 mm above the datum plane 220 .
   and rotates the wheel 94 anticlockwise as shown in FIG . 6D 50 FIG . 10D shows a configuration in which the actuator
   so as to jump one tooth 92 past the count pawl 138 , thereby pawl 80 has been moved to a position lower than that shown
   winding the tape 112 a distance incrementally relative to the in FIG . 10C and in which the metered dose valve (not
   dose marker 122 on the dose counter chamber 120 so as to shown) inside the canister has at this very position fired in
   indicate that one dose has been used .                             order to eject active drug and propellant through the nozzle
      With reference to FIG . 10B , the teeth of the ratchet wheel 55 44. It will be noted that in this configuration the count pawl
   94 have tips 143 which are radiused with a 0.1 mm radius 138 is very slightly spaced from the back surface 140 of the
   between the flat surfaces 140, 142. The ratchet wheel 94 has same tooth 92 that it was engaging in the configuration of
   a central axis 145 which is 0.11 mm above datum plane 220 FIG . 10D . The configuration shown in FIG . 10D is known
   (FIG.9 ). A top /nose surface 147 of the anti -back drive tooth as a “ Fire” configuration . In this configuration the lower side
   138 is located 0.36 mm above the datum plane 220. The 60 edge 98 of the actuator 80 is 0.47 min below the datum plane
   distance vertically ( i.e. transverse to datum plane 220 — FIG . 220 .
   9 ) between the top nose surface 147 of the anti -back drive         FIG . 10E shows a further step in the sequence , called a
    tooth is 0.25 mm from the central axis 145 of the wheel 94 .      “ Count” position in which the actuator pawl 80 has rotated
   Bump surface 144 has a lateral extent of 0.20 mm , with a the ratchet wheel 94 by the distance circumferentially angu
   vertical length of a flat 145 ' thereof being 1 mm , the width 65 larly between two of the teeth 92 , such that the count pawl
   of the bump surface being 1.22 mm ( in the direction of the 138 has just finished riding along a forward surface 142 of
   axis 145 ), the top 149 of the bump surface 144 being 3.02 one of the teeth 92 and has resiliently jumped over the tooth
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 185 of 318 PageID: 260


                                                       US 10,695,512 B2
                                 15                                                                 16
   into engagementwith the back surface 140 of the next tooth . second portion 102 having a lesser radial or inwardly
   Accordingly , in this " Count" configuration, a sufficiently extending extent than the first portion 156 , and finally a
   long stroke movement of the pin 34 has occurred that the second step 164 at which the rail merges into the main inner
   tape 112 of the dose counter 36 will just have counted down wall 50 main surface .
   one dose . In this configuration , the lower side edge 98 of the 5 A method of assembling the inhaler 12 will now be
   actuator is 0.95 mm below the datum plane 220. Accord              described .
   ingly , in this position , the actuator 80 generally , including     With reference to FIG . 8A , the main body 10 of the
   edge 98 , is 0.48 mm lower than in the fire configuration . It inhaler 12 is formed by two or more plastics mouldings
   has been found that , although the count configuration hap which have been joined together to the configuration shown.
   pens further on than the fire configuration , counting is highly 10 As shown in FIG . 8B , the actuator pawl 80 and pin 34 are
   reliable, with less than 50 failed counts per million. This is translated forward into position into a pin receiving area 166
   at leastpartially due to momentum effects and to the canister in the dose counter chamber 66 and the pin 34 and actuator
   releasing some back pressure on the user in some embodi 80 may then be raised until the pin 34 emerges through the
   ments as its internal metering valve fires.                        aperture 74.
      In the configuration of FIG . 10F , the pawl 80 has been 15 Next, the return spring 56 may be inserted below the pin
   further depressed with the pin 34 by the canister 20 to a 34 and a generally cylindrical annular lower end 168 of the
    position in which it is just disengaging from one of the teeth   spring 56 may be moved by a tweezer or tweezer- like
    92 and the actuator pawl 80 is assisted in this disengagement    assembly tool (not shown) into engagement with a shelf 170
    by engagement of one of the arms 84 with a bump surface          of a spring retainer 172 in the dose counter chamber 66. The
   144 on the chassis 102 (see FIG . 6G ) and it will be seen at 20 spring retainer 172 is U -shaped and the shelf 170 is
   this point of disengagement, which is called an “ End” U -shaped and has a recess 174 formed below it. As shown
   configuration , the count pawl 138 is positioned exactly in FIGS . 4B , 4C and 12 shelf 170 includes three chamfer
   halfway or substantially halfway between two of the drive surfaces 176 , 178 , 180 arranged to assist in moving the
   teeth 92. This advantageously means therefore that there is lower end of the spring 168 into position onto the shelf using
   a minimum chance of any double counting or non -counting, 25 the assembly tool (not shown ). Once the lower end of the
   which would be undesirable. In the end configuration , the spring 168 is in place , the assembly tool (not shown ) can
   side edge 98 of the actuator is 1.65 mm below the datum          easily be removed at least partly via the recess 174 below the
   plane 220. It will be appreciated that any further depression lower end 168 of the spring 56 .
   of the actuator pawl 80 and pin 34 past the “ End” configu          The tape 112 is attached at one end (not shown) to the tape
   ration shown in FIG . 10F will have no effect on the position 30 stock bobbin 110 and is wound onto the bobbin by a motor
   of the tape 112 displayed by the dose counter 36 since the 200 (FIG . 13 ) having a hexagonal output shaft 202 which
   actuator pawl 80 is disengaged from the ratchet wheel 94 engages in a hexagonal socket 204 (FIG . 6B ) of the bobbin .
   when it is below the position shown in FIG . 10F .               During winding , the tape is monitored by a sensor 206 ,
      As shown in FIGS . 7C and 7D , the inner wall 50 of the        which may be in the form of a camera or laser scanner,
   main body 10 is provided with a two -step support rail 144 35 which feeds data to a computer controller 205 for the motor
   which extends longitudinally along inside the main body and 200. The controller 205 recognises three positioning mark
   is located directly adjacent the aperture 74. As shown in FIG . ers 210 in the form of lines across the tape 112 and stops the
   7B a diametrically opposed two-step support rail 146 is also motor 202 when the tape 112 is nearly fully wound onto the
   provided and this diametrically opposed in the sense that a bobbin 110 , such that the distal end 212 of the tape 112 can
   vertical plane (not shown) can pass substantially directly 40 be secured, e.g. by adhesive, to the tape reel shaft 106. The
   through the first rail 144 , the aperture 74 , a central aperture controller 205 also recognises a pixelated tape size marker
   148 of the valve stem block 40 ( in which canister stem 25 214 observed by the sensor 206 and logs in a stocking
   is located ) and the second two -step support rail 146. As system data store 217 details of the tape 112 such as the
   shown in FIG . 7A and schematically in FIG . 7B , the rails number of numbers 114 on the tape, such as one hundred and
   144 , 146 provide a maximum clearance between the canister 45 twenty or two hundred numbers 114. Next, the tape reel shaft
   20 and the rails 144, 146 in a radial direction of almost is wound until an appropriate position of the lines 210 at
   exactly 0.3 mm , about 0.25 to 0.35 mm being a typical which a priming dot 216 will , once the bobbin 110 and reel
   range. This clearance in this planemeans that the canister 20 shaft 106 are slid onto the second shaft 108 and second shaft
   can only rock backwards and forwards in this plane towards 104 , be in a position to be located in the window 118 when
   away from the actuation pin 34. A relatively small distance 50 the inhaler 12 is fully assembled . In the embodiments, the
   and this therefore prevents the canister wobbling and chang bobbin 110 and reel shaft 106 may be slid onto the shafts
   ing the height of the actuation pin 34 a as to undesirably alter 108 , 104 before the tape 112 is secured to the reel shaft 106
   the accuracy of the dose counter 36. This is therefore highly and the reel shaft may then be wound to position the priming
   advantageous.                                                      dot 216 .
       The inner wall 50 of the main body 10 is provided with 55 Next, the assembled dose counter components of the
   two further two - step rails 150 as well as two pairs 152, 154 chassis preassembly 100 shown in FIG . 6B may as shown in
   of rails extending different constant radial amounts inwardly FIG . 8C be inserted into the dose counter chamber 66 , with
   from the inner wall 50 , so as to generally achieve a maxi pins 182 , 184 , 186 formed on the main body 10 in the dose
   mum clearance of almost exactly 0.3 mm around the canister counter chamber 66 passing through apertures or slots 188 ,
   20 for all of the rails 144 , 146 , 150, 152, 154 spaced around 60 190 , 192 formed on the chassis 102 , such that the pins 182 ,
   the periphery of the inner wall 50 , in order to prevent undue 184, 186 extend through (or at least into ) the apertures or
   rocking while still allowing canister motion freely inside the slots 188 , 190 , 192. With the chassis 102 being relatively
   inhaler 12. It will be clear from FIG . 7C for example that the firmly pushed towards the main body 10 , the pins 182 , 184 ,
   two -step rails have a first portion near an outlet end 156 of     186 are then heat staked and the chassis 102 is therefore after
    the canister chamber 18 , the first portion having a substan- 65 this held very firmly in position in the main body and is
    tially constant radial or inwardly - extending width , a first    unable to move, thereby assisting in providing great accu
    step 160 leading to a second portion 162 of the rail, the         racy for the dose counter 36.Next, as shown in FIG . 8D , the
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 186 of 318 PageID: 261


                                                       US 10,695,512 B2
                              17                                                                      18
    dose counter chamber cover 120 may be fitted over the dose            First, it can be seen that there is a modification in that the
   counter chamber 66 and may be secured in place such as by drive teeth 92 of the ratchetwheel 94 have a different profile
   welding, with the priming dot 216 being displayed through to that in FIGS. 1 to 14. There are also only nine ratchet teeth
   the window .                                                    94 in this embodiment instead of eleven .
      The user can , when readying the inhaler 12 for first use, 5 Additionally, as shown in FIGS. 18C and 19C , the control
   prime the inhaler by depressing the canister 20 three times elements 128 , 130 on the forks 124, 126 of the second shaft
   which will bring the first number 114 on the tape into display 108 have a tapered profile which is different to the profile of
   through the window 118 in place of the priming dot 216 , the the control elements 128 , 130 shown in FIG . 6F. Either
   number 114 shown in FIG . 8D being “ 200 ” , thereby indi profile can be used in the embodiment of FIGS. 15 to 20
   cating that 200 doses are remaining to be dispensed from the 10 however.
   canister 20 and inhaler 12 .
      As shown in FIG . 8D , and in FIG . 5 , an open drain hole 110Furthermore
                                                                       has an
                                                                                  , as shown in FIG . 15 , the tape stock bobbin
                                                                              inwardly  facing generally cylindrical engagement
   194 is provided at the bottom of the dose counter chamber surface 300 with a wavelike           form extending partially the
   66 by a substantially semi-circular cut- out or recess forma realong . The engagement surface        300 has a cross -section
   tion 196 in a lower surface 198 of the main body 10 of the 15 301 perpendicular to the longitudinal       length of the stock
   inhaler. Accordingly , if the user (not shown ) should decide
    to wash the main body 10 of the inhaler, for example after         bobbin 110 which is constant therealong . This cross -section
   encountering an unhygienic situation or simply as a matter 301 can be seen in FIG . 16 and consists of a series of ten
   of choice , the drain hole 194 allows initial draining of water regularly spaced concavities 302 and ten convex wall por
   from inside the dose counter chamber 66 and also thereafter 20 tions 304. The convex wall portions 304 are equi-spaced
   evaporation of water or any aqueous matter in the dose between the concavities 302. Each concavity 302 has a
   counter chamber 66 so that the window 118 does notmist up radius of 0.2 mm . Each convex wall portion 304 also has a
   undesirably .                                                        radius of 0.2 mm . Finally, the cross section 301 also includes
       FIG . 14 shows a computer system 230 for designing the flat wall portions 306 between all of the radiused wall
   dose counter 36 and in particular for calculating distribu- 25 portions of the concavities 302 and convex wall portions
   tions representative of average positions and standard devia         304. The geometry of the cross - section 301 is therefore
   tions in a production series of inhalers of the start, reset, fire , defined by the radii of the concavities 302 and convex wall
   count and end positions of the actuator lower side edge 98 portions 304 , the flat wall portions 306 and the fact that there
   relative to the datum plane 220 ( FIG.9 ) and therefore of the are ten concavities 302 and convex wall portions 304 .
   actuator pawl 80 generally relative to the ratchet wheel 94 , 30 The minor diameter of the engagement surface 300, i.e.
    chassis 102 and , when the inhaler 12 is fully assembled , the between the tips of opposite convex wall portions 304 , is
   main body 10 of the inhaler 12. The computer system 230 2.46 mm . The major diameter of the engagement surface
   includes a data store 232 , a CPU 23 an input device 236             300 , i.e. between the outermost portions of the concavities
   ( such as a keyboard or communication port ) and an output 302, is 2.70 mm . The undeformed tip to tip maximum
   device 238 (such as a communications port, display screen 35 diameter of the forks 124 , 126 of the split pin ( the second
   and / or printer ). A user may enter data via the input device shaft ) 108 , i.e. in the region of the maximum radio extent of
   236 which may be used by the CPU 234 in a mathematical the control elements 128 , 130 , is 3.1 millimetres and it will
   calculation to predict count failure rates when the various therefore be appreciated that the forks 124 , 126 are resil
    dose counters are to be built in a series with dose counter        iently compressed once the stock bobbin 110 has been
    positions set with given averages and standard deviations 40 assembled onto the split pin 108 in all rotational configu
   and taking into account any momentum / inertia effects and          rations of the stock bobbin 110 relative to the split pin 108 .
   metering valve user-back -pressure reduction effect which           The minimum gap between the forks 124 , 126 in the plane
    will occur upon canister firing of a given type of canister.       of the cross sections of FIGS . 18C and 19C is 1 mm when
    The computer system 230 is thus mathematically used to the split pin 108 is in the undeformed , pre -inserted state .
    design the distributions. For the inhaler 12 described herein 45 When the split pin 108 is at maximum compression , as
   with the dose counter 36 and canister 20 , the distributions        shown in FIGS . 18A to 18C when the control elements 128,
   are designed as shown in FIG . 11. The x axis shows distance        130 are shown to be engaged on top of the convex wall
   of the lower side surface 98 of the actuator 80 above the           portions 304, the gap 308 between the tips 310, 312 of the
   datum plane 220 and the y axis is representative of the forks 124, 126 is 0.36 mm . On the other hand , when the split
   distribution . Thus, curve 240 shows that the start configu- 50 pin 108 is at minimum compression (once inserted into the
   ration has an average 1.33 mm above the datum plane 200 stock bobbin ) as shown in FIGS. 19A to 19C , when the
   (standard deviation is 0.1 mm ), curve 242 shows that the control elements 128 , 130 rest in the concavities 302 , the gap
   reset configuration has an average of 0.64 mm above the between the tips 310 , 312 of the forks 124 , 126 is 0.6 mm .
   datum plane 220 (standard deviation is 0.082 mm ), curve The control elements 128 , 130 are outwardly radiused with
   244 shows the fire configuration has an average 0.47 mm 55 a radius also of 0.2 mm such that they can just rest on the
   below the datum plane 220 (standard deviation is 0.141 concavities 302 with full surface contact ( at least at an axial
   mm ), curve 246 shows the count configuration has an location on the split pin where the tapered control elements
   average 0.95 mm below the datum plane 220 (standard are at their maximum radial extent ), without rattling in ,
   deviation is 0.080 mm ), and curve 248 shows the end locking onto or failing to fit in the concavities 302. The radii
   configuration has an average of 1.65 mm below the datum 60 of the control elements 128 , 130 is therefore preferably
   plane 220 (standard deviation is 0.144 mm ).                    substantially the same as the radii of the concavities 302
      FIGS. 15 to 20 show a version of the inhaler modified in        Itwill be appreciated that whereas FIGS. 18B and 19B are
   accordance with the present invention . In these drawings , end views along the coaxial axis of the stock bobbin 110 and
   the same reference numerals have been used to those in the split pin 108 , FIGS. 18A and 19A are cross - sections. FIG .
    earlier drawings to denote the equivalent components. The 65 19A is a section on the plane A - A ' in FIG . 19C and FIG . 18A
    inhaler 12 is the same as that in FIGS. 1 to 14 apart from the is a section at the same plane , but of course with the stock
    following modifications .                                      bobbin 110 rotated relative to the split pin 108.
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 187 of 318 PageID: 262


                                                         US 10,695,512 B2
                                 19                                                               20
      As the inhaler 12 is used and the ratchet wheel 94 rotates          The stock bobbin 110 and the carriage 102 including the
    in order to count used doses, the stock bobbin rotates             split pin 108 are both moulded of polypropylene material .
    incrementally through rotational positions in which rotation          It will be seen from FIG . 16 that the cross -sectional shape
    is resisted, i.e. due to increasing compression of the split pin   301 is not symmetrical within the hexagonal socket 204 .
   108 at such rotational positions, and rotational positions in 5 This has enabled the hexagonal socket 204 to be maintained
   which rotation is promoted , i.e. due to decreasing compres     at a useful size while still allowing the desired size and
   sion of the split pin 108 at such rotational positions and this geometry of the cross section 301 to fit without interfering
   may involve a click forward of the stock bobbin 110 to the with the hexagonal shape of the hexagonal socket 204 and
   next position equivalent to that in FIGS. 19A to 19C in also permits moulding to work during manufacture.
   which the control elements 128 , 130 of the split pin art 10          As shown in FIG . 17 , the stock bobbin 110 has a series of
   located in the concavities 302. This functionality firstly          four circumferential ribs 330 inside it and a spaced therea
   allows the stock bobbin to unwind during use as required ,          long . These hold the stock bobbin 110 on the correct side of
   but also prevents the tape 112 from loosening during transit        the mould tool during moulding.
   if the inhaler 12 is dropped , such as onto a hard surface. This       FIGS. 21 and 22 show a preferred embodiment in accor
    is highly advantageous, since the tape 11 is prevented from 15 dance with the invention of an inhaler 510 for dispensing a
    moving to a position in which it will give an incorrect            dry -powdered medicament in metered doses for patient
    reading regarding the number of doses in the canister.             inhalation . The inhaler 510 is as disclosed in FIGS. 1 to 16
      During compression and expansion of the forks in the or EP - A - 1330280 , the contents of which are hereby fully
   radial direction between the two configurations shown in incorporated herein by reference , but with the stock bobbin
   FIGS. 18C and 19C , the forks 124, 126 rotate about a point 20 110 and second shaft 108 of the dose counter 516 modified
   316 on the split pin where the forks 124 , 126 come together. so as to be as in FIGS. 15 to 20 hereof. Thus, the dry powder
    This rotational action means that there is a camming action inhaler 510 generally includes a housing 518 , and an assem
   between the forks 124 , 126 and the engagement surface 300 bly 512 received in the housing ( see FIG . 21 ). The housing
   without significant friction but, nevertheless, the resilient 518 includes a case 520 having an open end 522 and a
   forces provided by the regulator formed by the engagement 25 mouthpiece 524 (FIG . 25 ) for patient inhalation , a cap 526
   surface 300 and forks 124 , 126 are able to regulate unwind      secured to and closing the open end 522 of the case 520 , and
   ing of the tape such that it does not easily occur during a cover 528 pivotally mounted to the case 520 for covering
   transit or if the inhaler 12 is dropped . It has been found the mouthpiece 524. As shown in FIG . 22, the inhaler 510
   during testing that a force of 0.3 to 0.4 N needs to be applied also includes an actuation spring 569 , first yoke 566 with
   to the tape 112 to overcome the regulator at the stock bobbin 30 opening 572, bellows 540 with crown 574 , a reservoir 514 ,
    110.0.32 N is achieved with the control elements 128 having second yoke 568 with hopper 542 and dose counter 516
   the profile shown in FIG . 19C and 0.38 N is achieved with mounted thereto , and case 520 has transparent window 5130
   the profile of the control elements 128 altered to be as shown thereon for viewing dose counter tape indicia 5128. The
    as described with reference to FIG . 6F . These forces are         dose metering system also includes two cams 570 mounted
    substantially higher than the 0.1 N force mentioned above 35 on the mouthpiece cover 528 and movable with the cover
    and undesirable movement of the tape is substantially 528 between open and closed positions. The cams 570 each
   avoided even if the inhaler is dropped onto a hard surface . include an opening 580 for allowing outwardly extending
    The modified arrangement of FIGS. 15 to 20 does not hinges 582 of the case 520 to pass therethrough and be
   provide this force “ constantly ” such that there is overall not received in first recesses 584 of the cover 528. The cams570
   an undesirably high friction of the tape 112 as it passes over 40 also include bosses 586 extending outwardly and received in
   the other components ofthe dose counter because, due to the second recesses 588 of the cover 528 , such that the cover
   incremental nature of the resilient forces at the regulator, the 528 pivots about the hinges 582 and the cams 570 move with
   tape 112 can incrementally relax as it slides over the the cover 528 about the hinges 582. As described in EP - A
   stationary chassis components .                                   1330280 , cams 570 act upon cam followers 578 to move
      Instead of having ten concavities 302 and convex wall 45 second yoke 568 up and down and thereby operate dose
   portions 304 , other numbers may be used , such as 8 or 12 . counter by engagement of pawl 5138 on the second yoke
   However, it is preferred to have an even number, especially 568 with teeth 5136. Remaining components of the inhaler
   since two control elements 128 , 130 are provided , so that all are provided as, and operate as described , in EP- A - 1330280 .
   of the control elements 128 , 130 will expand and contract           The dose counting system 516 therefore includes a ribbon
   simultaneously. However , other arrangements are envisaged 50 or tape 5128 (FIGS. 23 & 24 ), having successive numbers or
   with 3 or more forks and the number of concavities /convex other suitable indicia printed thereon , in alignment with a
   wall portions may be maintained as an integer divisible by transparent window 5130 provided in the housing 18 ( see
   the number of forks to maintain a system with simultaneous FIG . 22 ). The dose counting system 516 includes the rotat
   expansion/contraction . For example , the use of 9 , 12 or 15 able stock bobbin 110 (as described above), an indexing
   concavities/convex wall portions with 3 forks is envisaged . 55 spool 5134 rotatable in a single direction , and the ribbon
      Instead of having the engagement surface 300 on the 5128 rolled and received on the bobbin 110 and having a first
   inside of the stock bobbin 110, it could be placed on the end 5127 secured to the spool5134 , wherein the ribbon 5128
   outside of the stock bobbin 110 so as to be engaged by unrolls from the bobbin 110 so that the indicia are succes
   flexible external legs/pawls or similar.                          sively displayed as the spool 5134 is rotated or advanced . In
      It will be noted that the regulator provided by the engage- 60 FIGS . 23 and 24 the wavelike engagement surface 300 of the
   ment surface 300 and forks 124 , 126 does not only allow          bobbin 110 is not shown for the purposes of clarity.
   rotation of the stock bobbin in one direction as is the case          The spool 134 is arranged to rotate upon movement of the
   with the ratchet wheel 94. Rotation in both directions is           yokes 566 , 568 to effect delivery of a dose ofmedicament
   possible , i.e. forwards and backwards. This means that from reservoir 514 , such that the number on the ribbon 5128
   during assembly, the stock bobbin 110 can be wound back- 65 is advanced to indicate that another dose has been dispensed
   wards during or after fitting the bobbin 100 , shaft 106 and by the inhaler 510. The ribbon 5128 can be arranged such
    tape 112 onto the carriage 102 , if desired .                      that the numbers, or other suitable indicia , increase or
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 188 of 318 PageID: 263


                                                      US 10,695,512 B2
                                21                                                               22
    decrease upon rotation of the spool 5134. For example , the       What is claimed is :
    ribbon 5128 can be arranged such that the numbers , or other       1. An inhaler for inhaling medicament, the inhaler having :
    suitable indicia , decrease upon rotation of the spool 5134 to     A body for retaining a medicament canister; and
    indicate the number of doses remaining in the inhaler 510 .       a dose counter, the dose counter having a moveable
    Alternatively, the ribbon 5128 can be arranged such that the 5        actuator and a chassis mounted on the body ;
   numbers, or other suitable indicia, increase upon rotation of      wherein one of the body and the chassis includes a
    the spool 5134 to indicate the number of doses dispensed by           plurality of apertures for receiving one or more pins on
   the inhaler 10 .                                                       the other of the body and the chassis ,
                                                                      wherein either the pins or the apertures on the chassis are
       The indexing spool 5134 includes radially extending teeth          positioned on different sides of the chassis for stabiliz
   5136 , which are engaged by pawl 5138 extending from a 10              ing the chassis on the body, and
   cam follower 578 of the second yoke 568 upon movement              wherein the chassis comprises at least one of a pin or
   of the yoke to rotate , or advance , the indexing spool 5134 .         aperture heat staked to a respective aperture or pin of
   More particularly , the pawl 5138 is shaped and arranged               the body to mount the chassis to the body.
    such that it engages the teeth 5136 and advances the index 15 2. Theisinhaler      as claimed in claim 1 , wherein the dose
   ing spool 5134 only upon the mouthpiece cover 528 being counter              positioned in a dose counter chamber that is
                                                                   formed in the body at a location beneath the medicament
   closed and the yokes 566 , 568 moved back towards the cap canister      .
   526 of the housing 518 .
       The dose counting system 516 also includes a chassis cover thatinhaler
                                                                      3. The          as claimed in claim 2 further comprising a
                                                                               is fixed to the body to conceal the dose counter
   5140 that secures the dose counting system to the hopper 20 chamber .
   542 and includes shafts 108 , 5144 for receiving the bobbin        4. The inhaler as claimed in claim 1 , wherein the medi
    110 and the indexing spool 5134. As described above with cament canister is movable relative to the dose counter .
   reference to FIGS. 1 to 20 , the bobbin shaft 108 is forked and   5. The inhaler as claimed in claim 1 , wherein the body has
   includes radially nubs 5146 for creating a resilient resistance a canister housing and the medicament canister is moveable
    to rotation of the bobbin 110 on the shaft 108 by engaging 25 relative to the canister housing,wherein at least a portion of
                                                               the movable actuator of the dose counter is located in the
   with the wavelike engagement surface 300 inside the bobbin canister  housing for operation by movement of the medica
   110. A clutch spring 5148 is received on the end of the
   indexing spool 5134 and locked to the chassis 5140 to allow ment  canister.
                                                                 6. The inhaler as claimed in claim 1 , wherein either the
   rotation of the spool 5134 in only a single direction .
      Various modifications may be made to the embodiment 30 different
                                                               pins or thesides
                                                                             apertures  on the chassis are positioned on three
                                                                                of the chassis for stabilizing the chassis on the
   shown without departing from the scope of the invention as body .
   defined by the accompanying claims as interpreted under
    patent law .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 189 of 318 PageID: 264




                            EXHIBIT H
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 190 of 318 PageID: 265

                                                                                                              US010792447B2

    ( 12) United States Patent                                                                 ( 10) Patent No .: US 10,792,447 B2
             Walsh et al .                                                                     (45 ) Date of Patent :   Oct. 6, 2020
    ( 54) BREATH ACTUATED INHALER                                                   ( 56 )                    References Cited
    ( 71 ) Applicant: Norton ( Waterford ) Limited ,                                                     U.S. PATENT DOCUMENTS
                       Waterford (IE )                                                    2007/0056580 A1 *    3/2007 Jones           A61M 15/009
                                                                                                                                        128/200.23
    ( 72 ) Inventors: Declan Walsh , Waterford (IE) ; Paul                                2007/0056585 A1 *    3/2007 Davies         A61M 15/0065
                        Prendergast , Waterford (IE ) ; Daniel                                                                           128/203.15
                        Buck , Waterford (IE ) ; Trevor Kent ,                                                   (Continued )
                        Waterford (IE) ; Niall Thompson ,
                        Waterford (IE )                                                                FOREIGN PATENT DOCUMENTS
                                                                                    GB                    2263873       11/1993
    ( 73 ) Assignee : NORTON (WATERFORD )                                           JP                    5207855 B2     6/2013
                        LIMITED , Waterford ( IE )                                  WO                    0193933 A2    12/2001
    ( * ) Notice: Subject to any disclaimer, the term of this                                             OTHER PUBLICATIONS
                        patent is extended or adjusted under 35
                        U.S.C. 154 (b ) by 0 days.                                  European Search Opinion for EP 19 15 3824 dated Sep. 12 , 2019 ;
                                                                                    6 pages.
    ( 21 ) Appl . No .: 16 /258,330                                                                              (Continued )
    (22) Filed :        Jan. 25 , 2019                                              Primary Examiner           Colin W Stuart
                                                                                    Assistant Examiner — Douglas Y Sul
    ( 65 )               Prior Publication Data                                     ( 74 ) Attorney, Agent, or Firm — Morgan , Lewis &
             US 2019/0262602 A1 Aug. 29 , 2019                                      Bockius LLP

    (30)            Foreign Application Priority Data                               ( 57 )                      ABSTRACT
                                                                                    A breath actuated metered dose inhaler may include a
       Jan. 26 , 2018 ( GB )                       1801309.4                        canister fire system configured to fire a medicament con
                                                                                    taining canister in response to patient inhalation . The can
    ( 51 ) Int . Cl .                                                               ister fire system may include a pneumatic force holding unit
           A61M 39/24              ( 2006.01 )                                      and having a rest configuration in which a metering valve of
           A61M 15/00              ( 2006.01 )                                      the canister is in a refill configuration ; a prepared configu
                             (Continued )                                           ration in which a canister actuation force is retained by the
    ( 52 ) U.S. Cl .                                                                pneumatic force holding unit and the canister fire system is
           CPC          A61M 15/0095 (2014.02 ) ; A61K 31/46                        actuatable by patient inhalation induced airflow ; and a fire
                             (2013.01 ) ; A61K 31/575 ( 2013.01 ) ;                 configuration in which the metering valve is in a dose
                            ( Continued )                                           delivery position . When in the prepared configuration, the
    ( 58 ) Field of Classification Search                                           force retained by the so pneumatic force holding unit may be
           CPC          A61M 15/0091 ; A61M 15/0093 ; A61M                          reduced by less than about 6 % over a period of 5 minutes,
                       15/0095 ; A61M 15/0096 ; A61M 15/009 ;                       preferably less than about 3 % over a period of 5 minutes.
                            (Continued )                                                            10 Claims , 9 Drawing Sheets
                                                                                -12

                                                                                    32


                                                                              -36

                                                                               38
                                                             30
                                                                                     12




                                                                                    46


                                                                                -50


                                                                       54 .    252

                                                                                    50

                                                                                    -58


                                                                                                  16

                                                              6


                                                       )
                                                       183
                                                                  Wouwer        65        60
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 191 of 318 PageID: 266


                                                      US 10,792,447 B2
                                                               Page 2

    (51 ) Int. Ci.                                                  (56)                    References Cited
          A61M 16/20              ( 2006.01 )                                       U.S. PATENT DOCUMENTS
           A61M 16/00             ( 2006.01 )
           A61K 31/46             ( 2006.01 )
           A61K 31/575            ( 2006.01 )                           2008/03 14383 A1 * 12/2008 Barney             A61M 15/0065
           B29C 45/37             ( 2006.01 )                                                                            128/203.15
                                                                        2010/0012115 A1 *    1/2010 Bacon             A61M 15/0065
    ( 52 ) U.S. CI .                                                                                                     128/200.23
          CPC            A61M 15/009 (2013.01 ) ; A61M 16/208           2010/0065050 A1 *    3/2010 Holroyd           A61M 15/0091
                      ( 2013.01 ) ; A61M 39/24 ( 2013.01 ) ; A61M                                                         128/203.15
                 15/0026 (2014.02 ) ; A61M 15/0068 ( 2014.02 ) ;        2016/0325057 A1 * 11/2016 Morrison            A61M 15/0071
                  A61M 2016/0015 (2013.01 ) ; A61M 2039/242
                  ( 2013.01 ) ; A61M 2039/244 ( 2013.01 ) ; AGIM                      OTHER PUBLICATIONS
                2202/064 (2013.01 ) ; A61M 2207/10 ( 2013.01 ) ;
                       B29C 45/37 ( 2013.01 ) ; B29K 2995/0072      European Search Report for EP 19 15 3824 dated Sep. 12 , 2019 ; 4
                          ( 2013.01 ) ; B29K 2995/0073 (2013.01 )   pages.
    ( 58 ) Field of Classification Search                           European Partial Search Report for EP 19 15 3824 dated May 2 ,
           CPC                A61M 11/08 ; A61M 16/208 ; A61M       2019 ; 4 pages .
                      15/0026 ; A61M 2207/00 ; A61M 2207/10 ;       European Provisional Opinion for EP 19 15 3824 dated May 2 ,
                             A61M 2016/0015 ; A61M 2039/242 ;       2019 ; 4 pages .
                                                A61M 2039/244
          See application file for complete search history .        * cited by examiner
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 192 of 318 PageID: 267


    U.S. Patent         Oct. 6 , 2020         Sheet 1 of 9            US 10,792,447 B2

                                                      7
                                        712

                                                                690
                         702
               640




                      641
                            645

                                                      7

                                          FIG . 1
                                         PRIOR ART


                                                712       702
                               641




                                                                       690




                                          FIG . 2
                                         PRIOR ART
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 193 of 318 PageID: 268


    U.S. Patent         Oct. 6 , 2020       Sheet 2 of 9     US 10,792,447 B2

                 305        308                306     304
                                                                   301




                                                                  309

                                                                   302



           303



                                         FIG . 3
                                        PRIOR ART

                                            1002


                                                             1095
                                                                1102


                                  1014
                                                                 1109




                                        1107 1103

                                         FIG . 4
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 194 of 318 PageID: 269


    U.S. Patent         Oct. 6 , 2020         Sheet 3 of 9             US 10,792,447 B2




                                                                    1100
                                                                    1103
                     1105




                                        FIG . 5
                                               1105
                               1102       X           1100
                                                '1103        1109




                                        FIG . 6




                                        FIG . 7
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 195 of 318 PageID: 270


    U.S. Patent         Oct. 6 , 2020        Sheet 4 of 9       US 10,792,447 B2


                                                    -12

                                                     32

                                                 34
                                               36

                                                38
                         30

                                                     42
                                   80
                                                    44




                                                    50




                                                    56

                                                     58



                                                      14

                              26




                   24    28             22       66        60


                                        FIG . 8
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 196 of 318 PageID: 271


    U.S. Patent          Oct. 6 , 2020      Sheet 5 of 9            US 10,792,447 B2


                                 72




                        38

                                                               44
                                                               78
                                           80


                                         FIG . 9

                                                    1041




                                                                   -1002
                 1095



                                                           -1210

                                         FIG . 10
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 197 of 318 PageID: 272


    U.S. Patent         Oct. 6 , 2020   Sheet 6 of 9                                                 US 10,792,447 B2


                                                      02:Measuremnt                                              229
                                                                                                                 200

                                                                                                                 150
                                                                                      R



                                                                      P:
                                                                       X
                                                                       3um
                                                                       AX
                                                                        1r62o,.f0i76l94e20 M
                                                                        -
                                                                        AZ                                       100
                                            2um9.50

                                            172.13                                        4         -5
                                                                                                                 0

                                                                                                           -12
                                                                                                                       11
                                                                                                                       .
                                                                                                                       FIG
                                            1 4.75                                                               229
                                                                                                                 200
                                            57.38
                                                                                                                 150

                                                                      PX
                                                                       -1um
                                                                       =
                                                                       AX
                                                                       : AZ
                                                                         r30o7.f52i9l51e4 MR                     100

                                                                                                                 50

                                                      M01:easuremnt
                                                                                                                 0
                                                                                               2   -2 -6
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 198 of 318 PageID: 273


    U.S. Patent         Oct. 6 , 2020   Sheet 7 of 9                                                          US 10,792,447 B2


                                                      02:Measuremnt                                                        229
                                                                                                                           200

                                                                                                                           150

                                                                      P:
                                                                       X
                                                                       -um
                                                                       AX
                                                                        AZ
                                                                        1r342o.f34i27l0e6
                                                                        -                   M
                                                                                            R
                                                                                                                           100
                                            2um9.50                                             banilatrin                 50


                                            17213                                           4 0
                                                                                                             -5
                                                                                                                           0

                                                                                                                  -10-14
                                                                                                                                 12
                                                                                                                                 .
                                                                                                                                 FIG
                                            1 4.75                                                                         229
                                                                                                                           200
                                            57.38
                                                                                                                           150

                                                                      P:
                                                                       X
                                                                       -1um
                                                                       =
                                                                       AXAZ
                                                                         r3o.f72i04l1e54 MR

                                                                                                                           50

                                                      M01:easuremnt
                                                                                                              faili 0
                                                                                            A
                                                                                                      0
                                                                                                                     -14
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 199 of 318 PageID: 274


    U.S. Patent         Oct. 6 , 2020        Sheet 8 of 9             US 10,792,447 B2




                                                       200
                                                                  Step Height
                                                                  Locations

                 Diaphragm
                                                  04

                                        Oo                   02


                                              ( 703
                                                  03




                                  FIG . 13
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 200 of 318 PageID: 275


    U.S. Patent         Oct. 6 , 2020   Sheet 9 of 9          US 10,792,447 B2




                                                        14
                                                        .
                                                        FIG




                                               ***
                                            *****
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 201 of 318 PageID: 276


                                                         US 10,792,447 B2
                                   1                                                                     2
                BREATH ACTUATED INHALER                                  substances from the canister. The canister is operable by a
                                                                  force holding unit having a cap housing attachable to a main
               CROSS - REFERENCE TO RELATED                       housing of the inhaler. In use , a mouthpiece cap is opened to
                           APPLICATION                            prepare the inhaler ready for inhalation and then after
                                                                5 inhalation the mouthpiece cap is closed to reset the force
       This application claims the benefit of priority of Great holding unit, i.e. return it to a rest configuration. The force
    Britain Patent Application No. 1801309.4 filed on Jan. 26 , holding      unit holds the force for actuating the canister until
    2018 , the entire disclosure of which is incorporated herein it isTherequired .
                                                                           force holding unit comprises a compression spring, a
    by reference in its entirety for all purposes .
                                                                     10 lower cap that engages the canister, a diaphragm attached to
                   FIELD OF THE INVENTION                               an upper surface of the lower cap , and a pivotally mounted
                                                                        flap valve for selectively sealing a valve port located in the
      The present invention relates to metered dose inhaler              diaphragm .
    and , in particular, a breath actuated metered dose inhaler.        In use , when the mouthpiece cap is opened, the lower cap
    The invention further provides valve port and a diaphragm 15 is forced downwards under the action of the compression
    for a pneumatic force holding unit of a breath actuated spring . Then , as the lower cap moves down , an enclosed
    metered dose inhaler, a flap valve for the canister fire system volume between the diaphragm and the lower cap is
    of a breath actuated metered dose inhaler, as well as methods increased by a linear amount, and whilst valve port remains
    for manufacturing and assembling the same.                        closed , this creates a pressure difference in the enclosed
                                                                   20 volume.
            BACKGROUND TO IN THE INVENTION                              The offset of the differential between the pressure in the
                                                                      enclosed volume and atmospheric pressure results in the
       Inhalers for delivering medicament to a patient by inha lower cap resisting action of the compression spring. Down
    lation are known. Such devices include metered dose inhal            ward movement of the lower cap continues until the force is
    ers ( of both pressurised and dry -powder types ) . Metered 25 balanced between the force of the compression spring and
    dose inhalers typically comprise a medicament- containing the opposing forces of the pressure difference and metering
    vessel and an actuator housing having a medicament deliv       valve . This is a prepared configuration .
    ery outlet in the form of a mouthpiece or nosepiece.             The geometry of the mechanism is arranged such that the
       The medicament- containing vessel may be a pressurized balance occurs before the valve has been actuated .
    canister containing a mixture of active medicament and 30 Flow of air across a vane on the flap valve during
   propellant. Such canisters are usually formed from a deep         inhalation causes the valve to pivot , moving the flap valve
   drawn aluminium cup having a crimped lid which carries a seal out of its rest position, and opening a valve channel in
   metering valve assembly. The metering valve assembly is the diaphragm . The subsequent passage of air into the
   provided with a protruding valve stem which , in use , is volume between the diaphragm and the lower cap allows the
   inserted as a tight push fit into a stem block in the actuator 35 volume to reach atmospheric pressure . The resulting imbal
   housing                                                           ance of forces acting on the lower cap and canister produces
      Metered - dose inhalers may either be of the manually the downward motion of the canister and actuation of the
   operable type or the breath actuated type. For the manually aerosol metering valve : releasing a measured dose through
   operable type, the patient self -administers the medicament the dispensing nozzle and into the mouthpiece.
   by manually pressing the closed end of the canister into the 40 Referring to FIGS . 1 and 2 a known diaphragm assembly
   actuator housing to cause movement of the canister relative 640 for use with a breath actuated inhaler is shown .
   to its valve stem (which is fixed in the stem block of the          The moulded flexible diaphragm 640 includes a rigid
   actuator housing ). This movement is sufficient to actuate the disc - like section 641 , a flexible generally cylindrical wall
   metering valve assembly of the canister, resulting in the section , or annular flexure 645 , and a thicker connector
   pressurised contents of a metering chamber being vented 45 section , or peripheral attachment ring 647. A central portion
   through the stem , through the stem block and its exit orifice, is unitarily formed with and extends radially inwardly from
    and causing the medicament to exit the mouthpiece or the annular flexure 645. The central portion is provided in
    nosepiece as an aerosol mist . Simultaneously with this the form of a disk bonded along a top surface to a bottom
    action , the patient inhales through the nosepiece or mouth          surface of the rigid disc - like section 641 , i . e . , surfaces
    piece , entraining the aerosol mist in the inhaled stream of air. 50 substantially transverse to the central axis of the diaphragm
    The patient then releases the depression force on the canister 640 .
    which , under the action of an internal valve spring , moves        The relatively thick disk -portion is moulded from a rigid
    upward with respect to the valve stem , returning to its material ( relatively high stiffness) such as acrylonitrile buta
    resting position .                                               diene styrene (ABS ), which is particularly resistant to flex
       A more recent development is the so - called breath actu- 55 ural deformation.
    ated metered - dose inhaler, which serves to automatically          The relatively thin flexure portion which includes the
    displace the canister relative to its valve stem and release the central portion, the annular flexure 645 and the peripheral
    contents of the canister's metering chamber in response to a attachment ring 647 , is moulded from an optimally flexible
    patient's inhalation . The general purpose of such inhalers is material ( relatively low stiffness ) such as a thermoplastic
    to alleviate difficulties in coordinating actuation of the 60 elastomer (TPE) , permitting high performance. The multi
   metering valve assembly with the patient's inhalation, and to material diaphragm 640 may be manufactured using a
   provide for a maximal amount of medication to be drawn multi -shot moulding process.
   into the patient's lungs.                                       As shown in FIGS . 1 and 2 , the central portion and the
      A known breath actuated inhaler, disclosed in rigid disc - like section 641 both define a central upwardly
   WO9209323A1 and W00193933A2 , which are incorpo- 65 extending boss 702 for additional strength . In addition , the
   rated herein by reference, has a pressurised canister and a rigid disc - like section 641 includes an outer axial wall 704
   metering valve for controlling the ejection of inhalable which provides further strength to the diaphragm 640. The
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 202 of 318 PageID: 277


                                                       US 10,792,447 B2
                                 3                                                                   4
   central portion includes axial walls which are received channel. The valve port further comprises two , three, four or
   within and bonded to axial grooves of the rigid disc - like more, radially outwardly extending projections defining a
   section 641 , thereby providing bonding surfaces substan path through which polymer passed to form the boss during
   tially parallel with the central axis of the diaphragm 640 and moulding . The radially outwardly extending projections are
   increasing the total bonding surface area between the central 5 substantially uniformly circumferentially separated. Typi
   portion and the rigid disc - like section 641 .                       cally extending from a circumferential outer wall of the
      In use , the peripheral attachment ring 647 of the dia annular boss . Preferably, their circumferential uniformity is
   phragm 640 is fitted around an annular wall of the lower cap offset by less than about 5 degrees, preferably by less than
   and is secured in an air - tight manner thereon with a retainer about 2 degrees. Typically, the boss has a longitudinal axis
   ring by snap - fitting. The retainer ring also provides a snug fit 10 which passes through the valve orifice port, and two radially
   for one end of the compression spring , such that the com             extending projections and the valve orifice port may lie in a
   pression spring is thus located and free to act on the sleeve . common plane coincident with the longitudinal axis. In a
      The valve channel 690 of the diaphragm 640 passes preferred arrangement, the boss comprises two circumfer
   through the rigid disc - like section 641 and the central entially uniformly separated radially outwardly extending
    portion ofthe diaphragm . The valve channel 690 is closed by 15 projections, i.e. with a central angle of 180 degrees +/- 5
    a valve seal (not shown) , which is biased closed by a flat       degrees.
   spring . The rigid disc - like section 641 of the diaphragm         It has been found that by providing a boss with radially
   includes protrusions 712 extending upwardly therefrom that outwardly extending projections as described, the surface
   receive and correctly position a flat spring. The rigid disc finish of the valve port, in particular, immediately adjacent
   like section 641 of the diaphragm 640 also includes a baffle 20 the valve orifice is significantly improved , allowing a better
   714 on a top surface thereof for substantially preventing air seal to be formed with a valve port seal during use . The
   flow between the valve seal and the diaphragm .                   improved seal significantly reduces the rate of degradation
      The rigid disc - like section 641 of the diaphragm 640 of the pressure difference within a pneumatic force holding
   additionally includes an assembly location key 716 for use unit in a prepared configuration, reducing the likelihood of
   in correctly assembling the diaphragm 640 within the actua- 25 accidental actuation and the breath actuated inhaler not
   tor assembly.                                                     delivering medicament upon inhalation : improving patient
      As better illustrated in FIG . 3 , a valve port 301 comprising compliance and treatment outcomes .
   an annular boss 302 defines the valve orifice channel 690 ,         In a further aspect the invention provides an injection
   The boss 302 comprises two radially outwardly extending moulded polymer valve port for a pneumatic force holding
   projections 303 , 304 each defining a path through which 30 unit in a breath actuated metered dose inhaler. The valve port
   polymer passed to form the boss 302 during injection comprises an annular boss defining a valve orifice channel.
   moulding . The boss 302 comprises a circumferential side The valve port comprises one , two, or more radially out
   wall 307 , a radially extending upper surface 308 , including wardly extending projections defining a path through which
   a sealing surface 309. The radially outwardly extending polymer passed to form the boss during moulding, wherein
    projections 303 , 304 are circumferentially offset, and their 35 an upper surface of the one or more radially outwardly
   upper surfaces 305 , 306 intersect the vertical side wall 307      extending projections and an upper surface of the annular
    of the boss 302 .                                                 boss are contiguous. Preferably, the upper surface of the
       When using inhalers similar to those discussed above, it annular boss and the upper surface of the projection are at an
    was observed that on occasion patients may not receive a angle between about 90 degrees and about 180 degrees,
    measured dose upon inhalation, i.e. the canister does not fire. 40 preferably an obtuse angle, more preferably between 120
       Following these observations, an investigation by the degrees and 180 degrees .
    inventors found that the missed dose of medicament may be            Advantageously, it has been found that because the upper
    because of unintentional actuation of the inhaler. The inves       surfaces are contiguous during moulding molten polymer
    tigation found that the unintentional actuation may occur flows along a mould path defining the projections and does
    because of unintentional misuse leading to accidental actua- 45 no stall as it enters the chamber defining the boss . By way
    tion, said misuse including failing to use the inhaler imme of comparison , during moulding of the boss illustrated in
    diately after priming .                                           FIG . 3 , the molten polymer must travel vertically along an
      More specifically , the inventors found that when in the outer side surface of the boss from the upper surface of the
   prepared position the pressure difference maintained by the projections to the boss ' upper surface , stalling radial flow .
   force holding degraded over a relatively short period of time , 50 Valve ports of the inventive arrangement have been found to
   allowing the lower cap to progress in a canister fire direction have a surface finish that is significantly improved, in
    under the action of the compression spring. This progression  particular immediately adjacent the valve orifice. This facili
   may continue until the canister fires .                        tates a better sealing with a valve port seal during use . The
      Once the canister has fired accidentally as a result of the improved seal significantly reduces the rate of degradation
    degradation of the pressure difference maintained by the 55 unit
                                                                  of theinpressure difference within a pneumatic force holding
                                                                           breath actuated inhaler in a prepared configuration ,
    force holding unit, the inhaler will not fire upon subsequent
    inhalation and the patient will not receive the intended dose reducing the likelihood of accidental actuation and the
    of medicament.                                                    breath actuated inhaler not delivering medicament upon
      The present invention aims to alleviate at least to a certain inhalation : improving patient compliance and treatment out
    extent at least one of the problems of the prior art.          60 comes .
                                                                    In a further aspect the invention provides an injection
                SUMMARY OF THE INVENTION                         moulded polymer valve port for a pneumatic force holding
                                                                 unit in a breath actuated metered dose inhaler, said valve
      Accordingly, in a first aspect the invention provides an port being located on a planar body and comprising an
   injection moulded polymer valve port for a pneumatic force 65 annular boss defining a valve orifice channel. The valve port
   holding unit in a breath actuated metered dose inhaler. The further comprises one or more radially outwardly extending
   valve port comprises an annular boss defining a valve orifice projections defining a path through which polymer passed to
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 203 of 318 PageID: 278


                                                      US 10,792,447 B2
                                 5                                                                    6
   form the boss during moulding . A portion of the planar body allowing a better seal to be formed with a valve port seal
   immediately adjacent the boss has a depth that is less than during use . As in other aspects , the improved seal signifi
   or equal to a minimum thickness of the radially outwardly cantly reduces the rate of degradation of the pressure dif
   extending projection . Typically , the ratio of the depth of the ference within a pneumatic force holding unit of an inhaler
   portion immediately adjacent to the boss to the minimum 5 in a prepared configuration, reducing the likelihood of
    thickness of the radially outwardly extending projection is        accidental actuation and the breath actuated inhaler not
   from about 1 : 1 to about 1 : 2 , preferably from about 1 : 1 to delivering medicament upon inhalation : improving patient
   about 3 : 4 . Typically, the portion of the planar body imme compliance and treatment outcomes .
   diately adjacent the boss circumferentially encloses, prefer        In a further aspect the invention provides a valve port for
   ably fully encloses, the boss between the one or more 10 a pneumatic force holding unit in a breath actuated metered
   radially extending projections.                                  dose inhaler, said valve port comprising a valve seal surface,
      Typically, the portion of the planar body immediately which in use is engaged by a movable valve seal in a sealing
   adjacent the boss has a depth of from about 0.50 mm to arrangement, characterised in that the valve seal surface has
   about 0.70 mm , preferably from about 0.55 mm to about a surface roughness average (RA ) of 0.15 um or less ,
   0.65 mm . 0.60 mm is an example. The planar body is 15 preferably less than 0.12 um , preferably from about 0.10 um
   typically the relatively rigid disk - like portion of the dia    to about 0.01 um .
   phragm .                                                            Typically , the valve seal comprises an elastomer, prefer
      Additionally , or alternatively, the radially outwardly ably a thermoplastic elastomer. Preferably the thermoplastic
   extending projections may have a thickness of from about elastomer is selected from the group consisting of styrenic
   0.54 mm to about 0.83 mm , preferably from about 0.64 mm 20 block copolymers, thermoplastic olefins, thermoplastic
   to about 0.73 mm . 0.68 mm is an example. Where there are polyurethanes, thermoplastic copolyester, thermoplastic
   two or more radially outwardly extending projections, typi polyimide . Advantageously thermoplastic elastomers can be
   cally they each have substantially the same thickness. The injection moulded . Thermoplastic polyurethanes are particu
    radially outwardly extending projections are typically             larly preferred .
    drafted to aid mould release . In this instance the thickness 25     The elastomer may have a hardness of from about 80 to
    relates to the minimum thickness of the projection .               90 Shore A. Preferably this elastomer has a hardness of from
       Advantageously, it has been found that a boss that is           about 82 to 87 Shore A (e.g. BASF Elastollan® 1185 A) .
    surrounded by a narrowing ( e.g. a narrowed portion of the         Still more preferably, the elastomer has a hardness of about
    planar body) concentrates polymer flow towards the upper           85 Shore A.
    surface of the boss during moulding. This has the effect of 30 In embodiments , the elastomer may comprise a blend of
    improving the surface finish of the valve port immediately thermoplastic polyurethane elastomer and at least one
    adjacent the valve orifice , allowing a better seal to be formed release agent, typically in an amount of from about 2 % to
    with a valve port seal during use . The improved seal about 6 % by weight, for example, Elastollan Konz . 950/1
    significantly reduces the rate of degradation of the pressure      4 % from BASF .
    difference within a pneumatic force holding unit in a breath 35      Preferably the valve seal , when in a sealing arrangement,
    actuated inhaler in a prepared configuration, reducing the         engages the valve seal surface with a moment of at least
    likelihood of accidental actuation and the breath actuated         about 0.015 Nmm , preferably from about 0.017 Nmm to
    inhaler not delivering medicament upon inhalation : improv         about 0.025 Nmm when in a rest configuration (e.g. with no
    ing patient compliance and treatment outcomes.                     vacuum ), and from about 0.05 Nmm to about 0.11 Nmm
       In a further aspect the invention provides, a valve port for 40 when in a prepared configuration ( e.g. with a vacuum ).
    a pneumatic force holding unit in a breath actuated metered          The valve port may be manufacture using injection
    dose inhaler, said valve port comprising an annular boss with moulding ; however, it will be appreciated that other methods
    an inner wall defining a valve orifice channel wherein the may also be employed, e.g. spin casting , or an additive
    volume of the orifice channel defined by the inner wall of the manufacturing technique: e.g. 3D printing.
    boss is greater than about 12.7 ° to of the volume of the boss , 45 By reducing the surface roughness of the valve port
    preferably from about 12.7 % to about 20% , more preferably immediately adjacent the valve orifice an improved seal is
    from about 13 % to about 17 % , 15.5 % being an example,           formed with a valve port seal during use . As in other aspects ,
    and / or wherein the inner wall defines a frustum of an            an improved seal significantly reduces the rate of degrada
   imaginary cone with an apex angle of greater than about 20 tion of the pressure difference within a pneumatic force
   degrees, preferably from about 22 degrees to about 35 50 holding unit in a prepared configuration , reducing the like
   degrees , more preferably from about 24 degrees to about 30 lihood of accidental actuation and the breath actuated inhaler
   degrees. 28 degrees being an example .                            not delivering medicament upon inhalation : improving
      Typically, the valve orifice channel has a cross - sectional patient compliance and treatment outcomes .
   area at its uppermost (i.e. sealing ) end of from about 0.22         In an aspect the invention provides a flap valve for the
   mm² to about 0.31 mm², 0.26 mm² being an example. 55 canister fire system of a breath actuated metered dose
   Typically, the valve orifice channel has a substantially inhaler, wherein the flap valve comprises a chassis for
   circular cross -section, typically along its entire length . Pref pivotal mounting within the inhaler, a valve port according
   erably, a portion of the wall of the valve orifice channel to any preceding claim , and a valve port seal mounted on the
   defines the frustum of an imaginary cone .                        chassis configured to selectively engage the valve port in a
      It has been found that by providing a boss with a high 60 sealing relation , and a vane for moving the valve port seal
   valve orifice channel volume to boss volume ratio , during in direction away from the valve port in response to inha
   injection moulding, polymer flow is concentrated towards lation induced airflow .
   the upper surface of the boss . Likewise , when the inner            In a further aspect the invention provides a diaphragm for
   surface of the valve orifice defines the frustum of an imagi a pneumatic force holding unit in a canister firing mecha
   nary cone with an apex of greater than 20 degrees. This has 65 nism of a breath actuated metered dose inhaler comprising
   the effect of improving the surface finish of the valve port a valve port according to any previous aspect of the inven
   immediately adjacent the valve orifice channel opening, tion , or the flap valve according to the immediately preced
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 204 of 318 PageID: 279


                                                       US 10,792,447 B2
                                 7                                                                   8
    ing aspect . Typically, the diaphragm comprises a relatively         The injection time for the first shot is preferably greater
    rigid disk - like portion and relatively flexible membrane than about 0.5 seconds , more preferably from about 1
    portion, and wherein the valve port is unitarily formed with second to about 1.5 seconds: 1.26 second being an example.
    the rigid disk - like portion .                                    Whilst short injection times of from about 0.1 second to
       The relatively rigid disk - like portion, including the valve 5 about 0.5 seconds may be employed, it has been found that
    port, is typically made from a rigid material ( relatively high a relatively long injection time for the first shot improves the
    stiffness) such as acrylonitrile butadiene styrene, which is surface finish of the diaphragm , in particular weld lines, on
    particularly resistant to flexural deformation . The relatively the upper surface of the boss , particularly at the sealing
    flexible portion which may include a central portion, an 10 surface . During injection moulding of the valve port, the
    annular flexure and a peripheral attachment ring may be polymer passes through the mould cavity portions dimen
    moulded from an optimally flexible material ( relatively low sioned to form the radially outwardly extending
    stiffness) such as a thermoplastic elastomer. A thermoplastic projection (s ) into the mould cavity portion dimensioned to
    polyurethane is particularly preferred.                            form the boss .
       The elastomer may have a hardness of from about 80 to 15 The invention further provides a breath actuated metered
    90 Shore A to about 35 to 40 Shore D. Preferably this dose inhaler comprising a valve port, flap valve , and / or
    elastomer has a hardness of from about 89 to about 90 Shore        diaphragm according to or manufactured according to other
    A and from about 37 to about 40 Shore D ( e.g. , BASF              aspects of the invention .
   Elastollan® 1185 A) . Still more preferably, the elastomer         In a further aspect the invention provides a breath actu
   has a hardness of about 89 Shore A and about 37 Shore D. 20 ated metered dose inhaler comprising a canister fire system
      Additionally, the elastomer comprises a blend of thermo configured to fire a canister in response to patient inhalation ,
   plastic polyurethane elastomer and at least one release agent, the canister fire system comprising a pneumatic force hold
   typically in an amount of from about 2 % to about 6 % by ing unit and having: a rest configuration in which a metering
   weight, for example , Elastollan Konz . 950/1 4 % from valve of the canister is in a refill configuration; a prepared
   BASF .                                                        25 configuration in which the canister fire system is actuatable
      In a further aspect the invention provides a mould for by patient inhalation induced airflow ; and a fire configura
   injection moulding a diaphragm for a breath actuated tion in which the metering valve is in a dose delivery
   metered dose inhaler wherein the mould comprises cavities position . The pneumatic force holding unit is configured
   configured to produce a valve port, and / or diaphragm , such that once the inhaler is moved from the rest configu
   according any earlier aspect of the invention . Preferably, the 30 ration to the prepared configuration, in the absence of an
   mould is metallic , typically steel , and has a surface average external trigger, for instance patient inhalation induced
   roughness (RA ) of less than or equal to about 0.1 um , airflow , the canister fire system remains in a prepared
   preferably from about 0.025 um to about 0.1 um , preferably configuration for at least about 5 minutes, preferably at least
   at least in the area corresponding to the sealing surface of the about 15 minutes , more preferably at least about 30 minutes.
   valve port. Typically, a SPI A3 finish is used the region of 35 Typically, once the inhaler is moved from the rest con
   the sealing surface and a VDI - 21 finish is used for the figuration to the prepared configuration in 95 % of instances
   remainder of the diaphragm .                                       the canister fire system will remain in a prepared configu
      The invention further provides a method for manufactur ration for at least about 15 minutes. Preferably ; once the
   ing a diaphragm for a metered dose inhaler comprising the inhaler is moved from the rest configuration to the prepared
   steps of providing a mould according to the immediately 40 configuration in 90 % of instances the canister fire system
   previous aspect and injecting molten polymer, or prepoly           will remain in a prepared configuration for at least about 30
   mer , into the mould under pressure to form a diaphragm minutes.
   according to any preceding aspect of the invention .                  Advantageously, the significantly increased time to actua
      Preferably the moulding is a two -shot moulding process. tion reduces the likelihood of accidental actuation and the
   A first shot providing a relatively rigid disk like portion. A 45 breath actuated inhaler not delivering medicament upon
   second shot providing a relatively flexible portion.               inhalation : improving patient compliance and treatment out
      In the first shot ; typically, molten polymer, e.g. ABS , is comes .
   provided at a temperature of from about 220 ° C. to about             In a further aspect , the present invention provides a breath
   260 ° C. , more preferably from about 240 ° C. to about 250 ° actuated metered dose inhaler comprising a canister fire
   C. , about 245 ° C. being an example. Typically, the polymer 50 system configured to fire a canister in response to patient
   is injected , packed , and held at a pressure of from about 560 inhalation , the canister fire system comprising a pneumatic
   bar to about 840 bar, 700 bar being an example . Typically, force holding unit and having: a rest configuration in which
   the mould temperature is from about 30 ° C. to about 70 ° C. , a metering valve of the canister is in a refill configuration ;
   preferably from about 38 ° C. to about 48 ° C .: 43 ° C. being a prepared configuration in which a canister actuation force
   an example.                                                      55 is retained by the pneumatic force holding unit and the
       In the second shot , typically, molten polymer, e.g. TPE , is canister fire system is actuatable by patient inhalation
   provided at a temperature of from about 205 ° C. to about induced airflow ; and a fire configuration in which the
   220 ° C. , more preferably from about 205 ° C. to about 215 ° metering valve is in a dose delivery position ; wherein when
   C. , about 210 ° C. being an example. Typically, the polymer in the prepared configuration the force retained by the
   is injected, packed, and held at a pressure of from about 560 60 pneumatic force holding unit degrades by less than about 6 %
   bar to about 840 bar, 700 bar being an example. Typically, over a period of 5 minutes, preferably less than about 3 % ,
   the mould temperature is from about 15 ° C. to about 70 ° C. preferably from about 2.7 % to about 0.08 % : 1.5 % being an
       For both the first shot and second shot , the hold time and example.
   pack time may be approximately 0.5 seconds each .                      Advantageously, the significantly reduced rate of degra
       The injection time for the second shot is typically from 65 dation of the pressure difference within a pneumatic force
    about 0.10 seconds to about 0.15 seconds: 0.12 seconds             holding unit in a prepared configuration, reduces the likeli
    being an example.                                                  hood of accidental actuation and, therefore, the breath
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 205 of 318 PageID: 280


                                                       US 10,792,447 B2
                                  9                                                                   10
    actuated inhaler not delivering medicament upon inhalation ;          In embodiments, the arrangement of openings in the
   improving patient compliance and treatment outcomes.              metering valve of the present invention is similar to those
      It will be appreciated that all of the aspects and embodi described in US2016 /0084385 , which is incorporated by
   ments herein described may be combined mutatis mutandis . reference herein . In particular, the metering valve of the
   Specifically; each of the valve ports disclosed may have a 5 present invention may be similar to the embodiment shown
   sealing surface with a surface roughness average (RA ) of in FIG . 4 of US2016 /0084385 , in which the valve body
   less than of less than 0.15 um , preferably less than about 0.1 includes at least one first opening (i.e. , at least one first side
   um .                                                              hole 100 that is arranged in a cylindrical portion of the valve
                                                                     body) and at least one second opening ( i.e. , at least one
            BRIEF DESCRIPTION OF THE FIGURES                      10 second side hole 111 that, as with the first hole ( s ), is
                                                                     arranged in a cylindrical portion of the valve body ), the
      Preferred features of the present invention will now be openingsecond opening ( s ) being axially offset relative to the first
   described , by way of example; with reference to the accom first axial( s )end along a longitudinal axis that extends between a
                                                                                      and a second axial end of the valve body. The
   panying drawings; in which :                                   15 first opening ( s) and second opening ( s ) that are axially offset
      FIG . 1-3 show a known multi -material diaphragm for a from each other              along the valve body enable the metering
   breath actuated inhaler;                                          chamber   to  be   filled and emptied .
      FIG . 4 shows a multi -material diaphragm according to the        The force holding unit 30 operates substantially as dis
   invention ;                                                       closed with reference to FIGS . 1 to 3 of EP1289589A and
      FIG . 5-7 show cross - sections of a valve port according to 20 the yoke 56 and mouthpiece dust cap 16 substantially as
    the invention;                                                      described in EP2514465A , including but not limited to FIG .
       FIG . 8-9 shows a breath actuated metered dose inhaler           22 thereof, which are incorporated herein by reference.
    according to the invention ;                                           FIG . 9 shows the flap valve 36 and diaphragm 44 in situ ,
       FIG . 10 shows an alternative diaphragm according to the         in a patient inhalation configuration, so at the spring 38 , the
    invention ;                                                   25 upper surface of the boss 80 , and the valve orifice channel
       FIG . 11 shows surface roughness testing results of a 78 are visible .
    known valve port sealing surface;                                  The canister 50 is operable by a force holding unit 30
       FIG . 12 shows surface roughness testing results of a valve having a cap housing 12 attachable to a main body 14 of the
   port sealing surface according to the invention ,                inhaler. In use , a mouthpiece cap 16 is opened to prime the
      FIG . 13 shows the locations at which surface roughness 30 inhaler ready for inhalation and then after inhalation the
   measurements may be taken .                                      mouthpiece cap 16 is closed to reset the force holding unit
      FIG . 14 shows the volume of the boss and the valve orifice 30 , i.e. return it to a rest configuration.
   channel.                                                           In more tail, when the mouthpiece cap 16 is opened , the
                                                                    lower cap 46 is forced downwards under the action of the
               DETAILED DESCRIPTION OF THE                       35 compression spring 40. Then, as the lower cap 46 moves
                           INVENTION                                down , an enclosed volume between the diaphragm 44 and
                                                                    the lower cap 46 is increased by a linear amount, and whilst
      The invention provides a valve port for a pneumatic force valve port remains closed, this creates a pressure difference
    holding unit in a breath actuated metered dose inhaler, breath in the enclosed volume .
    actuated metered dose inhalers; and methods of manufac- 40 The offset of the differential between the pressure in the
    turing and assembling the same .                                enclosed volume and atmospheric pressure results in the
       FIG . 8 shows a breath actuated inhaler which is merely an lower cap 46 resisting action of the compression spring 40 .
    example of an inhaler in accordance with the present inven      Downward movement of the lower cap 46 continues until
    tion . The inhaler includes a force holding unit housing 12 , a the force is balanced between the force of the compression
    main body 14 , a mouthpiece dust cap 16 and a dose counter 45 spring 46 and the opposing forces of the pressure difference
    door 18 having a dose counter window . In other embodi and metering valve 52 .
    ments comprising nasal inhalers , the mouthpiece 66 may be        The geometry of the mechanism is arranged such that the
    replaced with a nose piece .                                    balance occurs before the valve has been actuated .
       As shown by the exploded view of FIG . 8 , a dose counter      Upon inhalation , air enters the inhaler through approxi
    chamber 22 includes a dose counter system 24 closed within 50 mately ten air inlets 72 formed on the cap housing 12. Flow
    it by the dose counter door 18. The dose counter system of air across a vane 74 on the flap valve 36 during inhalation
    includes an actuating pin 26 and return spring 28. The dose causes the valve 36 to pivot , moving the flap valve seal 76
    counter can take various forms and may , for example, be as out of its rest position , and opening a valve orifice channel
    described in EP2135199A or EP2514464A .                             78 in the diaphragm 44. The subsequent passage of air into
      As also shown in FIG . 8 , the inhaler 10 includes a force 55 the volume between the diaphragm 44 and the lower cap 46
    holding unit 30 which includes : a filter 32 , flap valve allows the volume to reach atmospheric pressure . The result
    housing 34 , flap valve 36 , flap valve spring 38 , compression ing imbalance of forces acting on the lower cap 46 and
    spring 40 , retaining ring 42 , diaphragm 44 and lower cap 46 . canister 50 produces the downward ( forward ) motion of the
    The inhaler also includes a canister 50 with a metering valve canister 50 and actuation of the aerosol metering valve 52 :
    52 and a valve stem 54 ; as well as a yoke 56 with drive rods 60 releasing a measured dose through the dispensing nozzle and
    or legs 58 having distal ends 59 which are driven by into the mouthpiece 66 .
    respective cams 60 on the pivotally -connected mouthpiece           The force holding unit 30 relies on the described pressure
   dust cap 16. The valve stem 54 may be fitted into an inner difference to maintain the prepared configuration, and
   bore of valve stem block which communicates with a release thereof for firing the canister 50 under the action of
   nozzle ( not shown) for ejection of inhalable substances 65 the compression spring 40. The force holding unit 30 is
   through a central bore of a mouthpiece 66 ( FIG . 8 ) of the therefore considered pneumatic within the normal meaning
   main body 14 of the inhaler.                                 of the term .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 206 of 318 PageID: 281


                                                       US 10,792,447 B2
                                 11                                                                  12
      Referring to FIG . 4 , a diaphragm 1000 according to the molten polymer, or prepolymer, flows along a path defined
   present invention for use with the medicament dispenser of by the mould corresponding to each of the two projections
   FIGS . 8 and 9 is shown .                                          1106 1107 into the annular boss mould cavity. Typically, the
      The moulded flexible diaphragm 1000 includes a rigid projections are of substantially the same thickness ‘ T ' . In
   disc - like section 1041 , a flexible generally cylindrical wall 5 this illustrated embodiment 0.64 mm . The illustrated pro
   section , or annular flexure 1045 , and a thicker connector jections 1106 1107 are substantially uniformly circumferen
   section , or peripheral attachment ring 1047. A central por tially separated . That is to say, each and every projection is
   tion ( not shown) is unitarily formed with and extends separated from its adjacent projections by substantially the
   radially inwardly from the annular flexure 1045. The central
   portion preferably is provided in the form of a disk bonded 10 same      central angle. The illustrated projections 1106 1107 are
                                                                      separated   from each other by a central angle of 180 degrees.
   along a top surface to a bottom surface of the rigid disc - like They are diametrically       opposed . As illustrated by reference
   section 1041 .
      The relatively thick disk -portion which includes the disc along a central axis of theimaginary
                                                                      to FIG  . 5 and FIG . 6 , an            straight - line Y running
                                                                                                     projections  passes through the
   like section 1041 of the diaphragm 1000 , is moulded from central longitudinal axis X of the valve orifice             channel. This
   acrylonitrile butadiene styrene , which is particularly resis- 15
   tant to flexural deformation . The relatively thin flexure arrangement            concentrates polymer flow towards the centre
   portion which includes the central portion , the annular of the boss 1100 during moulding, improving the surface
   flexure 1045 and the peripheral attachment ring 1047 , is finish of the upper surface 1103 and in particular its sealing
   moulded from thermoplastic polyurethane, permitting high surface 1105 .
   performance flexibility. The multi-material diaphragm 1000 20 As better illustrated in FIG . 6 , the upper surfaces of the
   may be made using a multi - shot moulding process wherein first 1107 and the second projections 1106 are both contigu
   the rigid disc - like section is moulded in a first step , and the ous with the upper surface 1103 of the annular boss 1100 .
   second flexible portion is moulded in a second step , and at The upper surface 1110 of the first projection 1107 and the
   the same time bonded to the first portion .                          upper surface 1103 of the annular boss 1100 are at an angle
      As shown in FIG . 4 , the rigid disc - like section 1041 25 (a ) of greater than 90 degrees but less than 180 degrees. The
   defines a central upwardly extending boss 1002 for addi upper surface 1109 of the second projection 1106 and the
   tional strength . In addition, the rigid disc - like section 1041 upper surface 1103 of the annular boss 1100 are at an angle
   includes an outer axial wall 1004 which provides further ( B ) of approximately 180 degrees: preferably there is no
   strength to the diaphragm 1000 .                                     discernible joint between the two .
      The valve port 1095 of the diaphragm 1000 passes 30 As a result of each of the upper surfaces 1109 1110 of the
   through the rigid disc -like section 1041 and the central projections 1106 1107 and the upper surface 1103 of the
   portion of the diaphragm . The valve port 1095 is closed by annular boss 1100 joining directly , during moulding , molten
   the valve port seal 76 , which is biased closed by a flat spring polymer is able to flow directly along the mould surface
   38 , as shown in FIG . 9. Although not shown, the rigid from projection upper surface to boss upper surface without
   disc - like section 1041 of the diaphragm may include pro- 35 stalling, improving the finish of the upper surface 1103 of
   trusions extending upwardly therefrom that receive the flat the annular boss 1100 and in particular the sealing surface
   spring 38. The rigid disc - like section 1041 of the diaphragm 1105 .
   100 also includes a baffle 1014 on a top surface thereof for           As illustrated in FIG . 6 a portion of the valve orifice
   substantially preventing air flow between the valve port seal channel forms the frustum of an imaginary cone with an
   76 and the diaphragm .                                            40 apex angle of 28 degrees. With reference to FIG . 14 , the
      As illustrated in FIG . 4 the valve port 1095 comprises an       valve orifice channel 78 has a volume of 1.91 mm ) and the
   annular boss 1100 projecting from an upper surface of the annular boss 80 has a volume of 12.02 mm3.
   rigid disk - like portion 1041 of the diaphragm . Typically, the     As better illustrated in FIGS . 5 and 7 , the annular boss
   annular boss 1100 and rigid disk - like portion 1041 are a 1100 is surrounded by a circumferential channel 1111
   single unitary structure . The annular boss 1100 comprises a 45 formed in the upper surface of the diaphragm 1041 sur
   lower generally cylindrical body portion 1101 and an upper rounding the annular boss 1100. The channel 1111 has two
   portion 1102 in the form of a truncated cone . The frustum of sections 1112 and 1113 each extending between the two
   the truncated cone provides the upper surface 1103 of the projections 1106 and 1107 around opposite sides of the
   annular boss 1100. The upper surface 1103 includes an annular boss 1100. The channel sections 1112 and 1113
   annular projection 1104 which surrounds the entrance to the 50 reduce the depth of the relatively rigid disk - like portion
   valve orifice channel and provides the sealing surface 1103 , 1041 of the diaphragm immediately adjacent to the annular
   which in use engages the valve port seal in a sealing relation . boss ; typically, to a depth ' D ' less than the thickness ‘ T ' of
   Whilst the illustrated annular boss 1100 , including both its the projections 1106 and 1107. This arrangement concen
   upper 1102 and lower portions 1101 , and the annular pro          trates polymer flow towards the centre of the annular boss
   jection 1104 , all have a circular circumference , it will be 55 1100 during moulding , improving the smoothness of the
   appreciated that other boss shapes may also be employed upper surface 1103 and in particular the sealing surface
   without departing from the invention . Accordingly, unless 1105 .
   stated otherwise , for the purposes of the invention the use of      FIG . 10 shows an alternative diaphragm central disk 1041
   annular, circumference , circumferential and / or radial , or the according to the invention . As illustrated, this embodiment
    like , do not restrict the invention to circular cross - sectioned 60 differs from that illustrated in FIG . 4 in that one of the
   bodies . Equally, substantially circular cross - sectioned and / or radially outwardly extending projections 1210 of the valve
   circumferenced bodies are not excluded .                            port 1095 extends from the annular boss 1100 to the central
      As illustrated , the valve port 1095 further comprises two upwardly extending boss 1002. As with the valve port 1095
   radially outwardly extending projections 1106 and 1107. A shown in FIG . 4 , this arrangement concentrates polymer
   first projection 1106 extending from outer wall 1004 to the 65 flow towards the centre of the annular boss 1100 during
   annular boss 1100. The second projection extending from moulding , improving the smoothness of the upper surface
    the baffle 1014 to the annular boss 1100. During moulding          1003 and, in particular, the sealing surface 1005 .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 207 of 318 PageID: 282


                                                      US 10,792,447 B2
                                 13                                                                  14
      Advantageously , it has been found that injection moulded ( long-acting B2 -adrenoreceptor agonists ), ultra - LABA ( ul
   diaphragms according to the invention provide an increased tra - long - acting B2- adrenoreceptor agonists ), and combina
   yield during manufacturing compared to those illustrated in tions thereof.
   FIGS . 1-3 and improved surface finish immediately adjacent      Suitable SABA include bitolterol, fenoterol, isoprenaline,
   the valve channel orifice. In embodiments, the yield has 5 orciprenaline, pirbuterol, procaterol, salbutamol , levosalbu
    increased from about 50 % to about 85 % .                     tamol , terbutaline, and pharmaceutically acceptable salts
      In embodiments the breath actuated metered dose inhaler     and esters thereof.
    comprises a reservoir, particularly a pressurized canister,      Suitable LABA include bambuterol, clenbuterol, for
    comprising an active pharmaceutical ingredient (API).         moterol, arformoterol, protokylol, salmeterol, and pharma
       Preferably the active pharmaceutical ingredient is pre- 10 ceutically acceptable salts and esters thereof.
    sented in a pharmaceutical composition comprising a pro          Suitable ultra -LABA include indacaterol, olodaterol,
    pellant, optionally a co - solvent and optionally other phar vilanterol, and pharmaceutically acceptable salts and esters
    maceutically acceptable excipients .                                thereof.
      Preferred propellants include hydrofluroalkanes, in par              Particularly suitable B2 - adrenoreceptor agonists include
   ticular 1,1,1,2 - tetrafluoroethane (HFA134a ), 1,1,1,2,3,3,3- 15 salmeterol xinafoate , salbutamol sulphate, salbutamol free
   heptafluoropropane ( HFA227 ), or combinations thereof. base , formoterol fumarate , fenoterol or terbutaline.
    Most particular propellant is HFA134a. Most particular             A particular B2 -adrenoreceptor agonist is salbutamol sul
    HFA134a concentration is from about 91.8 % w / w to 92.9 %          phate .
   w/w.                                                                Suitable anticholinergic agents are those compounds that
      HFA134a has a low boiling point ( -261 ° C. ) and corre- 20 act as antagonists at the muscarinic receptor, in particular
   spondingly high vapor pressure ( 572 kpa) at 20 ° C.              those compounds, which are antagonists of the M1 and M2
      Particular co -solvents are selected from the list of ali receptors. Compounds include the alkaloid of the belladonna
   phatic alcohols (particularly ethanol), glycerols and glycols . plants as illustrated by the likes of atropine, scopolamine,
   Most particular co - solvent is ethanol. Most particular etha homatropine, hyoscyamine; these compounds are normally
   nol concentration is about 8 % w / w .                         25 administered as a salt , being tertiary amines .
      Ethanol is well known to be compatible with HFA - 134a           Particularly suitable anticholinergics include ipratropium
   and increases the solubility of BDP. Ethanol ( anhydrous) is (e.g. as the bromide) , oxitropium (e . g . as the bromide) and
   used as a co - solvent to aid solubility of BDP in HFA134a . tiotropium (e , g . as the bromide) . Further suitable anticho
   A concentration of around 8 % w/w of ethanol is known to linergics of interest are methantheline, propantheline bro
    provide necessary stability, preventing precipitation and 30 mide, anisotropine methyl bromide, clidinium bromide,
    achieving correct aerosol performance .                      copyrrolate, isopropamide iodide, mepenzolate bromide,
      Other pharmaceutically acceptable excipients include sur tridihexethyl chloride , hexocyclium , cyclopentolate hydro
   factants, particularly oleic acid .                                chloride, tropicamide, trihexyphenidyl hydrochloride,
      Preferably, the active pharmaceutical ingredient is sus pirenzepine, telenzepine, and methoctramine.
   pended in the propellant. Alternatively, the active pharma- 35 Suitable antihistamines ( also referred to as H1 - receptor
   ceutical ingredient is dissolved in the propellant. The active antagonists) include carbinoxamine maleat, clemastine
   pharmaceutical ingredient may also be partly suspended and fumarate, diphenylhydramine hydrochloride, dimenhydri
   partly dissolved in the propellant.                                nate , pyrilamine maleate, tripelennamine HCI ,
      A particular active pharmaceutical ingredient is selected tripelennamine citrate , chlorpheniramine, chlorpheniramine
   from the group consisting of anti- inflammatory agents, 40 maleate, acrivastine, hydroxyzine HCl , hydroxyzine pamo
   B2 - adrenoreceptor agonists , anti -cholinergic agents, anti ate , cyclizine HCl , cyclizine lactate, meclizine HCl , cetiriz
   histamines , serotonin agonists, and combinations thereof.         ine HCl , astemizole , levocabastine HC1 , loratadine , lorata
      Suitable anti -inflammatory agents include corticosteroids dine descarboethoxy analogue, terfenadine, fexofenadine
   and NSAIDs .                                                       hydrochloride, azelastine hydrochloride.
      Suitable corticosteroids which may be used include those 45 In a particular embodiment of the invention , the active
   oral and inhaled corticosteroids and their pro -drugs which pharmaceutical ingredient is selected from beclomethasone
   have anti- inflammatory activity. Examples of suitable cor dipropionate (BDP ) , salbutamol sulphate and dihydroergot
   ticosteroids include methyl prednisolone, dexamethasone , amine .
   fluticasone propionate, fluticasone furoate, beclomethasone,          In a particular embodiment the breath actuated metered
   beclomethasone esters such as e.g. the 17 -propionate ester or 50 dose inhaler comprises a pressurized canister comprising
   the 17,21-dipropionate ester, budesonide , flunisolide, beclomethasone dipropionate as active pharmaceutical
   mometasone , mometasone esters such as e.g. the furoate ingredient; HFA134a as propellant and ethanol as co -sol
   ester, triamcinolone acetonide, rofleponide, ciclesonide , and vent.
   butixocort propionate.                                                In a particular embodiment the breath actuated metered
      A particular corticosteroid is beclomethasone dipropi- 55 dose inhaler comprises a pressurized canister comprising
   onate (BDP ).                                                      beclomethasone dipropionate as active pharmaceutical
      Suitable NSAIDs include sodium cromoglycate, nedocro            ingredient at about 1.0 mg/ml, HFA134a as propellant at
   mil sodium , phosphodiesterase (PDE ) inhibitors (e , g , the about 1090.20 mg/ml and ethanol as co - solvent at about
   ophylline, PDE4 inhibitors or mixed PDE3 /PDE4 inhibi 94.80 mg/mi.
   tors ) , leukotriene antagonists, inhibitors of leukotriene 60 In a particular embodiment the breath actuated metered
   synthesis, iNOS inhibitors, tryptase and elastase inhibitors, dose inhaler comprises a pressurized canister comprising
   beta - 2 - integrin antagonists and adenosine receptor agonists beclomethasone dipropionate as active pharmaceutical
   or antagonists ( e . g . adenosine 2a agonists ) , cytokine antago ingredient at about 0.084 % w / w , HFA134a as propellant at
    nists (e.g. chemokine antagonists ) or inhibitors of cytokine       about 91.9 % w/w and ethanol as co - solvent at about 8.0 %
    synthesis.                                                      65 w / w .
      Suitable B2 -adrenoreceptor agonists are selected from              In a particular embodiment the breath actuated metered
    SABA ( short -acting B2 -adrenoreceptor agonists ) , LABA           dose inhaler comprises a pressurized canister comprising
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 208 of 318 PageID: 283


                                                       US 10,792,447 B2
                                 15                                                                             16
    beclomethasone dipropionate as active pharmaceutical                                                TABLE 1
    ingredient at about 0.169 % w / w , HFA134a as propellant at                                    Process           Minimum      Maximum
    about 91.8 % w/w and ethanol as co - solvent at about 8.0 %              Parameter               Value              Value        Value
    w/w.
      In a particular embodiment the breath actuated metered 5                                      Diaphram -M24406
    dose inhaler comprises a pressurized canister comprising                 Injection Time         .13 sec.           .12 sec .    .14 sec.
    salbutamol sulphate as active pharmaceutical ingredient,                 Hold Pressure          750 bar            675 bar      825 bar
    HFA134a as propellant and ethanol as co - solvent.                       Pack and Hold
                                                                             Time
                                                                                                    1.0 sec             9 sec       1.1 sec
       In a particular embodiment the breath actuated metered                Cool Time               6.0 sec           5.4 sec      6.6 sec
    dose inhaler comprises a pressurized canister comprising 10              Barrel Temp.           210 ° C.           205 ° C.     215 ° C.
    about 0.1098 mg of salbutamol sulphate as active pharma                  Mold Water              75 ° F.            65 ° F.      85 ° F.
    ceutical ingredient, about 27.8 mg ofHFA134a as propellant                (Front/Cavities)
                                                                             Mold Water              75 ° F.            65 ° F.      85 ° F.
    and about 3.6 mg of ethanol as co - solvent.                              ( Back / Cores)
       One embodiment relates to a breath actuated metered dose 15                                        2nd Shot
    inhaler as described herein comprising an active pharma                  Injection Speed        10 mm / s          9 mm / s     11 mm / s
    ceutical ingredient.                                                     Pack and Hold          700 bar            630 bar      770 bar
       One embodiment relates to a breath actuated metered dose              Pressure
    inhaler as described herein comprising an active pharma                  Total Pack and
                                                                             Hold Time
                                                                                                     1.0 sec.          1.0 sec .    1.0 sec
    ceutical ingredient for therapeutic use .                        20      Cool Time              6.0 sec.           6.0 sec.     6.0 sec.
       One embodiment relates to a breath actuated metered dose              Barrel Temp.           245 ° C.           240 ° C.     250 ° C.
    inhaler as described herein comprising an active pharma
    ceutical ingredient for use in the treatment or prevention of
    a respiratory disease , particularly COPD or Asthma.                                                TABLE 2
      One embodiment relates to an active pharmaceutical 25
   ingredient for use in the treatment or prevention of a                                           Process           Minimum      Maximum
   respiratory disease , particularly COPD or Asthma, wherein                Parameter               Value              Value        Value
    the active pharmaceutical ingredient is delivered to a patient                                   Diaphram -M30579
    using a breath actuated metered dose inhaler as described 30             Injection Time         1.26 sec.         1.13 sec.    1.39 sec .
    herein .                                                                 Hold Pressure          10153 psi         8122 psi     12183 psi
       One embodiment relates to a method for the treatment or                                       700 bar           560 bar      840 bar
    prevention of respiratory diseases , particularly COPD or                Pack and Hold
                                                                             Time
                                                                                                     1.0 sec           1.0 sec      1.0 sec
    Asthma, which method comprises administering an active                   Cool Time               6.0 sec           6.0 sec      6.0 sec
    pharmaceutical ingredient to a human being or animal using 35            Melt Temp.             473 ° F.           463 ° F.     483 ° F.
    a breath actuated metered dose inhaler as described herein .                                    245 ° C.           240 ° C.     250 ° C.
       One embodiment relates to the use of a breath actuated                Mold Water              110 ° F.          100 ° F.     120 ° F.
    metered dose inhaler as described herein comprising an                    ( Front/ Cavities )    43 ° C.            38 ° C.      48 ° C.
                                                                             Mold Water              110 ° F.          100 ° F.     120 ° F.
    active pharmaceutical ingredient for the treatment or pre                 ( Back / Cores)        43 ° C.           38 ° C.       48 ° C.
    vention of respiratory diseases , particularly COPD or 40                                              2nd Shot
   Asthma.                                                                   Injection Time         0.12 sec.         0.108 sec.   0.132 sec.
       The invention will now be illustrated by the way of the               Pack and Hold          10153 psi         8122 psi     12183 psi
    following examples which are intended to be non -limiting.               Pressure
                                                                             Total Pack and
                                                                                                    700 bar
                                                                                                    1.0 sec.
                                                                                                                       560 ba
                                                                                                                       1.0 sec .
                                                                                                                                    840 bar
                                                                                                                                    1.0 sec
                                                                             Hold Time
                              Examples                               45      Cool Time              6.0 sec.           6.0 sec .    6.0 sec.
                                                                             Melt Temp.             410 ° F.           400 ° F.     420 ° F.
   Sample Preparation                                                                    210 ° C.                   215 ° C.
                                                                                                                       205 ° C.
      Two groups of Easi - BreatheTM inhaler force holding unit
   diaphragms were prepared for use in the following 50 Surface Roughness
   examples.                                                         The surface roughness of the sealing surface of each
      The diaphragms in both groups shared the following diaphragm was analysed using Bruker Contour GT white
   common features .                                              light interferometry machine at a magnification of 27.5x .
      The diaphragms of both groups were injection moulded Three areas of were scanned on each sealing surface, i.e.
   on a Nestal 120 2 - shot apparatus with 8 + 8 cavity mould and those indicated by the three - pronged arrow in FIG . 13. Each
   25 mm / 25 mm screw and barrel. In both groups the rigid 55 scanning area was 230 umx172 um . The areas were selected
   disk - like portion was made from ABS Sabic CycolacTM so as to avoid any weld line .
   HMG47MD , and the central portion, the annular flexure and        The results are summarised in Table 3. The results show
   the peripheral attachment ring were moulded from an elas that the test diaphragms are less rough than control dia
   tomer comprising 96 % BASF Elastollan® 1185A with 4 % 60 phragms.
   BASF Konz 950/1 additive as release agent.                     Weld Line Measurements
      The first “ control ” group diaphragms ( M30579 ) were         Using the Bruker Contour GT, the step height measure
   manufactured according to FIGS . 1 to 3 , with the injection ment mode was used to measure the depth of the weld line
   moulding parameters as set out in Table 1 .                    of the diaphragm samples and the step width measurement
       Whereas, the second “ test” group diaphragms (M24406 ) 65 mode and Cross Sectioning was used to measure the width
    were manufactured according to FIG . 4 , with the injection           of the weld line . The location of the measurements are
   moulding parameters as set out in Table 2 .                            indicated in FIG . 13 by rectangles 4 and 5 : labelled “ Step
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 209 of 318 PageID: 284


                                                           US 10,792,447 B2
                                    17                                                                 18
    Height Locations " . The weld line ( 200 ) is indicated .                  configuration the canister fire system is actuatable by
    Example results are illustrated in FIGS . 11 and 12 , and                  patient inhalation induced airflow ;
    summarised in Table 3 .                                                  and a fire configuration in which the metering valve is in
                                                                               a dose delivery position ;
                                TABLE 3                                5     wherein , in the prepared configuration, the force retained
                             Control Diaphragm Test Diaphragm Design
                                                                               by the pneumatic force holding unit reduces but by less
                               Design (n = 2 )         (n = 2 )
                                                                               than about 6 % over a period of 5 minutes.
                                                                             2. The breath actuated metered dose inhaler of claim 1 ,
    Mean Roughness                  0.162               0.095             wherein , when in the prepared configuration, the force
    Average (RA ) /um
    Mean Weld Line Depth /          11                      13.95
                                                                       10 retained by the pneumatic force holding unit reduces by less
   um                                                                     than about 3 % over a period of 5 minutes.
                                                                             3. The breath actuated metered dose inhaler of claim 1 ,
                                                                          further comprising at least one of:
   Force Holding Unit Performance                                            a valve port for the pneumatic force holding unit, the
      Otherwise identical EasiBreatheTM force holding units 15                  valve port comprising an annular boss defining a valve
   ( FHUS ) were assembled comprising either the control or test                orifice channel and two or more radially outwardly
   diaphragms mentioned above . The ability of both types of                    extending projections defining a path through which
   FHU to retain a pressure difference after priming was then                   polymer passes to form the annular boss during injec
   assessed using an Instron 5564 force testing unit according                  tion molding , wherein the two or more radially out
   to the following method . The Instron was equipped with an 20                wardly extending projections are substantially uni
   Instron +1 kN load cell and operated using Bluehill 2.33.895                 formly circumferentially separated and the annular
   software .                                                                   boss has a longitudinal axis which passes through the
      The FHU to be tested was secured in the Instron, with the                 valve orifice channel, and wherein the at least two
   Instron gripping the unit housing and the lower cap . The                    radially outwardly extending projections and the valve
   Instron was then used to compress the FHU until a force of 25                orifice channel lie in a common plane coincident with
   90N was achieved . Then the Instron was backed off 2.6 mm                    the longitudinal axis ;
   and a first, F1 , force reading was recorded . The Instron was            a flap valve comprising a chassis for pivotal mounting
   held in the same position for a period of 5 minutes , after                  within the inhaler, a valve port seal mounted on the
   which time a second force reading, F2 , was taken .                          chassis configured to selectively engage the valve port
      The results are summarised in Tables 4 and 5 .                   30       in a sealing relation, and a vane for moving the valve
                                                                                port seal away from the valve port in response to
                                  TABLE 4                                       inhalation induced airflow ; and
                                                                             a diaphragm comprising a rigid disk portion and a flexible
                     Control Diaphragm Design (n = 10 )                         membrane,
                         F1 ( N )      F2 ( N )     Delta F1 - F2 ( N)
                                                                       35    wherein   the valve port is unitarily formed with the rigid
                                                                                disk portion .
       Mean
       Minimum
                          23.14
                          22.72
                                        27.39
                                        24.34
                                                            4.25
                                                             1.48
                                                                             4. The breath actuated metered dose inhaler according to
       Maximum            23.63         34.35              11.52          claim 1 comprising a medicament for use in the treatment of
                                                                          a respiratory disease.
                                                                       40    5. The breath actuated inhaler according to claim 4
                                                                          wherein the respiratory disease is selected from COPD and
                                  TABLE 5                                 asthma.
                       Test Diaphragm Design ( n = 10 )                      6. The breath actuated inhaler according to claim 5
                                                                          wherein the medicament is selected from the group consist
                         F1 ( N )      F2 ( N )     Delta F1 - F2 (N)  45 ing of an anticholinergic and a corticosteroid .
                                                                             7. The breath actuated inhaler according to claim 6 ,
       Mean
       Minimum
                         21.701
                         20.74
                                       22.034
                                       21.33
                                                          0.333
                                                          0.18
                                                                          wherein   the anticholinergic comprises tiotropium .
       Maximum           22.2          22.42              0.59               8.  The   breath actuated inhaler according to claim 6 ,
                                                                          wherein the corticosteroid comprises beclomethasone dipro
                                                                       50 pionate.
      As demonstrated, FHUs containing the test diaphragms                  9. The breath actuated inhaler of claim 1 wherein the
    according to the invention were able to maintain a pressure            pneumatic force holding unit comprises a valve port com
    difference more effectively over the allotted time period .           prising a valve seal surface configured to be sealably
                                                                          engaged by a movable valve seal , wherein the valve seal
      The invention claimed is :                                       55 surface has a surface roughness average (RA ) of less than
       1. A breath actuated metered dose inhaler comprising :              about 0.15 um .
      a canister fire system configured to provide a canister                10. A breath actuated metered dose inhaler comprising:
        actuation force to fire a medicament containing canister             a canister fire system configured to provide a canister
        in response to patient inhalation, the canister fire sys               actuation force to fire a medicament containing canister
        tem comprising a pneumatic force holding unit and 60                   in response to patient inhalation , the canister fire sys
        having:                                                                tem comprising a pneumatic force holding unit and
      a rest configuration in which a metering valve of the                    having:
        canister is in a refill configuration;                               a rest configuration in which a metering valve of the
      a prepared configuration in which a canister actuation                   canister is in a refill configuration ;
        force is retained by a difference in pressure between an 65          a prepared configuration in which a canister actuation
        enclosed volume within the pneumatic force holding                     force is retained by a difference in pressure between an
        unit and atmospheric pressure , and in which prepared                  enclosed volume within the pneumatic force holding
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 210 of 318 PageID: 285


                                                     US 10,792,447 B2
                               19                                       20
       unit and atmospheric pressure , and in which prepared
       configuration the canister fire system is actuatable by
       patient inhalation induced airflow ;
     and a fire configuration in which the metering valve is in
       a dose delivery position ;                                 5
     wherein , in the prepared configuration , the force retained
       by the pneumatic force holding unit reduces but by less
       than about 6 % over a period of 5 minutes and wherein
       the pneumatic force holding unit further comprises a
       valve port comprising a relatively rigid valve seal 10
       surface configured to be sealably engaged by an elas
       tomeric valve seal , wherein the relatively rigid valve
       seal surface has a surface roughness average (RA ) of
       less than about 0.15 um .
                                                                 15
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 211 of 318 PageID: 286




                             EXHIBIT I
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 212 of 318 PageID: 287

                                                                                                 US011395888B2


    ( 12 ) United States Patent                                           ( 10) Patent No .: US 11,395,888 B2
           Buck et al .                                                   (45 ) Date of Patent :   Jul . 26 , 2022
    ( 54 ) INHALERS AND RELATED METHODS                              ( 56 )                       References Cited
    ( 71 ) Applicant: Norton (Waterford ) Limited ,                                          U.S. PATENT DOCUMENTS
                       Waterford ( IE )                                       4,413,755 A 11/1983 Brunet
                                                                              5,394,866 A * 3/1995 Ritson                   A61M 15/00
    ( 72 ) Inventors: Daniel Buck , County Waterford ( IE ) ;                                                                128/200.14
                       Paul Prendergast , County Carlow ( IE ) ;                                       (Continued )
                       Declan Walsh , County Kilkenny ( IE )
                                                                                           FOREIGN PATENT DOCUMENTS
    ( 73 ) Assignee : Norton (Waterford ) Limited ,
                       Waterford ( IE )                              AU                     2013231201 A1     10/2013
                                                                     AU                     2016203059 Al      6/2016
    ( * ) Notice : Subject to any disclaimer, the term of this                                         (Continued )
                       patent is extended or adjusted under 35
                       U.S.C. 154 ( b ) by 0 days.                                     OTHER PUBLICATIONS
    ( 21 ) Appl. No .: 16 /134,401                                   Label for QVAR® REDIHALERTM revised in 2017 ; 26 pages .
                                                                     Written Opinion of the International Searching Authority for PCT /
    ( 22 ) Filed :     Sep. 18 , 2018                                EP2018/ 051937 , dated Jun . 19 , 2018 ; 5 pages .
    ( 65 )                Prior Publication Data                     Primary Examiner Elliot S Ruddie
                                                                     (74 ) Attorney, Agent, or Firm — Morgan , Lewis &
           US 2019/0015610 A1 Jan. 17, 2019                          Bockius LLP
                                                                     (57 )                             ABSTRACT
                 Related U.S. Application Data                       An inhaler housing ( 14 ) for an inhaler ( 10 ) for inhaling
    ( 63 ) Continuation of application No. 15 / 881,283 , filed on   inhalable substances, the inhaler having: a body ( 14 ) and a
           Jan. 26 , 2018 , now abandoned .                          dose counter (24 ) with a return spring ( 28 ) , wherein a
                        Foreign Application Priority Data            distinct guide surface ( 162 ) is provided for guiding the end
    (30)                                                             of the return spring into a recess ( 152 ) , the distinct guide
      Feb. 14 , 2017        (GB )                        1702407
                                                                     surface being wider than an entrance mouth ( 160 ) of the
                                                                     recess , a dose counter chamber ( 22 ) being provided which is
    ( 51 ) Int . CI .                                                separated from aa tubular interior space ( 182 ) of the inhaler
           A61M 15/00                ( 2006.01)                      by a barrier ( 180 ) , the barrier including a stepped upper wall
           A61M 15/08                ( 2006.01 )                     area ( 184 ) including at least three steps ( 186 , 188 , 190 , 192 )
                                                                     at different levels , the inhaler having a valve stem block ( 62 )
                           (Continued )                              having an inner bore and a valve stem block having a seal
    (52) U.S. Cl .                                                   (224 ) in the inner bore with a second diameter which is
          CPC         A61M 15/0066 ( 2014.02 ) ; A61K 9/0073         smaller than a first diameter of the inner bore , the inhaler
                            ( 2013.01 ) ; A61K 31/46 ( 2013.01 ) ;   having a canister ( 150 ) being adapted to move during
                           (Continued )                              operation between 1 and 4 mm , a drive being arranged to
    ( 58) Field of Classification Search                             apply a firing force of between 15 N and 60 N of force to the
          CPC          A61M 15/0066 ; A61M 15/0013 ; A61M            canister at a position of the canister relative to a valve stem
                     15/0021 ; A61M 15/0025 ; A61M 15/0071 ;         (54 ) at which the canister fires .
                           (Continued )                                             30 Claims , 21 Drawing Sheets
                                                       72
                                                                                   76



                                                                                                 78
                                            38



                                              80                                                  44


                                                             ?                  GAR IDOU
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 213 of 318 PageID: 288


                                                                US 11,395,888 B2
                                                                          Page 2

    (51 ) Int. Ci.                                                                    6,644,517 B2     11/2003 Thiel et al .
             A61P 11/06                 ( 2006.01 )                                   7,278,556 B2     10/2007 Goujon et al .
             A61P 11/00                 ( 2006.01 )                                   7,637,260 B2     12/2009 Holroyd
             A61K 31/573                ( 2006.01)                                    7,793,805 B2     9/2010 Allsop
                                                                                      7,886,934 B2      2/2011 Lu et al .
             A61K 31/46                 (2006.01 )                                    7,959,042 B2      6/2011 Twyman
         A61K 9/00              ( 2006.01 )                                           8,132,712 B2      3/2012 Fenlon
                                                                                                        8/2012 Fletcher
    (52) U.S. CI.                                                                     8,235,044 B2
         CPC                                                                          8,286,941 B2     10/2012 Fontela et al .
                       A61K 31/573 ( 2013.01 ) ; A61M 15/00                           8,434,648 B2      5/2013 Marie et al.
                 (2013.01 ) ; A61M 15/0013 ( 2014.02 ) ; A61M                         8,931,476 B2      1/2015 Kaar et al.
               15/0021 (2014.02 ) ; A61M 15/0025 ( 2014.02 ) ;                        8,973,784 B2      3/2015 Lu et al .
                                                                                                        6/2015 Jinks et al .
                   A61M 15/0071 ( 2014.02 ) ; A61M 15/0091                            9,067,031 B2
                           (2013.01 ) ; AIM       08 (2013.01 ) ; A61P                9,096,371 B2      8/2015 Allsop
                                                                                       9,572,945 B2     2/2017 Duignan et al.
                   11/00 ( 2018.01 ) ; A61P 11/06 ( 2018.01 ) ; AIM                2005/0241637 A1     11/2005 Westrate
                                                 2205/18 (2013.01 )                2008/0156321 A1 *    7/2008 Bowman            A61M 15/0081
    ( 58 ) Field of Classification Search                                                                                           128/200.23
             CPC      ............ A61M 15/00 ; A61M 15/009 ; A61M                 2010/0078490 A1 * 4/2010 Fenlon                A61M 15/009
                                                                                                                                     235/91 R
                        15/0091 ; A61M 15/0093 ; A61M 15/0095 ;                    2011/0155129 A1 *    6/2011 Stedman            A61M 15/009
                            A61M 15/0096 ; A61M 15/08 ; A61M                                                                        128/200.23
                        2205/18 ; A61P 11/06 ; A61P 11/00 ; A61K                   2013/0298907 A1     11/2013 Zuyderhoudt
                           9/0073 ; A61K 9/008 ; A61K 31/46 ; A61K                 2014/0096769 Al     4/2014 Walsh et al .
                             31/573 ; B01F 3/04049 ; B01F 3/04056 ;                2014/0109904 A1 *   4/2014 Kaar               A61M 15/0076
                               B01F 3/04063 ; B01F 3/04021 ; B01F                                                                   128/203.12
                                                                                   2015/0101599 A1 * 4/2015 Berry                A61M 15/0026
                                3/04014 ; B01F 3/04 ; B01F 15/0201 ;                                                                128/202.22
                               B01F 15/0202 ; B01F 15/0203 ; B01F                  2015/0157815 Al      6/2015 Bacon
                                    15/02223 ; B01F 15/02224 ; B01F                2015/0190510 A1 *    7/2015 Dalvi              A61K 9/0078
                             15/0238 ; B01F 15/0241 ; B01F 15/0254                                                                  128/200.14
             USPC                128/ 200.14 , 200.23 , 204.18 , 204.21 ,          2016/0084385 A1   3/2016 Petit et al .
                                                               128 / 204.23        2016/0151588 Al   6/2016 Miller et al .
                                                                                   2016/0376088 A1 12/2016 Jacuk
             See application file for complete search history .                    2017/0095626 A1   4/2017 Pieters
                                                                                   2017/0173280 A1   6/2017 Howgill
    (56 )                     References Cited                                     2019/0134322 A1 * 5/2019 Fabien               A61M 15/0095
                                                                                   2020/0297945 Al * 9/2020 Cottenden             A61M 15/009
                     U.S. PATENT DOCUMENTS
                                                                                             FOREIGN PATENT DOCUMENTS
            5,776,432 A         7/1998 Schultz et al .
            6,170,717 B1        1/2001 Di Giovanni et al .                     EP                1289589 A         3/2003
            6,318,603 B1       11/2001 Burt                                    EP                2135199 A         5/2012
            6,345,740 B1        2/2002 Riebe                                   EP                2514464 A        10/2012
            6,446,627 B1        9/2002 Bowman et al .                          EP                2514465 A        10/2012
            6,454,140 B1        9/2002 Jinks                                   GB                2355252 B         1/2002
            6,461,591 B1 * 10/2002 Keller                      A61K 9/008      WO                0226301 A1        4/2002
                                                                   424/45      WO             2013092345 A1        6/2013
            6,553,988 B1 * 4/2003 Holroyd                    A61M 15/0091
                                                                128/ 200.14    * cited by examiner
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 214 of 318 PageID: 289


    U.S. Patent          Jul . 26 , 2022   Sheet 1 of 21        US 11,395,888 B2




                                                    12
                                                                10


                                                    - 14

                                                           16




                                           FIG . 1A

                                                72

                                                 12

                                               14




                   18
                    20



                                           FIG . 1B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 215 of 318 PageID: 290


    U.S. Patent           Jul . 26 , 2022        Sheet 2 of 21              US 11,395,888 B2


                                                             12


                                                           32

                                                           -34
                                                3     36
                                                           76
                                                        38
                                30




                                                00
                                                           -40
                                          80
                                                          -42
                                                        -78
                                                           44


                                                           46

                                                        50

                                                      52
                                     220
                                          54
                                                       226

                                                           56

                                                           58

                                                                             16
                                                           59
                                                            14
                                     26
                     18         24



                      26
                      DD
                         gelrnga
                           28              22
                                                FIG. 2 66
                                                                  60
                                                                       60
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 216 of 318 PageID: 291


    U.S. Patent           Jul . 26 , 2022        Sheet 3 of 21   US 11,395,888 B2




                                            26

                                                  24




                            mer
                     28



                               154
                                            FIG. 3
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 217 of 318 PageID: 292


    U.S. Patent                Jul . 26 , 2022        Sheet 4 of 21         US 11,395,888 B2




             88



                                            54   52
                                                                      108     50


                                                                              86
                               90                                                  84
                               96

                                                                       102
                          82                                                 70
                    92
                  106



                         100
                               94                98
                                                       110
                                                             CO(104




                                                      FIG. 4
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 218 of 318 PageID: 293


    U.S. Patent         Jul . 26 , 2022   Sheet 5 of 21           US 11,395,888 B2




                                           82
                                                                            201
         54
                                          86

                                                     82
                88
                                                5A
                     FIG. 5A
                                                          54

                                                               FIG. 5B




    50




              FIG. 5C

                                                                             16
                                                               FIG. 5D
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 219 of 318 PageID: 294


    U.S. Patent         Jul . 26 , 2022         Sheet 6 of 21           US 11,395,888 B2




                                               82
                                                                       Xxu




                                                         82

            88                                      64
                 FIG. 6A
                                                                FIG. 6B
                                                                       72    40




                          72
                                76
                                                         12
                                                                                  56

                                                                                  58
                                                                                   66
    74
                                                                                        68

                                          44
                                                                  **
                                                                                   59

                 FIG . 6C
                                                                                   16



                                                                       D
                                                                FIG. 6D
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 220 of 318 PageID: 295


    U.S. Patent                   Jul . 26 , 2022          Sheet 7 of 21        US 11,395,888 B2




                                                          82

                                                                                           82


                                                         203
            wwwwwwwwwwww




                                                                    203
                            FIG. 7A                                        FIG . 7B

                                                                           CA               12

            72
                             74        76



                                                    78                                56

    38
                                                                                                   68

     80


                                                                                                 203

                           FIG. 7C                                                         66



                                                                           D
                                                                           FIG. 7D
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 221 of 318 PageID: 296


    U.S. Patent            Jul . 26 , 2022   Sheet 8 of 21      US 11,395,888 B2

                                                                                84




             30
             cm
             WWWWWWWWWWW




                       FIG. 8A                               FIG. 8B




                Set

    50   w




                  FIG . 8C                                                 60



                                             FIG. 8D
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 222 of 318 PageID: 297


    U.S. Patent            Jul . 26 , 2022         Sheet 9 of 21           US 11,395,888 B2



                            STATE 1 : REST
                 ( MOUTHPIECE COVER CLOSED )

                 ////      40                ////
                                                             12
                                                        -78
                  FFHUCS                                44




                 T
                 ?
                                                                      LEGEND :
                                                                        CLOSED
                                                                     O OPEN
                                                        50


                                                   70
                                                   86
                                                                  FORCE BALANCE :
                                                                   FYL 2 FFHU CS
                                                  82

                                                   90
                                             54
                                             -62
                                             64
                                                   14

                           17

                                             FIG. 9
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 223 of 318 PageID: 298


    U.S. Patent             Jul . 26 , 2022              Sheet 10 of 21      US 11,395,888 B2



           STATE 2 : INTERIM /PREPARED
           ( MOUTHPIECE COVER OPEN )

                                                   fen
                                                     12
                                                   -78
             FFHUCS
                                                   44
                                           Foia
                                                                          LEGEND :

                          FT
                           CSVALVE                                          CLOSED
                                                                          O OPEN

                                                   50


                                              70

                            WW                86
                                                                      FORCE BALANCE :
                                                                  FVALVE CS + FDIA = FFHU
                                                                            CS
                                          82


                 DVALVE              54
                                      62
                                               90
                                                                    VALVE DISPLACEMENT:
                                                                    DVALVE < DACTUATED
                                          14




                                           FIG. 10
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 224 of 318 PageID: 299


    U.S. Patent                       Jul . 26 , 2022              Sheet 11 of 21       US 11,395,888 B2


                      STATE 3 : ACTUATED
            ( MOUTHPIECE COVER OPEN )

           Un                                            44
                                                               12
                         40                                  78


             FFHUCS                                       44


                                                                  46


                                ??
                               FCSVALVE
                                                                                    LEGEND :
                                                                                      CLOSED
                                                                                    O OPEN

                                                             -50
                                                        84

                                                                                FORCE BALANCE :

                                                     86                      FVALVE CSS FFHU CS
                                                   82



                DVALVE   54.
                                PER             62
                                                        90
                                                         64
                                                                             VALVE DISPLACEMENT:
                                                                             DVALVE ? DACTUATED



                                                         FIG. 11
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 225 of 318 PageID: 300


    U.S. Patent               Jul . 26 , 2022                            Sheet 12 of 21                          US 11,395,888 B2




                                                                 146                  120
                                                                                                             14

                                144                                                                  142
                                                                                                134
                                                                                                  138
                                                                                                    148


              136
        140                *********   ***** *******   ************* ****** ++                          ??   ?? ? ??????

        150                                             NMU                      MY          AKN * KRAKKKKK W KKKKKK

                                                                                                     126
                                                                                                     132
              ID2                                                                                    D3
                                                                                                         D2
        124
                                                                          wawwww            wwwvwwwwwwwwww




              130




                122
                      62
                                                                                                                           14
                                                                                                                     66
                                 68                                  FIG. 12
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 226 of 318 PageID: 301


    U.S. Patent         Jul . 26 , 2022     Sheet 13 of 21          US 11,395,888 B2




                                                         152
                                                   170

                                                                             158

                                                                             168
                                                                              160
                                                                               162

                                          La                           164
                                                                             168



                                                                      166
                              14                               22




                                          FIG . 13
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 227 of 318 PageID: 302


    U.S. Patent         Jul . 26 , 2022                   Sheet 14 of 21              US 11,395,888 B2

                                                          120

                                                                   182




                                WTAWRKWAIRW                         200
                                                                     208
                                                                         198

                                                                         184
                                                                         206
                                                                           14
     192
                                                                              204
    218                                                                         WOK 22
                                                                         www
                                                                                180
    190


       186                                                                     FIG. 14A
                        194
                                                                   wun   62
                                                   202



                                                         198 206 208            190   214
                                                                         188




                               180


                                                                                                   14
                              212

                                              22
                FIG. 14B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 228 of 318 PageID: 303


    U.S. Patent         Jul . 26 , 2022         Sheet 15 of 21              US 11,395,888 B2



                              Ww N   BD2   62



      228
                                                       224

                                                     61
        BD1




                       FIG . 15A
                                                                 ----

                                                                   ------




                                                                                      61

                                                                                       62




                         FIG . 15B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 229 of 318 PageID: 304


    U.S. Patent                 Jul . 26 ,, 2022   Sheet 16 of 21   US 11,395,888 B2

                                   12
                    252                      270
         258

                                                            290




               +
               +1
               +
               +
               +




                                                       **


                          FIG. 16A



                                                                              254

                                                                             14

                          256




                                                    FIG . 16B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 230 of 318 PageID: 305


    U.S. Patent         Jul . 26 , 2022      Sheet 17 of 21              US 11,395,888 B2


                                                                    12

                                                                         14




                                          IFIG. 17A
                                                                              258
                                                                                    256




    270



       272


          12
                 ID                              12
                                                                                      256
                                                                    258
               250
                     FIG . 17B                                  FIG. 17C
                               270
                               274

                                12
                                           f                  272




                                                                170

                                          FIG . 17D
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 231 of 318 PageID: 306


    U.S. Patent                           Jul . 26 , 2022              Sheet 18 of 21          US 11,395,888 B2

                                                                            14




                  water

                                                   Www

                                                    .




             HLE                                          sana
                                                                                 FIG . 18A
                                                                                               258
            202
                          266
                                    256            260
                                                                                                            12
                                                                 ANE




                                                                                        1000

                                      FIG. 18B
                                                                                                258


      12                                    0.80
    290                         a   mnWWE
                                            A MMM * YMM



                  0.39
             EM
                                                                 FIG. 18C
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 232 of 318 PageID: 307


    U.S. Patent                            Jul . 26 , 2022    Sheet 19 of 21   US 11,395,888 B2




                                                             1002



                                                                               1000




                                                                     1008
                                                                                      1004
                                1006




                                                                               KOLO



               MYYYYYYYYYYYYYYYYYYYYYYYYYYYYYYYYY




                                                         FIG. 19
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 233 of 318 PageID: 308


    U.S. Patent          Jul . 26 , 2022   Sheet 20 of 21   US 11,395,888 B2



                                                                 10



                                           MEET

                                                            12




                                                            14

                       DDD




                 110         16
                                      FIG . 20
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 234 of 318 PageID: 309


    U.S. Patent                        Jul . 26 , 2022   Sheet 21 of 21         US 11,395,888 B2




                                                                                    ,
                                                                                    24
                                                                                    HR
                                                                                    12

                        207
                                                                                    .
                                                                                    HR
                                                                                    2




                                                                                    HR
                                                                                    1
                                                                                    .
                                                                                    MIN
                                                                                    30




                      205                                                  8$
                                                                                             DTEILMAEY   FIG
                                                                                                         21
                                                                                                         .


                                                                                    .
                                                                                    MIN
                                                                                    5
                                                                                    2
                                                                                    1
                                                                                    45
                                                                                    ,
                                                                                    SEC
                                                                                    SEC.30
                                                                                    15
                                                                                    DELAY
                                                                                    NO




      DVALVE RETONSIE *PRIMELS               ?
                                                 ??



                                                                                U
                                 150   125      00     75    50       25
                                               CLAIM LABLED %
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 235 of 318 PageID: 310


                                                      US 11,395,888 B2
                                 1                                                                  2
           INHALERS AND RELATED METHODS                                           SUMMARY OF THE INVENTION
              CROSS - REFERENCE TO RELATED                               According to one aspect , the present disclosure discloses
                       APPLICATIONS                                   an inhaler housing for an inhaler for inhalable substances,
                                                                    5 the inhaler housing being arranged to contain a pressurised
      This application is a continuation of U.S. patent applica canister for sliding motion within a tubular body portion
                           a
   tion Ser. No. 15 / 881,283 , filed Jan. 26 , 2018 , which claims thereof, the inhaler housing having a valve stem block for
   the benefit of priority of Application No. GB1702407.6 , valve     connection to a valve stem of a pressurised canister, the
   filed Feb. 14 , 2017 , which applications are incorporated by 10 portionstem      block having a top surface , the tubular body
                                                                                having at least two mutually opposed guide ribs for
   reference herein , in their entireties and for all purposes.       guiding canister position within the tubular body portion , the
                   FIELD OF THE INVENTION                             guide ribs having substantially straight guide edges extend
                                                                      ing substantially parallel to and spaced from one another,
      The present invention relates to inhalers, including breath 15 each    straight guide edge having an upper corner where the
                                                                      straight  guide edge meets a further surface of the rib leading
   actuated and metered dose inhalers . The invention relates to
   oral and nasal inhalers. The invention also relates to methods     outwardly towards an upper rib section near an inner wall of
   of metering inhalable substances in metering valves of the              tubular body portion , at least one of the ribs having its
                                                                      straight guide edge's upper corner positioned a distance D2
   canisters for medicament inhalers, inhaler housings and in a direction parallel to an axis of the valve stem block
   inhaler valve stem and valve stem block interfaces .            20 along away from the top surface of the valve stem block , a
             BACKGROUND OF THE INVENTION                              distance between the straight guide edges of the ribs per
                                                                      pendicular to the axis being ID2 , and in which the ratio
                                                                      D2 /ID2 is less than 0.8 .
      A known inhaler, which is a breath actuated inhaler, has           It has been surprisingly found that ratios below this value
   a pressurised canister and a metering valve for controlling 25 enable very efficient and smooth guidance of the canister
   the ejection of inhalable substances from the canister. The relative to the inhaler housing in some configurations.
   canister is operable by a force holding unit having a cap             The ratio D2 / ID2 may be less than 0.75 , about 0.7 being
   housing attachable to a main housing of the inhaler. The one example.
   metering valve includes a valve stem for transferring sub-            The further surface of at least one guide rib may extend
   stances from an interior reservoir of the canister into the 30 away from the valve stem block and terminate at a distance
   metering chamber and then out of the metering chamber D3 from the top surface of the valve stem block in the
   along the valve stem in the direction of a nozzle of the direction parallel to the axis , the ratio D3 /ID2 being less than
   inhaler. A radially directed capillary port is provided in the 0.9 or less than 0.85 , about 0.8 being one example.
   valve stem for communicating substances out of the interior           Each guide rib meets the upper rib section near the inner
   reservoir for communication along the valve stem to the 35 wall of the tubular body portion at outer rib positions
   metering chamber and a similar port is provided for com- wherein the outer rib positions are a distance ID1 apart in a
   municating substances out of the metering chamber and direction perpendicular to the axis, and in which the ratio
   along the valve stem towards the nozzle. In use , a mouth- ID2 / ID1 is between 0.7 and 0.9 , typically between 0.75 and
   piece cap is opened to ready the inhaler for inhalation and 0.85 , about 0.78 or 0.8 being two examples.
   then after inhalation the mouthpiece cap is closed and resets 40 According to a further aspect , the present disclosure
   a canister fire system . It has been found that the inhaler can discloses an inhaler housing for an inhaler for inhaling
   be left after inhalation with the mouthpiece dust cap in the inhalable substances, the inhaler having: a body and a dose
   opened position with the metering chamber communicating counter with an actuation member adapted to drive a dose
   with atmosphere via the valve stem and nozzle . This can indication portion of the dose counter against a return spring,
   result in the variance of active ingredients in at least one 45 the body including a recess for location of an end of the
   subsequent dose. This means that users will sometimes return spring ; the recess having a substantially flat reaction
   remove a force holding unit cap housing from the main body surface, a shoulder surface adjacent the reaction surface and
   of the inhaler and try to ensure that the metering chamber is an entrance mouth into the reaction surface; wherein a
   sufficiently primed by firing a number of doses and this is distinct guide surface is provided for guiding the end of the
   both wasteful and may result in damage to the inhaler. 50 return spring into the recess , the distinct guide surface being
      In some inhalers, when it is necessary to make changes to wider than the entrance mouth in a direction across the
   internal components, it is difficult to provide space and good mouth .
   guidance for all the necessary interior moving parts . Also ,         This feature of the distinct guide surface being wider than
   the assembly of some inhaler dose counters can be difficult. the entrance mouth advantageously assists in assembly of
      Furthermore, in some inhalers, despite a tight connection 55 the dose counter into the inhaler since when the return spring
   between the valve stem and a valve stem block within the is being fitted as part of the dose counter installation it can
   main body, blowback can occur which is leakage of sub- slide along the distinct guide surface relatively easy into the
    stances between the valve stem block and valve stem . It can      recess .
    also be difficult in some inhalers to achieve reliable dose          The entrance mouth may have at least one chamfered
    counting to reflect the number of doses actually provided by 60 entrance lip , the distinct guide surface having a slanted edge
    the inhaler .                                                    which is an extension of the lip .
       The present invention aims to alleviate at least to a certain   The distinct guide surface may be substantially planar.
    extent at least one of the problems of the prior art.            The distinct guide surface may have an edge which inter
       Alternatively, the present invention aims to provide a sects with an adjacent curved surface of the body.
    useful inhaler, method of metering substances in a metering 65 At least a portion of the distinct guide surface may
    valve of a canister for a medicament inhaler and / or useful comprise a portion of the body which is recessed relative to
    inhaler parts.                                                   an adjacent portion of the body.
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 236 of 318 PageID: 311


                                                      US 11,395,888 B2
                                 3                                                                  4
      A further aspect of the present disclosure discloses an           An outer diameter of the valve stem may be smaller than
    inhaler housing for an inhaler for inhaling inhalable sub-        the first diameter but larger than the second diameter prior
    stances, the inhaler housing having tubular portion defin-        to introduction of the valve stem into the inner bore ,
    ing a tubular interior space for containing a pressurised         preferably about 0.75 % to 1.5 % larger, for example about
    canister containing inhaler substances, a valve stem block 5 1 % larger.
    for engagement    with a valve stem of such a pressurised       The valve stem block may include an annular recess
    canister, and a dose counter chamber for containing a dose
                  a                                              concentric  with and extending around the inner bore at least
    counter assembly, the dose counter chamber being separated      partially around the circumference thereof, the inner diam
    from the tubular interior space by a barrier, the barrier       eter of the annular recess being about 25 to 50 % larger than
    including a stepped upper wall area including at least three 10 the
                                                                    aboutinner
                                                                           40%diameter
                                                                                 larger. of the cylindrical inner bore, for example
    steps at different levels.                                         The seal may be inwardly convex .
       This configuration advantageously permits enough room
    for the dose counter in the dose counter chamber and enough toroid . seal may have an inner surface which is part of a
                                                                       The
    room for the movable parts inside the inhaler housing 15 The seal may be located at or near an entrance to the inner
    including the pressurised canister and in at least one arrange- bore .
    ment
    saving
          has been found to be particularly effective in space          The seal may be formed integrally with , e.g. of the same
                                                                     material as , the material defining the inner bore which may,
       The inhaler may include four said steps .                     for example, be moulded plastics .
       The steps may be arcuate .                                 20   A further aspect of the present disclosure discloses a
       The arcuate steps may have substantially flat areas aligned breath actuated inhaler having a drive adapted to drive a
    substantially perpendicular to an axis of the valve stem pressurised canister so as to retract a metering valve stem
    block as well as part - cylindrical riser surfaces between the into the canister to fire the canister, the canister being
   substantially flat areas.                                         adapted to move during operation between 1 and 4 mm
      The steps may be substantially concentric with an axis of 25 between end positions of its length of travel relative to the
   the valve stem block .                                            valve stem , the drive being arranged to apply a firing force
      The steps may extend around the valve stem block a             of between 15 N and 60 N of force to the canister at a
   distance of about 180 degrees.                                    position of the canister relative to the valve stem at which
      The material forming the barrier may be of substantially the canister fires.
   constant thickness substantially throughout the steps .        30    With this configuration of drive and canister travel, it has
      The dose counter chamber may be formed with at least been surprisingly found possible to have very accurate and
   one heat staking pin for mounting of aa dose counter system , reliable firing of the canister, as well as accurate counting
   the heat staking pin being directly attached to at least two of when a dose counter is provided. Furthermore , a long extent
   the steps.                                                        of travel of the canister to retract the valve stem can be
      The heat staking pin may be attached to at least one step 35 provided to ensure that both count and fire very reliably
   surface that is oriented substantially perpendicular to an axis occur.
   of the valve stem block and to at least one and preferably two       The drive may comprise a drive spring.
   step risers.                                                         The canister may be arranged to move between 1 and 3
      An aperture for aa drive pin for actuating the dose counter mm between the end positions . In one example the move
   may be formed through a second furthest step away from the 40 ment between the end positions is 3 mm .
    valve stem block .                                                The drive may be adapted to provide the firing force as
       According to a further aspect , the present disclosure more than 40 N , preferably also less than 60 N.
    discloses an inhaler valve stem and valve stem block inter-       The drive may be adapted to provide the firing force as
    face for breath actuated inhaler having a dose counter, a more than 35 N.
    pressurised canister containing inhaler substances including 45 The firing force may be greater than the sum at the point
    a medicament, which may be in solution or suspension, the of firing of opposing forces applied to the canister by a valve
    valve stem block having a cylindrical inner bore with an stem spring in the canister and a return spring for an actuator
    inner diameter which is a first diameter, the cylindrical inner pin of a dose counter of the inhaler.
    bore being for accepting a valve stem with an outer diameter,     A further aspect of the present disclosure discloses a
   the valve stem block having a seal in the inner bore with a 50 breath actuated inhaler having a main body for accommo
   second diameter which is smaller than the first diameter.         dating a medicament reservoir, a canister fire system for
      It has been found with this configuration that, surpris- moving the canister to release aa dose in response to air flow ,
   ingly, better sealing is achieved than with a simple interfer- a cap housing for enclosing the canister fire system and
   ence fit between a cylindrical outer wall of a valve stem and canister within an interior chamber defined by the main body
   a cylindrical inner wall of a valve stem block with a larger 55 and the cap housing , wherein aa lock system is provided for
   interference fit . This new configuration has been found to be locking the cap housing on the main body.
   particularly effective at sealing and avoiding blowback             Advantageously, a user can be prevented from tampering
   leakage. Especially with regard to the dose counter, the seal with and damaging the interior components of the inhaler. In
   permits a relatively low insertion force to be needed to insert the case of a breath actuated inhaler, this is particularly
   the valve stem into the valve stem block and enables very 60 advantageous because prior inhalers have required the abil
   accurate positioning of the valve stem relative to the valve ity to remove the cap housing for manual priming of the
   stem block in an axial direction of the valve stem , while at metering chamber. But , when a metering valve is provided
   the same time providing a surprisingly effective seal bearing with an opening configured to permit flow in aa direction with
   in mind the low insertion force .                                 an axial component along the valve stem directly between
      The first diameter may be about 3.22 mm .                   65 the transfer space inside the valve stem and the interior
      The first diameter may be about 3.5 % larger than the reservoir, and when the interior reservoir is arranged for
   second diameter.                                                  orientation above the metering chamber whereby gas such as
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 237 of 318 PageID: 312


                                                      US 11,395,888 B2
                                 5                                                                  6
    air located within the metering chamber is replaced with axial component along the valve stem directly between a
    liquid from the interior reservoir, it is no longer necessary to transfer space inside the valve stem and the interior reser
    be able to open the inhaler for manual priming of the voir, when the interior reservoir is oriented above the
    metering chamber by manually pushing and firing the can- metering chamber, this enables liquid from the interior
    ister.                                                          5 reservoir to replace gas such as air located within the
       Helical threads may be provided for rotational attachment metering chamber and an accurate dose can be administered
    of the cap housing on the main body and for resisting at the next dose .
    relative longitudinal movement therebetween without rota-            The opening may be configured to permit flow in a
    tion .                                                            direction with an axial component along the valve stem
      The lock system may include a protrusion in the region of 10 directly between the transfer space inside the valve stem and
    a helical thread on one of the main body and the cap housing      the interior reservoir.
   which is lockable in a recess in the region of a helical thread       The replacing gas located in the metering chamber with
   on the other of the main body and the cap housing .                liquid from the interior reservoir may include flowing liquid
      Two said protrusions may be engageable in two said under pressure through the opening, along the valve stem to
   recesses formed at opposing locations on the inhaler.           15 a portion of the communication path communicating with
      Each protrusion may have a leading ramp surface and a the metering chamber.
   trailing ramp surface, the included angle between the ramp         The method may include flowing gas from the metering
   and trailing surfaces being about 950 to 120 ° ; the included chamber, in aa direction counter to a direction of liquid flow
   angle of the protrusion preferably being larger than that of from the interior reservoir, along the communication path
   the recess .                                                 20 into the interior chamber.
      The main body may have a central axis and the ramp              The method may include providing the opening as an
   surfaces are inclined at an angle of about 45 ° plus or minus elongated opening .
   15 ° (or plus or minus 10 ° ) to tangential.                       The method may include providing a second opening to
      The lock system may include a first lock member on one the communication path diametrically opposed to the first
   of the main body and the cap housing which is adapted to 25 said opening .
   engage a second lock member at a lock interface formed by          The method may include providing the valve stem with at
   respective engagement faces thereof, the lock interface least one said opening into the interior reservoir as having an
   being oriented substantially perpendicular to tangential.       axially oriented opening portion which is oriented facing
     The main body may have aa central axis and the first lock directly axially along a longitudinal axis of the valve stem
   member has a radial extent of 0.25 to 0.75 mm , preferably 30 into the interior reservoir, and which includes flowing liquid
   about 0.35 to 0.45 mm ; the first lock member preferably into the metering chamber via said axially oriented opening
   having a longitudinal extent of about 10 mm .                 portion .
      The main body and the cap housing may be formed of                The method may include venting the metering chamber to
   plastics material and the lock system may be configured so atmosphere via a valve stem block and /or nozzle .
   that a release torque required to overcome the locking 35 The method may include operating the metering valve and
   provided by the plastics main body and cap housing is more canister within a medicament inhaler and holding the valve
   than 1 Nm .                                                        stem depressed relative to the canister with the metering
      The lock system may be configured such that the release chamber vented to atmosphere so as at least partially to
   torque is between 2 and 5 Nm , preferably between 2.5 and permit substances within the metering chamber to vaporise
   3 Nm , about 2.7 Nm being one example.                          40 and to permit atmospheric air to enter the metering chamber.
      The present disclosure discloses in another aspect a              Advantageously, the inhaler can be left for a long period
   method of metering inhalable substances in a metering valve such as 24 hours with the metering chamber communicating
   of a canister for aa medicament inhaler, the method compris- with atmosphere and then when the metering chamber is
   ing : providing the metering valve with a metering chamber reconnected to the interior reservoir and the interior reser
   and valve stem extending from a metering chamber to an 45 voir is oriented above the metering chamber the metering
   interior reservoir of the canister, with the valve stem defining chamber can fully fill with liquid for the next dose . Advan
   a communication path between the metering chamber and tageously, in a breath actuated inhaler, the features of the
   the interior reservoir, the communication path including an method mean therefore that any force holding unit and / or
    opening configured to permit flow between a transfer space cap housing for the inhaler can be permanently secured or
    inside the valve stem and the interior reservoir; and orienting 50 locked on to the inhaler so that users cannot tamper with the
    the interior reservoir above the metering chamber and interior and there is no need to perform manual priming of
    replacing gas such as air located within the metering cham- the metering valve , which is a necessity in prior art inhalers ,
    ber with liquid from the interior reservoir.                      before the next dose is taken .
       The present inventors have worked out that the reasons              The method may include providing the medicament
    why inaccurate dosing can occur include that when the 55 inhaler as a breath actuated inhaler, and may include, in
    metering chamber is left vented to atmosphere in some prior response to air flow , firing the canister by closing commu
    inhalers for as little as 2 minutes, a gas or air lock can form nication between the metering chamber and interior reser
    in the metering chamber and when the metering chamber is voir and opening communication between the metering
    next connected for communication with the interior reser- chamber and atmosphere, the valve stem being held
    voir, due to the radial capillary port, the gas or air is trapped 60 depressed after firing.
    within the metering chamber and liquid does not enter the              The method may include resetting the inhaler to a reset
    metering chamber reliably as the next dose . The air may configuration with a reset actuator so as to close communi
    enter the metering chamber from the atmosphere in the prior cation between the metering chamber and atmosphere and
    art. This may happen as propellant in the metering chamber open communication between the metering chamber and the
    evaporates and diffuses into the atmosphere. Using the 65 interior reservoir, and carrying out the orienting of the
    presently disclosed method which involves the use of the interior reservoir above the metering chamber while the
    opening configured to permit flow in a direction with an inhaler is in the reset configuration.
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 238 of 318 PageID: 313


                                                      US 11,395,888 B2
                                 7                                                                8
       The method may include providing the reset actuator as a difficult for a user to remove the force holding unit or cap
    lever, press button, hinged or rotatable piece , dust cap , nasal housing and tamper with the interior components. Instead ,
    outlet cap or mouthpiece cap for the inhaler. Closing the there is no need to perform manual priming and the inhaler
    actuator may reset the inhaler. In the case of an oral inhaler main housing and the cap housing can be permanently
    the reset actuator may be a dust cap mouthpiece cap . In the 5 locked together enclosing the internal moving parts of the
    case of aa nasal inhaler, the reset actuator may take a variety inhaler where they cannot easily be damaged.
    of forms, including but not limited to a dust cap or a movable       The opening may be configured to permit flow in a
    lever, cap or button. In this case , the carrying out of the direction with an axial component along the valve stem
    orienting of the interior reservoir above the metering cham- directly between a transfer space inside the valve stem and
    ber being carried out once the reset actuator has been opened 10 the interior reservoir .
    to a configuration suitable for inhalation or otherwise oper-        The communication path may be configured to permit
    ated . Therefore , it can be ensured that right before inhala- liquid to flow under pressure along the communication path
    tion, the metering chamber is full of liquid and any gas to the metering chamber and gas to flow in a reverse
    which may have been in the metering chamber has been direction therealong from the metering chamber into the
    drawn into the interior reservoir due to the free flowing 15 interior reservoir.
    communication pathway between metering chamber and                   The opening may comprise an elongated opening.
    interior reservoir.                                                  The inhaler may include a second opening or further
       In an alternative embodiment, the inhaler may include a openings into the communication path .
    dust cap or mouthpiece cap which closes communication                The second opening may be diametrically opposed to the
    between the metering chamber and atmosphere but does not 20 first said opening.
    reset the inhaler. In these cases , optionally, a separate reset     The valve stem may have at least one opening into the
    actuator may be provided.                                         interior reservoir with an axially oriented portion facing
       The method may include providing the medicament directly axially along a longitudinal axis of the valve stem
    inhaler as a metered dose inhaler and may include applying into the interior reservoir for the flow of fluid directly into
    a force to the canister to hold the valve stem depressed ; and 25 the communication path in an axial direction along the valve
    may include subsequently releasing the canister to extend stem .
    the valve stem and carrying out the orienting of the interior        The inhaler may include a metering chamber exit port for
    reservoir above the metering chamber.                             venting the metering chamber to atmosphere via a stem
      The method may include providing the inhalable sub-            block and / or nozzle .
   stances as including at least one propellant.                 30 The inhaler may include a canister fire system for ejecting
      The method may include providing at least one said inhalable substances from the inhaler in response to air flow
   propellant as a hydrofluoroalkane, such as 1,1,1,2- tetrafluo- by closing communication between the metering chamber
    roethane.                                                        and the interior reservoir and opening communication
       The method may include providing at least one said between the metering chamber and atmosphere. The canister
    propellant with a surface tension at 25 ° C. of about 6 to 10 35 fire system preferably includes a drive such as a spring for
    mN / m , typically about 7 to 9 mN / m , about 8 mN / m being driving the canister relative to the valve stem . The inhaler
    one example.                                                     may have an actuator system for operating the drive, the
      Advantageously, it has been found that fluid with this actuator system optionally including a vacuum chamber
    surface tension is capable of avoiding gas or air lock in the having a vacuum release system operable to permit the drive
   metering chamber by flowing into the metering chamber 40 to drive movement of the canister relative to the valve stem .
   when the features of the presently disclosed method are The vacuum release system may be air flow actuatable.
   used .                                                            The actuator and/ or drive may include or operate as a
      The method may include providing the inhalable sub- latch , trigger or switch and may take other forms in other
   stances as including an active ingredient in suspension or in embodiments such as being electromechanical.
   solution , such as beclomethasone dipropionate ( BDP) or 45 The canister fire system may be adapted to depress the
   tiotropium bromide .                                            valve stem into the canister to cause inhalable substances to
      The present disclosure also discloses in another aspect a be ejected from the inhaler and to hold the valve stem
   breath actuated inhaler for the inhalation of inhalable sub- depressed with the metering chamber communicating with
   stances, the inhaler comprising : a canister having an interior atmosphere.
   reservoir containing pressurised inhalable substances 50 The canister fire system may include a reset actuator
   including fluid ; a metering valve including a metering which is operable so as to extend the valve stem relative to
    chamber and a valve stem defining a communication path           the canister in order to close communication between atmo
    between the metering chamber and the interior reservoir, the sphere and the metering chamber and to open communica
    communication path including an opening configured to tion between the metering chamber and the interior reser
    permit flow between a transfer space inside the valve stem 55 voir.
    and the interior reservoir, the interior reservoir being          In the case of a nasal inhaler, the reset actuator may, for
    arranged for orientation above the metering chamber example , comprise a dust cap or a lever, cap or button . In the
    whereby gas such as air located within the metering chamber case of an oral inhaler, the reset actuator may comprise a
    is replaced with liquid from the interior reservoir .           dust cap or mouthpiece cap for a mouthpiece of the inhaler.
       Advantageously, with this configuration of metering valve 60 The mouthpiece cap may be closable to permit extension of
    there is no need to manually prime the metering chamber by the valve stem relative to the canister, the mouthpiece cap
    repeatedly firing the canister manually and an accurate next optionally being hingedly connected to a main housing of
    dose can be provided to the metering chamber since a gas or the inhaler for camming engagement with at least one drive
    air lock can be avoided . This also means, advantageously, rod . The drive rod may be associated with a yoke for pushing
    that in aa breath actuated inhaler having a force holding unit 65 on a drive element to compress a spring of the drive.
    or cap housing secured to a main body of the inhaler, these         In an alternative embodiment, the inhaler may include a
    components may be locked together so that it is relatively dust cap or mouthpiece cap which closes communication
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 239 of 318 PageID: 314


                                                         US 11,395,888 B2
                                   9                                                              10
    between the metering chamber and atmosphere but does not          In that case , the operation of the inhaler may include at
    reset the inhaler. In these cases , optionally, a separate reset
                                                                   least one suction force , e.g. provided by a pneumatic cham
    actuator may be provided .                                     ber; the suction force preferably operating against the can
       The inhaler may include a preventer adapted , after an ister spring.
    inhalation has taken place , to prevent a further inhalation 5 In another aspect , the present application discloses use of
    until the reset actuator has been operated to extend the valve a metering valve for preventing gas lock within a metering
    stem . In the case of a mouthpiece or other cap , this may chamber of an inhaler having a pressurised canister, the
    comprise closing the cap .                                     metering valve having a metering chamber and a valve stem
      Advantageously, the preventer may therefore ensure that extending from the metering chamber to an interior reservoir
   the user closes the cap at some time before each inhalation 10 of the canister, with the valve stem defining a communica
   and this in turn means that reliable dosing can be achieved . tion      path between the metering chamber and the interior
      The preventer may comprise a warning signaller, such as reservoir        , the communication path including an opening
   an audible or visual alarm , dose counter or warning notice , valve stemtoand
                                                                      configured    permit flow between a transfer space inside the
                                                                                        the interior reservoir, in use the interior
   quick reference guide or instructions.                          15 reservoir being oriented  above the metering chamber so as
      The inhaler may include inhalable substances in the to cause movement through                the opening and gas such as air
   interior reservoir which include at least one propellant.          located within  the  metering  chamber to be replaced with
      At least one said propellant may comprise a hydrofluo liquid from the interior reservoir          .
   roalkane, such as 1,1,1,2 - tetrafluoroethane.                        The use may be performed in aa breath actuated inhaler.
      At least one said propellant may have a surface tension at 20 The inhaler may be oral. Nasal inhalers of this type are also
   25 ° C. of about 6 to 10 mN /m , typically about 7 to 9 mN / m , envisaged.
   about 8 mN / m being on example .                                     The use may be performed in a metered dose inhaler. The
      The inhaler may include at least one inhalable substance metered dose inhaler may be oral or nasal .
   in the interior reservoir as an active ingredient, for example        When the present disclosure is implemented in a metered
   in suspension or in solution , such as beclomethasone dipro- 25 dose inhaler, this may comprise a press and breathe metered
   pionate or tiotropium bromide .                                    dose inhaler, for example in which a canister is pushed by
      The inhaler may include a dose counter for counting hand to fire , normally directly although indirect operation is
    doses , preferably for making one count with each inhalation an alternative, normally using finger and / or thumb operation
    of a dose .                                                     of the canister.
       The dose counter may include : (a ) a tape bearing dose 30
    indicia for displaying counts and / or (b ) an actuator pin for       BRIEF DESCRIPTION OF THE DRAWINGS
    contact with the canister, or a body movable therewith , for
    counting do es , and preferably a dose counter chamber            The present invention may be carried out in various ways
    separated by a barrier from an inner space of the inhaler for and a number of preferred embodiments will now be
    containing the canister, the actuator pin optionally extending 35 described by way of example with reference to the accom
    out of the dose counter chamber through an aperture in the panying drawings, in which :
    wall for contact during counting with the canister (or the           FIGS . 1A and 1B show respective isometric views of a
    body movable therewith ).                                         preferred inhaler;
      The inhaler may be aa breath actuated inhaler.                     FIG . 2 shows an exploded view of the inhaler shown in
      The inhaler may be a metered dose inhaler.                40 FIGS . 1A and 1B ;
      The inhaler may be an oral inhaler.                             FIG . 3 is an enlarged view of the dose counter assembly
      The inhaler may be a nasal inhaler.                          shown in FIG . 2 ;
      The inhaler may include a reset actuator which when             FIG . 4 is an isometric sectional view of a metering valve
   actuated prevents exposure of the metering chamber to of the inhaler and part of the canister shown in FIG . 2 ;
   atmosphere, wherein the inhaler provides 75 to 125 % of 45 FIGS . 5A , 5B , 5C and 5D show various details of the
   labelled claim for a dose following exposure of the metering inhaler and parts of it in a closed configuration thereof;
   chamber to atmosphere for a time period which is more than         FIGS . 6A , 6B , 6C and 6D show various details of the
   one minute.                                                     inhaler in an opened configuration thereof;
      In this case , the reset actuator may be a mouthpiece cap       FIGS . 7A , 7B , 7C and 7D show various details of the
   that, when closed , prevents exposure of the metering cham- 50 inhaler in an actuated configuration thereof;
   ber to atmosphere.                                                 FIGS . 8A , 8B , 8C and 8D show various details of the
      The inhaler may provide 75 to 125 % of labelled claim for inhaler in a closing configuration thereof;
   a dose following exposure of the metering chamber to               FIG . 9 schematically shows forces and ports within the
    atmosphere for a time period which is more than two inhaler in the closed configuration of FIGS . 5A to 5D ;
    minutes.                                                   55   FIG . 10 schematically shows forces and ports within the
      The inhaler may provide 75 to 125 % of labelled claim for inhaler in the opened configuration of FIGS . 6A to 6D ;
    a dose following exposure of the metering chamber to            FIG . 11 schematically shows forces and ports within the
    atmosphere for aa time period which is one hour, more than inhaler in the actuated configuration of FIGS . 7A to 7D ;
    one hour, 24 hours or more than 24 hours .                      FIG . 12 is a sectional elevational view of part of the
       Operation of the inhaler may include, subsequent to 60 inhaler shown in FIG . 1A with long dash lines denoting the
    closing the mouthpiece, opening the mouthpiece.               top of ribs used in an earlier prototype;
       The inhaler may include a metering valve spring and an       FIG . 13 shows a portion of the inhaler of FIG . 1A with the
    opposing canister spring for drivingly firing the canister, the dose counter and dose counter door removed ;
    metering valve spring, canister spring and metering valve          FIG . 14A is a sectional isometric view of part of the
    being arranged in the inhaler such that an equilibrium of 65 inhaler shown in FIG . 1A ;
    various forces is achieved in at least one ready -to -fire         FIG . 14B shows part of the inhaler with a dose counter not
    configuration of the inhaler.                                   yet installed , showing heat stake pins ;
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 240 of 318 PageID: 315


                                                        US 11,395,888 B2
                               11                                                                     12
      FIGS . 15A and 15B show respective side elevation and             of FIGS . 6A to 6D enables the distal ends 59 of the drive
    isometric views of the valve stem block of the inhaler of           rods 58 and indeed the whole yoke 56 to be moved away
    FIG . 1A ;                                                         from the cap housing 12 under the influence of the main
      FIGS . 16A , 16B , 17A , 17B , 170 , 17D , 18A , 18B and 18C     compression spring 40 , the main compression spring 40
                                                                                                 2

   show various views of part of the inhaler, including com-         5
                                                                        being reacted against as equilibrium is reached for the
   ponents showing the interlocking interaction of the main             canister position by friction forces as well as forces provided
   body of the inhaler with a cap housing thereof;                      by partial vacuum at the diaphragm , the dose counter return
      FIG . 19 shows aa modified form of the inhaler of FIG . 1A        spring 28 , and metering valve spring 70 ( FIG . 4 ) which
   in which the force holding unit and cap housing are removed          forms part of the metering valve 52. In this configuration , the
   and the modified inhaler takes up the form of a metered dose 10 metering chamber 82 is isolated from both of the interior
   inhaler; and                                                    reservoir 84 and atmosphere.
      FIG . 20 shows aa side view of the inhaler shown in FIG .
   1A; and                                                            As the next step , the user (not shown ) inhales through the
      FIG . 21 shows a comparative graph of delivered dose         mouthpiece   66 and the drawing out of air through the central
   recovery at various time delays post previous actuation for 15 bore  68 in turn draws air into the enclosure formed by the
   the inhaler of FIG . 1A and an inhaler having a metering main body 14 and cap housing 12 through the series of
   valve with radial capillary metering chamber inlet and outlet approximately     ten air inlets 72 formed on the cap housing
                                                                   12. The incoming air impinges upon the flap 74 which
   ports .
                                                                        releases vacuum (i.e. a partial vacuum) from the vacuum
                 DETAILED DESCRIPTION OF THE                         20 chamber formed by the diaphragm 44 due to flap seal 76
                              INVENTION                                 rising off port 78 on diaphragm top plate 80. With the
                                                                        vacuum released , as shown in FIGS . 7A to 7D , as the user
       The following detailed description of embodiments of the is inhaling air through the inhaler 10 , i.e. through the
    inhaler and accompanying methods will be better under- apertures 72 and all of the way along inside the cap housing
    stood when read in conjunction with the appended drawings 25 12 and main body 14 past the canister 50 and out through the
    of exemplary embodiments. It should be understood , how central bore 68 , the main compression spring 40 drives the
    ever , that the invention is not limited to the precise arrange lower cap 46 , yoke 56 and canister 50 away from the cap
    ments and instrumentalities described in the following housing 12 and towards the main body 14 and valve stem
    detailed description .                                              block 62 whereby the valve stem 54 is retracted into the
       As   shown   in FIGS . 1A and  1B , a breath actuated inhaler 30 canister
    which is merely an example of an inhaler in accordance with in communication 50. This places the pressurised metering chamber 82
                                                                                             with valve stem block nozzle 64 so fires
    the present invention , includes aa force holding unit or cap the canister and ejects
    housing 12 , a main body 14 , a mouthpiece dust cap 16 and ing chamber 82 throughinhalable      the
                                                                                                            substances from the meter
                                                                                                        nozzle   64 and mouthpiece 66
    a dose counter door 18 having a dose counter window 20 .
       As shown by the exploded view of FIG. 2, a dose counter 35 towards        the lungs  ( not shown ) of the user. The dose counter
                                                                        system 24 also registers a count by movement of the
    chamber 22 includes aa dose counter system 24 closed within actuating         pin 26 by the canister ferrule 220. At this time after
    it by the dose counter door 18 .
       The dose counter system is shown in enlarged detail in opening and firing, the metering chamber 82 communicates
    FIG . 3 and includes an actuating pin 26 and return spring 28 . with atmosphere. With the mouthpiece 66 left open such that
    The dose counter can take various forms and may , for 40 the atmosphere communicates through the bore 88 and exit
    example , be as described in EP2135199A or EP2514464A . port 90 with the metering chamber 82 , the metering chamber
       As also shown in FIG . 2 , the inhaler 10 includes a force 82 can become at least partially or fully filled with gas such
    holding unit 30 which includes: a filter 32 , flap valve as air from the atmosphere.
    housing 34 , flap valve 36 , flap valve spring 38 , main               In other embodiments comprising nasal inhalers, the
    compression spring 40 , retaining ring 42 , diaphragm 44 and 45 mouthpiece 66 may be replaced with a nose piece .
    lower cap 46. The inhaler also includes a canister 50 with a           As shown in FIGS . 8A to 8D , during closing , the mouth
    metering valve 52 and aa valve stem 54 ; as well as a yoke 56 piece dust cap 16 is rotated back to its closed position and
    with drive rods or legs 58 having distal ends 59 which are the cams 60 push on the distal ends 59 of the drive rods 58
    driven by respective cams 60 on the hingedly -connected so as to push the yoke 56 towards the cap housing 12 so as
    mouthpiece dust cap . The valve stem 54 is fitted into an 50 to compress the main compression spring 40 again and the
    inner bore 61 (FIG . 15B ) of a valve stem block 62 which vacuum is formed again at the diaphragm 44. At the same
    communicates with a nozzle 64 for ejection of inhalable time , the canister is pushed back to its original configuration
    substances through a central bore 68 (FIG . 12 ) of a mouth- of FIGS . 5A to 5D by the metering valve return spring 70 .
    piece 66 ( FIG . 12 and FIG . 2 ) of the main body 14 of the           As shown in FIG . 9 , with the inhaler 10 in the configu
    inhaler 10 .                                                     55 ration of FIGS . 5A to 5D , the metering valve spring 70 keeps
       The force holding unit 30 operates substantially as dis- the valve stem 54 extended , the inlet port 86 open and the
    closed with reference to FIGS . 1 to 3 of EP1289589A and exit port 90 effectively closed, i.e. with the metering cham
    the yoke 56 and mouthpiece dust cap 16 substantially as ber 82 isolated from atmosphere. At the same time the force
    described in EP2514465A , including but not limited to FIG . Fyz. applied as Fy/ 2 by each of the legs or rods 58 of the
    22 thereof.                                                      60 yoke 56 to the lower cap 46 is greater than or equal to the
       In particular, with reference to FIGS . 5A to 5D , starting force Fphucs applied in the opposite direction by the spring
    from a configuration in which the mouthpiece dust cap 16 is of the force holding unit 12 .
    closed in this configuration the liquid 201 in an interior             As shown in FIG . 10 , with the inhaler then changed to the
    reservoir 84 of canister 50 communicates with a metering configuration of FIGS . 6A to 6D , the canister is displaced to
    chamber 82 which does not communicate with atmosphere 65 a representative distance Dvalve from the canister position of
    through an interior bore 88 of the valve stem 54. An opening FIG . 9 where this displacement at Dvalve is less than the
    rotation of the mouthpiece dust cap 16 to the configuration displacement required to actuate and fire a dose . In this FIG .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 241 of 318 PageID: 316


                                                      US 11,395,888 B2
                                 13                                                                 14
    10 configuration , the position of the canister 50 is deter-       metering chamber 82 and the interior reservoir 84 , the
    mined by an equilibrium between forces, which is :                 communication into the interior reservoir 84 is at an inner
          Fvalve cs+ F Dia = FFHU CS
                                                                       side 110 of the inner seal 94 and it will be appreciated that
                                                                       this is a slot - shaped porting between the forked legs 108
      where Fvalve cs is the force applied to the canister by the 5 from where flow can travel directly axially into our out of
   metering valve spring 70 , F Dia is the force applied by the the interior reservoir 84 .
   partial vacuum in the diaphragm 44 in the same direction               According to an alternative embodiment, the arrangement
   and FFHU CS is the opposing force applied by the compres- of openings in the metering valve of the present invention is
   sion spring 40 of the force holding unit 30. The port 78 is similar to those described in US2016 /0084385 , which is
   noted to be closed . The port 86 is open and the port 90 is 10 incorporated by reference herein . In particular, the metering
   closed .                                                            valve of the present invention may be similar to the embodi
      As the user then inhales, the port 78 is opened by the ment shown in FIG . 4 of US2016/ 0084385 , in which the
   action of air entering through the apertures 72 impinging on valve body includes at least one first opening (i.e. , at least
   the flap 74 , lifting flap seal 76. The equilibrium of FIG . 10 one first side hole 100 that is arranged in a cylindrical
   is therefore lost . The canister 50 is therefore moved to 15 portion of the valve body ) and at least one second opening
   displace the valve stem 54 more , to the configuration of FIG . (i.e. , at least one second side hole 111 that, as with the first
   11 , so that the canister is a representative distance D Actuated hole ( s ) , is arranged in a cylindrical portion of the valve
   from the valve stem block 62 , and where the force balance body ), the second opening (s) being axially offset relative to
   is that Fvalve cssFFhucs FHUCS in which the force applied to the    the first opening ( s) along a longitudinal axis that extends
   lower cap 46 is less than or equal to the opposing force 20 between aa first axial end and a second axial end of the valve
   applied by the compression spring 40 of the force holding body. The first opening ( s ) and second opening ( s ) that are
   unit R. In this configuration , the port 86 has closed to isolate axially offset from each other along the valve body enable
   the metering chamber 82 from the interior reservoir 84 of the the metering chamber to be filled and emptied .
   canister 50 and after this closure the port 90 has opened ,            The canister 50 includes inhalable substances including
   thereby firing the canister 50 by venting pressurised contents 25 the active ingredient beclomethasone dipropionate and the
   within the metering chamber 82 out through the nozzle 64 of propellant HFA134a which has aa surface tension of about 8
   the valve stem block 62 for inhalation by the user.                 mN / m as liquid at 25 ° C. Other active ingredients may be
      The spring 40 is adapted such that the firing force FFFHU used in other embodiments, such as tiotropium bromide .
   cs is more than 35 N , typically less than 60 N. This may vary         If the mouthpiece dust cap 16 is left open such that the
   in other embodiments.                                            30 atmosphere communicates through the bore 88 and exit port
      In most embodiments, the spring 40 is adapted in addition 90 with the metering chamber 82 , the metering chamber can
   to device geometry such that the force exerted by the spring become at least partly or substantially fully filled with gas
   40 on the valve / canister is equal to the sum of the opposing such as air from the atmosphere. When the mouthpiece dust
   valve spring 70 and pneumatic resistance force in the FHU cap 16 is closed , however, and when the interior reservoir 84
   diaphragm 44 in the prepared position . Nonetheless, the 35 is oriented above the metering chamber 82 , the present
   spring 40 , unless otherwise assisted , must be able to provide inventors have discovered that the liquid phase in the
             2

   sufficient force once the mechanism is triggered to actuate interior chamber can exchange places with gas in the meter
   the canister on inhalation . The specific force values will be ing chamber 82 , the fluid travelling either directly through
   dependent on the componentry of the device , driven pre- the openings 106 or through the throughbore 104 , and along
   dominately by the force required to actuate the canister at a 40 through the inner seal 94 and into the metering chamber 82
   specific displacement, thus the spring 40 will be adapted to and gas in the metering chamber 82 can travel in the reverse
   suit.                                                               direction along the same path , exiting with an axial com
      The metering valve 52 shown in FIG . 4 is similar to those ponent through between the forked legs 108 and through the
   described in U.S. Pat. No. 7,959,042B , which is incorpo- elongated openings 106 into the interior reservoir 84. It is
   rated by reference herein , and has the metering chamber 82 45 believed that the particular surface tension of the chosen
   arranged for selective communication with either the interior propellant promotes this action and the higher density of the
   reservoir 84 of the canister 50 via an inlet port 86 , or with liquid than that of any gas in the metering chamber enabling
    the interior bore 88 ( FIGS . 5A to 5D ) of the valve stem 54     the latter to rise up in and relative to the liquid.
    which communicates via the valve stem block 62 with the             The full filling of the metering chamber 82 with a dose of
    nozzle 64 , the valve stem 54 being provided with a radially 50 liquid from the interior reservoir 84 with any gas in the
    configured capillary exit port 90 leading to the bore 88. The metering chamber passing in the reverse direction from the
    metering chamber 82 is at least partly defined by a cup- metering chamber 82 into the interior reservoir 84 is highly
    shaped inner metering body 92 and has an inner seal 94 and advantageous since with this one extension of the valve stem
    outer seal 96 , as well as a location member 98 , a main          54 from its retracted configuration after inhalation to its
    canister seal 100 and a crenelated valve stem driver 102 55 extended configuration with the mouthpiece dust cap 16
    which has a through bore 104 axially directed towards the closed again ensures that the inhaler 10 is fully primed for
    inlet port 86. The inlet port 86 includes two elongate use . This has overcome a significant problem .
    openings 106 diametrically opposed to one another and             As shown in FIG . 20 , the inhaler 10 may be provided with
    which are defined by a pair of forked legs 108 which are a preventer 110 for preventing the user from taking a second
    spaced apart from one another by the elongated openings 60 or further inhalation while the dust cap 16 is still open . The
    106 and the open space forming the inlet port 86 between preventer 110 may take the form of a warning signaller 102
    them . The forked legs 108 have substantially constant cross- such as a warning notice as shown in the drawing stating “ to
    section all the way along to their distal ends ( not shown ) reload : close before each inhalation ” although in other
    which are located within the crenelated valve stem driver embodiments the preventer 110 could take various other
    102 .                                                        65 forms such as an alarm or audible or visual warning device
       When the valve stem 54 is depressed into the canister 50 to indicate that the mouthpiece dust cap 16 is open and needs
    so that the inlet port 86 permits communication between the       to be closed prior to the next inhalation .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 242 of 318 PageID: 317


                                                        US 11,395,888 B2
                                 15                                                                   16
      FIG . 21 is a graph showing a comparison of the inhaler of
                 a                                                    This is smaller than in previous embodiments and can
    FIG . 1A with delivered dose for a prior art breath actuated surprisingly assist in providing smooth guiding of the can
    inhaler with a different metering valve (not shown) in which ister within the tubular body portion 120 .
    the exit port from the interior reservoir comprises a radially      The further surface 138 , 140 of at least one of the guide
    oriented capillary bore which leads to an internal bore of the 5 ribs 124 , 126 and in this case both of them extends away
    valve stem leading axially towards a further radially extend- from the valve stem block 62 and terminates at a distance
    ing capillary port, such that the communication from the D3— in the case of guide rib 124 from the top surface 122
    interior space is through the first capillary port, along the of the valve stem block 62 in the direction parallel to the
    internal bore and out through the second radial capillary port axis , the ratio D3 divided by ID2 being 0.8 , the equivalent
    into the metering chamber when the valve stem is in its 10 ratio for the guide rib 126 being 1.0 . Each guide rib meets
    extended configuration. In all cases the inhalers were held       the upperrib section 142 , 144 near the inner wall 146 of the
    with the valve stems vertical and the canister interior res-      tubular body portion 120 at an outer rib position 148 , 150
    ervoir above the metering chamber. After inhalation , the         wherein the outer rib positions are a distance apart ID1 in a
    valve stem in each case was left in the retracted inhale          direction perpendicular to the axis 202 of the valve stem
    configuration with the metering chamber exposed to atmo- 15 block 62 and the ratio ID2 divided by ID1 is 0.8 . This
   sphere through the valve stem for the specified delay period       arrangement assists beneficially in providing sufficient space
   and the inhaler was then reset and readied for inhalation, in      for the canister 50 to move within the tubular body section
   the case of the present inhaler 10 by closing and opening the      120 .
   mouthpiece cap again . As shown by the graph of FIG . 21 ,            With reference to FIG . 13 , a portion of the main body 16
    with a target of 80 micrograms of BDP ( beclomethasone 20 is shown with the mouthpiece dust cap 16 and the dose
    dipropionate ) the diamond shaped plots 205 are for the prior     counter door 18 and the dose counter system 24 not yet
    art inhaler which began to fail to reach 75 % of the labelled     installed . As can be seen, the dose counter chamber 22
    claim for the dose after a delay of 30 seconds after inhalation   includes a recess 152 for location of an end 154 (FIG . 3 ) of
    in closing the mouthpiece cap to isolate the metering cham- the return spring 28. The recess 152 has a substantially flat
    ber from atmosphere . At all delays of 2 minutes or over, the 25 reaction surface for pushing on the end 154 of the return
    prior inhaler failed to provide 75 % of the labelled claim of spring 28. The recess 152 also has a shoulder surface 158
    dose in 100% of cases . This, the present inventors have adjacent the reaction surface 156 and an entrance mouth 160
    discovered , is due to gas lock forming in the metering into the reaction surface 156. A distinct guide surface 162 ,
    chamber after inhalation due to the metering chamber's which is substantially planar is provided for guiding the end
    exposure to atmosphere , i.e. in that when the mouthpiece cap 30 154 of the return spring 28 into the recess 152 during
    is closed after a delay air is trapped in the metering chamber assembly. The distinct guide surface 162 is wider than the
    and is not replaced by liquid in the interior reservoir even entrance mouth 160 in a direction across the mouth and this
    when the metering chamber is connected the interior assists substantially in assembling the spring 28 into the
    reservoir. In contrast, the plots of crosses 207 in FIG . 21 recess 152 .
    show the performance of the inhaler of FIG . 1A . Here, 100 % 35 The entrance mouth 160 also has at least a chamfered
    of the plots are in the range of 75 to 125 % of labelled claim entrance lip 164 , an extension 166 of which into the guide
    for the dose , even when there is no appreciable delay or a surface forms a slanted edge 166 ofthe distinct guide surface
    delay of one hour, twelve or twenty - four hours before 162. At least a portion of the distinct guide surface 162
    closing the mouthpiece cap after inhalation. Therefore, even comprises a portion of the body 14 which is recessed relative
    if the metering chamber 82 has been exposed to atmosphere 40 to the adjacent and partially surrounding portion 164 of the
    for a relatively long time such that it is after that delay body by an edge 168. The edge 168 is particularly effective
    substantially full of gas due to evaporation diffusion of in catching the end 154 of the return spring and the wide
    substances after inhalation , this graph clearly shows that by guide surface 162 is effective in guiding the spring 28 past
    closing the mouthpiece fully and opening it again , the gas in the chamfered entrance lip 164 and onto the reaction surface
    the metering chamber 82 is removed into the interior reser- 45 156 where it remains once installed . A further edge 170 of
    voir 84 and replaced with a correct dose very reliably.           the guide surface 162 is spaced from and generally parallel
       Although FIG . 21 data is presented for 80 mcg (ex- to the edge 168. The edge 170 forms an intersection with an
    actuator) targeted BDP HFA product, the data is represen- adjacent portion 171 of the body 14 .
    tative of any formulation and formulation strength .                As shown in FIG . 14A , the main body of the inhaler 10
       As shown in FIG . 12 , the main body 14 has aa tubular body 50 includes a barrier 180 separating an interior space 182
   portion 120 arranged to contain the pressurised canister 50 defined at least partly by the tubular body portion 120 from
   for sliding motion . As shown in FIG . 12 , the valve stem the dose counter chamber 22. The barrier includes a stepped
   block has a top surface 122 and the tubular body portion 120 upper wall area 184 which has four steps 186 , 188 , 190 , 192
   has at least two mutually opposed guide ribs 124 , 126. The at different levels. The steps are arcuate and have substan
   guide ribs 124 , 126 have substantially straight guide edges 55 tially flat parts 194 , 196 , 198 , 200 aligned substantially
   130 , 132 extending parallel to and spaced from one another, perpendicular to the axis 202 of the valve stem block as well
   each straight guide edge 130 , 132 having an upper corner a part -cylindrical risers 204 , 206 , 208 between the substan
                                                                                                  2

   134 , 136 where the straight guide edge meets a further tially flat parts 194 , 196 , 198 , 200 .
   surface 138 , 140 of the ribs 124 , 126 leading outwardly          The arcuate steps 186 , 188 , 190 , 192 are substantially
   towards an upper rib section near an inner wall 146 of the 60 concentric with the axis 202 of the valve stem block 62. The
   tubular body portion 120. At least one of the ribs 124 , 126 steps 186 , 188 , 190 , 192 extend around the valve block 62
   has its straight guide edge's upper corner 134 , 136 posi- a distance/angle of about 170 ° although this is only approxi
   tioned aa distance D2 in a direction parallel to an axis of the mate and may be in the region of about 180 to 120 ° in
   valve stem block 62 along away from the top surface 122 of various embodiments. The material forming the barrier 180
   the valve stem block 62 , a distance between the straight 65 is of substantially constant thickness throughout the steps
   guide edges 130 , 132 of the ribs 124 , 126 perpendicular to 186 , 188 , 190 , 192 which is advantageous for manufacturing
   the axis being ID2 , and the ratio D2 divided by ID2 is 0.7 . techniques by moulding .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 243 of 318 PageID: 318


                                                      US 11,395,888 B2
                            17                                                                   18
      As shown in FIG . 14B which is a view into the dose             threads 252 on the cap housing 12 and female threads 254
    counter chamber 22 , the dose counter chamber 22 is formed
                        2                                             on the main body 14 , for rotational attachment of the cap
    with two heat staking pins 212 , 214 for attaching the dose housing 12 on the main body 14 and for resisting relative
    counter system 24 permanently into position within the dose longitudinal movement therebetween without rotation .
    counter chamber 22. One of the heat staking pins 214 is 5 The lock system 250 includes a protrusion 256 in the
    directly attached to two of the steps 188 , 190. The heat region of the helical thread 254 on the main body 14 which
    staking pin 214 is attached to one substantially flat step part is lockable in a recess 258 in the region of the helical thread
    198 and to two step risers 206 , 208 , providing secure and 252 on the cap housing . As shown in FIG . 17C , the inhaler
    advantageous location of the heat staking pin 214 in the 10 includes two of the protrusions 256 in two of the recesses
    stepped upper wall area 184 of the barrier 180. An aperture 10 258 formed at opposing locations on the inhaler, i.e. dia
    218 for the actuating pin 26 of the dose counter system 24 metrically opposite to one another. As shown in FIG . 18A ,
   is formed through the second furthest step part 198 away each protrusion 256 has a leading ramp surface 260 and a
    from the valve stem block 62 .                                 trailing ramp surface 266 , the included angle A between the
      The stepped upper wall area 184 is highly advantageous ramp and trailing surfaces 260 , 266 being 115 ° , although a
   since it enables the accommodation of a length ofmovement 15 range of about 95 to 120 ° is envisaged . The recesses have a
   of the canister 50 and in particular its ferrule 220 (FIG . 2 ) similar included angle which is smaller than the angle of the
   within the main body 14. Therefore, even with a metering protrusion 256 at about 100 ° . This ensures that the protru
   valve 70 as used in the inhaler 10 which has a relatively long sion 256 will fit securely in the recess 258 without any play
   end -to - end travel of approximately 4 mm , the internal com- rotationally.
   ponents can be maintained within a relatively small and 20 The main body 14 has a central axis 202 coincident with
   compact inhaler 10 , while also allowing for space in the dose that 202 of the valve stem block 62 and the ramp surfaces
   counter chamber 22 for the dose counter system 24 and 266 are inclined at an angle of about 45 ° + 15 ° to tangential.
   enabling the dose counter to be heat staked firmly in place        The lock system 250 also includes a first lock member 270
   by the heat stake pins 212 , 214 including the pin 214 which on the cap housing 12 which is adapted to engage a second
   is attached to the stepped upper wall area 84 of the barrier 25 lock member 272 at a lock interface 274 formed by respec
    180 .                                                             tive engagement faces thereof, the lock interface 274 being
      As shown in FIGS . 15A and 15B , the valve stem block 62        oriented substantially perpendicular to tangential. This
    has the cylindrical inner bore 61 which has an inner diameter     therefore assists in preventing rotation . The first lock mem
    BD1 which has a first diameter, a seal 224 at an entrance to      ber 270 has aa radial extent of 0.39 mm , although about 0.35
    the inner bore 61 having a second diameter BD2 which is 30 to 0.45 mm is envisaged in other embodiments or 0.25 to
    smaller than the first diameter. The seal 224 is inwardly 0.75 mm . The second lock member 272 , it will be appreci
    convex and / or is toroidal . The first diameter BD1 is about     ated, has a greater radial extent. The first lock member 270
    3.22 mm and is about 3.5 % larger than the second diameter has a longitudinal extent parallel to the axis 202 of about 10
    BD2 . The valve system 54 has a cylindrical outer surface mm .
    226 ( FIG . 2 ) with a diameter which is smaller than the first 35 The main body 14 and cap housing 12 are formed of
    diameter BD1 but larger than the second diameter BD2 prior plastics material and the lock system 250 is configured so
    to introduction of the valve stem 54 into the inner bore 61 that a release torque required to overcome the locking
    and is about 1 % larger. The valve stem block 62 also provided by the plastics main body and cap housing at the
    includes an annular recess 228 which extends more than half lock interface 274 and at the protrusions 256 and recesses
    way around the periphery of the inner bore 61 , in this 40 258 is more than 1 Nm . In the described example, the release
    embodiment about 350 ° or more . The annular recess 228 has torque is about 2.75 Nm . When an information sticker is
    an inner diameter which is about 40 % larger than the inner applied over the top of the interface between the main body
    diameter BD1 of the cylindrical inner bore 61. This arrange- 14 and cap housing 12 the release torque may rise to about
    ment has been found to provide extremely effective sealing        3.5 Nm . This has been found to be lower than 4 Nm and this
    against blowback which has occurred in prior designs which 45 is low enough that a laboratory is capable of opening up the
    have a substantially greater interference fit between the inhaler 10 for inspection without significant destruction .
    exterior diameter of the valve stem and the interior diameter     However, this level of torque is significantly higher than
   of the inner bore of the valve stem . Surprisingly, and likely to be tried by a user in an attempt to open the inhaler
   advantageously, using the inwardly convex seal 224 to the 10 which might result in tampering and damage to the
   bore 61 , very effective sealing without any blowback can be 50 components of the inhaler 10 .
   achieved even with a relatively small interference fit             In an alternative design , the radial extent of the first
   between the valve stem 54 and the seal 224 , the annular locking member 270 is significantly greater at about 0.73
   recess 228 assisting in providing resilience to the valve stem mm and this has been found, surprisingly, to provide a
   block 62 for this purpose . The small interference fit allows removal torque which is considered too high at 4.6 Nm for
   for good sealing even when the inhaler 10 is subjected to 55 laboratory disassembly without destruction . In contrast, a
   high temperatures for long periods since there is little stress design omitting the first lock member 270 was found to
   to relieve. Furthermore, the seal 224 permits a relatively low provide a removal torque of only 0.7 Nm which is consid
   insertion force for inserting the valve stem 54 into the valve erably too low and likely to result in users rotating the cap
   stem block 62 and this enables accurate positioning of these housing 12 off the main body 14 and potentially damaging
   two components relative to one another in an axial direction 60 the inhaler by investigating the contents . In fact, this was the
    of the valve stem 54 so that the dose counter system 24 can       first design attempted by the present inventors and the next
    count reliably by way of accurate actuation of its actuator       step was to double up the number of protrusions 256 and
   pin 26 by the canister ferrule 220 .                          recesses 258 so that there are four in total in an attempt to
     As shown in the various sectional views of FIGS . 16A       double the torque, at least , from 0.7 Nm . However, surpris
   through to 18C , a lock system 250 is provided for locking 65 ingly, with this design, the removal torque was only
   the cap housing or force holding unit housing 12 on the main  increased by about 10 % to 0.8 Nm . The ideal remove torque
   body 14. Helical threads 252 , 254 are provided , with male was surprisingly achieved with only one protrusion 256 on
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 244 of 318 PageID: 319


                                                         US 11,395,888 B2
                                  19                                                                 20
    each thread 254 and with a locking member 270 with only limitation (CAL ) and chronic obstructive respiratory disease
    a small radial extent of 0.39 mm . The locking member 270 (CORD ) and include chronic bronchitis, bronchiectasis, and
    advantageously also includes aa lead ramp 290 for achieving emphysema. As used herein , the term " asthma” refers to
    a smooth snap lock of the cap housing 12 onto the main body asthma of whatever type or genesis, including intrinsic
    14 when the cap housing 12 is twisted into the locked 5 ( non -allergic ) asthma and extrinsic (allergic ) asthma, mild
    position .                                                  asthma, moderate asthma, severe asthma, bronchitic asthma,
      FIG . 19 shows aa modification of the inhaler 10 to form an       exercise - induced asthma, occupational asthma and asthma
    inhaler 1000 which is aa metered dose inhaler having a main         induced following bacterial infection . Asthma is also to be
    body 1002 and mouthpiece dust cap 1004 for the mouth-               understood as embracing wheezy - infant syndrome.
   piece 1006 for stopping foreign objects entering the central 10 A range of classes of active ingredients have been devel
   bore 1008 of the mouthpiece 1006 and for protecting the oped to treat respiratory disorders and each class has dif
   mouthpiece generally. This metered dose inhaler 1000 does fering targets and effects.
   not include the cap housing 12 or the force holding unit 30       Bronchodilators are employed to dilate the bronchi and
   or yoke 56 but it does include the same dose counter bronchioles , decreasing resistance in the airways, thereby
   chamber 22 , dose counter system 24 , canister 50 and meter- 15 increasing the airflow to the lungs. Bronchodilators may be
   ing valve 52 and valve stem 54 and valve stem block 62 as short- acting or long -acting. Typically, short-acting broncho
    that in the inhaler 10. If this metered dose inhaler is left with   dilators provide a rapid relief from acute bronchoconstric
    the canister 50 accidentally depressed , for example while          tion , whereas long - acting bronchodilators help control and
    squashed in luggage or clothing by mistake, such that the prevent longer - term symptoms.
    metering chamber is left exposed to the atmosphere for a 20 Different classes of bronchodilators target different recep
    considerable period of time , then when the inhaler 1000 is tors in the airways. Two commonly used classes are anti
    located and turned upright for use with respective gravity cholinergics and B2 -agonists.
    with the canister allowed to extend to its rest position in         Anticholinergics (or " antimuscarinics” ) block the neu
    which the metering chamber communicates with the interior rotransmitter acetylcholine by selectively blocking its recep
    reservoir, any gas such as air which has entered the metering 25 tor in nerve cells . On topical application, anticholinergics act
    chamber is easily expelled up into the interior reservoir of predominantly on the M3 muscarinic receptors located in the
    the canister just as in the inhaler 10 such that an accurate airways to produce smooth muscle relaxation , thus produc
    next dose is applied and the problem of gas lock is therefore ing a bronchodilatory effect. Non -limiting examples of long
    avoided .                                                      acting muscarinic antagonists (LAMA's ) include tiotropium
       Inhalers in accordance with preferred embodiments of the 30 ( bromide ), oxitropium ( bromide ), aclidinium (bromide) ,
    present invention are suitable for the delivery of many ipratropium (bromide ) glycopyrronium ( bromide), oxy
    classes of active ingredients by inhalation , and may be used butynin (hydrochloride or hydrobromide ), tolterodine (tar
    for the treatment of various diseases and disorders . Accord-       trate ), trospium ( chloride ), solifenacin ( succinate ),
    ing to preferred embodiments, the inhaler is used for the fesoterodine ( fumarate ), darifenacin (hydrobromide) and
    treatment of respiratory disorders (e.g. , COPD , asthma and / 35 umeclidinium (bromide). In each case, particularly preferred
    or cystic fibrosis ). The inhaler may also be used to treat salt/ester forms are indicated in parentheses.
    non - respiratory disorders, such as migraine. According to an       B2 - Adrenergic agonists (or “ B2 -agonists ” ) act upon the
    embodiment, a method of treating a respiratory disease or B2 -adrenoceptors and induce smooth muscle relaxation ,
    disorder comprises actuating the inhaler to administer a resulting in dilation of the bronchial passages . Non - limiting
    therapeutically effective amount of one or more active 40 examples of long - acting B2- adrenergic agonists ( LABA's )
    ingredients. As described herein , the canister of the inhaler include formoterol ( fumarate ), salmeterol (xinafoate ), inda
    contains a drug formulation comprising one or more active caterol (maleate ), bambuterol (hydrochloride), clenbuterol
    ingredients in suspension or in solution . Preferably, the drug (hydrochloride), olodaterol ( hydrochloride ), carmoterol (hy
    formulation comprises one or more active ingredients in drochloride ), tulobuterol (hydrochloride ) and vilanterol ( tri
    propellant ( e.g. , HFA ). The drug formulation may optionally 45 phenylacetate ). Non -limiting examples of short -acting
    comprise one or more excipients in combination with the B2 -agonists ( SABA's ) include albuterol ( sulfate ) and leval
    active ingredient(s ) and propellant.                             buterol (tartrate ). In each case , particularly preferred salt/
      In certain embodiments, the inhaler described herein can          ester forms are indicated in parentheses.
    be used to treat patients suffering from a disease or disorder According to one embodiment, the formulation comprises
    selected from asthma, chronic obstructive pulmonary dis- 50 albuterol ( sulfate ).
   ease ( COPD ) , exacerbation of airways hyper reactivity con-     Another class of active ingredients employed in the
   sequent to other drug therapy, allergic rhinitis, sinusitis, treatment of respiratory disorders are inhaled corticosteroids
   pulmonary vasoconstriction , inflammation , allergies , (ICS's ) . ICS's are steroid hormones used in the long - term
   impeded respiration , respiratory distress syndrome, pulmo- control of respiratory disorders. They function by reducing
   nary hypertension, pulmonary vasoconstriction , and any 55 the airway inflammation . Non - limiting examples of inhaled
   other respiratory disease , condition , trait, genotype or phe- corticosteroids include budesonide , beclomethasone (dipro
   notype that can respond to the administration of, for pionate ), fluticasone (propionate ) , mometasone ( furoate ),
   example , a long -acting muscaric antagonist (LAMA ), long- ciclesonide and dexamethasone ( sodium) .
   acting B2 -adrenergic agonist (LABA) , corticosteroid , or        According to one embodiment, the formulation comprises
   other active agent as described herein , whether alone or in 60 beclomethasone dipropionate .
   combination with other therapies. In certain embodiments ,        According to an embodiment, the inhaler delivers one or
   the compositions, systems and methods described herein can more active ingredients selected from the group consisting
   be used to treat pulmonary inflammation and obstruction of tiotropium bromide ), oxitropium bromide ), aclidinium
   associated with cystic fibrosis. As used herein , the terms (bromide ), ipratropium ( bromide) glycopyrronium (bro
   “ COPD ” and “ chronic obstructive pulmonary disease ” may 65 mide ) , oxybutynin ( hydrochloride or hydrobromide ), tolt
   encompass chronic obstructive lung disease ( COLD ) , erodine ( tartrate ), trospium ( chloride) , solifenacin (succi
   chronic obstructive airway disease (COAD ) , chronic airflow nate ), fesoterodine ( fumarate ), darifenacin (hydrobromide ),
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 245 of 318 PageID: 320


                                                       US 11,395,888 B2
                                 21                                                               22
    umeclidinium (bromide) , formoterol ( fumarate ), salmeterol     agonists, anti-cholinergic agents , anti-histamines, serotonin
    ( xinafoate ), indacaterol (maleate ) , bambuterol (hydrochlo-   agonists , and combinations thereof.
    ride) , clenbuterol ( hydrochloride), olodaterol (hydrochlo-       A particular corticosteroid is beclomethasone dipropi
    ride) , carmoterol (hydrochloride), tulobuterol (hydrochlo-      onate (BDP) .
    ride ), vilanterol (triphenylacetate ), albuterol ( sulfate ), 5 A particular B2 -adrenoreceptor agonist is salbutamol sul
    levalbuterol ( tartrate ), budesonide, beclomethasone (dipro- phate.
    pionate ), fluticasone ( propionate ), mometasone ( furoate ),   In a particular embodiment of the invention , the active
    ciclesonide , dexamethasone ( sodium) and a combination ingredient is selected from beclomethasone dipropionate
    thereof.                                                       (BDP ) , salbutamol sulphate and dihydroergotamine.
      According to particular embodiments, the inhaler delivers 10 In a particular embodiment the inhaler comprises a pres
    a combination of at least two different active ingredients surized canister comprising beclomethasone dipropionate as
   ( two, three, four, etc.) which belong to the same or different active ingredient, HFA134a as propellant and ethanol as
   classes . According to one embodiment, the inhaler delivers co - solvent.
   a “ triple combination ” of three different active ingredients.    In a particular embodiment the inhaler comprises a pres
   The three active ingredients may belong to three different 15 surized canister comprising beclomethasone dipropionate as
   active ingredient classes (e.g. , LAMA, LABA , ICS ) ; alter- active ingredient at about 1.0 mg /ml, HFA134a as propellant
   natively, two or three of the active ingredients may belong at about 1090.20 mg/ml and ethanol as co - solvent at about
   to the same class .                                             94.80 mg /ml.
      According to additional embodiments, the inhaler delivers         In a particular embodiment the inhaler comprises a pres
    one or more active ingredients selected from the group 20 surized canister comprising beclomethasone dipropionate as
    consisting of a long -acting muscarinic antagonist (LAMA ),      active ingredient at about 0.084 % w / w , HFA134a as pro
    a long - acting B2 -adrenergic agonist ( LABA ) , an inhaled pellant at about 91.9 % w / w and ethanol as co - solvent at
    corticosteroid ( ICS ) and a combination thereof. Thus, the about 8.0% w / w .
    inhaler may deliver a formulation comprising one or more            In a particular embodiment the inhaler comprises a pres
    LAMA's, one or more LABA's         and one or more ICS’s. That 25 surized canister comprising beclomethasone dipropionate as
    is , the device may deliver aa double combination of a LAMA active ingredient at about 0.169 % w / w , HFA134a as pro
    and a LABA , a LAMA and an ICS , or a LABA and an ICS ;          pellant at about 91.8 % w / w and ethanol as co - solvent at
    or a triple combination of a LAMA , a LABA and an ICS .          about 8.0% w / w .
      According to an alternative embodiment, the inhaler              In a particular embodiment the inhaler comprises a pres
   delivers one or more active ingredients for the treatment of 30 surized canister comprising salbutamol sulphate as active
   a headache disorder, such as migraine. For example, the ingredient, HFA134a as propellant and ethanol as co -sol
   inhaler may deliver dihydroergotamine (DHE) or a pharma- vent.
   ceutically acceptable salt thereof, such as dihydroergot-         In a particular embodiment the inhaler comprises a pres
   amine mesylate.                                                 surized canister comprising about 0.1098 mg of salbutamol
      In one embodiment the inhaler comprises a reservoir, 35 sulphate as active ingredient, about 27.8 mg of HFA134a as
   particularly a pressurized canister, comprising an active propellant and about 3.6 mg of ethanol as co - solvent.
   ingredient.                                                         One embodiment relates to an inhaler as described herein
      Preferably the active ingredient is presented in a pharma- comprising an active ingredient.
   ceutical formulation comprising a propellant, optionally a          One embodiment relates to an inhaler as described herein
   co - solvent and optionally other pharmaceutically acceptable 40 comprising an active ingredient for therapeutic use .
   excipients .                                                        One embodiment relates to an inhaler as described herein
      Preferred propellants include hydrofluroalkanes, in par- comprising an active ingredient for use in the treatment or
   ticular 1,1,1,2 -tetrafluoroethane (HFA134a ), 1,1,1,2,3,3,3- prevention of a respiratory disease, particularly COPD or
   heptafluoropropane (HFA227 ), or combinations thereof. Asthma.
   Most particular propellant is HFA134a . Most particular 45 One embodiment relates to an active ingredient for use in
   HFA134a concentration is from about 91.8 % w / w to 92.9 % the treatment or prevention of a respiratory disease , particu
   w/w.                                                             larly COPD or Asthma, wherein the active ingredient is
      HFA134a has a low boiling point ( -26.1 ° C. ) and corre- delivered to a patient using an inhaler as described herein .
   spondingly high vapor pressure ( 572 kpa ) at 20 ° C.               One embodiment relates to a method for the treatment or
       Particular co -solvents are selected from the list of ali- 50 prevention of respiratory diseases , particularly COPD or
    phatic alcohols ( particularly ethanol ), glycerols and glycols . Asthma, which method comprises administering an active
    Most particular co - solvent is ethanol. Most particular etha- ingredient to a human being or animal using an inhaler as
    nol concentration is about 8 % w / w .                           described herein .
      Ethanol is well known to be compatible with HFA - 134a           One embodiment relates to the use of an inhaler as
    and increases the solubility of BDP. Ethanol ( anhydrous) is 55 described herein comprising an active ingredient for the
    used as a co - solvent to aid solubility of BDP in HFA134a . treatment or prevention of respiratory diseases , particularly
    A concentration of around 8 % w/w of ethanol is known to         COPD or Asthma.
    provide necessary stability, preventing precipitation and          Embodiments of the present invention may be further
    achieving correct aerosol performance.                           understood by reference to the Example provided below .
       Other pharmaceutically acceptable excipients include sur- 60
    factants, particularly oleic acid . Preferably, the active ingre                        EXAMPLE
    dient is suspended in the propellant. Alternatively the active
   ingredient is dissolved in the propellant. The active ingre-      According to the following example, a method of using
   dient may also be partly suspended and partly dissolved in the inhaler of the present invention comprises delivering a
   the propellant.                                              65 therapeutically effective amount of beclomethasone dipro
     A particular active ingredient is selected from the group pionate HFA for the treatment of asthma, particularly for the
   consisting of anti- inflammatory agents, B2 -adrenoreceptor maintenance treatment of asthma as prophylactic therapy in
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 246 of 318 PageID: 321


                                                      US 11,395,888 B2
                                23                                                                 24
   patients 4 years of age and older, wherein the inhaler is a        lar across treatments. The primary endpoint for this trial was
    breath - actuated inhaler ( BAI ) as described herein and the     the standardized baseline-adjusted trough morning forced
    step of actuating the inhaler comprises inhaling through the      expiratory volume in 1 second ( FEV1 ) area under the effect
   inhaler. The breath -actuated inhaler may be used by patients curve from time zero to 12 weeks [FEV 1 AUEC (0-12 wk) ] .
    to deliver at least about 40 mcg beclomethasone dipropi- 5 Patients in both treatment groups had significantly greater
   onate upon each actuation , preferably twice daily, e.g. , it improvements in trough FEV , compared to placebo (BAI 80
   may be used by patients 4 to 11 years old to deliver 40 mcg mcg /day, LS mean change of 0.124 L and BAI 160 mcg /day,
   or 80 mcg beclomethasone dipropionate twice daily, or may LS mean change of 0.116 L over 12 weeks ) . In addition, the
   be used by patients 12 years of age and older to deliver 40 mean change from baseline for FEV 1, was greater than about
   mcg , 80 mcg , 160 mcg or 320 mcg beclomethasone dipro- 10 0.150 L between week 4 through week 12 ( generally
   pionate twice daily. Actuation of the breath -actuated inhaler between about 0.150 L and about 0.250 L ) . Both doses of
   is preferably triggered by an inspiratory flow rate of at least BAI were effective in improving asthma control with sig
   about 20 liters per minute ( L /min ), and includes a primeless nificantly greater improvements in FEV , and morning PEF
   valve so that no priming actuations are required before use . when compared to placebo. Reduction in asthma symptoms
   A method of treating asthma may comprise inhaling through 15 was also supportive of the efficacy of the BAI .
   the BAI at a flow rate of at least about 20 L/min without          Trial 2 : This randomized, double -blind, parallel- group,
   priming the inhaler before use , wherein the inhaler com- placebo -controlled, 6 -week, efficacy and safety trial com
   prises a primeless valve as described herein and wherein the pared BAI 40 and 80 mcg BDP given as 4 inhalations twice
   mean change from baseline for FEV ,1 between 2-6 weeks or daily and placebo in adult and adolescent patients with
   between 2-12 weeks or between 4-12 weeks of using the 20 persistent symptomatic asthma despite treatment with non
   BAI is greater than about 0.150 L or greater than about 0.200 corticosteroid , inhaled corticosteroids (with or without a
   L. Preferably, the mean peak plasma concentration ( Cmax ) long acting beta agonist [ LABA] ) , or combination asthma
   of BDP is between about 6000 pg/mL and about 7000 pg /mL therapy. The study also included a reference treatment
   or between about 6200 pg/mL and about 6800 pg/mL at 2 group , QVAR® Inhalation Aerosol ( QVAR MDI ) 40 mcg , 4
   minutes after inhalation of 320 mcg using the BAI ( 4 25 inhalations twice daily. Patients aged 12 years and older who
   inhalations of the 80 mcg / inhalation strength ). The mean met the entry criteria including FEV ,1 50-90% predicted
   peak plasma concentration of the metabolite 17 - BMP is            normal, reversible bronchoconstriction of at least 10 % with
   preferably between about 1000 pg/mL and about 2000                 short -acting inhaled beta -agonist discontinued baseline
    pg /mL or between about 1200 pg /mL and about 1700 pg /mL asthma treatment and entered a 2-4 week run - in period. 425
    at 10 minutes after inhalation of 320 mcg of the BAI .       30 patients (257 previously treated with ICS with or without
       The breath -actuated inhaler (BAI ) in this example LABA) who met all the randomization criteria including
    included a canister having an interior reservoir containing FEV 1, of 40-85 % predicted and 15 % reversibility with short
    pressurised inhalable substances including fluid ; a “ prime- acting inhaled beta -agonist, and asthma symptoms were
    less ” metering valve including a metering chamber and a randomized equally to the BAI 320 mcg /day, BAI 640
   valve stem defining a communication path between the 35 mcg /day, QVAR MDI 320 mcg /day or placebo . Baseline
   metering chamber and the interior reservoir, the communi- FEV , values were similar across treatments . The primary
   cation path including an opening configured to permit flow endpoint for this trial was the standardized baseline - adjusted
   between a transfer space inside the valve stem and the trough morning forced expiratory volume in 1 second
   interior reservoir, the interior reservoir being arranged for (FEV1 ) area under the effect curve from time zero to 6 weeks
   orientation above the metering chamber whereby gas such as 40 [FEV AUEC ( 0-6 wk) ] . Patients in both treatment groups
                                                                           1
   air located within the metering chamber is replaced with had significantly greater improvements in trough FEV1
   liquid from the interior reservoir. Preferably, the primeless compared to placebo (BAI 320 mcg /day, LS mean change of
   metering valve is the embodiment shown in FIG . 4 and 0.144 L and BAI 640 mcg /day, LS mean change of 0.150 L
   described in U.S. Pat . No. 7,959,042B . Alternatively, the over 12 weeks ). Treatment with QVAR MDI was similar.
    primeless metering valve is similar to the embodiment 45 The change from baseline in morning FEV , during the trial
    shown in FIG . 4 of US2016/ 0084385 , as described herein . was greater than 0.150 L or 0.200 L between week 2 through
       Two confirmatory Phase 3 clinical trials were conducted week 6 ( generally between about 0.150 L and about 0.250
    comparing the above -described breath - actuated inhaler with L ) . Both doses of the BAI were effective in improving
    placebo in adult and adolescent patients with persistent asthma control with significantly greater improvements in
    asthma ( Trial 1 and Trial 2 ) .                               50 FEV1 ), morning PEF, weekly average of daily trough morn
       Trial 1 : This randomized, double -blind, parallel- group, ing FEV1 , reduced rescue medication use and improved
    placebo -controlled , 12 -week , efficacy and safety trial com- asthma symptom scores than with placebo . Similar results
    pared the breath - actuated inhaler 40 and 80 mcg given as 1 were demonstrated with QVAR MDI .
    inhalation twice daily with placebo in adult and adolescent         The inhaler of the present disclosure has broad applica
   patients with persistent symptomatic asthma despite low- 55 tion . The apparatuses and associated methods in accordance
   dose inhaled corticosteroid or non - corticosteroid asthma with the present disclosure have been described with refer
   therapy. Patients aged 12 years and older who met the entry ence to particular embodiments thereof in order to illustrate
   criteria including FEV , 40-85 percent of predicted normal, the principles of operation. The above description is thus by
                           1
   reversible bronchoconstriction of 15 % with short-acting way of illustration and not by way of relative and directional
   inhaled beta - agonist entered a 14-21 day run -in period. 270 60 references ( including: upper, lower, upward , downward , left,
   patients ( 104 previously treated with inhaled corticoster- right, leftward , rightward , top , bottom , side, above, below ,
   oids ) who met all the randomization criteria including front, middle , back, vertical, horizontal, height, depth,
   asthma symptoms and rescue medication use were discon- width , and so forth ) are normally given by way of example
   tinued from asthma maintenance medication and random- to aid the reader's understanding of the particular embodi
   ized equally to treatment with the breath - actuated inhaler 65 ments described herein . They should not be read to be
   ( BAI ) 80 mcg/day BDP, the breath -actuated inhaler 160 requirements or limitations, particularly as to the position ,
   mcg /day BDP or placebo. Baseline FEV ,1 values were simi- orientation , or use of the invention unless specifically set
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 247 of 318 PageID: 322


                                                         US 11,395,888 B2
                                25                                                                 26
    forth in the claims . Connection references ( e.g. , attached,        12. The breath actuated inhaler of claim 1 further com
    coupled , connected , joined , secured and the like) are to be      prising an actuator system for operating the drive .
    construed broadly and may include intermediate members                 13. The breath actuated inhaler of claim 12 wherein the
    between a connection of elements and relative movement              actuator system including the vacuum chamber external to
    between elements. As such , connection references do not 5 the metering chamber has a vacuum release system operable
    necessarily infer that two elements are directly connected          to permit the drive to drive movement of the pressurized
    and in fixed relation to each other, unless specifically set        canister relative to the valve stem .
    forth in the claims .                                                 14. The breath actuated inhaler of claim 13 wherein the
      Various modifications may be made to the embodiments
    described without departing from the scope of the invention 10 vacuum release system is air flow actuatable .
                                                                          15. The breath actuated inhaler of claim 12 wherein the
    as defined by the accompanying claims .                             actuator system or drive includes or is operated as a latch ,
      What is claimed is :                                              trigger or switch.
      1. A breath actuated inhaler having a drive adapted to              16. The breath actuated inhaler of claim 1 wherein the
    drive a pressurized canister so as to retract a metering valve is drive is configured to hold the valve stem depressed with the
                                                                      metering chamber of the pressurized canister communicat
   stem into the pressurized canister to fire the pressurized
   canister, the pressurized canister comprising a metering ing with atmosphere .
   chamber and an interior reservoir, and being adapted to                 17. A method of treating a respiratory disease or disorder
   move during operation between 1 and 4 mm between end comprising actuating the inhaler of claim 1 to administer a
   positions of its length of travel relative to the valve stem, the 20 therapeutically effective amount of one or more active
   drive being arranged to apply a firing force of greater than ingredients.
   35 N and less than 60 N to the pressurized canister at a                18. The method of claim 17 , wherein the step of actuating
   position of the pressurized canister relative to the valve stem the inhaler comprises inhaling through the inhaler.
   at which the pressurized canister fires, the breath actuated            19. The method of claim 17 , wherein the respiratory
   inhaler further having a metering valve spring and a dose 25 disease or disorder is asthma.
    counter with aa dose counter biasing element that cooperate           20. The method of claim 17 , wherein the respiratory
    together with the drive to hold the pressurized canister in a       disease or disorder is COPD .
    ready - to - fire configuration in which the pressurized canister     21. The method of claim 17 , wherein the one or more
   is displaced from the end positions and the metering cham- active ingredients comprise a corticosteroid .
   ber is isolated from the atmosphere and wherefrom , in 30 22. The method of claim 17 , wherein the one or more
   response to air flow , the pressurized canister is movable to active ingredients comprise beclomethasone dipropionate or
   close communication between the metering chamber and the tiotropium bromide.
   interior reservoir and to open communication between the         23. The method of claim 17 , wherein the pressurized
                                                                                                           .

   metering chamber and the atmosphere, and a vacuum cham- canister is adapted to move during operation about 4 mm
   ber external to the metering chamber, wherein the metering 35 between end positions of its length of travel relative to the
   valve spring and the dose counter biasing element combine valve stem .
   with a vacuum force from the vacuum chamber to oppose a          24. The breath actuated inhaler of claim 1 , wherein the
   force from the drive when the pressurized canister is in the dose counter biasing element comprises a dose counter
   ready - to - fire configuration.                              return spring
      2. The breath actuated inhaler of claim 1 in which the 40 25. A breath actuated inhaler having a drive adapted to
   drive comprises a drive spring .                              drive a pressurized canister so as to retract a metering valve
      3. The breath actuated inhaler of claim 1 in which the            stem into the pressurized canister to fire the pressurized
    pressurized canister is arranged to move between 1 and 3            canister, the pressurized canister comprising a metering
   mm between the end positions .                                  chamber and an interior reservoir, and being adapted to
      4. The breath actuated inhaler of claim 1 in which the 45 move during operation between 1 and 4 mm between end
   drive is adapted to provide the firing force as more than 40 positions of its length of travel relative to the valve stem , the
   N and less than 60 N.                                           drive being arranged to apply a firing force of greater than
      5. The breath actuated inhaler of claim 1 in which the 35 N and less than 60 N to the pressurized canister at a
   firing force is more than equal to that required to fire the position of the pressurized canister relative to the valve stem
   pressurized canister.                                        50 at which the pressurized canister fires , the breath actuated
      6. The breath actuated inhaler of claim 1 wherein the dose inhaler further having a metering valve spring and a dose
   counter biasing element comprises a dose counter return counter with a dose counter biasing element that cooperate
   spring , and wherein the firing force is greater than the sum together with the drive to hold the pressurized canister in a
   at the point of firing of opposing forces applied to the ready - to - fire configuration in which the pressurized canister
    pressurized canister by the metering valve spring in the 55 is displaced from the end positions and the metering cham
    pressurized canister and the dose counter return spring .   ber is isolated from the atmosphere and wherefrom , in
       7. The breath actuated inhaler of claim 1 wherein the    response to air flow , the pressurized canister is movable to
   interior reservoir contains a hydrofluoroalkane propellant.    close communication between the metering chamber and the
      8. The breath actuated inhaler of claim 7 wherein the interior reservoir and to open communication between the
   propellant comprises a cosolvent .                          60 metering chamber and the atmosphere, the breath actuated
      9. The breath actuated inhaler of claim 1 wherein the inhaler further having an actuator system for operating the
   interior reservoir contains one or more active ingredients.    drive, wherein the actuator system includes a vacuum cham
      10. The breath actuated inhaler of claim 9 , wherein the ber external to the metering chamber having a vacuum
   one or more active ingredients comprise beclomethasone release system operable to permit the drive to drive move
   dipropionate or tiotropium bromide.                         65 ment of the pressurized canister relative to the valve stem ,
      11. The breath actuated inhaler of claim 1 wherein the and the metering valve spring , a vacuum force from the
   pressurized canister comprises a primeless metering valve . vacuum chamber, and the dose counter biasing element
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 248 of 318 PageID: 323


                                                            US 11,395,888 B2
                                    27                                         28
    combine to oppose a force from the drive when the pres
    surized canister is in the ready - to - fire configuration .
      26. The breath actuated inhaler of claim 25 wherein the
   vacuum release system is air flow actuatable .
      27. The breath actuated inhaler of claim 25 wherein the 5
   actuator system or drive includes or is operated as a latch,
   trigger or switch .
      28. The breath actuated inhaler of claim 25 wherein the
   dose counter biasing element comprises a dose counter
   return spring, and wherein the firing force is greater than the 10
   sum at the point of firing of opposing forces applied to the
   pressurized canister by the metering valve spring in the
   pressurized canister and the dose counter return spring .
      29. The breath actuated inhaler of claim 25 wherein the
   drive is configured to hold the valve stem depressed with the 15
   metering chamber of the pressurized canister communicat
   ing with atmosphere.
      30. A method of treating a respiratory disease or disorder
   comprising actuating the inhaler of claim 25 to administer a
   therapeutically effective amount of one or more active 20
   ingredients.
                                     *
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 249 of 318 PageID: 324




                             EXHIBIT J
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 250 of 318 PageID: 325

                                                                                              US011395889B2


    ( 12 ) Walsh
           United     States Patent
                 et al .
                                                                             ( 10) Patent No .: US 11,395,889 B2
                                                                             (45 ) Date of Patent :   Jul . 26 , 2022
    ( 54 ) DOSE COUNTER FOR INHALER HAVING                             (51 ) Int. Ci .
             AN ANTI -REVERSE ROTATION ACTUATOR                                  A61M 15/00               ( 2006.01 )
                                                                                 GO6M 1/24                (2006.01 )
    ( 71 ) Applicants : Ivax Pharmaceuticals Ireland ,                           A61M 11/00               ( 2006.01 )
                       Waterford (IE) ; Norton ( Waterford )           (52) U.S. CI .
                       Limited , Waterford (IE) ; Teva                      CPC            A61M 15/0078 ( 2014.02 ) ; A61M 11/00
                       Pharmaceuticals Ireland, Waterford                                     ( 2013.01 ) ; A61M 15/007 ( 2014.02 ) ;
                         ( IE )                                                                (Continued )
    (72) Inventors: Declan Walsh , County Kilkenny ( IE ) ;            ( 58 ) Field of Classification Search
                                            2

                    Derek Fenlon , County Wexford ( IE ) ;                    CPC          A61M 15/0078 ; A61M 15/0025 ; A61M
                    Simon Kaar , County Cork (IE) ; Jan                                   15/0026 ; A61M 15/007 ; A61M 15/0071 ;
                         Geert Hazenberg , County Kilkenny                                     ( Continued )
                         ( IE ) ; Daniel Buck , County Waterford       ( 56 )                  References Cited
                         ( IE ) ; Paul Clancy, Waterford ( IE ) ;
                         Robert Charles Uschold , Leominster,                            U.S. PATENT DOCUMENTS
                         MA (US ) ; Jeffrey A. Karg , Hopkinton,
                         MA (US)                                                4,174,890 A    11/1979 Johnson
                                                                                4,669,838 A     6/1987 Hibbard
    ( 73 ) Assignees : Ivax Pharmaceuticals Ireland ,                                               (Continued )
                        Waterford (IE) ; Norton (Waterford )
                        Limited , Waterford (IE) ; Teva                              FOREIGN PATENT DOCUMENTS
                        Pharmaceuticals Ireland, Waterford
                        ( IE )                                         CA                 2501726           9/2006
                                                                       CN                 1265601           9/2000
    ( * ) Notice: Subject to any disclaimer, the term of this                                       (Continued )
                        patent is extended or adjusted under 35
                        U.S.C. 154 ( b ) by 0 days.                                       OTHER PUBLICATIONS
    ( 21 ) Appl . No .: 16 / 915,558                                   Advisory Action dated Mar. 13 , 2017 for U.S. Appl. No. 14 /699,567 .
    ( 22 ) Filed :      Jun . 29, 2020                                                           (Continued )
    ( 65 )               Prior Publication Data                        Primary Examiner Daniel A Hess
             US 2021/0016026 A1 Jan. 21 , 2021
                                                                       (74 ) Attorney , Agent, or Firm — Morgan , Lewis &
                                                                       Bockius LLP
                    Related U.S. Application Data
                                                                       ( 57 )                    ABSTRACT
    ( 60 ) Continuation of application No. 15 /804,735, filed on       An inhaler includes a main body having a canister housing ,
             Nov. 6 , 2017 , now Pat . No. 10,695,512 , which is a
             continuation of application No. 15 /269,249 , filed on    a medicament canister retained in aa central outlet port of the
             Sep. 19 , 2016 , now Pat. No. 9,808,587 , which is a      canister housing , and a dose counter having an actuation
             continuation of application No. 14 / 103,324 , filed on   member for operation by movement of the medicament
             Dec. 11 , 2013 , now Pat . No. 9,463,289 , which is a     canister. The canister housing has an inner wall , and aa first
             division of application No. 13 / 110,532 , filed on May   inner wall canister support formation extending inwardly
             18 , 2011 , now Pat . No. 8,978,966 .                     from aa main surface of the inner wall . The canister housing
                                  ( Continued )                                                     (Continued )

                                                 781
                                                341
                                                                       98
                                                                                               -143
                                                90 F                                            94
                                                                                               -142
                                                92
                                                     1                 145
                                                                                               - 147
                                                                                                -738
                                                                                                -140
                                                                                                 145 '
                                                         149 80                        144
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 251 of 318 PageID: 326


                                                           US 11,395,889 B2
                                                                     Page 2

   has a longitudinal axis X which passes through the center of               2004/0089298 A1
                                                                              2004/0095746 A1
                                                                                                   5/2004 Haikarainen et al .
                                                                                                   5/2004 Murphy
   the central outlet port. The first inner wall canister support             2005/0028815 Al      2/2005 Deaton
   formation, the actuation member, and the central outlet port               2005/0087191 A1      4/2005 Morton
   lie in a common plane coincident with the longitudinal axis                2005/0126469 A1      6/2005 Lu
   X such that the first inner wall canister support formation                2006/0096594 Al      5/2006 Bonney
   protects against unwanted actuation of the dose counter by                 2006/0107949 Al
                                                                              2006/0107979 Al
                                                                                                   5/2006 Davies
                                                                                                   5/2006 Kim
   reducing rocking of the medicament canister relative to the                2007/0062518 Al      3/2007 Geser
   main body of the inhaler.                                                  2007/0240712 A1     10/2007 Fleming et al .
                                                                              2007/0241025 A1     10/2007 Parkes
                  6 Claims , 17 Drawing Sheets                                2007/0246042 Al     10/2007 Purkins
                                                                              2008/0035144 Al      2/2008 Bowman et al .
                                                                              2008/0156321 Al      7/2008 Bowman et al .
                                                                              2008/0242465 A1     10/2008 Strobel
                                                                              2009/0178678 A1      7/2009 OLeary
                     Related U.S. Application Data                            2010/0078490 A1      4/2010 Fenlon
                                                                              2010/0089395 Al      4/2010 Power
    ( 60 ) Provisional application No. 61 / 417,659 , filed on Nov.           2010/0218759 Al      9/2010 Anderson
           29 , 2010 , provisional application No. 61 /345,763 ,              2011/0041845 Al      2/2011 Solomon
                                                                              2012/0006322 Al      1/2012 Anderson
           filed on May 18 , 2010 .                                           2012/0247458 A1     10/2012 Lawrence et al .
    ( 52) U.S. Ci .                                                                    FOREIGN PATENT DOCUMENTS
          CPC       A61M 15/009 ( 2013.01 ) ; A61M 15/0025                CN                1956448           5/2007
                       (2014.02 ) ; A61M 15/0026 ( 2014.02 ) ; A61M       CN              101198972           6/2008
                     15/0065 (2013.01 ) ; A61M 15/0071 ( 2014.02 ) ;      EP                1330280           7/2003
                           GO6M 1/246 (2013.01 ) ; A61M 2202/064          EP                1486227          12/2004
                     (2013.01 ) ; A61M 2205/6063 ( 2013.01 ) ; A61M       GB                2320489           6/1998
                     2207/00 (2013.01 ) ; A61M 2207/10 ( 2013.01 ) ;      GB                2348928          10/2001
                             Y10T 29/49 (2015.01 ) ; Y10T 29/49764        IL                 201256          11/2014
                                                                          JP              02502129            7/1990
                                (2015.01 ) ; Y10T 29/49826 (2015.01 )     JP                450059            8/1992
    ( 58 ) Field of Classification Search                                 JP              07100205            4/1995
           CPC .......    A61M 11/00 ; A61M 15/0065 ; A61M                JP              10504220            4/1998
                                          15/009 ; G06M 1/246             JP            2002528144            9/2002
              USPC                                        128 /203.12     JP            2004501685            1/2004
                                                                          JP            2007534378           11/2007
              See application file for complete search history.           JP            2008-94103 A          4/2008
                                                                          JP            2008094103            4/2008
    ( 56 )                    References Cited                            JP            2008261423           10/2008
                                                                          JP            2009233308           10/2009
                      U.S. PATENT DOCUMENTS                               JP            2009257392           11/2009
                                                                          JP            2010096308            4/2010
             4,687,359 A       8/1987 Barrus                              WO                8909078          10/1989
             5,349,945 A       9/1994 Wass et al .                        WO                9209324           6/1992
             5,482,030 A       1/1996 Klein                               WO                9628205           9/1996
             5,861,911 A       1/1999 Oosaka                              WO                9828033           7/1998
             6,142,339 A      11/2000 Blacker et al .                     WO                9856444          12/1998
             6,446,627 B1 *    9/2002 Bowman             A61M 15/009      WO                9936115           7/1999
                                                           128/ 200.23    WO               01/28887           4/2001
             6,659,307 B1     12/2003 Stradella                           WO            2001087391           11/2001
             6,718,972 B2      4/2004 OLeary                              WO               02/00281 A2        1/2002
             6,907,876 B1      6/2005 Clark et al .                       WO              03101514           12/2003
             7,107,986 B2      9/2006 Rand et al .                        WO            2005060535            7/2005
             7,156,258 B2      1/2007 Eckert                              WO            2005060917            7/2005
             7,587,988 B2      9/2009 Bowman et al .                      WO            2005102430           11/2005
             7,661,423 B2      2/2010 Brand et al.                        WO            2006062449            6/2006
             7,819,075 B2     10/2010 Bowman et al .                      WO            2006062449 A1         6/2006
             7,832,351 B2     11/2010 Bonney et al.                       WO            2006110080           10/2006
             8,418,690 B2      4/2013 Power                               WO            2007012861            2/2007
             8,459,253 B2      6/2013 Howgill                             WO            2007062518            6/2007
             8,474,448 B2      7/2013 Oi                                  WO            2008023019            2/2008
             8,511,302 B2      8/2013 Parkes                              WO            2008119552            2/2008
             8,662,381 B2      3/2014 Kaar et al .                        WO            2008121459           10/2008
             8,978,966 B2      3/2015 Walsh et al.                        WO            2011012325            2/2011
             9,174,013 B2     11/2015 Walsh et al .                       WO            2011012327            2/2011
             9,216,261 B2     12/2015 Kaar et al .
             9,265,901 B2      2/2016 Lawrence et al .                                      OTHER PUBLICATIONS
             9,463,289 B2     10/2016 Walsh et al .
             9,533,111 B2      1/2017 Walsh et al .                       English Translation of Chinese Office Action , corresponds to
             9,737,674 B2      8/2017 Walsh et al .                       CN201080041218.1 .
             9,808,587 B2     11/2017 Walsh et al.
     2002/0047021 A1           4/2002 Blacker                             English Translation of Chinese Office Action , corresponds to
     2002/0078949 Al           6/2002 OLeary                              CN201080040988.4 .
     2002/0078950 Al           6/2002 OLeary                              European Search report for EP Application No. 13004775.6 .
     2002/0084891 Al           7/2002 Mankins et al .                     European Search report for EP Application No. 13005367.1 .
     2003/0209239 Al          11/2003 Rand                                File History for U.S. Appl. No. 14 /713,633 .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 252 of 318 PageID: 327


                                                                 US 11,395,889 B2
                                                                            Page 3

    ( 56 )                   References Cited                                    Entire patent prosecution history of U.S. Appl. No. 14/ 103,363 ,
                                                                                 filed , Dec. 1 , 2013 , entitled, “ Dose Counters for Inhalers , Inhalers
                        OTHER PUBLICATIONS                                       and Methods of Assembly Thereof . " .
                                                                                 Entire patent prosecution history of U.S. Appl. No. 14/ 103,392 ,
    Final OA for U.S. Appl. No. 13 /387,532 .                                    filed , Dec. 11 , 2013 , entitled, “ Dose Counters for Inhalers, Inhalers
    Final OA for U.S. Appl. No. 14/ 876,190 .                                    and Methods of Assembly Thereof . " .
    International Search Report for PCT/EP10/ 04790 .                            Entire patent prosecution history of U.S. Appl. No. 14/ 699,567 ,
    International Search Report for PCT/EP10/ 04791 .                            filed , Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler and Method
    International Search Report for PCT/EP10/ 04792 .                            for Counting Doses .” .
    Office Action issued by the Israel Patent Office dated Jul. 3 , 2017 in      Entire patent prosecution history of U.S. Appl. No. 14/ 699,578 ,
    reference to Israel Patent Application No. 247396 , 3 pages .                filed , Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler Having a
    Office Action issued by the Israel Patent Office dated Jul. 27 , 2017        Bore ! And Shaft Arrangement .”.
    in reference to Israel Patent Application No. 247402 , 4 pages.
    Final Office Action dated Oct. 20 , 2016 for U.S. Appl. No. 14/699,567 .     Entire patent prosecution history of U.S. Appl. No. 14/ 699,584 ,
    Non - Final Office Action dated Jan. 12 , 2017 for U.S. Appl. No.            filed , Apr. 29 , 2015 , entitled , “ Dose Counter for Inhaler Having an
    14/713,620 , 8 pages.                                                        Antireverse Rotation Actuator .” .
    Final Rejection dated Sep. 27 , 2016 for U.S. Appl. No. 14/ 699,578 .        Entire patent prosecution history of U.S. Appl. No. 14/ 713,612 ,
    Final Office Action dated Aug. 31 , 2016 for U.S. Appl. No.                  filed, May 15 , 2015 , entitled, “ Dose Counters for Inhalers, Inhalers
    14/713,620 , 7 pages .                                                       and Methods of Assembly Thereof . " .
    Advisory action dated Feb. 9 , 2017 for U.S. Appl. No. 14 /699,584 .         Entire patent prosecution history of U.S. Appl. No. 14/ 713,620 ,
    Non - final rejection dated Jul. 12 , 2016 for U.S. Appl. No. 14/713,643 .   filed , May 15 , 2015 , entitled, “ Dose Counters for Inhalers, Inhalers
    File History for U.S. Appl. No. 15 /271,738 .                                and Methods of Assembly Thereof . " .
    File History for U.S. Appl. No. 15 /269,102 .                                Entire patent prosecution history of U.S. Appl. No. 14/ 713,643 ,
    File History for U.S. Appl. No. 15 /262,818 .                                filed, May 15 , 2015 , entitled , “ Dose Counters for Inhalers, Inhalers
    File History for U.S. Appl. No. 15 /289,553 .                                and Methods of Assembly Thereof . ” .
    File History for U.S. Appl. No. 15 /269,249 .                                European Patent Office Communication , dated Apr. 24 , 2014 of
    Final rejection dated Oct. 20 , 2016 or U.S. Appl. No. 14 /699,584 .         counterpart European Patent Application No. 11 010 211.8 .
    Non - Final Office Action dated Jun . 24 , 2016 for U.S. Appl. No.           European Patent Office Communication, dated Apr. 24 , 2014 of
    14/713,620 , 7 pages.                                                        counterpart European Patent Application No. 11 010 212.6 .
    Final rejection dated Oct. 20 , 2016 or U.S. Appl. No. 14 /713,633 .         First Examination Report of counterpart New Zealand Patent Appli
    Advisory Action dated Mar. 16 , 2017 or U.S. Appl. No. 14 /713,633 .         cation No. 603466 , dated Jul. 1 , 2013 .
    Entire patent prosecution history of U.S. Appl. No. 13 / 110,532 ,
    filed , May 18 , 2011 , entitled , “ Dose Counters for Inhalers, Inhalers    File history for U.S. Appl. No. 13 /387,508 .
    and Methods of Assembly Thereof . " .                                        File history for U.S. Appl. No. 13 /387,532 .
    Entire patent prosecution history of U.S. Appl. No. 14 / 103,324 ,           File history for U.S. Appl. No. 13 /388,535 .
    filed , Dec. 11 , 2013 , entitled, “ Dose Counters for Inhalers, Inhalers    File history for U.S. Appl. No. 14 / 132,918 .
    and Methods of Assembly Thereof . " .                                        File history for U.S. Appl. No. 14 / 876,190 .
    Entire patent prosecution history of U.S. Appl. No. 14 / 103,343 ,           File history for U.S. Appl. No. 14 /967,905 .
    filed, Dec. 11 , 2013 , entitled, “ Dose Counters for Inhalers , Inhalers    Office Action , Israel Application No. IL263904 dated Sep. 14 , 2021 ,
    and Methods of Assembly Thereof . ” .                                        4 pgs.
    Entire patent prosecution history of U.S. Appl. No. 14 / 103,353 ,
    filed, Dec. 11 , 2013 , entitled , “ Dose Counters for Inhalers, Inhalers
    and Methods of Assembly Thereof . " .                                        * cited by examiner
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 253 of 318 PageID: 328


    U.S. Patent              Jul . 26 , 2022         Sheet 1 of 17                  US 11,395,889 B2



                                     52
                                                18 50             10
                                                                         12

                                                                               14
                                                             46


                                         16

                                                FIG . 1
              -??

                                      44
                                      54                          40
                                                                                                       36
                                    46
             ? --3A
                                                             .42
       FIG . 2                                 FIG . 3A                               FIG . 3B
              www
              SR

       56                168
                         170
     178               -176                                                          198    194
            174     FIG . 48                          172
                                                                       36
                                                        34                                         196
                                                         80              100
                       170
                       176                                                 122
    180                                                                                           14
                      174
                                                58                       120
      118 48                                            56
                                                                   118

       FIG . 40                                FIG . 4A                                FIG.5
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 254 of 318 PageID: 329


    U.S. Patent               Jul . 26 , 2022         Sheet 2 of 17           US 11,395,889 B2



                                    106                                        190
                        94                                              94           106
                104                                              102

                                                             192                         204

                                                                                   OT         188
                                                                                        110
                              116         110 100
                        124
                                                                       FIG . 6B 112
          108                        126
                  102
                                                                             112
                       FIG . 6A
                                                                         200
                  94                                                     198
                                                100

                                                    138                FIG . 6C
                                                                                           106


    106
                                                          114
                                                  130
                                                                 200                           136




       110       124     126 136
                                                           112
                                                                   198                  O110
                       FIG . 6D                                        FIG . 6E
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 255 of 318 PageID: 330


    U.S. Patent          Jul . 26 , 2022   Sheet 3 of 17           US 11,395,889 B2


                                                            128
                                                                        124


                                                                         126


                                o                          116
                             102
                                                                  130
                                      FIG . 6F



                                                                           138
                   144



                                                                          116


                                                                         130
                  128

                                                                  126
                  124


                                       FIG . OG
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 256 of 318 PageID: 331


    U.S. Patent                   Jul . 26 , 2022        Sheet 4 of 17             US 11,395,889 B2


               20
                                                  48
       24




      26

          28
                                                            74
                                                    32
          34
                                                                                              -76
     72                                             30
      40                                            25

                           FIG.ZA                                             FIG . ZB
                             78
                    34 .
                                              96 92            94
                                       -72                          90        36
                                             84
                      60                                                      88




                     58
                                                                          IV
                            68
                                                                         82
                                    86       80 FIG.6H
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 257 of 318 PageID: 332


    U.S. Patent         Jul . 26 , 2022    Sheet 5 of 17             US 11,395,889 B2




                                                    200 198                     8C
                                                                                .
                                                                                FIG


                                    -184      -60               34
                                                                      186
                                                                     80
                                                                                .
                                                                                FIG
                                                                                8B

                                                                          58

                                                                          182
                                              64
       10                                                     166
                                                               62
                                                                     70          8A
                                                                                 .
                                                                                 FIG

                                                                      99
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 258 of 318 PageID: 333


    U.S. Patent                Jul . 26 , 2022     Sheet 6 of 17               US 11,395,889 B2


                            162 160 158                             76
                        164                                 156
                                                                                    38
                 50

                                                                                                FIG
                                                                                                7C
                                                                                                .
                                                                                    74

           148 150 146                                                        144

     154   76                                                           152

                                                                                                7D
                                                                                                FIG
                                                                                                .
            74                                                     16

                  144                              150
                                                 118                                120
      10
                                                                                          194
                                                           200                                  FIG
                                                                                                .
                                                                                                8D


                                                 114
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 259 of 318 PageID: 334


    U.S. Patent         Jul . 26 , 2022                Sheet 7 of 17       US 11,395,889 B2



                                    +

                                          220
                          D                                    80
                                                                       1




                                     98




                                                                           41   FIG.9
                1

                .




                           40

                                     +
                                                LDaitnuem
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 260 of 318 PageID: 335


    U.S. Patent         Jul . 26 , 2022   Sheet 8 of 17          US 11,395,889 B2




                                                                      94


                                                                      138




                                    FIG . 10A             80


           781
           34+

                                            98
                                                                     -143
           90                                                         94
                                                                     142
                                                                      147
           92                                145
                                             +                        138
                                                                       140
                                                                      145 )

                      149     80                               144

                                    FIG . 10B
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 261 of 318 PageID: 336


    U.S. Patent         Jul . 26 , 2022         Sheet 9 of 17              US 11,395,889 B2




                                  142
                                                    ?


                           94                                        140


                                                                                   10E
                                                                                   FIG
                                                                                   .
                                                                08


            34


                                          96            -138
        1


        1                  86
             34
                                                                                   10C
                                                                                   .
                                                                                   FIG
                                                                              92
                                               90
                                               .
                                                           80
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 262 of 318 PageID: 337


    U.S. Patent         Jul . 26 , 2022   Sheet 10 of 17              US 11,395,889 B2




                                                                138
                                                                94

                                                           92
                                                                144           10F
                                                                              .
                                                                              FIG
                                                           80


        34




                                                138                   140
                     67                                               94



                                                                              10D
                                                                              .
                                                                              FIG
                                                                      08
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 263 of 318 PageID: 338


    U.S. Patent          Jul . 26 , 2022      Sheet 11 of 17       US 11,395,889 B2


        2

                                                                       240


        1
                                                                       242



        0
                                                                       244


                                                                   246
       1
       -

                                                                       248


       -2




       -3
            0       2x109           4x109          6x103           3
                                                               8x10'         1x10^
                                                                                 4




                                           FIG . 11

                        232         234                          238
                                                       236
                  230
                                           FIG . 14
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 264 of 318 PageID: 339


    U.S. Patent           Jul . 26 , 2022      Sheet 12 of 17         US 11,395,889 B2




                                                                               172


                                                      Vol
                                                                        -176
                                                      178       170


                                            FIG . 12
            114   216           210                    214            112       212




                                                      206
                    217            205                            200

                                                                      202
                                            FIG . 13
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 265 of 318 PageID: 340


    U.S. Patent          Jul . 26 , 2022      Sheet 13 of 17        US 11,395,889 B2


                         300



                                                             110




                                           FIG . 15
                   110             102                       100
                                                                   204    300
            108                                                              301
                                                        94                         302
                                                   92
                                                                                    304




                                                                                   306


                  104

                  FIG . 20                                     FIG . 16
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 266 of 318 PageID: 341


    U.S. Patent                     Jul . 26 , 2022          Sheet 14 of 17             US 11,395,889 B2




                             102
                                                                        -308   '
                                                                               A
                                                                                     126 316      108
     HO                            19A
                                   .
                                   FIG       OC 19BFIG.                                                     190
                                                                                                            .
                                                                                                            FIG
             94                                         94                     A         124

    100           -130 304 -102             102                                308 312 -130 126
                                                                                                      102

      94   108     302 128
                                   18A
                                   .
                                   FIG   ?? FIG.18B
                                            94
                                                                               310      128 124 108
                                                                                                            18C
                                                                                                            .
                                                                                                            FIG


                                         300 110
                                                                  .
                                                                  FIG
                                                                  17
                                                      330
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 267 of 318 PageID: 342


    U.S. Patent         Jul . 26 , 2022      Sheet 15 of 17             US 11,395,889 B2



                                      510
                                                                    A

            526                      518
                                                     526


             520
                                                        569     all
                                                       572
                                                        566
            528         582

                                            510
                                                  512574
                   FIG . 21                             540

                                                        514               542



                                                        516                 568

                                                        578                -578
                                                        522
                                                        520
                                                       5130

                                                              582         528


                                                              FIG . 22
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 268 of 318 PageID: 343


    U.S. Patent           Jul . 26 , 2022      Sheet 16 of 17          US 11,395,889 B2




                        110       5128                   5140
                                                            5136
                                                                   516



                        5134
                                   5148


                                        FIG . 23


                                        516                              108
                                                       5146
                                              110
                   5128                                                    -5140

                          t

                                                    5136

             9                    5134                          5144


                 5127
                                            FIG . 24
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 269 of 318 PageID: 344


    U.S. Patent         Jul . 26 , 2022    Sheet 17 of 17           US 11,395,889 B2



                                                     522

                             570
                                   580
                                                      520


                      584                         582       570
                     588                                      580

                                          524        586

                     528



                                      FIG . 25



                                                      578

                      5138
                                                      568
                            578




                                      FIG . 26
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 270 of 318 PageID: 345


                                                        US 11,395,889 B2
                                  1                                                                     2
         DOSE COUNTER FOR INHALER HAVING                                 is closed . Due to the way in which the mouthpiece is opened
        AN ANTI -REVERSE ROTATION ACTUATOR                               and closed , and actuation pawl of the device which is
                                                                     mounted on a yoke, travels a known long stroke of consis
               CROSS - REFERENCE TO RELATED                          tent  length as the mouthpiece is opened and closed .
                          APPLICATIONS                            5     WO 2008/119552 discloses aa metered -dose inhaler which
                                                                     is suitable for breath -operated applications and operates with
       This patent application is a continuation patent applica- a known and constant canister stroke length of 3.04 mm +/
    tion of U.S. patent application Ser. No. 15 / 804,735 filed 0.255 mm . A stock bobbin of the counter, from which a tape
    Nov. 6 , 2017 , which is a continuation of U.S. patent appli- is unwound , rotates on a shaft having a split pin intended to
    cation Ser. No. 15 /269,249 , filed Sep. 19 , 2016 , now U.S. 10 hold the stock bobbin taut . However, some dose counters do
    Pat . No. 9,808,587 , which is a continuation of U.S. patent not keep a particularly reliable count, such as if they are
    application Ser. No. 14 / 103,324 , filed Dec. 11 , 2013 , now       dropped onto a hard surface .
    U.S. Pat. No. 9,463,289 , which is a divisional patent appli-          More recently, it has become desirable to improve dose
    cation of U.S. patent application Ser. No. 13 / 110,532 , filed      counters further and, in particular, it is felt that it would be
    May 18 , 2011, now U.S. Pat . No. 8,978,966 , which claims 15 useful to provide extremely accurate dose counters for
    priority to U.S. Patent Application No. 61 /345,763 , filed          manually -operated canister - type metered dose inhalers .
    May 18 , 2010 , and U.S. Patent Application No. 61 /417,659 ,        Unfortunately, in these inhalers, it has been found in the
    filed Nov. 29 , 2010 , each of which is incorporated herein by       course of making the present invention that the stroke length
    reference in its entirety for any and all purposes.                  of the canister is to a very large extent controlled on each
                                                                      20 dose operation by the user, and by hand . Therefore, the
                   FIELD OF THE INVENTION                                stroke length is highly variable and it is found to be
                                                                         extremely difficult to provide a highly reliable dose counter
      The present invention relates to dose counters for inhal- for these applications. The dose counter mu not count a
   ers , inhalers and methods of assembly thereof. The invention dose when the canister has not fired since this might wrongly
   is particularly applicable to metered dose inhalers including 25 indicate to the user that a dose has been applied and if done
   dry power medicament inhalers , breath actuated inhalers and repeatedly the user would throw away the canister or whole
   manually operated metered dose medicament inhalers.              device before it is really time to change the device due to the
                                                                    active drug and propellant reaching a set minimum . Addi
              BACKGROUND OF THE INVENTION                           tionally, the canister must not fire without the dose counter
                                                                 30 counting because the user may then apply another dose
      Metered dose inhalers can comprise a medicament-con-               thinking that the canister has not fired , and if this is done
   taining pressurised canister containing a mixture of active repeatedly the active drug and / or propellant may run out
   drug and propellant. Such canisters are usually formed from while the user thinks the device is still suitable for use
   a deep -dawn aluminium cup having a crimped lid which according to the counter . It has also been found to be fairly
   carries a metering valve assembly. The metering valve 35 difficult to assembly some known inhaler devices and the
    assembly is provided with a protruding valve stem which, in dose counters therefor. Additionally, it is felt desirable to
    use is inserted as a push fit into a stem block in an actuator improve upon inhalers by making them easily usable after
    body of an inhaler having a drug delivery outlet. In order to they have been washed with water.
    actuate a manually operable inhaler, the user applies by hand    The present invention aims to alleviate at least to a certain
    a compressive force to a closed end of the canister and the 40 extent one or more of the problems of the prior art.
    internal components of the metering valve assembly are
    spring loaded so that a compressive force of approximately                  SUMMARY OF THE INVENTION
    15 to 30N is required to activate the device in some typical
    circumstances.                                                     According to a first aspect of the present invention there
       In response to this compressive force the canister moves 45 is provided a dose counter for an inhaler, the dose counter
    axially with respect to the valve stem and the axial move- having a counter display arranged to indicate dosage infor
    ment is sufficient to actuate the metering valve and cause a mation , a drive system arranged to move the counter display
    metered quantity of the drug and the propellant to be incrementally in a first direction from a first station to a
    expelled through the valve stem . This is then released into a second station in response to actuation input, wherein a
    mouthpiece of the inhaler via a nozzle in the stem block , 50 regulator is provided which is arranged to act upon the
    such that a user inhaling through the outlet of the inhaler will counter display at the first station to regulate motion of the
    receive a dose of the drug .                                         counter display at the first station to incremental move
       A drawback of self -administration from an inhaler is that        ments .
    it is difficult to determine how much active drug and /or              The regulator is advantageous in that it helps prevent
   propellant are left in the inhaler, if any, especially of the 55 unwanted motion of the counter display if the counter is
   active drug and this is potentially hazardous for the user dropped.
   since dosing becomes unreliable and backup devices not              According to a further aspect of the present invention , the
   always available .                                               regulator provides a resistance force of greater than 0.1 N
      Inhalers incorporating dose counters have therefore against movement of the counter display. According to still
   become known .                                                60 a further aspect of the present invention, the resistance force
      WO 98/028033 discloses an inhaler having a ratchet is greater than 0.3 N. According to yet a further aspect of the
   mechanism for driving a tape drive dose counter. A shaft present invention , the resistance force is from 0.3 to 0.4 N.
   onto which tape is wound has aa friction clutch or spring for       Preferably, the counter comprises a tape .
   restraining the shaft against reverse rotation .                    Preferably, the tape has dose counter indicia displayed
      EP - A - 1486227 discloses an inhaler for dry powered 65 thereon . The first station may comprise a region of the dose
    medicament having a ratchet mechanism for a tape dose                counter where tape is held which is located before a display
    counter which is operated when a mouthpiece of the inhaler           location, such as a display window, for the counter indicia .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 271 of 318 PageID: 346


                                                      US 11,395,889 B2
                                 3                                                                 4
   The first station may comprise a first shaft, the tape being        According to a further aspect of the present invention
   arranged on the first shaft and to unwind therefrom upon there is provided a shaft for holding counter tape in a dose
   movement of the counter display.                                  counter for an inhaler, the shaft having an engagement
      The first shaft may be mounted for rotation relative to a surface including incrementally spaced formations located
   substantially rotationally fixed element of the dose counter. 5 around a periphery thereof, the formations comprising a
      The regulator may comprise at least one projection which series of curved concavities and convex portions .
   is arranged on one of the first shaft and the substantially         The shaft may comprise a hollow bobbin .
   rotationally fixed element and to engage incrementally with         The  engagement surface may be a generally cylindrical
   one or more formations on the other of the first shaft and the    inwardly directed surface .
   substantially rotationally fixed element.                      10
      At least two said projections may be provided. Exactly portion joining eachsurface
                                                                       The  engagement           may include aa flat surface wall
                                                                                          concavity and convex wall portion.
   two said projections maybe provided.                                Each concavity may comprise a radiused wall portion .
      Each projection may comprise a radiused surface .                Each convex wall portion may comprise a radiused wall
      The at least one projection may be located on the sub portion
   stantially fixed element which may comprise a fixed shaft 15 Said .concavities may be regularly spaced around a lon
   which is fixed to a main body of the dose counter, the first gitudinal axis of the shaft.
   shaft being rotationally mounted to the fixed shaft .               Said convex wall portions may be regularly spaced
      Preferably, the fixed shaft has least two resiliently
   flexible legs ( or forks ). Each leg may have at least one said around a longitudinal axis of the shaft.
   projection formed in an outwardly facing direction thereon , 20 In some embodiments there may be from eight to twelve
   said one or more formations being formed on an inwardly said concavities and / or convex wall portions regularly
   facing engagement surface of the first shaft, said at least one spaced around a longitudinal axis thereof.
   projection being arranged to resiliently engage said one or         One embodiment includes ten said concavities and / or
   more formations. Preferably, a series of said formations are convex wall portions regularly spaced around a longitudinal
   provided. An even number of said formations may be 25 axis of the shaft.
   provided . Eight to twelve of said formations may be pro            According to a further aspect of the present invention
    vided. In one embodiment, ten said formations are provided.      there is provided a shaft and counter tape assembly for use
      Each said formation may comprise a concavity formed on in a dose counter for an inhaler, the assembly comprising a
   an engagement surface. Each concavity may comprise a rotatable shaft and a counter tape which is wound around the
   radiused  surface wall portion which preferably merges on at 30 shaft and is adapted to unwind therefrom upon inhaler
   least one side thereof into a flat wall portion surface . The actuation , the shaft having an engagement surface which
   engagement surface may include a series of said concavities , includes incrementally spaced formations located around a
   and convex wall portions of the engagement surface may be
   formed between each adjacent two said concavities, each periphery          thereof.
                                                                      According     to a further aspect of the present invention
   said convex wall portion comprising a convex radiused wall 35 there is provided     an inhaler for the inhalation of medication
   portion .
      Each convex radiused wall portion of each convex wall        and  the like , the inhaler including a dose counter as in the
   portion may be connected by said flat wall portion surfaces first aspect of the present invention . a
   to each adjacent concavity.                                        A preferred construction consists of a manually operated
      The fixed shaft may comprise a split pin with fork legs 40 metered dose inhaler including a dose counter chamber
   and each projection may be located on a said fork leg .         including a dose display tape driven by a ratchet wheel
      The first shaft may comprise a substantially hollow bob- which is driven in turn by an actuator pawl actuated by
   bin .                                                           movement of a canister, the tape unwinding from a stock
      Said at least one formation may be located on an inner bobbin during use of the inhaler, a rotation regulator being
   surface of the bobbin . In other embodiments it may be 45 provided for the stock bobbin and comprising a wavelike
   located on an outer surface thereof. Said engagement surface engagement surface with concavities which engage against
   may extend partially along said bobbin , a remainder of the control elements in the form of protrusions on resilient forks
   respective inner or outer surface having a generally smooth of aa split pin thereby permitting incremental unwinding of
   journal portion along at least a portion thereof.               the stock bobbin yet resisting excessive rotation if the
      The drive system may comprise a tooth ratchet wheel 50 inhaler is dropped onto a hard surface.
   arranged to act upon a second shaft which is located at the       According to another aspect of the present invention there
   second station , the second shaft being rotatable to wind the is provided a dose counter for a metered dose inhaler having
   tape onto the second shaft.                                     a body arranged to retain a medicament canister of prede
      The second shaft may be located on a main body of the termined configuration for movement of the canister relative
   dose counter spaced from and parallel to the first shaft. 55 thereto ; the dose counter comprising: an incremental count
      The ratchet wheel may be fixed to the second shaft is ing system for counting doses , the incremental counting
   arranged to rotate therewith . The ratchet wheel may be system having a main body, an actuator arranged to be
   secured to an end of the second shaft and aligned coaxially driven in response to canister motion and to drive an
   with the second shaft.                                          incremental output member in response to canister motion ,
      The dose counter may include anti -back drive system 60 the actuator and incremental output member being config
    which is arranged to restrict motion of the second shaft. The    ured to have predetermined canister fire and count configu
    anti - back drive system may include a substantially fixed       rations in a canister fire sequence , the canister fire configu
   tooth arranged to act upon teeth of the ratchet wheel .       ration being determined by a position of the actuator relative
      According to a further aspect of the present invention , a to a datum at which the canister fires medicament and the
   dose counter includes an anti-back drive system which is 65 count configuration being determined by a position of the
   arranged to restrict motion of the second shaft in a tape actuator relative to the datum at which the incremental count
   winding direction.                                            system makes an incremental count, wherein the actuator is
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 272 of 318 PageID: 347


                                                      US 11,395,889 B2
                                 5                                                                6
   arranged to reach a position thereof in the count configura- wise generally straight surface against which the actuator
   tion at or after a position thereof in the canister fire con- engages and along which it is arranged to slide during a
   figuration.                                                       canister firing sequence.
      This arrangement has been found to be highly advanta-             The dose counter may include a counter pawl , the counter
   geous since it provides an extremely accurate dose counter 5 pawl having a tooth arranged to engage the incremental
   which is suitable for use with manually operated metered output member, the tooth and incremental output member
   dose inhalers. It has been found that dose counters with these being arranged to permit one way only incremental relative
   features have a failure rate of less than 50 failed counts per motion therebetween . When the incremental output member
   million full canister activation depressions . It has been comprises a ratchet wheel, the tooth can therefore serve as
   found in the course of making the present invention that 10 an anti - back drive tooth for the ratchet wheel , thereby
   highly reliable counting can be achieved with the dose permitting only one way motion or rotation thereof.
   counter counting
             ?          at or soon after the point at which the         The counter pawl may be substantially fixedly mounted
   canister fires. It has been is covered by the present inventors on the main body of the incremental count system and the
   that momentum and motion involved in firing the canister, counter pawl may be arranged to be capable of repeatedly
   and in some embodiments a slight reduction in canister back 15 engaging equi -spaced teeth of the incremental output mem
   pressure on the user at the time of canister firing, can very ber in anti - back drive interlock configurations as the counter
   reliably result in additional further motion past the count is operated . The counter pawl may be positioned so that the
   point .                                                           incremental output member is halfway, or substantially
      The actuator and incremental counting system may be halfway moved from one anti -back drive interlock configu
   arranged such that the actuator is displaced less than 1 mm , 20 ration to the next when the actuator and incremental output
   typically 0.25 to 0.75 mm , more preferably about 0.4 to 0.6 member are in the end configuration thereof. This is highly
   mm , relative to the body between its location in the count advantageous in that it minimises the risk of double counting
   and fire configurations, about 0.48 mm being preferred. The or non - counting by the dose counter .
   canister, which can move substantially in line with the              According to a further aspect of the invention there is
   actuator, can reliably move this additional distance so as to 25 provided an inhaler comprising a main body arranged to
   achieve very reliable counting.                                   retain a medicament canister of predetermined configuration
      The incremental count system may comprise a ratchet and a dose counter mounted in the main body.
   mechanism and the incremental output member may com-                 The inhaler main body may include aa canister receiving
   prise a ratchet wheel having a plurality of circumferentially portion and a separate counter chamber, the dose counter
   spaced teeth arranged to engage the actuator.                  30 being located within the main body thereof, the incremental
      The actuator may comprise an actuator pawl arranged to output member and actuator thereof inside the counter
   engage on teeth of the ratchet wheel. The actuator pawl may chamber, the main body of the inhaler having wall surfaces
   be arranged to be connected to or integral with an ac             separating the canister -receiving portion and the counter
   pin arranged to engage and be depressed by a medicament chamber, the wall surfaces being provided with a commu
    canister bottom flange. The actuator pawl may be generally 35 nication aperture , an actuation member extending through
    U - shaped having two parallel arms arranged to pull on a the communication aperture to transmit canister motion to
    central pawl member arranged substantially perpendicular the actuator.
    thereto . This provides a very reliable actuator pawl which      According to a further aspect of the present invention
    can reliably pull on the teeth of the ratchet wheel .          there is a provided an inhaler for metered dose inhalation ,
       The incremental count system may include a tape counter 40 the inhaler comprising a main body having a canister
    having tape with incremental dose indicia located thereon , housing arranged to retain a medicament canister for motion
    the tape being positioned on a tape stock bobbin and being therein , and a dose counter, the dose counter having an
    arranged to unwind therefrom .                                 actuation member having at least a portion thereof located in
       The actuator and incremental output member may be the canister housing for operation by movement of a medi
    arranged to provide a start configuration at which the 45 cament canister, wherein the canister housing has an inner
    actuator is spaced from the ratchet output member, a reset wall , and a first inner wall canister support formation located
    configuration at which the actuator is brought into engage- directly adjacent the actuation member.
    ment with the incremental output member during a canister         This is highly advantageous in that the first inner wall
    fire sequence , and an end configuration at which the actuator canister support formation can prevent a canister from
    disengages from the ratchet output during a canister fire 50 rocking too much relative to the main body of the inhaler.
    sequence .                                                     Since the canister may operate the actuation member of the
      The actuator may be arranged to be located about 1.5 to        dose counter, this substantially improves dose counting and
    2.0 mm , from its location in the fire configuration, when in    avoids counter errors .
    the start configuration, about 1.80 mm being preferred.          The canister housing may have a longitudinal axis which
       The actuator may be arranged to be located about 1.0 to 55 passes through a central outlet port thereof, the central outlet
    1.2 mm , from its location in the fire configuration, when in port being arranged to mate with an outer canister fire stem
    the reset configuration , about 1.11 mm being preferred .     of a medicament canister, the inner wall canister support
       The actuator may be arranged to be located about 1.1 to formation , the actuation member and the outlet port lying in
    1.3 mm , from its location in the fire configuration, when in a common plane coincident with the longitudinal axis .
    the end configuration , about 1.18 mm being preferred . 60 Accordingly, this construction may prevent the canister from
       These arrangements provide extremely reliable dose rocking towards the position of the dose counter actuation
    counting, especially with manually operated canister type member, thereby minimising errors in counting.
    metered dose inhalers .                                          The canister housing may have a further inner canister
       The main body may include a formation for forcing the wall support formation located on the inner wall opposite , or
    actuator to disengage from the incremental output member 65 substantially opposite , the actuation member. Accordingly,
    when the actuator is moved past the end configuration . The the canister may be supported against rocking motion away
    formation may comprise a bumped up portion of an other-          from the actuator member so as to minimise count errors .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 273 of 318 PageID: 348


                                                      US 11,395,889 B2
                                 7                                                                  8
       The canister housing may be generally straight and tubu- a dose counter, the dose counter having a moveable actuator
    lar and may have an arrangement in which each said inner and a chassis mounted on the body ; the chassis being heat
    wall support formation comprises a rail extending longitu- staked in position on the body. This is be highly advanta
    dinally along the inner wall .                                   geous in that the chassis can be very accurately positioned
       Each said rail may be stepped, in that it may have aa first 5 and held firmly in place , thereby further improving counting
    portion located towards aa medicine outlet end or stem block accuracy compared to prior art arrangements in which some
    of the canister housing which extends inwardly a first movement of the chassis relative to the body may be
    distance from a main surface of the inner wall and a second tolerated in snap - fit connections.
    portion located toward an opposite end of the canister              The chassis may have at least one of a pin or aperture heat
    chamber which extends inwardly a second , smaller distance 10 staked to a respective aperture or pin of the body.
    from the main surface of the inner wall . This may therefore        The chassis may have a ratchet counter output member
    enable easy insertion of aa canister into the canister housing mounted thereon .
    such that a canister can be lined up gradually in step wise         The ratchet counter output member may comprise a
    function as it is inserted into the canister housing .           ratchet wheel arranged to reel in incrementally a dose meter
       The inhaler may include additional canister support rails 15 tape having a dosage indicia located thereon.
    which are spaced around an inner periphery of the inner wall         According to a further aspect of the present invention
    of the canister housing and which extend longitudinally           there is provided a method of assembling an inhaler includ
   therealong .                                                       ing the step of heat staking the chassis onto the body. The
      At least one of the additional rails may extend a constant step of heat staking is highly advantageous in fixedly
   distance inwardly from the main surface of the inner wall . 20 positioning the chassis onto the body in order to achieve
      At least one of the additional rails may be formed with a highly accurate dose counting in the assembled inhaler.
   similar configuration to the first inner wall canister support        The method of assembly may include mounting a spring
   formation .                                                        returned ratchet actuator in the body before heat staking the
      The dose counter may, apart from said at least a portion chassis in place . The method of assembly may include
   of the actuation member, be located in a counter chamber 25 pre -assembling the chassis with a dose meter tape prior to
   separate from the canister housing , the actuation member the step of heat staking the chassis in place . The method of
   comprising a pin extending through an aperture in a wall assembly may include attaching a dose meter cover onto the
   which separates the counter chamber and the canister hous- body after the heat staking step . The cover may be welded
   ing .                                                              onto the body or may in some embodiments be glued or
      According to a further aspect of the present invention 30 otherwise attached in place .
   there is provided an inhaler for inhaling medicaments hav-            According to a further aspect of the present invention
   ing : a body for retaining a medicament store ; the body there is provided an inhaler for inhaling medicament and
   including a dose counter, the dose counter having a move- having a body, the body have a main part thereof for
   able actuator and a return spring for the actuator, the return retaining a medicament store ; and a dose counter, the dose
   spring having a generally cylindrical and annular end; the 35 counter being located in a dose counter chamber of the body
   body having a support formation therein for supporting said which is separated from the main part of the body, the dose
   end of the return spring , the support formation comprising a counter chamber of the body having a dosage display and
   shelf onto which said end is engageable and a recess below being perforated so as to permit the evaporation of water or
   the shelf.                                                         aqueous matter in the dose counter chamber into the atmo
      This shelf and recess arrangement is highly advantageous 40 sphere.
   since it allows a tool ( such as manual or mechanical twee-           This is high advantageous since it enables the inhaler to
   zers) to be used to place the return spring of the actuator onto be thoroughly washed and the dose counting chamber can
   the shelf with the tool then being withdrawn at least partially thereafter dry out fully.
   via the recess .                                                      The display may comprise a mechanical counter display
      The shelf may be U - shaped.                                 45 inside the dose counter chamber and a window for viewing
      The support formation may include a U - shaped upstand- the mechanical counter display. The mechanical counter
   ing wall extending around the U -shaped shelf, the shelf and display may comprise a tape. The perforated dose counter
   upstanding wall thereby forming a step and riser of a stepped chamber may therefore enable reliable washing of the
   arrangement.                                                       inhaler, if desired by the user , and may therefore dry out
      The recess below the shelf my also be U - shaped.            50 without the display window misting up .
      At least one chamfered surface may be provided at an               The dose counter chamber may be perforated by a drain
   entrance to the shelf. This may assist in inserting the actuator hole formed through an outer hole of the body. The drain
   and return spring into position .                                  hole may be located at a bottom portion of the body of the
      A further aspect of the invention provides a method of inhaler, thereby enabling full draining of the inhaler to be
   assembly of an inhaler which includes the step of locating 55 encouraged after washing when the inhaler is brought into
   said end of said spring on the shelf with an assembly tool and an upright position .
   then withdrawing the assembly tool at least partly via the            According to a further aspect of the present invention
   recess . This assembly method is highly advantageous com- there is provided a dose counter for an inhaler, the dose
   pared to prior art methods in which spring insertion has been counter having a display tape arranged to be incrementally
   difficult and in which withdrawal of the tool has sometimes 60 driven from a tape stock bobbin onto an incremental tape
   accidentally withdrawn the spring again.                           take-up drive shaft, the bobbin having an internal bore
      The cylindrical and annular end of the spring may be supported by and for rotation about a support shaft, at least
   movable in a direction transverse to its cylindrical extent one of the bore and support shaft having a protrusion which
   into the shelf while being located thereon .                       is resiliently biased into frictional engagement with the other
      According to a further aspect of the present invention 65 of the bore and support shaft with longitudinally extending
   there is provided an inhaler for inhaling medicament, the mutual frictional interaction. This arrangement may provide
   inhaler having a body for retaining a medicament store ; and good friction for the bobbin , thereby improving tape counter
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 274 of 318 PageID: 349


                                                        US 11,395,889 B2
                                  9                                                                 10
    display accuracy and preventing the bobbin from unwinding         dose counter positions for a dose counter actuator of the
    undesirably for example if the inhaler is accidentally            inhaler ; calculating a failure / success rate for dose counters
    dropped .                                                        built to tolerance levels for counting each fire of inhalers in
      The support shaft may be forked and resilient for resil-       which the dose counter actuators may be applied ; and
   iently biasing the support shaft and bore into frictional 5 selecting a tolerance level to result in said failure / success
   engagement.                                                       rate to be at or below / above a predetermined value . This is
      The support shaft may have two forks, or more in some highly advantageous in that it allows an efficient and accu
   cases , each having a radially extending protrusion having a rate prediction of the reliability of a series of inhaler
   friction edge extending therealong parallel to a longitudinal counters made in accordance with the design .
   axis of the support shaft for frictionally engaging the bore of 10 The method of designing may include selecting the fail
   the support shaft with longitudinally extending frictional ure /success rate as a failure rate of no more than one in 50
   interaction therebetween .                                        million . The method of designing may include setting an
      The bore may be a smooth circularly cylindrical or average count position for dose counters built to the toler
   substantially cylindrical bore .                                  ances to be at or after an average fire position thereof during
      Each of the above inhalers in accordance with aspects of 15 canister firing motion . The method of designing may include
   the present invention may have a medicament canister setting the average count position to be about 0.4 to 0.6 mm
   mounted thereto .                                                 after the average fire position , such as about 0.48 mm after.
      The canister may comprise a pressurised metered dose The method of designing may include setting tolerances for
   canister having a reciprocally movable stem extending the standard deviation of the fire position in dose counters
   therefrom and movable into a main canister portion thereof 20 built to the tolerances to be about 0.12 to 0.16 mm , such as
   for releasing a metered dose of medicament under pressure , about 0.141 mm . The method of designing may include
   for example by operating a metered dose valve inside the setting tolerances for the standard deviation of the count
   canister body. The canister may be operable by pressing by positions in dose counters built to the tolerances to be about
   hand on the main canister body.                                   0.07 to 0.09 mm , such as about 0.08 mm . A further aspect
      In cases in which one or more support rails or inner wall 25 of the invention provides a computer implemented method
   support formations are provided, the canister may at all of designing an incremental dose counter for an inhaler
   times when within the canister chamber have a clearance of which includes the aforementioned method of designing.
   about 0.25 to 0.35 mm from the first inner wall support              A further aspect of the invention provides a method of
   formation . The clearance may be almost exactly 0.3 mm . manufacturing in a production run a series of incremental
   This clearance which may apply to the canister body itself 30 dose counters for inhalers which comprises manufacturing
    or to the canister once a label has been applied , is enough to   the series of dose counters in accordance with the afore
    allow smooth motion of the canister in the inhaler while at       mentioned method of designing.
    the same time preventing substantial rocking of the canister        A further aspect of the invention provides a method of
    which could result in inaccurate counting by a dose counter manufacturing a series of incremental dose counters for
    of the inhaler, especially when lower face of the canister is 35 inhalers, which comprises manufacturing the dose counters
    arranged to engage an actuator member of the dose counter with nominal canister fire and dose count positions of a dose
    for counting purposes.                                           counter actuator relative to a dose counter chassis (or inhaler
       According to a further aspect of the invention , a method main body ), and which includes building the dose counters
    of assembling a dose counter for an inhaler comprises the with the average dose count position in the series being, in
    steps of providing a tape with dosing indicia thereon ; 40 canister fire process , at or after the average canister fire
    providing tape positioning indicia on the tape; and stowing position in the series .
    the tape while monitoring for the tape positioning indicia          According to a further aspect of the invention , the method
    with a sensor. The method advantageously permits efficient provides fitting each dose counter in the series of incremen
    and accurate stowing of the tape , e.g. by winding .             tal dose counters to a corresponding main body of an inhaler.
       The dosing indicia may be provided as numbers, the tape 45 These aspects advantageously provide for the production
    positioning indicia may be provided as one or more lines          run of a series of inhalers and dose counters which count
    across the tape . The stowing step comprises winding the tape reliably in operation.
    onto a bobbin or shaft, and , optionally, stopping winding          According to a further aspect of the invention, an incre
    when the positioning indicia are in a predetermined position . mental dose counter for a metered dose inhaler has a body
    The tape may be provided with pixelated indicia at a position 50 arranged to retain a canister for movement of the canister
    spaced along the tape from the positioning indicia .             relative thereto , the incremental dose counter having a main
       The tape may also be provided with a priming dot.             body, an actuator arranged to be driven and to drive an
      According to a further aspect of the invention, a tape incremental output member in a count direction in response
    system for aa dose counter for an inhaler has aa main elongate to canister motion , the actuator being configured to restrict
    tape structure, and dosing indicia and tape positioning 55 motion of the output member in a direction opposite to the
   indicia located on the tape structure. The tape positioning count direction . This advantageously enables an inhaler dose
   indicia may comprise at least one line extending across the counter to keep a reliable count of remaining doses even if
   tape structure. The tape system may comprise pixelated dropped or otherwise jolted .
   indicia located on the tape structure and spaced from the        The output member may comprise a ratchet wheel . The
   positioning indicia. The tape system may comprise a prim- 60 actuator may comprise aa pawl and in which the ratchet wheel
   ing dot located on the tape structure. The positioning indicia and pawl are arranged to permit only one -way ratcheting
   may be located between the timing dot and the pixelated motion of the wheel relative to the pawl . The dose counter
   indicia . The main elongate tape structure may have at least may include an anti -back drive member fixed to the main
   one end thereof wound on a bobbin or shaft.                    body. In a rest position of the dose counter, the ratchet wheel
      A further aspect of the invention provides a method of 65 is capable of adopting a configuration in which a back
   designing an incremental dose counter for an inhaler com- surface of one tooth thereof engages the anti-back drive
   prising the steps of calculating nominal canister fire and member and the pawl is spaced from an adjacent back
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 275 of 318 PageID: 350


                                                        US 11,395,889 B2
                                 11                                                                    12
    surface of another tooth of the ratchet wheel without positive         FIG . 21 is a view of a preferred embodiment of a dry
    drive /blocking engagement between the pawl and wheel .              powder inhaler in accordance with the present invention ;
          BRIEF DESCRIPTION OF THE DRAWINGS
                                                                           FIG . 22 is an exploded view of the inhaler of FIG . 21 ;
                                                                            FIG . 23 is a view of a dose counter of the inhaler of FIG .
                                                                      5 21 ;
      The present invention may be carried out in various ways     FIG . 24 is an exploded view of the dose counter shown in
    and preferred embodiment of a dose counter, inhaler and      FIG. 23 ;
    methods of assembly, design and manufacture will now be        FIG . 25 is an exploded view of parts of the inhaler of FIG .
    described with reference to the accompanying drawings in 10 21 ; and
    which :                                                        FIG . 26 is a view of a yoke of the inhaler of FIG . 21 .
      FIG . 1 is an isometric view of a main body of an                     DETAILED DESCRIPTION OF THE
    embodiment of an inhaler related to the invention together                          INVENTION
    with a mouthpiece cap therefor ;
      FIG . 2 is a top plan view of the components as shown in 15 FIG . 1 shows a main body 10 of aa manually operated
    FIG. 1 ;                                                             metered dose inhaler 12 in accordance with an embodiment
      FIG . 3A is a section on the plane 3A - 3A in FIG . 2 ;            related to the present invention and having a mouthpiece cap
     FIG . 3B is a view corresponding to FIG . 3A but with a 14 securable over a mouthpiece 16 of the main body.
   dose counter fitted to the main body of the inhaler;           The main body has a canister chamber 18 into which a
     FIG . 4A is an exploded view of the inhaler main body, 20 canister 20 ( FIG . 7A ) is slideable . The canister 20 has a
   mouthpiece cap , dose counter and a dose counter window ; generally cylindrical main side wall 24 , joined by a tapered
      FIG . 4B is a view in the direction 4B in FIG . 4C of a            section 26 to a head portion 28 having a substantially flat
   spring retainer of the dose counter ;                         lower face 30 which has an outer annular drive surface 32
     FIG . 4C is a top view of the spring retainer of FIG . 4B ; arranged to engage upon and drive an actuation pin 34 of aa
     FIG . 5 is a bottom view of the assembled inhaler main 25 dose counter 36 as will be described . Extending centrally
   body, mouthpiece cap , dose counter and dose counter win- and axially from the lower face 30 is a valve stem 38 which
   dow ;                                                         is arranged to sealingly engage in a valve stem block 40 of
     FIGS . 6A , 6B , 6C , 6D , 6E , 6F, 6G and 6H are various the main body 10 of the inhaler 12. The valve stem block 40
   views of dose counter components of the inhaler;              has a passageway 42 leading to a nozzle 44 for directing the
     FIGS . 7A and 7B are sectional views showing canister 30 contents of the canister 20 , namely active drug and propel
   clearance inside the main body of the inhaler;                lant, towards an air outlet 46 of the inhaler main body 12. It
      FIG . 7C is a further sectional view similar to that of FIG .      will be appreciated that due to gaps 48 between the canister
    7B but with the canister removed ;                                   20 and an inner wall 50 of the main body 10 of the inhaler
      FIG . 7D is a top plan view of the inhaler main body;              12 an open top 52 of the main body 10 forms an air inlet into
      FIGS . 8A, 8B , 8C and 8D show the inhaler main body and 35 the inhaler 12 communicating via air passageway 54 with
    dose counter components during assembly thereof;                     the air outlet 46 , such that canister contents exiting nozzle 44
      FIG . 9 shows a sectional side view of a datum line for an         mix with air being sucked by the user through the air
    actuator pawl of the dose counter ;                                passageway 54 in order to pass together through the air
       FIGS . 10A , 10B , 10C , 10D , 10E and 10F show various outlet and into the mouth of the user ( not shown ).
    side views of positions and configurations of the actuator 40 The dose counter 36 will now be described . The dose
    pawl, a ratchet wheel , and a count pawl ;                         counter 36 includes an actuation pin 34 biased upwardly
       FIG . 11 shows distributions for tolerances of start, reset , from underneath by a return spring 56 once installed in the
    fire, count and end positions for the actuator of the dose main body 10. As best shown in FIGS . 4A , 6H and 8A , the
    counter;                                                           pin 34 has side surfaces 58 , 60 arranged to slide between
       FIG . 12 is an enlarged version of part of FIG . 4A ;        45 corresponding guide surfaces 62 , 64 located in a dose
       FIG . 13 shows an end portion of a tape of the dose counter chamber 66 of the main body 10 , as well as an end
    counter;                                                           stop surface 68 arranged to engage aa corresponding end stop
       FIG . 14 shows a computer system for designing the dose 70 formed in the dose counter chamber 66 to limit upward
    counter;                                                           movement of the pin 34. The pin 34 has a top part 72 which
       FIG . 15 is an isometric view of a stock bobbin modified 50 is circularly cylindrical and extends through an aperture 74
    in accordance with the present invention for use in the dose formed through a separator wall 76 which separates the
    counter of the inhaler of FIGS . 1 to 14 ;                           canister chamber 18 from the dose counter chamber 66. The
      FIG . 16 shows an end view of the stock bobbin of FIG . 15 ;       top part 72 of the pin 34 has a flat top surface 78 which is
      FIG . 17 is a section through a longitudinal axis of the           arranged to engage the outer annular drive surface 32 of the
    stock bobbin of FIGS . 15 and 16 ;                                55 canister 20 .
       FIGS . 18A , 18B and 18C are views of the stock bobbin of           The actuation pin 34 is integrally formed with a drive or
    FIGS . 15 to 17 mounted in the dose counter chassis of FIGS .        actuator pawl 80. The actuator pawl 80 has a generally
    1 to 14 , with the control elements of the forks of the second       inverted U - shape configuration, having two mutually spaced
    shaft (or split pin) having a profile slightly different to that and parallel arms 82 , 84 extending from a base portion of the
    in FIG . 6F, with the forks in a compressed configuration ; 60 actuation pin 34 , each holding at respective distal ends 88
       FIGS . 19A , 19B and 19C are views equivalent to FIGS . thereof opposite ends of a pawl tooth member 90 which
    18A to 18C but with the forks in a more expanded configu- extends in a direction substantially perpendicular to the arms
    ration due to a different rotational position of the stock 82 , 84 , so as to provide what may be considered aa “ saddle ”
    bobbin ;                                                         drive for pulling on each of the 11 drive teeth 92 of a ratchet
       FIG . 20 is an isometric view of the chassis assembled and 65 wheel 94 of an incremental drive system 96 or ratchet
    including the stock bobbin of FIGS . 15 to 17 but excluding mechanism 96 of the dose counter 36. As shown for example
    the tape for reasons of clarity ;                                in FIG . 10B , the pawl tooth member 90 has a sharp lower
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 276 of 318 PageID: 351


                                                       US 11,395,889 B2
                                 13                                                                  14
   longitudinal side edge 98 arranged to engage the drive teeth mm vertically below the axis 145 , and the flat 145 ' being
   92 , the edge - to -surface contact provided by this engagement spaced a distance sideways (i.e. parallel to the datum plane
   providing very accurate positioning of the actuator pawl 80 220 ) 2.48 mm from the axis 145. The top surface 78 of the
   and resultant rotational positioning of the ratchet wheel 94 . pin 34 (FIG . 6H ) is 11.20 mm above the datum plane 220
      The dose counter 36 also has a chassis preassembly 100 5 (FIG.9 ) when the actuator pawl 80 and pin 34 are in the start
   which , as shown in FIGS . 4A and 6A , includes aa chassis 102 configuration. The length of the valve stem 22 is 11.39 mm
   having a first shaft 104 receiving the ratchet wheel 94 which and the drive surface 32 of the canister 20 is 11.39 mm above
   is secured to a tape reel shaft 106 , and a second shaft ( or split the datum plane 220 when the canister is at rest waiting to
   pin) 108 which is parallel to and spaced from the first shaft be actuated, such that there is a clearance of 0.19 mm
   104 and which slidably and rotationally receives a tape stock 10 between the canister 20 and the pin 34 in this configuration.
   bobbin 110 .                                                           FIGS . 10A and 10B show the actuator pawl 80 and ratchet
      As shown in FIG . 6B , when the inhaler has not been used wheel 94 and count pawl 138 in a start position in which the
   at all , the majority of a tape 112 is wound on the tape stock flat top 78 of the pin 34 has not yet been engaged by the
    bobbin 110 and the tape 112 has aa series of regularly spaced      outer annular drive surface 32 of the canister 20 or at least
    numbers 114 displayed therealong to indicate a number of 15 has not been pushed down during a canister depression.
    remaining doses in the canister 20. As the inhaler is repeat-   In this " start " position , the count pawl 138 engages on a
    edly used , the ratchet wheel 94 is rotated by the actuator non - return back surface 140 of one of the teeth 92 of the
    pawl 80 due to operation of the actuation pin 34 by the ratchet wheel 94. The lower side edge 98 of the actuator
    canister 20 and the tape 112 is incrementally and gradually pawl is a distance “ D ” (FIG . 9 ) 1.33 mm above datum plane
    wound on to the tape reel shaft 106 from the second shaft 20 220 which passes through bottom surface or shoulder 41 of
    108. The tape 112 passes around a tape guide 116 of the valve stem block 40, the datum plane 220 being perpen
    chassis 102 enabling the numbers 114 to be displayed via a dicular to a main axis “ X ” of the main body 10 of the inhaler
    window 118 in a dose counter chamber cover 120 having a 12 which is coaxial with the centre of the valve stem block
    dose marker 132 formed or otherwise located thereon .         bore 43 and parallel to a direction of sliding of the canister
      As shown in FIGS . 6A and 6D , the second shaft 108 is 25 20 in the main body 10 of the inhaler 12 when the canister
    forked with two forks 124 , 126. The forks 124 , 126 are      is fired .
   biased away from one another. The forks have located              As shown in FIG . 10B , an advantageous feature of the
   thereon at diametrically opposed positions on the second construction is that the pawl tooth / actuator 90 acts as a
   shaft 108 friction or control elements 128 , 130 , one on each supplementary anti -back drive member when the inhaler 12
   fork . Each control element extends longitudinally along its 30 is not being used for inhalation . In particular, if the inhaler
   respective fork 124 , 126 and has a longitudinally extending 12 is accidentally dropped, resulting in a jolt to the dose
   friction surface 132 , 134 which extends substantially paral- counter 36 then , if the wheel 94 would try to rotate clock
   lel to a longitudinal axis of the second shaft and is adapted wise (backwards) as shown in FIG . 10B , the back surface
   to engage inside a substantially cylindrical bore 136 inside 140 of a tooth will engage and be blocked by the tooth
   the tape stock bobbin 110. This control arrangement pro- 35 member 90 of the pawl 80. Therefore, even if the anti - back
   vided between the bore 136 and the control elements 128 , drive tooth 138 is temporarily bent or overcome by such a
   130 provides good rotational control for the tape stock jolt , undesirable backwards rotation of the wheel 94 is
   bobbin 110 such that it does not unwind undesirably such as prevented and, upon the next canister firing sequence, the
   when the inhaler is dropped. The tape force required to pawl 90 will force the wheel 94 to catch up to its correct
   unwind the tape stock bobbin 110 and overcome this friction 40 position so that the dose counter 36 continues to provide
   force is approximately 0.1 N.                                       correct dosage indication .
       As can be seen in FIG . 6D , as well as FIGS . 66 and 10A          FIG . 10C shows a configuration in which the actuator
   to 10F, the chassis 102 is provided with an anti- back drive pawl 80 has been depressed with the pin 34 by the canister
   tooth 138 or count pawl 138 which is resiliently and sub- 20 to a position in which the side edge 98 of the pawl tooth
   stantially fixedly mounted thereto . As will be described 45 member 90 is just engaged with one of the teeth 92 and will
   below and as can be seen in FIGS . 10A to 10F, when the therefore upon any further depression of the pin 34 begin to
   actuation pin 34 is depressed fully so as to fire the metered rotate the wheel 94. This is referred to as a “ Reset " position
   valve ( not shown) inside the canister 20 , the actuator pawl or configuration. In this configuration, the lower side edge
   80 pulls down on one of the teeth 92 of the ratchet wheel 94 98 of the actuator 80 is 0.64 mm above the datum plane 220 .
   and rotates the wheel 94 anticlockwise as shown in FIG . 6D 50 FIG . 10D shows a configuration in which the actuator
   so as to jump one tooth 92 past the count pawl 138 , thereby pawl 80 has been moved to a position lower than that shown
   winding the tape 112 aa distance incrementally relative to the in FIG . 10C and in which the metered dose valve (not
   dose marker 122 on the dose counter chamber 120 so as to shown) inside the canister has at this very position fired in
   indicate that one dose has been used .                              order to eject active drug and propellant through the nozzle
       With reference to FIG . 10B , the teeth of the ratchet wheel 55 44. It will be noted that in this configuration the count pawl
   94 have tips 143 which are radiused with a 0.1 mm radius 138 is very slightly spaced from the back surface 140 of the
   between the flat surfaces 140 , 142. The ratchet wheel 94 has same tooth 92 that it was engaging in the configuration of
                                 9

   a central axis 145 which is 0.11 mm above datum plane 220 FIG . 10D . The configuration shown in FIG . 10D is known
   ( FIG.9 ) . A top /nose surface 147 of the anti -back drive tooth as a “ Fire ” configuration . In this configuration the lower side
   138 is located 0.36 mm above the datum plane 220. The 60 edge 98 of the actuator 80 is 0.47 min below the datum plane
   distance vertically ( i.e. transverse to datum plane 220—FIG . 220 .
   9 ) between the top nose surface 147 of the anti -back drive           FIG . 10E shows a further step in the sequence , called a
   tooth is 0.25 mm from the central axis 145 of the wheel 94 . “ Count” position in which the actuator pawl 80 has rotated
   Bump surface 144 has a lateral extent of 0.20 mm , with a the ratchet wheel 94 by the distance circumferentially angu
   vertical length of a flat 145 ' thereof being 1 mm , the width 65 larly between two of the teeth 92 , such that the count pawl
   of the bump surface being 1.22 mm (in the direction of the 138 has just finished riding along a forward surface 142 of
   axis 145 ) , the top 149 of the bump surface 144 being 3.02 one of the teeth 92 and has resiliently jumped over the tooth
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 277 of 318 PageID: 352


                                                      US 11,395,889 B2
                                15                                                                  16
    into engagement with the back surface 140 of the next tooth . second portion 102 having a lesser radial or inwardly
    Accordingly, in this " Count" configuration, a sufficiently extending extent than the first portion 156 , and finally a
                                                                                                                     9

    long stroke movement of the pin 34 has occurred that the second step 164 at which the rail merges into the main inner
    tape 112 of the dose counter 36 will just have counted down wall 50 main surface .
    one dose . In this configuration, the lower side edge 98 of the 5 A method of assembling the inhaler 12 will now be
    actuator is 0.95 mm below the datum plane 220 , Accord- described .
    ingly, in this position, the actuator 80 generally, including         With reference to FIG . 8A , the main body 10 of the
    edge 98 , is 0.48 mm lower than in the fire configuration . It inhaler 12 is formed by two or more plastics mouldings
    has been found that, although the count configuration hap- which have been joined together to the configuration shown.
    pens further on than the fire configuration , counting is highly 10 As shown in FIG . 8B , the actuator pawl 80 and pin 34 are
    reliable , with less than 50 failed counts per million . This is translated forward into position into a pin receiving area 166
    at least partially due to momentum effects and to the canister in the dose counter chamber 66 and the pin 34 and actuator
    releasing some back pressure on the user in some embodi- 80 may then be raised until the pin 34 emerges through the
    ments as its internal metering valve fires.                        aperture 74 .
       In the configuration of FIG . 10F, the pawl 80 has been 15 Next , the return spring 56 may be inserted below the pin
    further depressed with the pin 34 by the canister 20 to a 34 and a generally cylindrical annular lower end 168 of the
   position in which it is just disengaging from one of the teeth     spring 56 may be moved by a tweezer or tweezer - like
   92 and the actuator pawl 80 is assisted in this disengagement      assembly tool (not shown) into engagement with aa shelf 170
   by engagement of one of the arms 84 with a bump surface            of a spring retainer 172 in the dose counter chamber 66. The
   144 on the chassis 102 ( see FIG . 6G) and it will be seen at 20 spring retainer 172 is U - shaped and the shelf 170 is
   this point of disengagement, which is called an “ End ” U -shaped and has a recess 174 formed below it . As shown
   configuration, the count pawl 138 is positioned exactly in FIGS . 4B , 4C and 12 shelf 170 includes three chamfer
   halfway or substantially halfway between two of the drive surfaces 176 , 178 , 180 arranged to assist in moving the
   teeth 92. This advantageously means therefore that there is lower end of the spring 168 into position onto the shelf using
   a minimum chance of any double counting or non -counting, 25 the assembly tool (not shown ). Once the lower end of the
   which would be undesirable. In the end configuration, the spring 168 is in place , the assembly tool (not shown) can
   side edge 98 of the actuator is 1.65 mm below the datum easily be removed at least partly via the recess 174 below the
   plane 220. It will be appreciated that any further depression lower end 168 of the spring 56 .
   of the actuator pawl 80 and pin 34 past the “ End ” configu-       The tape 112 is attached at one end (not shown) to the tape
   ration shown in FIG . 10F will have no effect on the position 30 stock bobbin 110 and is wound onto the bobbin by a motor
   of the tape 112 displayed by the dose counter 36 since the 200 (FIG . 13 ) having a hexagonal output shaft 202 which
   actuator pawl 80 is disengaged from the ratchet wheel 94 engages in a hexagonal socket 204 ( FIG . 6B ) of the bobbin .
   when it is below the position shown in FIG . 10F.                During winding, the tape is monitored by a sensor 206 ,
      As shown in FIGS . 7C and 7D , the inner wall 50 of the         which may be in the form of a camera or laser scanner ,
    main body 10 is provided with a two - step support rail 144 35 which feeds data to a computer controller 205 for the motor
    which extends longitudinally along inside the main body and 200. The controller 205 recognises three positioning mark
   is located directly adjacent the aperture 74. As shown in FIG . ers 210 in the form of lines across the tape 112 and stops the
   7B a diametrically opposed two -step support rail 146 is also motor 202 when the tape 112 is nearly fully wound onto the
   provided and this diametrically opposed in the sense that a bobbin 110 , such that the distal end 212 of the tape 112 can
   vertical plane (not shown) can pass substantially directly 40 be secured, e.g. by adhesive, to the tape reel shaft 106. The
   through the first rail 144 , the aperture 74 , a central aperture controller 205 also recognises a pixelated tape size marker
   148 of the valve stem block 40 (in which canister stem 25 214 observed by the sensor 206 and logs in a stocking
   is located ) and the second two -step support rail 146. As system data store 217 details of the tape 112 such as the
   shown in FIG . 7A and schematically in FIG . 7B , the rails number of numbers 114 on the tape , such as one hundred and
                                                       2

   144 , 146 provide a maximum clearance between the canister 45 twenty or two hundred numbers 114. Next, the tape reel shaft
   20 and the rails 144 , 146 in a radial direction of almost is wound until an appropriate position of the lines 210 at
   exactly 0.3 mm , about 0.25 to 0.35 mm being a typical which a priming dot 216 will , once the bobbin 110 and reel
   range. This clearance in this plane means that the canister 20 shaft 106 are slid onto the second shaft 108 and second shaft
   can only rock backwards and forwards in this plane towards 104 , be in a position to be located in the window 118 when
   away from the actuation pin 34. A relatively small distance 50 the inhaler 12 is fully assembled . In the embodiments, the
   and this therefore prevents the canister wobbling and chang- bobbin 110 and reel shaft 106 may be slid onto the shafts
   ing the height of the actuation pin 34 a as to undesirably alter 108 , 104 before the tape 112 is secured to the reel shaft 106
   the accuracy of the dose counter 36. This is therefore highly and the reel shaft may then be wound to position the priming
   advantageous.                                                       dot 216 .
      The inner wall 50 of the main body 10 is provided with 55 Next , the assembled dose counter components of the
   two further two -step rails 150 as well as two pairs 152 , 154 chassis preassembly 100 shown in FIG . 6B may as shown in
   of rails extending different constant radial amounts inwardly FIG . 8C be inserted into the dose counter chamber 66 , with
   from the inner wall 50 , so as to generally achieve aa maxi- pins 182 , 184 , 186 formed on the main body 10 in the dose
                           2

   mum clearance of almost exactly 0.3 mm around the canister counter chamber 66 passing through apertures or slots 188 ,
   20 for all of the rails PH , 146 , 150 , 152 , 154 spaced around 60 190 , 192 formed on the chassis 102 , such that the pins 182 ,
   the periphery of the inner wall 50 , in order to prevent undue 184 , 186 extend through ( or at least into ) the apertures or
   rocking while still allowing canister motion freely inside the slots 188 , 190 , 192. With the chassis 102 being relatively
                                                                                     2

   inhaler 12. It will be clear from FIG . 7C for example that the firmly pushed towards the main body 10 , the pins 182 , 184 ,
   two - step rails have a first portion near an outlet end 156 of 186 are then heat staked and the chassis 102 is therefore after
   the canister chamber 18 , the first portion having a substan- 65 this held very firmly in position in the main body and is
   tially constant radial or inwardly - extending width , a first unable to move , thereby assisting in providing great accu
   step 160 leading to a second portion 162 of the rail , the racy for the dose counter 36. Next , as shown in FIG . 8D , the
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 278 of 318 PageID: 353


                                                       US 11,395,889 B2
                               17                                                                       18
    dose counter chamber cover 120 may be fitted over the dose            First , it can be seen that there is aa modification in that the
   counter chamber 66 and may be secured in place such as by drive teeth 92 of the ratchet wheel 94 have aa different profile
   welding , with the priming dot 216 being displayed through to that in FIGS . 1 to 14. There are also only nine ratchet teeth
   the window .                                                    94 in this embodiment instead of eleven .
      The user can , when readying the inhaler 12 for first use , 5 Additionally, as shown in FIGS . 18C and 19C , the control
   prime the inhaler by depressing the canister 20 three times elements 128 , 130 on the forks 124 , 126 of the second shaft
   which will bring the first number 114 on the tape into display 108 have a tapered profile which is different to the profile of
   through the window 118 in place of the priming dot 216 , the the control elements 128 , 130 shown in FIG . 6F . Either
   number 114 shown in FIG . 8D being “ 200 ” , thereby indi profile
   cating that 200 doses are remaining to be dispensed from the 10 howevercan  be used in the embodiment of FIGS . 15 to 20
                                                  2




   canister 20 and inhaler 12 .                                             .
      As shown in FIG . 8D , and in FIG . 5 , an open drain hole 110Furthermore   , as shown in FIG . 15 , the tape stock bobbin
   194 is provided at the bottom of the dose counter chamber surface 300 with a facing
                                                                       has an inwardly        generally cylindrical engagement
                                                                                        wavelike form extending partially the
   66 by a substantially semi- circular cut - out or recess forma realong. The engagement surface      300 has a cross - section
   tion 196 in a lower surface 198 of the main body 10 of the 15 301 perpendicular to the longitudinal
                a
                                                                                                             length of the stock
   inhaler. Accordingly, if the user (not shown ) should decide
    to wash the main body 10 of the inhaler, for example after         bobbin 110 which is constant therealong . This cross - section
   encountering an unhygienic situation or simply as a matter 301 can be seen in FIG . 16 and consists of a series of ten
   of choice , the drain hole 194 allows initial draining of water regularly spaced concavities 302 and ten convex wall por
   from inside the dose counter chamber 66 and also thereafter 20 tions 304. The convex wall portions 304 are equi -spaced
   evaporation of water or any aqueous matter in the dose between the concavities 302. Each concavity 302 has a
   counter chamber 66 so that the window 118 does not mist up radius of 0.2 mm . Each convex wall portion 304 also has a
   undesirably .                                                        radius of 0.2 mm . Finally, the cross section 301 also includes
      FIG . 14 shows a computer system 230 for designing the flat wall portions 306 between all of the radiused wall
   dose counter 36 and in particular for calculating distribu- 25 portions of the concavities 302 and convex wall portions
   tions representative of average positions and standard devia- 304. The geometry of the cross - section 301 is therefore
   tions in a production series of inhalers of the start, reset, fire , defined by the radii of the concavities 302 and convex wall
   count and end positions of the actuator lower side edge 98 portions 304 , the flat wall portions 306 and the fact that there
   relative to the datum plane 220 ( FIG.9 ) and therefore of the are ten concavities 302 and convex wall portions 304 .
   actuator pawl 80 generally relative to the ratchet wheel 94 , 30 The minor diameter of the engagement surface 300 , i.e.
   chassis 102 and, when the inhaler 12 is fully assembled , the between the tips of opposite convex wall portions 304 , is
   main body 10 of the inhaler 12. The computer system 230 2.46 mm . The major diameter of the engagement surface
   includes a data store 232 , a CPU 23 an input device 236 300 , i.e. between the outermost portions of the concavities
   ( such as a keyboard or communication port) and an output 302 , is 2.70 mm . The undeformed tip to tip maximum
   device 238 ( such as a communications port, display screen 35 diameter of the forks 124 , 126 of the split pin ( the second
   and / or printer ). A user may enter data via the input device shaft) 108 , i.e. in the region of the maximum radio extent of
   236 which may be used by the CPU 234 in a mathematical the control elements 128 , 130 , is 3.1 millimetres and it will
   calculation to predict count failure rates when the various therefore be appreciated that the forks 124 , 126 are resil
    dose counters are to be built in a series with dose counter        iently compressed once the stock bobbin 110 has been
    positions set with given averages and standard deviations 40 assembled onto the split pin 108 in all rotational configu
   and taking into account any momentum / inertia effects and          rations of the stock bobbin 110 relative to the split pin 108 .
   metering valve user -back -pressure reduction effect which          The minimum gap between the forks 124 , 126 in the plane
    will occur upon canister firing of a given type of canister.       of the cross sections of FIGS . 18C and 19C is 1 mm when
    The computer system 230 is thus mathematically used to the split pin 108 is in the undeformed , pre -inserted state .
    design the distributions. For the inhaler 12 described herein 45 When the split pin 108 is at maximum compression , as
    with the dose counter 36 and canister 20 , the distributions       shown in FIGS . 18A to 18C when the control elements 128 ,
    are designed as shown in FIG . 11. The x axis shows distance       130 are shown to be engaged on top of the convex wall
    of the lower side surface 98 of the actuator 80 above the          portions 304 , the gap 308 between the tips 310 , 312 of the
   datum plane 220 and the y axis is representative of the forks 124 , 126 is 0.36 mm . On the other hand, when the split
   distribution . Thus, curve 240 shows that the start configu- 50 pin 108 is at minimum compression (once inserted into the
   ration has an average 1.33 mm above the datum plane 200 stock bobbin ) as shown in FIGS . 19A to 19C , when the
   ( standard deviation is 0.1 mm ), curve 242 shows that the control elements 128 , 130 rest in the concavities 302 , the gap
   reset configuration has an average of 0.64 mm above the between the tips 310 , 312 of the forks 124 , 126 is 0.6 mm .
   datum plane 220 (standard deviation is 0.082 mm ), curve The control elements 128 , 130 are outwardly radiused with
   244 shows the fire configuration has an average 0.47 mm 55 a radius also of 0.2 mm such that they can just rest on the
   below the datum plane 220 ( standard deviation is 0.141 concavities 302 with full surface contact (at least at an axial
   mm ), curve 246 shows the count configuration has an location on the split pin where the tapered control elements
   average 0.95 mm below the datum plane 220 ( standard are at their maximum radial extent ), without rattling in ,
   deviation is 0.080 mm ), and curve 248 shows the end locking onto or failing to fit in the concavities 302. The radii
   configuration has an average of 1.65 mm below the datum 60 of the control elements 128 , 130 is therefore preferably
   plane 220 ( standard deviation is 0.144 mm ).                   substantially the same as the radii of the concavities 302
      FIGS . 15 to 20 show a version of the inhaler modified in       It will be appreciated that whereas FIGS . 18B and 19B are
   accordance with the present invention . In these drawings , end views along the coaxial axis of the stock bobbin 110 and
   the same reference numerals have been used to those in the split pin 108 , FIGS . 18A and 19A are cross - sections. FIG .
    earlier drawings to denote the equivalent components. The 65 19A is a section on the plane A -A' in FIG . 19C and FIG . 18A
    inhaler 12 is the same as that in FIGS . 1 to 14 apart from the is aa section at the same plane, but of course with the stock
    following modifications .                                       bobbin 110 rotated relative to the split pin 108 .
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 279 of 318 PageID: 354


                                                      US 11,395,889 B2
                                19                                                               20
      As the inhaler 12 is used and the ratchet wheel 94 rotates         The stock bobbin 110 and the carriage 102 including the
   in order to count used doses, the stock bobbin rotates split pin 108 are both moulded of polypropylene material.
   incrementally through rotational positions in which rotation       It will be seen from FIG . 16 that the cross - sectional shape
   is resisted, i.e. due to increasing compression of the split pin 301 is not symmetrical within the hexagonal socket 204 .
   108 at such rotational positions , and rotational positions in 5 This has enabled the hexagonal socket 204 to be maintained
   which rotation is promoted, i.e. due to decreasing compres- at a useful size while still allowing the desired size and
   sion of the split pin 108 at such rotational positions and this geometry of the cross section 301 to fit without interfering
   may involve a click forward of the stock bobbin 110 to the with the hexagonal shape of the hexagonal socket 204 and
   next position equivalent to that in FIGS . 19A to 19C in also permits moulding to work during manufacture.
   which the control elements 128 , 130 of the split pin art 10 As shown in FIG . 17 , the stock bobbin 110 has aa series of
   located in the concavities 302. This functionality firstly four circumferential ribs 330 inside it and a spaced therea
   allows the stock bobbin to unwind during use as required, long . These hold the stock bobbin 110 on the correct side of
   but also prevents the tape 112 from loosening during transit the mould tool during moulding .
   if the inhaler 12 is dropped, such as onto a hard surface. This    FIGS . 21 and 22 show a preferred embodiment in accor
    is highly advantageous, since the tape 11 is prevented from 15 dance with the invention of an inhaler 510 for dispensing a
    moving to a position in which it will give an incorrect           dry -powdered medicament in metered doses for patient
   reading regarding the number of doses in the canister.           inhalation . The inhaler 510 is as disclosed in FIGS . 1 to 16
      During compression and expansion of the forks in the or EP -A - 1330280 , the contents of which are hereby fully
   radial direction between the two configurations shown in incorporated herein by reference, but with the stock bobbin
   FIGS . 18C and 19C , the forks 124 , 126 rotate about a point 20 110 and second shaft 108 of the dose counter 516 modified
   316 on the split pin where the forks 124 , 126 come together. so as to be as in FIGS . 15 to 20 hereof. Thus, the dry powder
   This rotational action means that there is a camming action inhaler 510 generally includes a housing 518 , and an assem
   between the forks 124 , 126 and the engagement surface 300 bly 512 received in the housing ( see FIG . 21 ) . The housing
   without significant friction but , nevertheless, the resilient 518 includes a case 520 having an open end 522 and a
   forces provided by the regulator formed by the engagement 25 mouthpiece 524 ( FIG . 25 ) for patient inhalation, a cap 526
   surface 300 and forks 124 , 126 are able to regulate unwind- secured to and closing the open end 522 of the case 520 , and
   ing of the tape such that it does not easily occur during a cover 528 pivotally mounted to the case 520 for covering
   transit or if the inhaler 12 is dropped. It has been found the mouthpiece 524. As shown in FIG . 22 , the inhaler 510
   during testing that a force of 0.3 to 0.4 N needs to be applied also includes an actuation spring 569 , first yoke 566 with
   to the tape 112 to overcome the regulator at the stock bobbin 30 opening 572 , bellows 540 with crown 574 , a reservoir 514 ,
                                                                                                                  2

   110.0.32 N is achieved with the control elements 128 having second yoke 568 with hopper 542 and dose counter 516
   the profile shown in FIG . 19C and 0.38 N is achieved with mounted thereto, and case 520 has transparent window 5130
   the profile of the control elements 128 altered to be as shown thereon for viewing dose counter tape indicia 5128. The
    as described with reference to FIG . 6F . These forces are        dose metering system also includes two cams 570 mounted
    substantially higher than the 0.1 N force mentioned above 35 on the mouthpiece cover 528 and movable with the cover
    and undesirable movement of the tape is substantially 528 between open and closed positions . The cams 570 each
    avoided even if the inhaler is dropped onto a hard surface . include an opening 580 for allowing outwardly extending
    The modified arrangement of FIGS . 15 to 20 does not hinges 582 of the case 520 to pass therethrough and be
    provide this force “ constantly ” such that there is overall not received in first recesses 584 of the cover 528. The cams 570
    an undesirably high friction of the tape 112 as it passes over 40 also include bosses 586 extending outwardly and received in
    the other components of the dose counter because , due to the second recesses 588 of the cover 528 , such that the cover
                                                                                                              2

    incremental nature of the resilient forces at the regulator, the 528 pivots about the hinges 582 and the cams 570 move with
    tape 112 can incrementally relax as it slides over the the cover 528 about the hinges 582. As described in EP - A
    stationary chassis components .                                   1330280 , cams 570 act upon cam followers 578 to move
       Instead of having ten concavities 302 and convex wall 45 second yoke 568 up and down and thereby operate dose
    portions 304 , other numbers may be used, such as 8 or 12 . counter by engagement of pawl 5138 on the second yoke
    However, it is preferred to have an even number, especially 568 with teeth 5136. Remaining components of the inhaler
    since two control elements 128 , 130 are provided , so that all are provided as , and operate as described, in EP -A - 1330280 .
    of the control elements 128 , 130 will expand and contract           The dose counting system 516 therefore includes a ribbon
    simultaneously. However, other arrangements are envisaged 50 or tape 5128 (FIGS . 23 & 24 ) , having successive numbers or
    with 3 or more forks and the number of concavities /convex other suitable indicia printed thereon , in alignment with a
    wall portions may be maintained as an integer divisible by transparent window 5130 provided in the housing 18 ( see
    the number of forks to maintain a system with simultaneous FIG . 22 ) . The dose counting system 516 includes the rotat
    expansion /contraction . For example, the use of 9 , 12 or 15 able stock bobbin 110 ( as described above) , an indexing
    concavities / convex wall portions with 3 forks is envisaged . 55 spool 5134 rotatable in a single direction , and the ribbon
       Instead of having the engagement surface 300 on the 5128 rolled and received on the bobbin 110 and having a first
    inside of the stock bobbin 110 , it could be placed on the end 5127 secured to the spool 5134 , wherein the ribbon 5128
    outside of the stock bobbin 110 so as to be engaged by unrolls from the bobbin 110 so that the indicia are succes
    flexible external legs /pawls or similar.                         sively displayed as the spool 5134 is rotated or advanced . In
       It will be noted that the regulator provided by the engage- 60 FIGS . 23 and 24 the wavelike engagement surface 300 of the
    ment surface 300 and forks 124 , 126 does not only allow          bobbin 110 is not shown for the purposes of clarity.
    rotation of the stock bobbin in one direction as is the case        The spool 134 is arranged to rotate upon movement of the
    with the ratchet wheel 94. Rotation in both directions is         yokes 566 , 568 to effect delivery of a dose of medicament
    possible , i.e. forwards and backwards. This means that           from reservoir 514 , such that the number on the ribbon 5128
    during assembly, the stock bobbin 110 can be wound back- 65 is advanced to indicate that another dose has been dispensed
    wards during or after fitting the bobbin 100 , shaft 106 and by the inhaler 510. The ribbon 5128 can be arranged such
   tape 112 onto the carriage 102 , if desired .                      that the numbers, or other suitable indicia , increase or
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 280 of 318 PageID: 355


                                                       US 11,395,889 B2
                                 21                                                                 22
    decrease upon rotation of the spool 5134. For example , the to drive an incremental output member in a count direction
    ribbon 5128 can be arranged such that the numbers , or other in response to canister motion, the actuator being configured
    suitable indicia , decrease upon rotation of the spool 5134 to to restrict motion of the output member in a direction
    indicate the number of doses remaining in the inhaler 510 . opposite to the count direction , such that the actuator acts as
    Alternatively, the ribbon 5128 can be arranged such that the 5 an anti -back drive member when the actuator is in a non
    numbers , or other suitable indicia, increase upon rotation of depressed position , and wherein the incremental dose coun
    the spool 5134 to indicate the number of doses dispensed by ter further comprises a second anti -back member configured
    the inhaler 10 .
       The indexing spool 5134 includes radially extending teeth toopposite
                                                                      restrict motion of the output member in a direction
                                                                             to the count direction when the actuator is disen
    5136 , which are engaged by pawl 5138 extending from a 10 gaged from         the output member by a bump surface.
    cam follower 578 of the second yoke 568 upon movement            2. The   incremental  dose counter as claimed in claim 1 in
    of the yoke to rotate , or advance , the indexing spool 5134 . which the output member      comprises a ratchet wheel.
    More particularly , the pawl 5138 is shaped and arranged
    such that it engages the teeth 5136 and advances the index which the actuator comprisescounter
                                                                     3. The   incremental  dose         as claimed in claim 2 in
    ing spool 5134 only upon the mouthpiece cover 528 being 15 wheel and pawl are arranged to and a pawl     in which the ratchet
    closed and the yokes 566 , 568 moved back towards the cap ratcheting motion of the ratchet wheelpermit        only one way
                                                                                                            relative to the pawl.
    526 of the housing 518 .                                         4. The incremental dose counter as claimed in claim 3
       The dose counting system 516 also includes a chassis wherein
    5140 that secures the dose counting system to the hopper body. the second anti - back member is fixed to the main
    542 and includes shafts 108 , 5144 for receiving the bobbin 20       5. The incremental dose counter as claimed in claim 4 in
    110 and the indexing spool 5134. As described above with
    reference to FIGS . 1 to 20 , the bobbin shaft 108 is forked and which , when in a rest position of the dose counter, the ratchet
    includes radially nubs 5146 for creating a resilient resistance wheel   is capable of adopting a configuration in which a back
    to rotation of the bobbin 110 on the shaft 108 by engaging memberofand
                                                                     surface     one tooth thereof engages the second anti- back
                                                                                     the pawl is spaced from an adjacent back
    with the wavelike engagement surface 300 inside the bobbin 25 surface of another     tooth of the ratchet wheel without positive
    110. A clutch spring 5148 is received on the end of the drive /blocking engagement              between the pawl and ratchet
    indexing spool 5134 and locked to the chassis 5140 to allow wheel .
    rotation of the spool 5134 in only a single direction .            6. A dose counter as claimed in claim 1 wherein an
       Various modifications may be made to the embodiment incremental             counting system is arranged to move a counter
   shown without departing from the scope of the invention as 30
   defined by the accompanying claims as interpreted under todisplay a
                                                                           incrementally in a first direction from a first station
                                                                       second  station in response to actuation input, wherein a
   patent law.                                                    regulator is provided which is arranged to act upon the
      What is claimed is :
      1. An incremental dose counter for a metered dose inhaler   counter display at the first station to regulate motion of the
   having a body arranged to retain a canister for movement of 35 ments
                                                                  counter. display at the first station to incremental move
   the canister relative thereto , the incremental dose counter
   having a main body, an actuator arranged to be driven and                              *
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 281 of 318 PageID: 356




                            EXHIBIT K
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 282 of 318 PageID: 357
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 283 of 318 PageID: 358
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 284 of 318 PageID: 359
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 285 of 318 PageID: 360
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 286 of 318 PageID: 361
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 287 of 318 PageID: 362
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 288 of 318 PageID: 363
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 289 of 318 PageID: 364
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 290 of 318 PageID: 365
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 291 of 318 PageID: 366
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 292 of 318 PageID: 367
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 293 of 318 PageID: 368
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 294 of 318 PageID: 369
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 295 of 318 PageID: 370
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 296 of 318 PageID: 371
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 297 of 318 PageID: 372
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 298 of 318 PageID: 373
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 299 of 318 PageID: 374
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 300 of 318 PageID: 375
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 301 of 318 PageID: 376
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 302 of 318 PageID: 377
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 303 of 318 PageID: 378
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 304 of 318 PageID: 379
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 305 of 318 PageID: 380
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 306 of 318 PageID: 381
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 307 of 318 PageID: 382
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 308 of 318 PageID: 383
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 309 of 318 PageID: 384
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 310 of 318 PageID: 385
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 311 of 318 PageID: 386
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 312 of 318 PageID: 387
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 313 of 318 PageID: 388
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 314 of 318 PageID: 389
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 315 of 318 PageID: 390
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 316 of 318 PageID: 391
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 317 of 318 PageID: 392
Case 2:24-cv-00909-SRC-MAH Document 1-1 Filed 02/16/24 Page 318 of 318 PageID: 393
